Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 1 of 238




                          EXPERT REPORT

                              prepared by:

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                                   for

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       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 2 of 238



Background and Credentials
My name is Dr. Charles A. Czeisler. I am currently the Frank Baldino, Jr., Ph.D. Professor of Sleep
Medicine, Professor of Medicine and Director of the Division of Sleep Medicine at the Harvard Medical
School; Chief of the Division of Sleep and Circadian Disorders in the Departments of Medicine and
Neurology, and Director of the Sleep Matters Initiative, both at Brigham Health in Boston,
Massachusetts, where my office address is 221 Longwood Avenue, Room 438A, Boston, Massachusetts
02115; Director of the Harvard Work Hours, Health and Safety Group, which performs research on the
impact of work schedule design on the health and safety of workers, including research for NASA on the
work-rest schedules and sleep-wake patterns of astronauts on the Space Shuttle and the International
Space Station, and provides education to organizations engaged in round-the-clock operations; an
Affiliate Faculty Member in the Program in Neuroscience at Harvard Medical School and Associate
Faculty, Molecular and Cellular Biology Department, Faculty of Arts and Sciences, Harvard College.
I have extensive experience in the field of basic and applied research on the physiology of the human
circadian timing system and its relationship to the sleep-wake cycle. I am a Diplomate of the American
Board of Sleep Medicine (DABSM), a Fellow of the American Academy of Sleep Medicine (FAASM),
and a Fellow of the American Physiological Society (FAPS), an elected Fellow of the American Society
for Clinical Investigation (FASCI), an elected Fellow of the Royal College of Physicians (London)
(FRCP). I have also served as President of the Sleep Research Society; Chairman of the Board of Trustees
of the National Sleep Foundation; Chairman, NIH Sleep Disorders Research Advisory Board, National
Center on Sleep Disorders Research of the National Heart, Lung and Blood Institute; Team Leader,
Human Performance Factors, Sleep and Chronobiology Team of NASA’s National Space Biomedical
Research Institute in Houston, Texas; Chair, Steering Committee, Academic Alliance for Sleep Research;
and Chair, Steering Committee, Sleep Research Network. I received my bachelor’s degree from Harvard
College in biochemistry and molecular biology magna cum laude in 1974 and was inducted into Phi Beta
Kappa at Harvard College in 1999. I received the degree of Doctor in Philosophy (PhD) in Neuro- and
Biobehavioral Sciences in 1978 from Stanford University, and the degree of Medical Doctor (MD) from
the Stanford University School of Medicine in 1981.
Together with my collaborators, I have done significant study and research into the areas of sleep and
fatigue. This research has resulted in 296 original reports in peer-reviewed journals and 118 review
articles/proceedings of meetings, as well as five books/monographs/theses and numerous abstracts of
research. I have also been elected as a Member of the Association of American Physicians, a Member of
the International Academy of Astronautics and a Member of the National Academy of Medicine
(formerly called the Institute of Medicine of the National Academies). I served on the faculty of the
World Economic Forum in Davos, Switzerland in 2014, the Aspen Ideas Festival Spotlight Health in
Aspen, Colorado in 2016 and 2017, and Aspen Brain Health in 2018, and received the William C.
Dement Academic Achievement Award from the American Academy of Sleep Medicine; the Lifetime
Achievement Award from the National Sleep Foundation; the Lord Adrian Gold Medal from the Royal
Society of Medicine (London); the Distinguished Scientist Award from the Sleep Research Society; the
Senator Mark O. Hatfield Public Policy Award from the American Academy of Sleep Medicine; the Mary
A. Carskadon Outstanding Educator Award from the American Academy of Sleep Medicine; the National
Institute for Occupational Safety and Health (NIOSH) Director’s Award for Scientific Leadership in
Occupational Safety and Health; “Aschoff’s Rule” International Award in Circadian Biology; the NASA
Johnson Space Center Director’s Innovation Award from National Aeronautics and Space
Administration; a 2013 Major League Baseball World Championship Ring from the Boston Red Sox; the



                                                   2
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 3 of 238



2018 Green Cross for Safety Innovation Award from the National Safety Council; the Harriet Hardy
Award from the New England College of Occupational and Environmental Medicine; the Healthy Sleep
Community Award (for research done by the Harvard Work Hours, Health and Safety Group on the
occupational safety impact of the work hours of resident physicians) from the National Sleep Foundation;
the E.H. Ahrens, Jr. Award from the Association for Patient Oriented Research; the Gordon Wilson
Lectureship Award from the American Clinical and Climatological Association; the Robert R. J. Hilker
Award by the Central States Occupational Medical Association; the Honorary Membership and Keynote
Lectureship Award from the American Academy of Dental Sleep Medicine; the Golden Mind-Body
Medicine Lectureship from the University of Buffalo; the Distinguished Speakership from the Walter
Reed Army Institute for Research; the Michael S. Aldrich Commemorative Lectureship from the
University of Michigan; the 2018 Jürgen Walther Ludwig Aschoff, Ph.D.—Colin Stephenson Pittendrigh,
Ph.D. Keynote Lectureship at the bi-annual meeting of the Society for Research on Biological Rhythms;
the 2018 Distinguished Lectureship from the Office of Naval Research; the 2019 Bernese Sleep Award
from the University of Bern in Bern, Switzerland; the 2019 Peter C. Farrell Prize in Sleep Medicine from
the Division of Sleep Medicine at the Harvard Medical School; the 2019 J.E. Wallace Sterling Lifetime
Achievement Award in Medicine from the Stanford Medical Alumni Association; and was selected to
deliver the 2022 Thomas Roth, Ph.D. Keynote Lectureship of Excellence on Sleep Education for the
Associated Professional Sleep Societies Annual Meeting.
In addition, I serve or have served as a committee member on a number of national and international
advisory panels in the public and private sectors related to sleep and circadian rhythmicity, including: the
New Developments in Neuroscience Advisory Panel responsible for the report on "Biological Rhythms:
Implications for the Worker" by the Office of Technology Assessment, U.S. Congress; the Work Hours,
Sleepiness and Accidents Consensus Conference, National Institute for Psychosocial Factors and Health,
Department of Clinical Neuroscience, Karolinska Institute, Stockholm, Sweden; the Advisory Committee
on Night Operations and Human Chronobiology, Life and Environmental Sciences Division, Air Force
Office of Scientific Research; the Panel on Workload Transition, Committee on Behavioral and Social
Sciences and Education, National Research Council; the Research Briefing Panel on Basic Sleep
Research, Division of Health Science Policy, Institute of Medicine, National Academy of Sciences;
Plenary Address, American Trucking Association Foundation Conference on Managing Fatigue in
Transportation; the NASA Advisory Panel on the Pre-flight Circadian Shifting of Shuttle Flight Crews,
Space and Life Sciences Directorate, National Aeronautics and Space Administration; the Biological
Rhythms Task Force, Mental Health Research Network I, John D. and Catherine T. MacArthur
Foundation; the External Advisory Committee, National Science Foundation Center for Biological
Timing at the University of Virginia; External Advisory Committee, University of Wisconsin Sleep
Center; External Advisory Committee, Neuroscience Institute, Morehouse School of Medicine; the
Boards of Trustees/Directors of the National Sleep Foundation, the Association for Patient-Oriented
Research, the Institute for Experimental Psychiatry Research Foundation, the Sleep Research Society and
the Sleep Research Society Foundation; Circadian Rhythm Sleep Disorders Advisory Board, Takeda
Pharmaceutical Company, Inc.; Sleep-Wake Scientific Advisory Board, Cephalon, Inc.; Scientific
Advisory Board, Hypnion, Inc.; Executive Committee, Chair, Research Committee, Chair, Presidential
Task Force on Sleep and Public Policy, and President, Sleep Research Society; President, Sleep Research
Society Foundation; Chair, Scientific Advisory Panel, Mars Exploration Rover Surface Operations
Program, NASA Jet Propulsion Laboratory, California Institute of Technology; Scientific Advisory
Board, Air Transport Association of America; the Neuroscience Psychiatry Advisory Board, Pfizer, Inc;
Chair, Scientific Advisory Board, Vanda Pharmaceuticals, Inc.; Scientific Advisory Board, Zeo, Inc.



                                                     3
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 4 of 238



(formerly Axon Labs, Inc.); Expert Consultant, Committee on Sleep Medicine and Research, Institute of
Medicine, National Academy of Sciences; Member, External Advisory Panel, International Space Station
and Shuttle Utilization Reinvention Team, NASA; Member, Medical Expert Panel on Sleep Apnea and
Commercial Truck Driving, Federal Motor Carrier Safety Administration (FMCSA), US Department of
Transportation (DOT); Expert Consultant, Committee on Optimizing Graduate Medical Trainee
(Resident) Hours and Work Schedules to Improve Patient Safety, Institute of Medicine, National
Academy of Sciences; External Advisory Committee, Wisconsin Sleep Center, University of Wisconsin;
Panelist, Fatigued Driving Committee, National Highway Traffic Safety Administration’s (NHTSA)
Office of Behavioral Safety Research; Member, Expert Panel on Obstetrics, Staffing and Communication
Task Group, Betsy Lehman Center for Patient Safety, Boston, MA; Member, Steering Committees,
Academic Alliance for Sleep Research; Member and Chair, Sleep Disorders Research Advisory Board,
National Heart, Lung, and Blood Institute; Member, Advisory Board on Insomnia, Novartis Consumer
Health; Member and Chair, Steering Committee, Sleep Research Network, Clinical and Translational
Science Award (CTSA) institutions; and Member, Drowsy Driving Commission for the Commonwealth
of Massachusetts. In December, 2011, I provided a briefing to the FMCSA’s Motor Carrier Safety
Advisory Committee (MCSAC) and the FMCSA’s Medical Review Board on “Addressing Obstructive
Sleep Apnea in Commercial Motor Vehicle Drivers.” In 2014-2015, I served as a Task Force Member of
a Panel on Truck Safety, Hours of Service, and Fatigue for the National Research Council of the National
Academy of Sciences (NAS) [3]; in 2018-2019, I have been serving as a member of an Expert Panel for
the National Highway Transportation Safety Administration and currently chair the National Sleep
Foundation Sleep Timing and Variability Consensus Panel.
At the Brigham and Women’s Hospital, Partners HealthCare and the Harvard Medical School, my
research and educational programs, and those of the Divisions that I direct, have been supported by a
number of federal agencies, public charities and foundations, and industry. These include: Agency for
Healthcare Research and Quality (AHRQ); Air Force Office of Scientific Research (AFOSR); Alza
Corporation; Apria Healthcare; Brigham and Women’s Hospital; Brigham Health; Bristol Myers-Squibb
Company; Beth Israel Deaconess Medical Center, Boston; Centers for Disease Control (CDC); Cephalon,
Inc.; City of Philadelphia/Fraternal Order of Police (Lodge 5); Dayzz Live Well Ltd.; Defense Advanced
Research Projects Agency (DARPA); Department of Defense (DoD); Falck Foundation; Federal Air
Marshal Service (FAMS), Transportation Security Administration (TSA), Department of Homeland
Security (DHS); Federal Aviation Administration (FAA); Federal Emergency Management Agency
(FEMA), Department of Homeland Security (DHS); Harvard Medical School; Harvard University;
Helena Rubinstein Foundation; Jazz Pharmaceuticals, Inc.; Josiah Macy Foundation; Koninklijke Philips
Electronics, N.V.; March of Dimes Birth Defect Foundation; Mary Ann & Stanley Snider via Combined
Jewish Philanthropies; Merck Research Laboratories; National Aeronautics and Space Administration
(NASA); Harvard Catalyst; Lighting Science Group; National Center for Advancing Translational
Sciences (NCATS); National Center for Research Resources (NCRR); National Center for
Complementary and Alternative Medicine (NCCAM); National Football League (NFL) Charities;
National Geographic Society; National Heart, Lung and Blood Institute (NHLBI); National Institute of
Child Health and Human Development (NICHD); National Institute of Environmental Health Sciences
(NIEHS); National Institute of General Medical Sciences (NIGMS); National Institute of Justice (NIJ),
Department of Justice (DOJ); National Institute of Mental Health (NIMH); National Institute of
Neurological and Communicative Disorders and Stroke (NINCDS); National Institute on Aging (NIA);
National Institute of Occupational Health and Safety (NIOSH); National Space Biomedical Research
Institute (NSBRI); Office of Naval Research (ONR); Optum; Partners HealthCare; Peter Bent Brigham



                                                   4
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 5 of 238



Hospital Biomedical Research Support Grant (BRSG); Peter Brown and Margaret Hamburg; Pfizer, Inc.;
Regeneron Pharmaceuticals, Inc.; ResMed Foundation; Respironics, Inc.; Rx Foundation; Sanofi Aventis,
Inc.; Sanofi S.A.; San Francisco Bar Pilots; Schering Plough Pharmaceutical Corporation; Schneider
National, Inc.; Sepracor, Inc.; Simmons Bedding Company; Sleep HealthCenters, Inc.; Sysco; Takeda
Pharmaceuticals North America, Inc.; Tempur-Pedic, Inc.; Teva Pharmaceutical Industries, Ltd.; United
States Olympic Committee; Vanda Pharmaceuticals, Inc.; W.K. Kellogg Foundation; Wake Up
Narcolepsy; and Whoop, Inc..
In addition to my employment by the Brigham and Women’s Hospital, which is a Founding Member of
Partners HealthCare, Inc./Mass General Brigham, I founded the Center for Design of Industrial
Schedules, which I directed for over a decade, and which consulted with businesses on the application of
sleep and circadian principles in the design of work schedules, pioneering the field of fatigue risk
management consulting. I serve or have served as a consultant for: A2Z Development Center, Accelerator
Corp.; Actelion, Ltd.; Accreditation Council of Graduate Medical Education; Air Transport Association
of America; Alfresa Pharmaceutical Company; Amazon.com, Inc., American Academy of Allergy and
Infectious Disease; American Academy of Sleep Medicine; Association of University Anesthesiologists;
Aventis, Inc.; Avera Pharmaceuticals, Inc.; Axis Healthcare, Inc.; Bose Corporation; Boston Bruins;
Boston Celtics; Boston Edison, Inc.; Boston Red Sox; Bristol-Myers Squibb; Center for Design of
Industrial Schedules; Cephalon, Inc.; Chevron Chemicals, Inc.; Citgo, Inc.; Cleveland Browns; Columbia
River Bar Pilots; CME Outfitters; Cornell Medical College; M. Davis and Company; Department of
Homeland Security, U.S. Fire Administration; Eli Lilly and Co.; Exxon Chemical Co.; FedEx Kinko’s;
Federal Motor Carriers Safety Administration, U.S. Department of Transportation; Fraternal Order of
Police, Lodge 5; Fusion Medical Education, LLC; Garda Inspectorate, Republic of Ireland; General
Electric; Gerson Lehman Group, Great Salt Lake Minerals and Chemical Co.; Harvard College; Harvard
Medical International; Health Science Communications, Inc.; Hypnion, Inc. (acquired by Eli Lilly and
Co. in April 2007); Innovative Medical Technologies, Inc.; Institute of Digital Media and Child
Development; Institute of Medicine; Institute of Sleep Health Promotion; Jack Mattson Group; Japan
National Railroad; Jet Propulsion Laboratory, California Institute of Technology; Jazz Pharmaceuticals,
Inc.; Koninklijke Philips Electronics, N.V.; Light Sciences, Inc.; Lifetrac Systems, Inc.; Massachusetts
Institute of Technology; Medical Consulting; Medical Science Partners; Merck and Co.; Merck Sharpe
and Dohme, Inc.; Michelin Tire Co.; Minnesota Timberwolves; 3M; Montefiore Hospital and Medical
Center; Morgan Stanley; MPM Asset Management; the National Academies; National Broadcasting
Company (NBC); National Research Council, the National Academies; National Space Biomedical
Research Institute; New South Wales Clinical Excellence Commission; Neurocrine, Inc.; North Pacific
Paper Co.; Northeast Utilities, Inc.; Novartis Consumer Health, S.A.; Novartis, Inc.; Office of
Technology Assessment, U.S. Congress; Oxford Biosignals; Pfizer, Inc.; Philips Respironics, Inc.; the
Portland Trailblazers; Primary Research, LLC; Purdue Pharma; Quest Diagnostics, Inc.; Rohm and Haas;
Respironics, Inc.; Rockpointe, Inc.; Saatchi and Saatchi, Inc.; Samsung Electronics Co., Ltd.; San
Francisco Bar Pilots; Sanofi Aventis, Inc.; Sanofi Synthelabo, Inc.; Sepracor, Inc.; ShiftWork Systems,
Inc.; Sleep Multimedia, Inc.; Society for Neurological Surgeons; Somnus Therapeutics, Inc.; Swiss Air;
Tanabe Seiyaku Co., Ltd.; Takeda North America Pharmaceuticals, Inc.; Teva, Inc.; Tokyo Electric
Power Co., Inc.; Unilever, Inc.; United Airlines, Inc.; U.S. Air Force; U.S. Central Intelligence Agency;
U.S. National Aeronautics and Space Administration (NASA); U.S. National Institutes of Health; U.S.
Navy; U.S. Nuclear Regulatory Commission; U.S. Olympic Committee; U.S. Secret Service; University
of Virginia National Science and Technology Center, National Science Foundation; Wisconsin Sleep
Center, University of Wisconsin; Valero, Inc.; Vanda Pharmaceuticals, Inc.; Vital Issues in Medicine;



                                                   5
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 6 of 238



Warburg-Pincus and Zeo, Inc. (formerly Axon Labs, Inc.). Since 1985, I have also served as an expert
witness on a number of civil matters, criminal matters, and arbitration cases, including those involving the
following commercial and government entities: Advanced Power Technologies; Alvarado Hospital, LLC;
Amtrak, Bombardier, Inc.; Burlington Northern Railroad; Casper Sleep, Inc.; Catapult Energy Services
Group, LLC; Celadon Group Inc.; Charlotte, North Carolina Police Department; City of Albany, New
York; C&J Energy Services; Clyde Machines, Inc.; Columbia River Bar Pilots; Complete General
Construction Company; Covenant Testing Technologies, LLC; Dallas Police Association; Dallas Police
Department; Delta Airlines/Comair; EAN Holdings LLC, d/b/a Enterprise Rent-A-Car; Fédération des
Médecins Résidents du Québec (FMRQ); FedEx; Greyhound Lines, Inc./Motor Coach
Industries/Firstgroup America; Fraternal Order of Police, Lodge 5; H.G. Energy LLC; Maricopa County,
Arizona, Sheriff's Office; Miami Truck Leasing, Inc.; Municipal Light and Power, City of Anchorage,
Alaska; Murrieta Valley Unified School District; Pomerado Hospital, Palomar Health District;
Philadelphia Electric; Philadelphia Police Department; Puckett EMS; Purdue Pharma; South Carolina
Central Railroad Company, LLC.; State of New Hampshire; Steel Warehouse, Inc.; St. Louis University;
Town of Natick, Massachusetts; Union Pacific Railroad; United Parcel Service; and the United States of
America.
On July 28, 2022, I spoke with Attorney Rachel Doughty, from the law offices of Greenfire Law, P.C.,
P.O. Box 8055, Berkeley, CA 94707; and then on August 7, 2022, I spoke with Attorney Yolanda Huang,
an attorney with an office located at 528 Grand Avenue in Oakland, CA 94610 to discuss the potential of
my serving as a consultant and potential expert witness in the matter of: Kenyon Norbert, Troy Mcallister,
Marshall Harris, Armando Carlos, Montrail Brackens, Michael Brown, and Jose Poot, on behalf of
themselves individually and others similarly situated, as a class and Subclass, Plaintiffs, v. San Francisco
County Sheriff’s Department, City and County of San Francisco, San Francisco Sheriff Vicki Hennessy;
Chief Deputy Sheriff Paul Miyamoto; Captain Jason Jackson, Captain McConnell and John & Jane
DOEs, Nos. 1 - 50. Defendants, Case No. 19-cv-02724-SK, United States District Court, Northern
District of California, San Francisco Division, San Francisco, California.
In order to do so, I was provided with the following items:
Docket Items
1.      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES CLASS
ACTION (ECF 1)
2.      DECLARATION OF TERRY KUPERS IN SUPPORT OF PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION (ECF 8-2)
3.      DECLARATION OF JAMIE M. ZEITZER IN SUPPORT OF MOTION FOR PRELIMINARY
INJUNCTION (ECF 8-3)
4.      SEALED PROCEEDINGS: TRANSCRIPT OF EVIDENTIARY HEARING (SEALED)
BEFORE THE HONORABLE SALLIE KIM UNITED STATES MAGISTRATE JUDGE (OCT. 23,
2019) (ECF 10-2)
5.      EXPERT WITNESS QUESTIONS (ECF 10-2)

Gathered Data
6.     Norbert: Research log for October 2021 (spreadsheet)
7.     Coded Psychological data collected from inmates (spreadsheet)
8.     Coded data on SFCJ inmates (8-31-2022) (spreadsheet)
9.     Coded data on SFCJ inmates (Revised 9-2-2022) (spreadsheet)
10.    Description of Research Methods and Conditions of Confinement



                                                     6
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 7 of 238



11.    Statement of Research Methodology
12.    Qualitative Data By Measure: Data collected for each metric (folder)
13.    Data Collection Tools: Interview Questions & Surveys (folder)
14.    Coded psychological data file on inmates (spreadsheet)

Health Records
15.    ANNOTATED VERSION of CCSF Medical Records of Jose Poot (337 pages) (Bates numbered)
16.    ANNOTATED VERSION of CCSF Medical Records of Troy McAllister (2372 pages) (Bates
numbered)
17.    ANNOTATED VERSION of CCSF Medical Records of Montrail Brackens (1111 Pgs) (Bates
numbered)
18.    CCSF Medical Records of Troy McAllister (2372 pages) (original, Bates Numbered received
from CCSF)
19.    CCSF Medical Records of Montrail Brackens (1111 pages) (original, Bates Numbered received
from CCSF)
20.    CCSF Medical Records of Jose Poot (337 pages) (original, Bates Numbered received from
CCSF)
21.    CCSF Medical Records of Troy McAllister (2372 pages) (Bates Numbered and indexed to
chronology)
22.    Medical Chronology/Summary of Troy McAllister (2015-2017) (index) (125 pages)
23.    Combined & Hyperlinked Chronology and Medical Records of Troy McAllister (2495 pages)
24.    CCSF Medical Records of Montrail Brackens (1111 pages) (Bates Numbered and indexed to
chronology)
25.    Medical Chronology/Summary of Montrail Brackens (2014-2019) (index) (75 pages)
26.    Combined & Hyperlinked Chronology and Medical Records of Montrail Brackens (1185 pgs)
27.    CCSF Medical Records of Jose Poot (337 pages) (Bates Numbered and indexed to chronology)
28.    Medical Chronology/Summary of Jose Poot (2015-2019) (index) (46 pgs)
29.    Combined & Hyperlinked Chronology and Medical Records of Jose Poot (383 pages)
30.    Medical Chronology/Summary of Jose Poot (2015-2019) (index) (46 pgs)
31.    Combined & Hyperlinked Chronology and Medical Records of Jose Poot (383 pages)
32.    Medical Chronology/ Summary (2015-2017) (index) (125 pgs)
33.    Combined & Hyperlinked Chronology and Medical Records of Troy McAllister (2495 pgs)
34.    Medical Chronology/Summary of Montrail Brackens (2014-2019) (index) (75 pages)
35.    Combined & Hyperlinked Chronology and Medical Records of Montrail Brackens (1185 pgs)
36.    Medical Records Delivery Note - Troy McAllister
37.    Medical Records Delivery Note - Montrail Brackens
38.    Medical Records Delivery Note - Jose Poot
39.    Medical Records Delivery Note - Jose Poot (highlighted)
40.    Medical Records Delivery Note - Troy McAllister (highlighted)
41.    Medical Records Delivery Note - Montrail Brackens (highlighted)

Trial Exhibits/Demonstratives/Visuals
42.    Photos documenting data collection at County Jail 3 (Aug. 2019) (folder)
43.    Photos documenting data collection at HU8 Cell 17 (July 17, 2022) (folder)
44.    Graph of quiet periods on 10-15-2021
45.    Photo of jail entrance
46.    Overhead photo of jail
47.    Photo showing inside view of jail pod
48.    Floor plan of jail pod section (Bates number: CCSF-NORBERT_097824)



                                                  7
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 8 of 238



49.     Email message regarding jail cell windows (Sept. 1, 2022)
50.     Norbert Data: Cell activity on 10-15-2021 (spreadsheet)
51.     Norbert Data: Cell activity October 2021 (Revised 8-31-2022) (spreadsheet)
52.     October 15, 2021 Wakefulness + Quiet Instances per Half Hour (Graph)
53.     October 15, 2021 Wakefulness Instances per Half Hour (Graph)
54.     October 15, 2021 Quiet Instances per Half Hour (Graph)
55.     October 2021 Average Wakefulness Instances per Half Hour, 21:30 to 6:30 (Graph)
56.     October 15, 2021 Wakefulness + Quiet Instances per Half Hour (Graph) (revised)
57.     October 15, 2021 Wakefulness Instances per Half Hour (Graph) (revised)
58.     October 15, 2021 Quiet Instances per Half Hour (Graph) (revised)
59.     October 2021 Average Wakefulness Instances per Half Hour, 21:30 to 6:30 (Graph) (revised)
60.     Norbert Data: Cell activity on 10-15-2021 (spreadsheet)
61.     Norbert Data: Cell activity October 2021 (Revised 8-31-2022) (spreadsheet)
62.     CHART: Fluorescent and LED Illuminance in Cell by Time of Day

Correspondence
63.    Correspondence with Dr. J. Zeitzer re light logger findings
64.    Various correspondence and communication with attorneys and Julianna Di Miceli


My fields of expertise include sleep science and sleep disorders medicine, physiology, neurobiology,
circadian biology and other such areas of expertise as set forth in my attached curriculum vitae (Appendix
A). In order to provide a background for my opinions, I have reviewed below the biological effects of
sleep and circadian phase on alertness, cognitive performance, and safety, including relevant studies
performed by myself and others, extensive portions of which have been excerpted from my own
publications [4-6]. My qualifications are listed on the curriculum vitae attached hereto as Appendix A and
made a part hereof. I reserve the right to add to, change or modify my opinions should additional
information become available.
Scientific Background:
A. Review of Biological Factors Influencing Health, Safety and Neurocognitive Performance
Chronic sleep deficiency and recurrent circadian disruption have adverse health effects [Sletten TL,
Cappuccio FP, Davidson AJ, Van Cauter E, Rajaratnam SMW, Scheer FAJL. Health consequences of
circadian disruption. Sleep. 2020 Jan 13;43(1):zsz194. doi: 10.1093/sleep/zsz194. PMID: 31930347;
PMCID: PMC7368337]. In 2006, the National Academy of Medicine (then called the Institute of
Medicine) concluded that “50 to 70 million Americans chronically suffer from disorders of sleep and
wakefulness, hindering daily functioning and adversely affecting health and longevity” [1]. The
prevalence of sleep disorders, which are a major cause of sleep deficiency, has increased substantially in
recent years. The National Academy of Medicine further concluded that “the cumulative long-term effects
of sleep loss and sleep disorders have been associated with a wide range of deleterious health
consequences, including an increased risk of hypertension, diabetes, obesity, depression, heart attack and
stroke” [1, 7] [emphasis added], while the World Health Organization International Agency for Research
on Cancer has classified night shift work as being “probably carcinogenic to humans” [8] [International
Agency for Research on Cancer. Vol. 124: Night shift work. IARC Working Group. Lyon, France; June
4–11, 2019. IARC Monogr Eval Carcinog Risk Chem Hum (in press); IARC Monographs Vol 124 group.
Carcinogenicity of night shift work. Lancet Oncology ePub ahead of Print 4 July 2019. DOI:
https://doi.org/10.1016/S1470-2045(19)30455-3], with the National Toxicology Program (NTP) within


                                                    8
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 9 of 238



the Public Health Service of the U.S. Department of Health and Human Services (a partnership of the
National Institute for Occupational Safety and Health, which is a part of the Centers for Disease Control
and Prevention; the Food and Drug Administration, primarily through the National Center for
Toxicological Research; and the National Institute of Environmental Health Sciences, within the National
Institutes of Health) concluding that the mechanism of this increased risk of cancer being associated with
a causal relationship between human cancer and excessive exposure to artificial light at night (ALAN),
combined with insufficient daylight exposure to sunlight, which together cause circadian disruption. As
stated in the 2021 NTP Cancer Hazard Assessment Report on Night Shift Work and Light at Night: “This
conclusion [that there is a causal relationship between human cancer and excessive exposure to artificial
light at night, combined with insufficient daylight exposure to sunlight] is based on strong evidence that
[exposure to A]LAN acts through mechanisms that are likely to cause cancer in humans.”
(https://ntp.niehs.nih.gov/ntp/results/pubs/cancer_assessment/lanfinal20210400_508.pdf).
Multiple factors influence the ability to sustain effective waking neurocognitive performance in healthy
individuals not taking medications. These include biological time of day (i.e., circadian phase); the length
of prior wakefulness; nightly sleep duration; and the recency of the last sleep episode (sleep inertia).
While the effects of these circadian and homeostatic sleep regulatory processes can be modified by
environmental conditions, physical activity and pharmacological agents (i.e., caffeine and/or nicotine
during night wakefulness or hypnotics during day sleep), they cannot consistently overcome the impact of
adverse circadian phase and/or sleep deprivation on performance. The effect of these four factors
(misalignment of circadian phase and work/sleep schedule, cumulative sleep deprivation, lengthy prior
wakefulness and/or recent awakening) can create an imposing biological force that can overpower a
individual’s ability to remain awake and attentive while at work and during the commute to and from
work [2, 5, 9-22]. This can lead to impaired neurocognitive performance, including impaired memory
consolidation, and deterioration of waking performance marked by increased rates of attentional failures
[13, 22]. These consequences are particularly evident while attempting to sustain attention for a
continuous duration of time (e.g., for 10-20 minutes or more) or when performing a routine, highly
overlearned task, such as driving, for 10-20 minutes or more.
Sleep-related performance decrements can lead to impaired school and job performance and higher rates
of errors, accidents and injuries. In fact, sleep deficiency and sleep disorders cost U.S. businesses an
estimated $411 billion per year in absenteeism, workplace accidents, lost productivity and healthcare
costs [1, 23] [24]. Drowsiness, which is a fluctuating state of reduced awareness and impaired
performance, is estimated to be a possible contributing factor in nearly 30% of railway collisions [6, 25].
The National Transportation Safety Board, which is charged with conducting root-cause investigations on
major transportation accidents in the United States, has identified fatigue as a probable cause, a
contributing factor or a finding in 17% of its railroad crash investigations, and 23% of its major aviation
investigations and nearly 40% of its highway crash investigations [26].
Moreover, sleep deficiency and circadian disruption have a major impact on safety in the general
population. Every year, motor vehicle crashes worldwide cause 20–50 million injuries and cost more than
a half-trillion dollars [(World Health Organization. Road Traffic Injuries. Fact Sheet N358, March 2013.
http://www.who.int/mediacentre/factsheets/fs358/en/index.html; accessed February 21, 2015)]. At least
twenty percent of crashes, serious injuries and deaths occurring in road crashes are due to driver
sleepiness [1, 27, 28]. In fact, when 9 hours of time in bed per night is used as the referent, data from a
recent prospective cohort study reveals that up to forty percent of motor vehicle crashes in the general
population are attributable to sleep deficiency and sleep disorders [28].



                                                     9
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 10 of 238




Figure A-1. Recurrent circadian disruption and sleep deficiency “have significant implications for adverse
clinical health outcomes. (A) Example of shiftwork: behavioral, externally driven circadian misalignment
caused by the occupational requirements. Blue hatched bars represent work episodes, white bars represent
free time or sleep, and filled circles (mean [SE]) represent the peak of melatonin as a marker of central
circadian phase. With the change from working day shifts to night shifts, the circadian pacemaker is
misaligned with the timing of work and sleep. (B) Examples of N24SWD: a chronic, intrinsically driven
circadian disruption. Blue bars represent sleep episodes; filled circles represent the peak of melatonin or
cortisol as markers of central circadian phase. The left panel illustrates what most clinicians consider is
the typical manifestation of N24SWD, however, only a small proportion maintain entrainment between
circadian and sleep cycles. The right panel illustrates that most patients are either not diagnosed or
misdiagnosed (e.g. insomnia); because they do not present with a non-24-h sleep-wake profile. Circadian
phase assessments are rarely conducted to confirm diagnoses. (C) The molecular mechanism generating
endogenous circadian rhythms consists of intracellular transcriptional/translational positive and negative
feedback loops involving a complex clock-gene regulatory network, of which only one core feedback
loop is displayed here for simplicity. Shift work and N24SWD both lead to circadian misalignment and
(consequential) sleep disruption. Circadian misalignment often manifests between behavioral and
environmental cycles and the central pacemaker in the SCN and between behavioral and peripheral
circadian oscillators found in virtually every organ and cell of the body. Internal desynchrony occurs
between peripheral oscillators and the SCN, and among organs, cells and clock genes. (D) Circadian
misalignment and sleep disruption have been implicated in numerous adverse health outcomes.” [Figure
and legend from: Sletten TL, Cappuccio FP, Davidson AJ, Van Cauter E, Rajaratnam SMW, Scheer
FAJL. Health consequences of circadian disruption. Sleep. 2020 Jan 13;43(1):zsz194. doi:
10.1093/sleep/zsz194. PMID: 31930347; PMCID: PMC7368337].
Influence of Circadian Rhythms (Biological Time of Day)
Circadian rhythms, i.e., biological rhythms oscillating with an approximate period of twenty-four hours
(from the Latin words: circa--about and dies--a day), are present at all levels of biological complexity


                                                    10
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 11 of 238



from unicellular organisms to humans. Circadian rhythms are endogenous (i.e., internally generated), self-
sustaining oscillations that persist in the absence of periodic external time cues. As illustrated in Figure
A-2 below, in humans, many physiological processes, including thermoregulatory (body temperature)
cycles, endocrine (hormone) patterns, renal (kidney), hepatic (liver), pulmonary (lung), and cardiac
(heart) function, subjective alertness, sleep-wake behavior, neurobehavioral performance and the risk of
sleep-related attentional failures and involuntary micro-sleep episodes vary according to the time of day
[2, 29-47].
As I noted in the chapter entitled “The human circadian timing system and sleep-wake regulation” that I
recently published in the 7th edition of the Principles and Practice of Sleep Medicine, “Core body
temperature is lowest and melatonin levels are highest during night sleep. Cortisol is low at habitual sleep
onset but high at habitual morning wake time. When these endogenous circadian rhythms are entrained or
synchronized to the 24-hour day, the temporal profile of each of these parameters exhibits a characteristic
fingerprint that results from a combination of drives, from the timing of the sleep-wake state to the
endogenous circadian pacemaker, and responses evoked by other factors such as posture, mood, exercise,
and environmental lighting.
To characterize the circadian pacemaker-driven component of a diurnal temporal profile from the effects
of sleep-wake state, behavior, posture, and periodic environmental stimuli, the constant-routine protocol
[is used]; participants typically undergo continuous enforced wakefulness throughout day and night in a
constant posture at a constant level of minimal physical activity and in constant, relatively dim, ambient
illumination. Under such conditions, the temporal profiles of many physiologic variables are significantly
altered, and the components of these rhythms that are driven by the endogenous circadian pacemaker can
be separated from those that reflect changes in the sleep-wake state, posture, or periodic external
environment.
Given the influence of posture and the minimal influence of sleep on the endogenous circadian melatonin
rhythm, we have sometimes used a constant posture protocol in which participants are maintained in a
constant semi-recumbent posture, in constant dim light, but are allowed to sleep at night so that
endogenous circadian melatonin phase can be assessed. Body temperature declines during sleep, as
illustrated by the profile of core body temperature recorded during a normal sleep-wake schedule and on a
constant routine (Figure A-2, right column of panels). Sleep and changes in posture, light intensity, and
activity level generate a drop in body temperature relative to wake. This sleep episode-induced drop in
body temperature combines with the circadian-driven decline in body temperature during the biologic
night to yield a larger apparent amplitude than that of the endogenous circadian component alone (as
measured on constant routine).
Urine volume exhibits a robust oscillation under constant-routine conditions that is also influenced by
sleep-wake state. Rhythmicity in some variables appears nearly independent of sleep-wake state. The
temporal pattern of the hormone melatonin is relatively unchanged whether a participant is asleep or
awake all night on a constant routine, although significant age-dependent effects of sleep and sleep
deprivation on melatonin amplitude have been quantified. Posture is reported to somewhat influence
circulating melatonin concentrations.
Because the endogenous circadian cortisol rhythm is usually at its nadir at the time of habitual sleep
onset, the overall profile of cortisol is relatively unchanged whether a person sleeps on a habitual
schedule or remains awake all night, although cortisol levels will be elevated if the person continues to
remain awake throughout the following afternoon and evening. However, suppression of plasma cortisol



                                                    11
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 12 of 238



concentrations by deep slow wave sleep is evident whenever sleep onset occurs at the crest of the cortisol
rhythm rather than at the nadir.
Several other hormones are sensitive to the sleep-wake state. Sleep opposes the circadian rhythm-
regulating thyroid stimulating hormone (TSH), inhibiting TSH release during the peak of the endogenous
circadian TSH rhythm, which would otherwise occur in the middle of the night. Under entrained
conditions, nocturnal TSH secretion is blunted by the timing of sleep, such that TSH levels are highest
just before sleep onset and continue to be suppressed during the remainder of the sleep episode. This
inhibitory effect of sleep on TSH secretion has been closely associated with slow wave sleep and with
relative delta power in the sleep electroencephalogram (EEG).
Growth hormone, prolactin, and parathyroid hormone levels demonstrate a prominent sleep-dependent
increase. For growth hormone, a major sleep-related secretory episode is associated [in men] with slow
wave sleep and with relative delta power of the sleep EEG, although such associations for prolactin,
which remains elevated throughout the sleep episode, are controversial. Interestingly, growth hormone
levels blunted by acute sleep deprivation at night are increased during wakefulness the following day in
sleep-deprived participants, compensating for the blunting of the major sleep-related pulse, such that
average 24-hour levels are similar. After restricting sleep to 4 hours per night from 1:00 to 5:00 a.m. for 1
week, growth hormone levels were maintained by the combination of a pre-sleep, circadian-related
secretory episode, together with a somewhat diminished sleep-related response.
Leptin levels exhibit circadian rhythmicity, although the typical day-night pattern is reflected in the
interaction of circadian rhythmicity with energy intake and expenditure and sleep duration. Ghrelin levels
exhibit a day-night variation related to energy intake, related to the presence of sleep and to sleep
duration.
Ultradian variations in the release of renin from the kidney—a key factor in blood pressure control—are
closely linked to the timing of the rapid eye movement (REM) and non-rapid eye movement (NREM)
sleep cycle, an association evident even among patients with disturbed sleep, whose plasma renin profiles
reflect pathologic changes in sleep structure. Increased relative delta power in the sleep EEG is associated
with increased levels of plasma renin activity, whereas decreased slow wave activity is associated with a
decrease.
Even in the absence of sleep, prolactin and parathyroid hormone also have an endogenous circadian
component that is lowest a few hours after habitual wake-up time, and GH responses to exogenous
growth hormone-releasing hormone exhibit a circadian rhythm. Effects of the interaction between sleep-
dependent and circadian factors on these hormones can be important when the sleep-wake schedule is not
synchronized with the circadian pacemaker. Shift workers who remain awake throughout the first night
shift, for example, will secrete more TSH compared with that released at night under normal sleep-wake
conditions during entrainment, because of the absence of sleep-related suppression of TSH during the
nocturnal peak of endogenous TSH secretory drive (Figure A-2); such increased secretion is not reversed
during subsequent daytime sleep because the endogenous circadian rhythm of TSH secretion is already
very low at that time. On the other hand, these workers would be deprived of their normally higher levels
of growth hormone, prolactin, and parathyroid hormone during the waking night, although the sleep-
related release of these hormones will recur during subsequent daytime sleep. Such alterations of the
profiles of a variety of hormones have been documented in laboratory studies of night-shift workers.




                                                     12
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 13 of 238



In a laboratory simulation of circadian misalignment, participants exhibited increased leptin and increased
glucose (despite increased insulin) and misalignment of the endogenous circadian rhythm of cortisol
secretion with respect to the inverted sleep-wake schedule, along with the expected reduction in sleep
efficiency.
The circadian pacemaker significantly influences a variety of neurobehavioral and cognitive functions.
Under the conditions of the constant routine, participants display a circadian variation in short-term
memory, cognitive performance, and alertness that is tightly coupled to the timing of the body
temperature rhythm (Figure A-3). During a constant routine, these cognitive functions tend to be at their
nadir shortly after habitual wake-up time because of an interaction between sleep loss and the circadian
rhythms of performance.” [Czeisler CA, Buxton OM. The human circadian timing system and sleep-wake
regulation. In: Kryger MH, Roth T, Goldstein CA, Dement WC, eds. Principles and Practice of Sleep
Medicine, 7th Edition. Philadelphia: W.B. Saunders Company, 2022].
The circadian contribution to variations in human physiology and to alertness and performance is
generated by a light-sensitive circadian pacemaker that also drives the circadian rhythms of core body
temperature, plasma cortisol and plasma melatonin, parathyroid hormone, human growth hormone, and
markers of bone turnover markers (of bone resorption and bone formation) such as CTX (C-terminal
cross-linked telopeptide of type I collagen), P1NP (N-terminal propeptide of type I procollagen), and
FGF-23 (Fibroblast growth factor 23) [45, 48-64] [Swanson CM, Kohrt WM, Wolfe P, Wright KP Jr,
Shea SA, Cain SW, Munch M, Vujović N, Czeisler CA, Orwoll ES, Buxton OM. Rapid suppression of
bone formation marker in response to sleep restriction and circadian disruption in men. Osteoporos Int.
2019 Dec;30(12):2485-2493. doi: 10.1007/s00198-019-05135-y. Epub 2019 Aug 24. PMID: 31446439;
PMCID: PMC6879850; Swanson CM, Shea SA, Kohrt WM, Wright KP, Cain SW, Munch M, Vujović
N, Czeisler CA, Orwoll ES, Buxton OM. Sleep Restriction With Circadian Disruption Negatively Alter
Bone Turnover Markers in Women. J Clin Endocrinol Metab. 2020 Jul 1;105(7):2456–63. doi:
10.1210/clinem/dgaa232. PMID: 32364602; PMCID:PMC7448297].
The endogenous circadian clock is a major determinant of the timing and internal architecture of sleep in
humans [38, 43, 45, 61, 62, 65-68]. Experimental studies have demonstrated that spontaneous sleep
duration, sleepiness, REM sleep propensity, and both the ability and the tendency to sleep vary markedly
with circadian phase or biological time of day and interact with a homeostatic process to regulate sleep
propensity and daytime alertness and neurocognitive performance [34, 38, 43, 45, 65, 69-75]. Nearly fifty
years ago the central neuroanatomic structures responsible for both the generation of endogenous
circadian rhythms and their synchronization with the 24-hour day were identified [76, 77]. Deep within
the brain, two bilaterally paired clusters of hypothalamic neurons comprising the suprachiasmatic nuclei
(SCN) act as the central neural pacemaker for the generation and/or synchronization of circadian rhythms
[45, 78-88]. This endogenous circadian pacemaker is a major determinant of daily variations in subjective
alertness and cognitive performance [2, 20, 31, 43, 45, 48, 73, 89, 90]. These and other studies have
shown that, as illustrated in Figure A-4 below, there is a prominent circadian variation in objective and
subjective measures of alertness, performance (psychomotor, vigilance, memory) and attention or ability
to concentrate, with a primary peak in the daily rhythm of sleepiness in the latter half of the usual sleep
time, just before our usual wake time. Similarly, the peak drive for waking emanating from the
hypothalamic circadian pacemaker occurs a couple of hours before our habitual bedtime [2, 34, 91]. This
paradoxical relationship between the output of the circadian pacemaker and the timing of the sleep-wake
cycle is thought to facilitate consolidation of sleep and wakefulness in humans [34, 43, 71].




                                                    13
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 14 of 238



Figure A-2 illustrates a comparison of temporal
profiles of an array of physiologic and behavioral
variables from participants studied under baseline
conditions while maintaining a regular schedule of
nocturnal sleep (S) (yellow shaded area) and
daytime wake (W) at their habitual times (left
column of panels) compared with profiles from
participants under constant-routine conditions while
maintaining a schedule of continuous wake in a
semi-recumbent posture (right column of panels).
The vertical dashed line indicates habitual wake-up
time during the week before the study, when
participants were required to maintain a regular
sleep-wake schedule. All data are from healthy
young adult men, 18 to 30 years old, studied under
similar conditions. For a given variable, data in the
left panel are from the same participants as data in
the right panel; however, not all variables were
monitored in the same participants. PTH,
Parathyroid hormone; TSH, thyroid-stimulating
hormone (TSH data reproduced from Allan JS,
Czeisler CA Persistence of the circadian thyrotropin
rhythm under constant conditions and after light-
induced shifts of circadian phase. Journal of
Clinical Endocrinology and Metabolism
1994;79:508-512, copyright The Endocrine Society.
Prolactin data reproduced from Waldstreicher J,
Duffy JF. Brown EN et al. Gender differences in the
temporal organization of prolactin [PRL] secretion:
evidence for a sleep-independent circadian rhythm
of circulating PRL levels—a Clinical Research
Center study. Journal of Clinical Endocrinology and
Metabolism 1996;81:1483-1487, copyright The
Endocrine Society. PTH data reproduced from El
Hajj Fuleihan G, Klerman EB, Brown EN et al.
Parathyroid hormone circadian rhythm is truly
endogenous. Journal of Clinical Endocrinology and
Metabolism 1997;82:281-286, copyright The
Endocrine Society. Figure and legend reproduced
from Czeisler CA, Buxton OM. The human
circadian timing system and sleep-wake regulation.
In: Kryger MH, Roth T, Goldstein CA, Dement
WC, eds. Principles and Practice of Sleep
Medicine, 7th Edition. Philadelphia: W.B. Saunders
Company, 2022).




                                                   14
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 15 of 238



Figure A-3. Daily patterns of short-term
memory, cognitive performance, subjective
alertness (mm), and core body temperature
('C) averaged across 18 participants during a
36--hour constant routine. Data collection
times are normalized with respect to each
participant's regular wake-up time (RW)
(assigned a reference value of 8:00 a.m. and
indicated by the downward arrow). The
extent to which memory and performance
scores deviated from the participant's 24-
hour mean is averaged across participants.
Data are expressed as percentages by which
these absolute deviations differed from the
participants' overall 24-hour mean score
(assigned a reference value of zero). Each
point is the centered mean (+SEM) of all
determinations made across a 2-hour
interval for performance, alertness, and
temperature and across a 4-hour interval for
short-term memory. (Reproduced from
Johnson MP, Duffy JF, Dijk DJ, Ronda JM,
Dyal CM, Czeisler CA. Short-term memory,
alertness and performance: a reappraisal of
their relationship to body temperature.
Journal of Sleep Research. 1992
Mar;1(1):24-29. doi: 10.1111/j.1365-
2869.1992.tb00004.x. PMID: 10607021).




                                                15
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 16 of 238




                                                         Figure A-4. Time course of psychomotor vigilance
                                                         performance [mean, median, 10% slowest and fastest
                                                         reaction times in milliseconds (logarithmic scale)] is
                                                         shown averaged across 10 subjects + Standard error of
                                                         the mean. All data were binned in 2-h intervals and
                                                         expressed with respect to elapsed time since scheduled
                                                         waketime. Vertical dashed reference line indicates
                                                         transition of subjects’ habitual wake- and bedtime
                                                         [figure from [2]].

                                                               Under ordinary circumstances, the homeostatic
                                                               drive for sleep increases throughout the usual
                                                               16-hour waking day. In the mid-afternoon, there
                                                               is a secondary daily peak in sleepiness [92, 93],
                                                               as noted in Figure A-5 below, after which time
                                                               sleepiness gradually begins to decline as the
                                                               circadian pacemaker sends out a stronger and
                                                               stronger drive for waking during the latter half
                                                               of the habitual waking day. Then, near the peak
                                                               of the circadian drive for waking, about 1-2
                                                               hours before the habitual bedtime, the hormone
melatonin is released [4, 94-99]. Activation of melatonin receptors on the surface of the human SCN
suppresses the firing of SCN neurons [100, 101]. Suppression of the firing of SCN neurons, which does
not interfere with the ability of SCN to oscillate with a near-24-hour period [102], is thought to quiet the
wake-promoting signal emanating from the SCN. Melatonin thereby suppresses the wake-promoting
signal emanating from the SCN, allowing us to fall asleep at our habitual hour without stopping the
circadian oscillation. Similarly, the SCN sends out a strong drive promoting sleep in the latter half of the
night, which helps to consolidate sleep once the pressure for deep slow-wave sleep is satiated in the first
half of the night [34, 43]. The latter half of the night is richest in REM sleep, which has a very prominent
circadian rhythm in its propensity [43, 70, 71, 103]. In the absence of sleep, in the latter half of the night
near the habitual wake time, elevated homeostatic drive for sleep interacts with the circadian peak of
sleep propensity to create a critical zone of vulnerability [2, 43]. This is a time of increased risk for both
motor vehicle crashes [92, 104-108] and train crashes [109] (Figure A-5). The magnitude of these
circadian variations in sleep propensity is greatly amplified when the homeostatic drive for sleep is
elevated [18, 110, 111].




                                                      16
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 17 of 238




Figure A-5 Impact of time of day on risk of fatigue-related crashes [6].

In the absence of periodic time cues, the period of the human circadian pacemaker is slightly longer than
24 hours [96, 112-114]. In order for the biological clock to coordinate its function with the timing of
events in the external world that operates on a 24-hour schedule, daily information from the environment
must therefore reach the circadian pacemaker. The circadian pacemaker is essentially reset by a small
amount each day by this external stimulus in order to maintain synchrony with the 24-hour day [45, 50,
61, 112].
Light is the principal environmental synchronizer of the mammalian SCN [45]. The SCN is connected to
the retina via a monosynaptic pathway called the retinohypothalamic tract (RHT), the presumed conduit
by which information from the external light dark cycle reaches the circadian clock. Research conducted
in my laboratory at the Brigham and Women's Hospital/Harvard Medical School has demonstrated that
properly timed exposure to bright light and darkness can rapidly shift the phase of the endogenous
circadian pacemaker in humans [32, 45, 48-60, 115, 116]. Both the magnitude and direction of the phase
shifts induced by light are dependent on the timing, duration, intensity and wavelength of the light
exposure [45, 49-51, 56-59, 116-124], together with the prior light exposure history [45, 62, 125].
Exposure to blue-enriched light from a light-emitting eReader can suppress melatonin, shift circadian
phase and affect sleep architecture [126, 127]. On average, light exposure occurring during the first half
of the biological night resets the circadian clock to a later hour; light received in the last quarter of the
biological night resets the circadian clock to an earlier hour [45, 50, 62, 116]. Thus, the circadian
pacemaker of an individual living on a conventional schedule of day work and night sleep is synchronized
by the naturally occurring light dark cycle to oscillate at the same period as the Earth's solar day, i.e., 24
hours.
As I noted in the chapter entitled “The human circadian timing system and sleep-wake regulation” that I
recently published in the 7th edition of the Principles and Practice of Sleep Medicine, “preservation of
light-induced melatonin suppression in otherwise totally blind people suffering from severe damage to the
outer retina led to the discovery that a distinct visual system mediates photic entrainment. …[We found



                                                     17
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 18 of 238



that in some otherwise totally blind individuals]…a bright light stimulus induced an acute suppression of
melatonin levels, which returned to elevated nighttime levels after light exposure was terminated… even
in a totally blind participant with no conscious light perception and a negative electroretinogram. The loss
of conscious light perception does not necessarily indicate the loss of photic input to the circadian timing
system, although that is the case in most blind individuals without light perception. Two distinct visual
systems exist: one for visual perception and a separate non-image-forming visual system. The non-image-
forming system synchronizes the circadian pacemaker in the SCN, provides alerting input to the sleep
switch in the ventrolateral preoptic area, suppresses melatonin secretion, and mediates of the pupillary
light reflex. Even in blind individuals, non-image-funning photoreception through intrinsically
photosensitive retinal ganglion cells can trigger some awareness for light, which stimulates higher
cognitive brain activity, independent of vision and in the absence of functional impact from the rods and
cones; also, it can engage supplemental brain areas to perform an ongoing cognitive process.” [Czeisler
CA, Buxton OM. The human circadian timing system and sleep-wake regulation. In: Kryger MH, Roth T,
Goldstein CA, Dement WC, eds. Principles and Practice of Sleep Medicine, 7th Edition. Philadelphia:
W.B. Saunders Company, 2022]. Interestingly, although it has been known for many years that
“perception of migraine headache, which is mediated by nociceptive signals transmitted from the cranial
dura mater to the brain, is uniquely exacerbated by exposure to light [, Rodrigo Noseda and colleagues
first reported in the highly-cited scientific journal Nature Neuroscience in 2010] that exacerbation of
migraine headache by light is prevalent among [such] blind individuals who maintain non–image-forming
photoregulation in the face of massive rod/cone degeneration…. [Those authors] propose that
photoregulation of migraine headache is exerted by a non–image-forming retinal pathway that modulates
the activity of dura-sensitive thalamocortical neurons”[128].
Recurrent Circadian Disruption and Sleep Deficiency
As Drs. Sirimon Reutrakul and Eve Van Cauter have written, “Sleep disturbances, including sleep
insufficiency and sleep fragmentation, have been linked to abnormal glucose metabolism and increased
diabetes risk. Well-controlled laboratory studies have provided insights regarding the underlying
mechanisms. Several large prospective studies suggest that these sleep disturbances are associated with an
increased risk of incident diabetes. Obstructive sleep apnea, which combines sleep fragmentation and
hypoxemia, is a major risk factor for insulin resistance and possibly diabetes.Whether glycemic control in
type 2 diabetes patients can be improved by treating sleep apnea remains controversial. Recently, sleep
disturbances during pregnancy and their relationship to gestational diabetes and hyperglycemia have
received considerable attention owing to potential adverse effects on maternal and fetal health.
Additionally, evidence from animal models has identified disruption of the circadian system as a putative
risk factor for adverse metabolic outcomes” [Reutrakul S, Van Cauter E. Interactions between sleep,
circadian function, and glucose metabolism: implications for risk and severity of diabetes. Ann N Y Acad
Sci. 2014 Apr;1311:151-73. doi: 10.1111/nyas.12355.].
As Dr. Orfeu Buxton and I noted in the chapter entitled “The human circadian timing system and sleep-
wake regulation” that I recently published in the 7th edition of the Principles and Practice of Sleep
Medicine, “Prolonged exposure to prolonged sleep restriction with concurrent circadian disruption in
controlled laboratory conditions decreases resting metabolic rate and increases plasma glucose
concentrations after a meal, an effect resulting from inadequate pancreatic insulin secretion, suggesting
that prolonged sleep restriction with concurrent circadian disruption alters metabolism and could increase
the risk for obesity and diabetes. Therefore, in any realistic model of the human circadian and sleep-wake
regulatory system used to manage performance and prevent disease, such environmental and societal



                                                    18
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 19 of 238



influences must be recognized. [Czeisler CA, Buxton OM. The human circadian timing system and sleep-
wake regulation. In: Kryger MH, Roth T, Goldstein CA, Dement WC, eds. Principles and Practice of
Sleep Medicine, 7th Edition. Philadelphia: W.B. Saunders Company, 2022]. Moreover, as we wrote in
the Journal of Clinical Endocrinology and Metabolism in 2017, recurrent circadian disruption couples
with chronic sleep deficiency can also adversely affect bone metabolism: “We found that circadian
disruption with sleep restriction was associated with a greater reduction in P1NP and increases in
sclerostin in younger men. The younger men had higher levels of bone turnover markers at baseline, a
finding consistent with higher bone (re)modeling rates during the peak bone mass consolidation that
occurs at this age and is critical for lifetime skeletal health. That circadian disruption and sleep restriction
had a greater effect on P1NP in younger men suggests that the adverse effects of this type of
sleep/circadian disturbance may be magnified during skeletally vulnerable times when bone
turnover is higher…. Furthermore, these findings may have additional important implications for
specific populations, such as military recruits and astronauts, who are subjected to sleep/circadian
disruption in early adulthood during this critical window of bone development/consolidation. The
increased incidence of stress fractures during basic training is likely multifactorial. However, these data
may explain part of the pathophysiology underlying these injuries, and the incidence of stress fractures
during basic training may be partially mitigated by sleep extension or at least minimizing the interval
during which recruits are exposed to sleep/circadian disturbance [Swanson CM, Shea SA, Wolfe P,
Cain SW, Munch M, Vujovic N, Czeisler CA, Buxton OM, Orwoll ES. Bone Turnover Markers After
Sleep Restriction and Circadian Disruption: A Mechanism for Sleep-Related Bone Loss in Humans. J
Clin Endocrinol Metab. 2017 Oct 1;102(10):3722-3730. doi: 10.1210/jc.2017-01147. PMID: 28973223;
PMCID: PMC5630251; emphasis added]. As we further wrote that year, “Findings indicate that sleep
restriction and concurrent circadian disruption, akin to rapidly rotating shift work, induce a significant
decline in a plasma marker of bone formation (P1NP) in men within the first 10 days of exposure,
despite as previously reported [16], no apparent change in a marker of bone resorption (CTX). The
rapid decline in P1NP suggests that even intermittent, non-sustained exposure to sleep restriction and
circadian disruption could have adverse skeletal effects. There was no evidence to suggest that the
initial decline in P1NP reversed with ongoing exposure to sleep restriction and concurrent circadian
disruption; indeed, P1NP levels remain lower or (for the young men) continued to decline over 3 weeks of
exposure. These changes in biochemical markers of bone turnover are similar to chronic sleep restriction
studies performed in rats that also revealed decreased bone formation on histomorphometry and lower
BMD over time…. Therefore, we hypothesize that even brief exposures to sleep restriction and
circadian disruption can impair bone metabolism due to the relatively rapid uncoupling of bone
turnover markers. Over time, either intermittent or chronic sleep and circadian disruptions could limit
attainment of optimal peak bone mass if they occur early in life or accelerate the age-related decline in
bone mass later in life. Additional research is needed to confirm if the observed P1NP decline translates
into changes in BMD [bone mineral density] and bone quality in humans exposed to sleep and circadian
disruption.…. The young men had an initial steep P1NP decline and continued to decline with
ongoing exposure. …these data from healthy men indicate that plasma P1NP declines within the first 10
days of exposure to sleep restriction and concurrent circadian disruption and remains lower than baseline
with ongoing exposure despite no change in CTX. The rapid decline in P1NP with initial exposure to
sleep restriction and circadian disruption and persistently lower P1NP with ongoing exposure is notable.
This uncoupling of bone turnover markers may have an adverse clinical impact on bone health if sleep
and circadian disruptions are brief (e.g., few days of shift work) or sustained (e.g., space missions,
rotating shift work), especially if they occur during critical times of bone modeling and remodeling”
[Swanson C… Czeisler CA.. Buxton OM. 24-hour profile of serum sclerostin and its association with


                                                      19
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 20 of 238



bone biomarkers in men. Osteoporos Int. 2017 Nov;28(11):3205-3213. doi: 10.1007/s00198-017-4162-5.
Epub 2017 Jul 26.; emphasis added].
Exposure to Artificial Light at Night (ALAN)
As I noted in the chapter entitled “The human circadian timing system and sleep-wake regulation” that I
recently published in the 7th edition of the Principles and Practice of Sleep Medicine, “In natural-light-
only conditions, the internal circadian clock is synchronized to solar time with melatonin onset near
sunset and melatonin offset before wake time and after sunrise, at a significantly earlier circadian phase.
In contrast, evening reading from an electronic tablet that emits short-wavelength-enriched visible light
delays endogenous circadian melatonin phase and the timing of REM sleep and increases evening
alertness, sleep latency, and morning sleepiness compared with reading a printed book [129]. Taken
together, these findings suggest that artificial light between dusk and dawn alters physiology through the
non-image-forming visual system by shifting circadian phase, inhibiting sleep-promoting neurons,
activating arousal promoting orexin neurons in the hypothalamus, and suppressing melatonin. These
effects of nocturnal artificial light in turn mask sleepiness, transiently increase alertness, and directly
interfere with sleep, leading to chronic sleep deficiency [130]” [Czeisler CA, Buxton OM. The human
circadian timing system and sleep-wake regulation. In: Kryger MH, Roth T, Goldstein CA, Dement WC,
eds. Principles and Practice of Sleep Medicine, 7th Edition. Philadelphia: W.B. Saunders Company,
2022]. Increasing evidence indicates that exposure to Artificial Light at Night (ALAN) has adverse health
consequences, even while individuals are asleep [Cho Y et al. Effects of artificial light at night on human
health: A literature review of observational and experimental studies applied to exposure assessment.
Chronobiol Int. 2015;32(9):1294-310. doi: 10.3109/07420528.2015.1073158.]. As Dr. Phyllis Zee and
colleagues wrote: “Ambient nighttime light exposure is implicated as a risk factor for adverse health
outcomes, including cardiometabolic disease. … This laboratory study shows that, in healthy adults, one
night of moderate (100 lx) light exposure during sleep increases nighttime heart rate, decreases heart
rate variability (higher sympathovagal balance), and increases next-morning insulin resistance when
compared to sleep in a dimly lit (<3 lx) environment. Moreover, a positive relationship between higher
sympathovagal balance and insulin levels suggests that sympathetic activation may play a role in the
observed light-induced changes in insulin sensitivity. … Measures of insulin resistance (morning
homeostatic model assessment of insulin resistance, 30-min insulin area under the curve [AUC] from a 2-
h oral glucose tolerance test) were higher in the room light versus dim light condition. Melatonin levels
were similar in both conditions.

                                                               Fig B-1.HOMA-IR for room light (n = 10) and
                                                               dim light (n = 10) conditions on Day 1 and
                                                               Day 2. HOMA-IR was significantly higher on
                                                               Day 2 compared to Day 1 in the room light
                                                               condition versus the dim light condition. P
                                                               2 between conditions (unpaired Student’s t
                                                               test). The error bars represent SD. From
                                                               Mason IC et al. Light exposure during sleep
                                                               impairs cardiometabolic function. Proc Natl
                                                               Acad Sci U S A. 2022 Mar
                                                               22;119(12):e2113290119.




                                                    20
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 21 of 238



In the room light condition, participants spent proportionately more time in stage N2 and less in slow
wave and rapid eye movement sleep. Heart rate was higher and heart rate variability lower (higher
sympathovagal balance) during sleep in the room light versus the dim light condition. Importantly, the
higher sympathovagal balance during sleep was associated with higher 30-min insulin AUC, consistent
with increased insulin resistance the following morning. These results demonstrate that a single night of
exposure to room light during sleep can impair glucose homeostasis, potentially via increased SNS
activation. Attention to avoiding exposure to light at night during sleep may be beneficial for
cardiometabolic health.” [Mason IC et al. Light exposure during sleep impairs cardiometabolic function.
Proc Natl Acad Sci U S A. 2022 Mar 22;119(12):e2113290119. doi: 10.1073/pnas.2113290119. 86195;].




                                                          Fig. B-2.Matsuda insulin sensitivity index for room
                                                          light (n = 10) and dim light (n = 10) conditions on
                                                          Day 1 and Day 2. Matsuda index (y-axis) was
                                                          calculated as 10,000/square root of [fasting
                                                          glucose × fasting insulin] × [mean glucose × mean
                                                          insulin during OGTT]. Matsuda index was
                                                          significantly lower on Day 2 compared to Day 1 in
                                                          the room light condition versus the dim light
                                                          condition. P values refer to the change from Day 1
                                                          to Day 2 between conditions (unpaired Student’s t
                                                          test). The error bars represent SD. From Mason IC
                                                          et al. Light exposure during sleep impairs
                                                          cardiometabolic function. Proc Natl Acad Sci U S A.
                                                          2022 Mar 22;119(12):e2113290119



The results of these laboratory studies have been corroborated by epidemiologic studies. In 2019, Dr
revealed that in a very large epidemiologic study of 43,722 women “with no history of cancer or
cardiovascular disease who were not shift workers, daytime sleepers, or pregnant at baseline were
included in the analysis,… [and that having] any ALAN exposure while sleeping was positively
associated with a higher prevalence of obesity at baseline, as measured using BMI (PR, 1.03; 95% CI,
1.02-1.03), WC (PR, 1.12; 95% CI, 1.09-1.16), WHR (PR, 1.04; 95% CI, 1.00-1.08), and WHtR (PR,
1.07; 95% CI, 1.04-1.09), after adjusting for confounding factors, with P < .001 for trend for each
measure. Having any ALAN exposure while sleeping was also associated with incident obesity (RR, 1.19;
95% CI, 1.06-1.34). Compared with no ALAN, sleeping with a television or a light on in the room was
associated with gaining 5 kg or more (RR, 1.17; 95% CI, 1.08-1.27; P < .001 for trend), a BMI increase of
10% or more (RR, 1.13; 95% CI, 1.02-1.26; P = .04 for trend), incident overweight (RR, 1.22; 95%
CI,1.06-1.40; P = .03 for trend), and incident obesity (RR, 1.33; 95% CI, 1.13-1.57; P < .001 for trend).
These results suggest that exposure to ALAN while sleeping may be a risk factor for weight gain and
development of overweight or obesity. Further prospective and interventional studies could help elucidate
this association and clarify whether lowering exposure to ALAN while sleeping can promote obesity
prevention.” [Park YM, White AJ, Jackson CL, Weinberg CR, Sandler DP. Association of Exposure to



                                                   21
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 22 of 238



Artificial Light at Night While Sleeping With Risk of Obesity in Women. JAMA Intern Med. 2019 Aug
1;179(8):1061-1071. doi: 10.1001/jamainternmed.2019.0571. PMID: 31180469; PMCID: PMC6563591].
As Dr. Obayashi and colleagues wrote in 2019, “Light information received by the brain influences
human circadian timing and metabolism; low-level light at night (LAN) significantly increased body mass
and led to prediabetes in mice….. In our prospective [human] cohort study, bedroom light intensity was
measured at 1-min intervals in 678 elderly participants without diabetes at baseline. The average light
intensity recorded between bedtimes and rise times over two consecutive nights was used in the analysis.
… During follow-up (median, 42 months), 19 of the 678 participants (mean age, 70.6 years) developed
diabetes. Poisson regression models revealed that the incidence rate for diabetes was significantly
higher in the LAN group (average ≥ 5 lux, N = 128) than the dark group (average < 5 lux, N = 550)
(incidence rate ratio, 3.74; 95% confidence interval (CI), 1.55-9.05; p = 0.003). Further propensity score
adjustments in relation to LAN produced consistent results (incidence rate ratio, 3.19; 95% CI, 1.38-7.35;
p = 0.007). When the cut-off value of LAN was decreased to 3 lux, the relationship remained significant
(incidence rate ratio 2.74; 95% CI, 1.19-6.33; p = 0.018). Conclusions: Our findings suggest that LAN
exposure increases the incidence of diabetes in a general elderly population” [Obayashi K, Yamagami Y,
Kurumatani N, Saeki K. Bedroom lighting environment and incident diabetes mellitus: a longitudinal
study of the HEIJO-KYO cohort. Sleep Med. 2020 Jan;65:1-3. doi: 10.1016/j.sleep.2019.07.006. Epub
2019 Jul 22. PMID: 31704511.]
Dr. Phyllis Zee and colleagues have also conducted epidemiological research that has revealed that
ALAN in older people is associated with obesity, diabetes, and hypertension. This year, they reported
that: “Light at night (LAN) has been associated with negative health consequences and metabolic risk
factors. Little is known about the prevalence of LAN in older adults in the U.S. and its association with
cardiovascular disease (CVD) risk factors. We tested the hypothesis that LAN in older age is associated
with higher prevalence of individual CVD risk factors. 552 community-dwelling adults aged 63-84
underwent an examination of CVD risk factor profiles and 7-day actigraphy recording for activity and
light measures. Associations between actigraphy-measured LAN, defined as no light vs. light within the
5-hour nadir (L5), and CVD risk factors, including obesity, diabetes, hypertension, and
hypercholesterolemia, were examined, after adjusting for age, sex, race, season of recording, and sleep
variables. LAN exposure was associated with a higher prevalence of obesity (multivariable-adjusted odds
ratio (OR) 1.82 (95% CI 1.26-2.65)), diabetes (OR 2.00 (1.19-3.43)), and hypertension (OR 1.74 (1.21-
2.52)) but not with hypercholesterolemia. LAN was also associated with (1) later timing of lowest light
exposure (L5-light) and lowest activity (L5-activity), (2) lower inter-daily stability and amplitude of light
exposure and activity, and (3) higher wake after sleep onset. Habitual LAN in older age is associated with
concurrent obesity, diabetes, and hypertension” [Kim M, Vu TH, Maas MB, Braun RI, Wolf MS,
Roenneberg T, Daviglus ML, Reid KJ, Zee PC. Light at night in older age is associated with obesity,
diabetes, and hypertension. Sleep. 2022 Jun 22:zsac130. doi: 10.1093/sleep/zsac130. Epub ahead of print.
PMID: 35729737.].
Dr. Obayashi and colleagues have extended those findings to mental health risk, writing: “Previous
studies have indicated that minimal exposure to light at night (LAN) increases depression risk, even at 5
lux, in nocturnal and diurnal mammals. Although such low-level LAN may affect human circadian
physiology, the association between exposure to LAN and depressive symptoms remains uncertain. In the
present study, bedroom light intensity was measured objectively, and depressive symptoms were
assessed, during 2010-2014 in Nara, Japan. Of 863 participants (mean age = 71.5 years) who did not have
depressive symptoms at baseline, 73 participants reported development of depressive symptoms during



                                                     22
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 23 of 238



follow-up (median, 24 months). Compared with the "dark" group (average of <5 lux; n = 710), the LAN
group (average of ≥5 lux; n = 153) exhibited a significantly higher depression risk (hazard ratio = 1.89;
95% CI: 1.13, 3.14), according to a Cox proportional hazards model adjusting for age, sex, body mass
index, and economic status. Further, the significance remained in a multivariable model adjusting for
hypertension, diabetes, and sleep parameters (hazard ratio = 1.72; 95% CI: 1.03, 2.89). Sensitivity
analyses using bedroom light data with a cutoff value of ≥10 lux suggested consistent results. In
conclusion, these results indicated that exposure to LAN in home settings was independently associated
with subsequent depression risk in an elderly general population” [Obayashi K, Saeki K, Kurumatani N.
Bedroom Light Exposure at Night and the Incidence of Depressive Symptoms: A Longitudinal Study of
the HEIJO-KYO Cohort. Am J Epidemiol. 2018 Mar 1;187(3):427-434. doi: 10.1093/aje/kwx290. PMID:
28992236}.
Finally, in 2014, Dr. Obayashi and colleagues found that ALAN during sleep was associated with an
increased risk of insomnia. They wrote: “Chronic circadian misalignment between the internal and
environmental rhythms, which is typically related to night-shift work and clock-gene variants, is
associated with disruption of suprachiasmatic nucleus function and increased risk of insomnia. Under
controlled laboratory conditions, light at night (LAN) suppresses melatonin secretion, delays the internal
biological rhythm, and reduces sleepiness. Therefore, LAN exposure may cause circadian
misalignment and insomnia, though it remains unclear in real-life situations whether LAN exposure is
associated with insomnia. To evaluate an association between LAN exposure and sleep quality in home
settings, we conducted a cross-sectional community-based study in 857 elderly individuals (mean age,
72.2 years). We evaluated bedroom light intensity using a light meter and subjectively and objectively
measured sleep quality using the Pittsburgh Sleep Quality Index and an actigraph, respectively, along
with urinary 6-sulfatoxymelatonin excretion. Compared with the lowest quartile group of LAN intensity,
the highest quartile group revealed a significantly higher odds ratio (OR) for subjective insomnia in a
multivariate model adjusted for age, gender, body mass index, daytime physical activity, urinary 6-
sulfatoxymelatonin excretion, bedtime, rising time, and day length (adjusted OR, 1.61, 95% confidence
interval, 1.05-2.45, p=0.029). In addition, higher OR for subjective insomnia was significantly associated
with the increase in quartiles of LAN intensity (ptrend=0.043). Consistently, we observed significant
association trends between the increase in quartiles of LAN intensity and poorer actigraphic sleep quality,
including decreased sleep efficiency, prolonged sleep-onset latency, increased wake-after-sleep onset,
shortened total sleep time, and delayed sleep-mid time in multivariate models adjusted for the covariates
mentioned above (all ptrend<0.001). In conclusion, we demonstrated that LAN exposure in home settings
is significantly associated with both subjectively and objectively measured sleep quality in a community-
based elderly population” [Obayashi K, Saeki K, Kurumatani N. Association between light exposure at
night and insomnia in the general elderly population: the HEIJO-KYO cohort. Chronobiol Int. 2014
Nov;31(9):976-82. doi: 10.3109/07420528.2014.937491. Epub 2014 Jul 15. PMID: 25025617].
The Sleep Homeostat
Without sleep, alertness and neurocognitive performance exhibit a steady deterioration attributable to
sleep loss, onto which a rhythmic circadian variation is superimposed [2, 17, 31, 34, 39, 43, 45, 61, 65,
71, 73, 74, 89, 90, 110, 131-137]. During sustained wakefulness, 24 hours of sleep deprivation has been
shown to greatly impair neurobehavioral reaction time performance [2, 138, 139], to an extent that is
comparable to a level of 0.10 percent blood alcohol concentration [140-145]. The sedative effects of
alcohol can persist for more than six hours after alcohol ingestion, even after blood alcohol concentration
is no longer elevated [146]. As noted in Figure A-6 below, acute sleep deprivation impairs judgment



                                                    23
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 24 of 238



[147-149]; decision making [150]; cognitive performance [20, 151-153]; memory [154]; reaction time [2,
19, 133, 155]; visual-perceptual ability [14, 42, 155-159]; sensorimotor gating [160]; distractibility [155,
161] and ability to focus attention [154, 155], and increases the instability of waking neurobehavioral
functions [151, 152, 155] and the probability of eyelid closure and the risk of loss of situational
awareness, even when the eyes remain open [155].
Sleep Fragmentation
As Drs. Stamatakis and Punjabi demonstrated more than a decade ago, sleep fragmentation has an adverse
effect on glucose metabolism. They wrote: “Sleep disorders are increasingly associated with insulin
resistance, glucose intolerance, and type 2 diabetes mellitus. Whether the metabolic toll imposed by
sleep-related disorders is caused by poor-quality sleep or due to other confounding factors is not known.
The objective of this study was to examine whether experimental sleep fragmentation across all sleep
stages would alter glucose metabolism, adrenocortical function, and sympathovagal balance. … Sleep
was experimentally fragmented across all stages in 11 healthy, normal volunteers for two nights using
auditory and mechanical stimuli. Primary outcomes included insulin sensitivity (S(I)), glucose
effectiveness (S(G)), and insulin secretion, as determined by the intravenous glucose tolerance test.
Secondary outcomes included measures of sympathovagal balance and serum levels of inflammatory
markers, adipokines, and cortisol…. Following two nights of sleep fragmentation, S(I) decreased from
5.02 to 3.76 (mU/L)(-1)min(-1) (P < .0001). S(G), which is the ability of glucose to mobilize itself
independent of an insulin response, also decreased from 2.73 x 10(-2) min(-1) to 2.16 x 10(-2) min(-1) (P
< .01). Sleep fragmentation led to an increase in morning cortisol levels and a shift in sympathovagal
balance toward an increase in sympathetic nervous system activity. Markers of systemic inflammation
and serum adipokines were unchanged with sleep fragmentation. … Fragmentation of sleep across all
stages is associated with a decrease in S(I) and S(G). Increases in sympathetic nervous system and
adrenocortical activity likely mediate the adverse metabolic effects of poor sleep quality” [Stamatakis
KA, Punjabi NM. Effects of sleep fragmentation on glucose metabolism in normal subjects. Chest. 2010
Jan;137(1):95-101. doi: 10.1378/chest.09-0791. Epub 2009 Jun 19. PMID: 19542260; PMCID:
PMC2803120].




                                                     24
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 25 of 238




Figure A-6. Sleep deficiency, which can be the result of many factors, impairs neurobehavioral
performance [6].

Paradoxically, instead of slowing response times to preserve accuracy, research from my laboratory and
from others has demonstrated that sleep-deprived participants increase speed at the expense of making
more mistakes (i.e., become ‘fast and sloppy’) and take greater risks [42, 162, 163], making hasty
decisions based on inadequate information [42]. This results in increased rates of errors on selective
attention tasks that require a search for targets in the visual field [42]. Commonly used stimulants, such as
caffeine, modafinil and amphetamines, all fail to reverse the impairment of decision making and increased
risk-taking behavior induced by sleep deficiency, whereas both are restored once recovery sleep is taken
[163]. As shown in Figure A-7 below, it has been known for decades that sleep deprivation greatly
increases the probability of missing signals in the visual field [156], as we have also more recently shown
in the case of attentional failures [13].




                                                     25
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 26 of 238




                                                                                       Figure A-7




These neurobehavioral performance impairments associated with sleep loss are accompanied by changes
in regional brain activity that can be observed with brain imaging studies [137, 164-169]. The instability
of the waking state due to sleep loss is associated with the occurrence of so-called micro-sleep episodes
(i.e., involuntary sleep episodes < 15 seconds long) and sleep attacks (i.e., involuntary sleep episodes >15
seconds long) [19, 20, 137], both of which can be classified as attentional failures [12, 13]. The impact of
48 hours of sleep loss on neurobehavioral performance is even more severe, degrading the ability to
sustain attention and vigilance [20, 21, 110, 170], and to withhold automatic responses and inhibit
inappropriate responses [171]. Yet, even a single episode of moderate sleep deprivation, such as staying
awake for 17 to 19 hours without sleep degrades neurobehavioral performance of transportation workers
to a level that is equivalent or worse than that at a blood alcohol concentration of 0.05%, slowing
response speeds by up to 50% and significantly degrading accuracy [141]. Acute partial sleep deprivation
for 1-3 nights can also induce headaches that last from 1 hour to all day [172, 173].
Chronic sleep restriction, such as losing 2 hours of sleep per night, impairs reaction time and driving
performance by an amount equivalent to that induced by alcohol ingestion [143, 145]. In fact, a 2002
population-based case controlled epidemiologic study revealed that drivers who reported five hours or
less of sleep in the previous 24 hours have a 2.9-fold increased risk of a crash in which at least one
occupant was admitted to hospital or killed [174], comparable to the increase in crash risk associated with
a blood alcohol concentration of 0.08-0.10 percent [175]. Sleep fragmentation also impairs next-day
functioning. As shown in Figure A-8 below, Positron Emission Tomography (PET) imaging has revealed
that sleep deprivation is associated with decreased metabolism in the thalamus, the pre-frontal cortex and
the parietal cortex [165].




                                                     26
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 27 of 238




Figure A-8. Glucose utilization as measured by positron emission tomography (PET), which is a nuclear
imaging technology that enables visualization of metabolic processes in the brain. This image illustrates
the changes induced by one night of sleep loss on regional uptake of glucose, which is the major source
of brain energy utilization (from [165]).

In fact, the duration of time it takes to react to a visual stimulus (simple reaction time) averages three
times longer after 24 hours of wakefulness than before an individual has stayed up all night [2]. Extended
durations of wakefulness also increase the risk of attentional failures [13]—in which the eyes begin
rolling around in their sockets at the transition from wakefulness to sleep—and of involuntary transitions
from wakefulness to sleep, despite efforts to remain awake [2]. Alertness and performance are determined
by the interaction of a circadian and a sleep wake dependent, or homeostatic process; this interaction has
been successfully modeled mathematically [110, 111, 136, 176-178]. In my laboratory, we have
quantified the contribution of the circadian pacemaker and the sleep homeostat to sleep duration and
consolidation and also to subjective alertness, neurocognitive performance and mood [17, 31, 34, 39, 61,
65, 69-74, 89, 90, 131, 132, 134, 135], and have found that Sleep disorders, depression and anxiety are
associated with adverse safety outcomes in healthcare workers [179].. We found that even within the
range of 0 to 18 hours of wakefulness, the contribution of the sleep homeostat to variations of alertness
and performance was equal to the contribution of the circadian pacemaker. The data further revealed that
the detrimental effects of prior wakefulness on alertness were strongest when wakefulness occurred close
to the minimum of the endogenous core body temperature rhythm, which normally occurs during the



                                                    27
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 28 of 238



latter half of the night shift among rotating shift workers. This indicates that alertness and performance
are critically dependent on appropriate alignment of the sleep wake schedule to the endogenous circadian
pacemaker, which is fundamentally disrupted by night shift work. Brain imaging studies have revealed
that the interaction of the circadian clock with this homeostatic sleep drive is rooted in measurable
changes in cortical and subcortical responsiveness and that the nature of the interaction varies among
cortical and subcortical brain regions [180, 181].
Moreover, both acute and chronic sleep loss adversely affect postural stability, increase postural sway and
slow visual inputs that contribute to postural control [182-195]. Experimental participants in England
have been reported to experience near falls when exposed to brief balance perturbations while sleep
deprived, leading to the conclusion that “sleep deprivation can be a contributing factor to decreased
postural control and falls” [193]. The impact of sleep loss on balance control is so robust that scientists
from laboratories in Finland, Israel and China have proposed that short postural tests be used as an
objective method to assess fatigue due to sleep deprivation [185, 188-191, 194].
Impact of Chronic Sleep Curtailment
Multiple nights of insufficient sleep have also been shown to have detrimental effects on alertness,
vigilance, psychomotor skills, postural stability, judgment and mood [18, 20, 21, 195-202]. The ability to
sustain attention, maintain cognitive performance and prevent attentional failures deteriorates when sleep
is chronically restricted to 7 or fewer hours per night for a week or longer [1, 21, 200]. This effect is even
seen in the absence of extended wakefulness [203]. Subjective measures of stress, tiredness, sleepiness,
irritability, hostility, distractibility and the frequency of complaints increase, while sociability and
optimism decrease in the face of chronic sleep loss, which significantly increases psychometric measures
of total mood disturbance and impairs judgment [148, 150, 161, 204, 205]. Objective measures of
performance, including reaction time and memory, worsen with each successive day that insufficient
sleep is obtained [21, 200] (see Figure A-9 below).



                                                                 Figure A-9. Repeated nights of sleep
                                                                 loss result in cumulative cognitive
                                                                 impairment. Higher number of
                                                                 performance lapses indicate poorer
                                                                 performance and more unstable
                                                                 alertness. Note: B, baseline day.

                                                                 Figure and legend reprinted from
                                                                 Sleep Deprivation and Sleep
                                                                 Disorders: An Unmet Public Health
                                                                 Problem, a report of the Institute of
                                                                 Medicine Committee on Sleep
                                                                 Medicine and Research Sleep
                                                                 Disorders, 2006 [1].




                                                      28
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 29 of 238



The effects of sleep deprivation are not overcome with a single night of sleep but can carry over several
days. Increasing chronic sleep deprivation leads to an increased probability of experiencing lapses of
attention and falling asleep involuntarily in inappropriate or dangerous situations. In a condition of
chronic sleep deprivation, even if work were scheduled during an appropriate circadian phase, the
probability of falling asleep while working is markedly increased.
Recent evidence suggests that even after a single night of 8 to 12 hours of recovery sleep, individuals with
a history of recent exposure to chronic sleep loss may be more vulnerable to the effects of re-exposure to
sleep restriction, exhibiting nearly double the deterioration in performance on a vigilance task upon acute
sleep restriction to 4 hours of time in bed as compared with their response to the same challenge when
their recovery sleep was not preceded by exposure to chronic sleep debt [206]. Thus, work schedules that
induce chronic sleep curtailment may generate a deterioration of performance that becomes progressively
greater with additional weeks of insufficient sleep. Despite intermittent opportunities for recovery sleep,
individuals exposed to such schedules become increasingly vulnerable to the adverse effects of sleep loss
on performance. We recently demonstrated in my laboratory that when individuals are chronically
exposed to a schedule that affords inadequate time for sleep (i.e., 5.6 hours available for sleep each day),
then the adverse effects of misalignment of circadian phase and acute sleep loss are an order of magnitude
greater, even after participants were provided a 10-hour sleep opportunity [18]. We found that even a 10-
hour sleep opportunity in bed in a dark and quiet room is insufficient to reverse the increased
vulnerability to sleep loss associated with a week of chronic sleep restriction to 5.6 hours of time-in-bed
per 24 hours [18]. Moreover, we have found that chronic sleep curtailment, even without extended
wakefulness that exceeds 16 hours, similarly degrades human vigilance performance [203].
Increasing sleep deprivation leads to cognitive slowing, an increased probability of experiencing lapses of
attention, episodes of automatic behavior [207, 208] and/or falling asleep while attempting to remain
awake at work or on the commute to or from work. In a condition of chronic sleep deprivation, even if
work were scheduled during an appropriate circadian phase, the probability of a sleep-related attentional
failure or neurobehavioral performance failure while awake is markedly increased [20, 21, 200]. In fact,
six hours of time in bed per night for a week or two brings the average young adult to the same level of
neurobehavioral impairment as 24 hours of wakefulness, whereas 4 hours of time in bed per night induces
that same level of impairment in four to six days and within a week or two induces a level of impairment
comparable with 48 hours of wakefulness (i.e., two consecutive days and nights without sleep). Young
adults are particularly vulnerable to the adverse impact of acute and chronic sleep deficiency on
neurobehavioral performance and fatigue-related motor vehicle crash risk [108, 209, 210]. Metabolic
studies have demonstrated that such sleep curtailment also has adverse effects on the metabolic and
immune systems as well, leading to alterations in glucose metabolism and increasing the probability of
weight gain [211-216]. As with alcohol intoxication, chronically sleep-deprived individuals tend to
underestimate the extent to which their performance is impaired, failing to judge accurately the impact of
sleep deficiency on their functioning and alertness, despite increasing impairment evident in objective
recordings of the rate of lapses of attention (see Figure A-10 below from [21]).




                                                    29
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 30 of 238




                                                                                            Figure A-10.




Sleep-wake transitions, sleep attacks and automatic behavior
Importantly, individuals struggling to stay awake in the face of elevated sleep pressure—whether due to
chronic sleep restriction or circadian misalignment—are not always able to do so. Sleep deprivation
greatly increases the risk that an individual will succumb to the increased sleep pressure, and that the
brain’s “sleep switch” located in the ventrolateral preoptic (VLPO) area of the hypothalamus [67] will
initiate an involuntary transition from wakefulness to sleep. Due to the influence of the circadian timing
system, such an involuntary transition from wakefulness to sleep is most probable in the latter half of the
night near the habitual wake time, which coincides with the morning commute, and in the mid-afternoon.
These classic consequences of chronic partial sleep deprivation are particularly evident while doing a
routine task like driving. In a condition of chronic sleep deprivation, even when work (or wakefulness) is



                                                    30
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 31 of 238



scheduled during an appropriate circadian phase, the probability of a sleep-related neurobehavioral
performance failure while working and/or driving is markedly increased. Of course, once an individual
has lost the struggle to stay awake and makes the transition from wakefulness to sleep—however
briefly—driving performance is much worse than that of a drunk driver, as the individual is unresponsive
to the environment throughout the duration of the micro-sleep episode or the sleep attack. Moreover,
when work (or wakefulness) is scheduled during an inappropriate circadian phase, the probability of a
sleep-related neurobehavioral performance failure while commuting home from work after the overnight
shift is also markedly increased.
In addition, sometimes drowsy individuals linger in an intermediate state between sleep and wakefulness.
The operator of a motor vehicle in this sleep-related condition, which probably represents a transitional
state in which part of the brain is locally asleep while part of the brain remains awake, may maintain full
pressure on the accelerator pedal and proceed for a considerable distance, even negotiating gradual turns
and exhibiting goal-directed behavior, but fail to heed stop signals or respond appropriately to traffic
conditions in a timely manner. This intermediate state, which has been termed automatic behavior
syndrome, is characterized by retention of the ability to maintain pressure on the accelerator, to turn the
steering wheel and to carry out rudimentary tasks and to provide semi-automatic responses to stimuli
without appropriate cortical integration, often resulting in a complete loss of situational awareness and
judgment [207, 217, 218]. In the case of a motor vehicle driver, this could involve driving toward the
flashing hazard lights of disabled vehicles in a highway breakdown lane rather than steering clear of those
vehicles. Another example of automatic behavior syndrome has been repeatedly documented in trains
equipped with alerter devices that are designed to stop the train if an engineer were to fall asleep or
otherwise be incapacitated. Unfortunately, as Oman and Liu reported in 2007, “…automatic resetting
behavior among engineers … ultimately defeats the purpose [of the alerter].” [Oman CM, Liu AM.
Locomotive In-Cab Alerter Technology Assessment. in Development of Alternative Locomotive In-Cab
Alerter Technology: Final Technical Report DOT Volpe PR#79-3389, DTS-79, Volpe National
Transportation Systems Center, Cambridge, MA, 30 November, 2006]. One stakeholder in the rail
industry provided an apt description of the impact of fatigue on the effectiveness of the alerter devices: “
‘Engineers can become inattentive and keep hitting the alerter even when nodding off. ‘Alerter naps’ has
become a commonly used term.” Oman and Liu report that: “Accident investigations show that fatigued
engineers are able continue their automatic resetting behavior even while in a very low level of
physiological arousal, including brief episodes of micro-sleep, thus defeating the original purpose of the
alerter.” and that “The NTSB has noted that current alerter designs foster the development of automatic
pre-emptive resetting behavior by drowsy engineers….”
National survey data reveal that 56 million Americans drive while drowsy each month, and an estimated 8
million Americans fall asleep at the wheel each month—with half of those who do so drifting into another
lane or onto the rumble strip and 10 percent running off the road [219]. Remarkably, many drivers
continue to operate their vehicles in a nether world between wakefulness and sleep that is associated with
automatic behavior, which can occur when part of the brain is awake and part is asleep. A striking
example of sleep-related automatic behavior associated with operation of a motor vehicle for an extended
duration of time was documented in a video recording, when the husband of a motorist who was nearly
driven off the highway by a drowsy driver called 911 to report the drowsy driver and then videotaped the
drowsy driver as she drove for 30 minutes on U.S. Interstate 25 in Denver




                                                    31
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 32 of 238




[(https://www.thedenverchannel.com/news/woman-videotaped-falling-asleep-while-driving-on-i-25)
accessed May 27, 2018]. In that 30-minute video, the driver can be seen with her head leaning back
against the headrest, as shown in Figure A-11.




Figure A-11. An admittedly drowsy driver, Ms. Karyn Steinert, is shown leaning against the headrest
while driving on I-25 in Denver at speeds of up to 70 mph. She reportedly caught herself nodding off at
the wheel frequently during this drive, and told the Colorado State Trooper who ticketed her for
investigation of reckless driving that she only had 2 hours of sleep the night beforehand. The incident was
documented on the morning of October 15, 2007 by Christian Pruett and his wife, who was driving on
Interstate 25 in Denver, when they both noticed a white sport utility vehicle next to them drifting from lane
to lane, and nearly sideswiping their car. Mr. Pruett grabbed their video camera and photographed the
sleeping woman with her head back as her vehicle moved along I-25.




                                                     32
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 33 of 238




Figure A-12. Screen capture from a video of a white sport utility vehicle (right) driven by an admitted
drowsy driver, Ms. Karyn Steinert. In this image, the white SUV driven by Ms. Steinert is shown drifting
across the white line on the left side of the middle lane in which she is driving, forcing the dark-colored
pickup truck in the left lassing lane over the fog line and the rumble strip and onto the shoulder of the
interstate highway. Ms. Steinert admitted that she had caught herself nodding off at the wheel frequently
during this 30-minute videotaped drive, in which she similarly caused a tanker truck to go onto the
shoulder. The incident was documented on the morning of October 15, 2007 by Christian Pruett and his
wife, who was driving on Interstate 25 in Denver, when they both noticed a white sport utility vehicle next
to them drifting from lane to lane, and nearly sideswiping their car. After calling the police, Mr. Pruett
videotaped and photographed the sleeping woman with her head back as her vehicle moved along I-25.

Sleep deprivation degrades reaction time, impairs judgment, memory and vigilance, reduces attention
span, increases distractibility, and raises the risk of attentional failures, automatic behavior, falling asleep
at the wheel and motor vehicle crashes, with sleep deficiency and sleep disorders accounting for a
population-attributable risk of at least 20 percent of all motor vehicle crashes [28]. This estimate is
consistent with the conclusion of the Institute of Medicine and the AAA Foundation for Traffic Safety
that sleep deficiency and sleep disorders account for 20 percent of serious crash injuries and deaths, and
with the National Center for Statistics and Analysis that “Drowsy/Asleep/Inattentive” drivers account for
20 percent of fatal two-vehicle truck crashes [1, 6, 27, 161, 220, 221][Moonesinghe, R., A. Longthorne.,
U. Shankar., S. Singh., R. Subramanian., and J. Tessmer. An Analysis of Fatal Large Truck Crashes.
Report No. DOT HS 809. Mathematical Analysis Division, National Center for Statistics and Analysis,
National Highway Traffic Safety Administration U.S. Department of Transportation, Washington, D.C.
March 2003.].




                                                       33
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 34 of 238



                                                                                  Figure A-13.




The conclusion that drowsy driving is a causal factor in 20 percent of all serious injuries resulting from
motor vehicle crashes in the U.S. [1, 220] is consistent with earlier reports [222] and with estimates in the
U.K. [107]. As illustrated in Figure A-14 below, sleep-related crashes therefore result in nearly 55,000
debilitating injuries and 6,400 to 6,800 deaths annually [1, 27] (Figure A-15). These estimates are also
consistent with data from a recent study conducted by researchers at Virginia Tech that was funded by the
U.S. Department of Transportation, in which 100 automobiles were equipped with multiple video
monitors and the driving of all of the individuals driving those cars were monitored over a year-long
duration [223]. Sleep deprivation renders drivers unfit to drive [221]. Video camera recording of the
driver’s face was continuously recorded and scored for distractions, such as cell phone use, eating,
personal grooming, conversations with passengers, operating a GPS, etc., and drowsiness. The
automobiles were instrumented to capture actual and near-miss crash incidents. Drowsiness was by far the
most common contributing factor to these incidents, accounting for 22 percent of them [223, 224], equal
to the contribution frequency of all other distracters combined (see Figure A-13 above). Legislation is
needed at the state level to address the epidemic of drowsy driving [220].




                                                     34
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 35 of 238




                                                                                   Figure A-14.




Nationally, it is estimated by drivers that drowsy driving contributed to 1.35 million crashes within the
prior 5 years. An estimated 7.5 million drivers admit to having fallen asleep at the wheel within the past
month, and another estimated 7.5 million drivers admit to having fallen asleep at the wheel during the
prior 2-6 months (i.e., an average estimate of 300,000 drivers fall asleep at the wheel per day in the U.S.)
[219]. The following text quotation is adapted from the published results of a national survey study
conducted in 2002 by NHTSA: “The average drowsy driving experience is associated with the following
characteristics: the driver averaged 6.0 hours of sleep the previous night (and 24% had slept fewer than
five hours); the driver had been driving for an average of 2.9 hours (but 22% had been driving for more
than four hours); the incident occurred while driving on an interstate type highway with posted speeds of
55 mph or higher (59%); and nearly half (48%) of the drivers reported that they nodded off between 9
p.m. and 6 a.m. [219]. The overwhelming majority (92%) of drivers who nodded off while driving within
the past six months reported that they were startled awake. However, 33% drifted into another lane or
onto the shoulder, and 19% admit that they crossed the centerline. In 10% of cases, the driver reportedly
ran off the road. An estimated 292,000 drivers are involved in some type of crash within the past six
months as a result of nodding off at the wheel.” [219]. In 2009, the Commonwealth of Massachusetts
issued the report of the Massachusetts Commission on Drowsy Driving, on which I served as a member,
to address this important public safety issue in Massachusetts [220] I also served as Chair of a National
Sleep Foundation Task Force to develop a multidisciplinary expert consensus statement on the impact of
sleep deficiency on driver fitness [221].




                                                     35
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 36 of 238



These widely recognized consequences of sleep deficiency are particularly evident while doing a routine
task like driving. That is because operating a motor vehicle is a demanding vigilance task is uniquely
vulnerable to a momentary lapse of attention or slowed reaction time. Moreover, driving is a routine,
highly over-learned task with minimal novelty that occurs while drivers are in a sedentary position. Night
driving takes place in dim light or near darkness, providing a minimal photic alerting signal to the brain.




                                                                                            Figure A-15.




Figure A-15. Operating a motor vehicle is a demanding vigilance task that is uniquely vulnerable to sleep
deficiency and circadian misalignment, and is associated with nearly twenty fatalities in the United States
each day [6].

In a condition of chronic sleep deprivation, even when work (or wakefulness) is scheduled during an
appropriate circadian phase, the probability of a sleep-related neurobehavioral performance failure while
working or driving is markedly increased. Once an individual has lost the struggle to stay awake and
makes the transition from wakefulness to sleep—however briefly—driving performance is much worse
than that of a drunk driver, as the individual is unresponsive to the environment throughout the duration
of a sleep-related attentional failure, such as a sleep-related lapse of attention, a micro-sleep episode or a
sleep attack. In 2004, Lamond and colleagues published a study in which they quantified the deterioration
in neurobehavioral performance that occurs at the end of the night shift in comparison with that induced
by alcohol intoxication [225]. In this laboratory-based study simulating night shift work, individuals were
scheduled to work in the laboratory on a series of consecutive 8-hour shifts, and scheduled to sleep up to
11 hours per day in a sound-attenuated, dark room during the daytime. Neurobehavioral performance in
those participants in the night shift work condition was compared with an alcohol intoxication condition
in which those same participants were required to consume alcoholic beverage "consisting of 40% vodka


                                                     36
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 37 of 238



and a non-caffeinated soft drink mixer, at hourly intervals." Notwithstanding the greater opportunity for
sleep between shifts afforded by an 8-hour as compared to a > 12-hour shift, after the third consecutive 8-
hour overnight shift, "impairment equivalent to that caused by a BAC [blood alcohol concentration] of
0.10% was observed for lapse frequency [i.e., attentional failures] at the 8th hour [i.e., at 7 am]" [225]. As
with alcohol intoxication, chronically sleep deprived individuals tend to underestimate the extent to which
their performance is impaired, despite increasing impairment evident in objective recordings of the rate of
lapses of attention or attentional failures [21]. Moreover, most drivers who cause sleep related motor
vehicle crashes are often reportedly unaware that they fell asleep or had a sleep-related attentional failure
that caused the crash [226]. Sleep deficiency, circadian disruption, sleep-promoting drugs or foods, and
medical illness can all increase the risk of impairment by fatigue (Figure A-16). Soporific environmental
conditions can exacerbate this risk.


                                                                                           Figure A-16.




Figure A-16. Many different factors can result in the fatigue-related impairment [6].

Interruptions of Sleep and Sleep Inertia
Repeated interruptions of sleep, such as is experienced by employees when they are on call, degrade the
restorative quality of sleep, compared to an equal amount of consolidated sleep. Such repeated
interruptions of sleep are thought to contribute to the excessive daytime sleepiness associated with sleep
disordered breathing, which induces many brief arousals during the night. Interestingly, just being on call
itself disturbs sleep, even when the individual is not called [227, 228]. Ambient noise, such as occurs in
hospitals and prisons, can also disturb sleep [229] [Dewa LH, Kyle SD, Hassan L, Shaw J, Senior J.
Prevalence, associated factors and management of insomnia in prison populations: An integrative review.
Sleep Med Rev. 2015 Dec;24:13-27. doi: 10.1016/j.smrv.2014.12.002. Epub 2014 Dec 13. PMID:
25644983]. Animal studies have demonstrated that such environmentally noise-induced acute partial
sleep deprivation can induce weight gain [230]. Moreover, long-term exposure to noise that disturbs sleep



                                                     37
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 38 of 238



has been associated with an increased risk of diabetes [231] and objectively assessed daytime sleepiness
[232].
Cognitive performance is markedly degraded during the transition from sleep to wakefulness [16, 233-
244]. The extent to which this phenomenon, which is called sleep inertia, interferes with neurobehavioral
performance is related to the depth of the prior sleep episode [240]. Thus, agents that interfere with sleep,
such as caffeine, can mute the effect of sleep inertia [245]. The adverse impact of sleep inertia on
neurobehavioral performance on performance can exceed the impact of total sleep deprivation, as shown
in Figure A-17 from our publication in the Journal of the American Medical Association (JAMA)[16].
Individuals who are subjected to acute total sleep deprivation or chronic sleep restriction often experience
very deep sleep, which together with an adverse circadian phase will increase the effects of sleep inertia
[15, 16, 240, 246, 247]. Upon awakening from sleep, individuals will often be confused and may even
lack situational awareness.


Figure A-17




As shown in Figure A-18 below from research performed in my laboratory by Dr. SE McCormack in
collaboration with Drs. K Kwong and BR Rosen at MIT, sleep inertia following a 45-minute sleep



                                                     38
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 39 of 238



 episode in an MRI brain scanner at 4 am is associated with local loss of functional Magnetic Resonance
 (brain) Imaging activation in response to an attention task. (SE McCormack, D Aeschbach, K Kwong,
 BR Rosen, CA Czeisler, Presented at the 17th Congress of the European Sleep Research Society, P087,
 October 9, 2004, Prague, Czech Republic).



Figure A-18.




 Night Shift Work Induces Misalignment Between the Phase of the Circadian Pacemaker and the
 Work Sleep Schedule For the night shift worker, scheduled work hours occur during those normally
 reserved for sleep. As a result, the worker attempts to remain awake during habitual sleeping hours, when
 the brain is programmed to promote sleep, and attempts to sleep during habitual waking hours when the
 brain is programmed to maintain wakefulness. Since the turn of the century, it has been recognized that
 complete physiologic adaptation of endogenous circadian rhythms to the required inversion of their sleep
 wake schedule, even among permanent night shift workers, does not occur even after years of permanent
 night time work [48, 248-253].
 Maladaptation of night shift workers' circadian system to their required work schedule results from their
 exposure to conflicting environmental and behavioral synchronizers. For a commercial motor vehicle
 driver, this is particularly true on days that they are driving, since drivers are exposed to the solar light-
 dark cycle to a much greater extent than a person working in an indoor environment. This light exposure
 synchronizes the biological clock to the solar day, reinforcing a conventional schedule of day activity and
 night sleep. Therefore, a maladaptive circadian phase relationship with the outside world is maintained for
 the night commercial motor vehicle driver, promoting sleep at night and wakefulness during the day. This
 environmental synchronizer is also reinforced by exposure to social and behavioral influences promoting
 day activity and night sleep, such as the often day-oriented schedules of pickup and drop-off locations.



                                                      39
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 40 of 238



These influences often lead the night shift worker to postpone, interrupt or truncate daytime sleep.
Exposure to these environmental, social and behavioral synchronizers can overcome the potential effect
of the inverted work-rest schedule on the circadian clock, resulting in misalignment between the
biological time programmed into the brain's circadian clock and the work rest schedule required of the
night shift worker [48]. Misalignment of the circadian pacemaker with the desired sleep wake schedule is
thus a chronic consequence of night shift work, even among permanent night shift workers.
Numerous laboratory studies, including those in my own laboratory, have shown that there is a prominent
circadian variation in objective and subjective measures of alertness, performance (psychomotor,
vigilance, memory) and attention or ability to concentrate with a nadir in the latter half of the usual sleep
time [9, 31, 69, 89, 250, 254-266]. Because of the failure of the circadian pacemaker to adapt to the
inverted work schedule in most night shift workers, the peak drive for sleep continues to occur during the
latter half of the night and into the morning hours while the employee is at work and/or commuting home
from work. In 1995, Pack et al. noted a peak that the peak of fatigue-related motor vehicle crashes occurs
in the early morning hours, peaking between 7-8 a.m. [226]. Extended duration work shifts, in which
night workers are also scheduled to work during daytime hours can further increase sleep pressure and
lead to increased risk of sleep-related neurobehavioral performance failure [267].
There are inter-individual differences in the ability to maintain performance during night work. Increased
vulnerability to attentional failure during acute sleep deprivation in women depends on menstrual phase
[268]. Excessive sleepiness during night work or insomnia during day sleep are the cardinal symptoms of
Shift Work Disorder [269], which recent research indicates may have a genetic basis in some individuals
[270]. A number of countermeasures and treatments can be effective in treating the symptoms of Shift
Work Disorder, including improvements in work scheduling, use of properly timed use of light,
administration of nutritional supplements such as caffeine and melatonin, and use of pharmacologic
agents such as modafinil, as we have demonstrated in my laboratory and our field study investigations
[13, 44, 48, 271-276].
Work during nighttime hours leads to sleep deprivation
Several mechanisms are responsible for the sleep deprivation associated with night shift work. The first
and most direct effect is that the employees are now awake and working during the hours at which they
ordinarily sleep. This can occur when employees work throughout the time of their usual sleep episode
(e.g., an overnight work shift), during the first half of the usual sleep episode (e.g., a late evening shift), or
during the final half of their usual sleep episode (e.g., an early morning shift). Second, abnormalities in
the internal architecture and consolidation of sleep result from the misalignment of their attempted sleep
time with the output of their biological clock, causing sleep deprivation, even when there is ample time
available for sleep between shifts. Laboratory studies that I and others have conducted have demonstrated
conclusively that the length of a sleep episode is dependent on the phase of the circadian system at which
the sleep occurs, even when participants are studied in sound-attenuated rooms and shielded from external
time cues [29, 30, 69, 70, 277]. Studies have demonstrated that sleep duration is reduced during daytime
hours as compared to the night [278, 279]; daytime sleep is accompanied by more frequent arousals and
changes in intra-sleep architecture. Even in a soundproofed environment and/or one without time cues,
sleep is quantitatively and qualitatively different from that obtained at night, with a deficit of both
minutes and types of sleep. Daytime sleep episodes are shorter in duration than nighttime sleep episodes
because the night shift worker is attempting to sleep just as the internal biological alarm clock sounds to
wake him or her up, a consequence of a misalignment between the circadian pacemaker and the external



                                                       40
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 41 of 238



environment. For example, the daytime sleep of train driver scheduled to work at night is cut short when
sleep is attempted during the daytime at an adverse circadian phase [Foret J and Lantin G, in Aspects of
Human Efficiency, W. P. Colquhoun, Ed. (English Univ. Press, London, 1970), pp. 273-282] [69]. The
daytime sleep of night shift workers worsens with advancing age [278-280]. When an inadequate amount
of time is available between shifts, sleep deprivation will further alter sleep stages. Sleep disruption is
more pronounced in middle aged shift workers than in younger shift workers [279, 281]. Nurses
commonly admit to falling asleep while working at night, with almost two thirds (65%) of the nurses
working the night shift reporting struggling to stay awake at work and 20% falling asleep at work [282].
Environmental disturbances further interrupt the daytime sleep of the night shift worker. Noise from
children, road traffic, telephones, doorbells, and other family members are the most commonly reported
causes of sleep interruption of the night shift worker [283, 284]. In one survey of 9,000 shift workers,
children's noise was mentioned in 77.9 percent of the complaints, road traffic noise in 63.2 percent and
telephone ringing in 54.5 percent [283]. Field studies of shift workers worldwide indicate that the
majority of workers whose schedule includes night work (midnight to 7 am) experience disturbed day
sleep [283, 284]. Furthermore, night workers are often attempting to sleep at a time when not only
environmental activities, but also social activities are at a peak. Therefore, many night shift workers
voluntarily elect to shorten their sleep in order to attend to social and family obligations. In fact, night
shift workers are much more likely than day workers to set alarms to interrupt sleep [285],
notwithstanding the increasing sleep debt they are accumulating. Thus, pressure from the demands of
society often leads night shift workers to interrupt and even prematurely truncate the sleep that they
would be able to achieve during the day. Employees working on call and/or irregular schedules also suffer
from poor quality sleep. i.e., sleep that is less restorative for optimal work time functioning.
Overall, night shift workers sleep an average of one to two hours less during the day than at night [48,
279, 284], accumulating approximately one lost full night of sleep for every week of night work.
Furthermore, on individual days they are often able to sleep only 1 to 3 hours [284], resulting in acute
sleep deprivation. Subjective sleep quality and quantity is also poorer during day sleep [286-288]. Data
from field studies collected on shift workers are thus consistent with the conclusion that rotating shift
workers are both chronically and acutely sleep deprived when working at night and attempting to sleep
during the day. These problems with shorter and poorer quality sleep often persist despite government or
industry polices that mandate rest time. Unless sufficient duration and quality sleep occurs, rest alone will
have no significant impact on promoting alertness and performance during subsequent working hours. For
this reason, it is critical that employers in safety-sensitive industries require employees in general, and
night workers in particular, to notify the employer and be relieved of any scheduled work assignment if,
for whatever reason, the employee is not fit for duty due to insufficient sleep duration or quality.
Worker Survey Data on the Effects of Shift Work
My own research in the field has provided compelling evidence of the prevalence of sleeping and
inattentiveness among shift workers. My colleagues and I have worked with companies from a variety of
industries nationwide to evaluate the shift work schedules of workers at those companies using
questionnaires designed to evaluate shift work schedules, employee preferences and sleep disorders. The
questionnaires sought information on worker satisfaction, health practices, and adaptation to their existing
shift schedules. The questionnaires specifically asked how frequently the employees "nodded off" or fell
asleep while at work. Steps were taken to protect worker confidentiality and encourage participation. The
analysis presented below represents results of surveys administered to a total of 2,583 workers from 12



                                                     41
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 42 of 238



companies. Only those workers who indicated that they currently worked a 3-shift rotation, including day,
evening, and night shifts, were included in the current analysis. The twelve companies are from a variety
of industries and include: an urban police department, a paper company, a plant producing rubber for the
tire industry, a potash harvesting plant, a tire manufacturing company and a utility with both nuclear and
non-nuclear facilities. Summarized below are the results of a series of questions related to attentiveness
and the ability to remain awake at work. The survey data show falling asleep at work and loss of alertness
to be common features of shift work. Moreover, the risk of falling asleep at work and loss of alertness is
elevated during the night shift. These results are consistent with those obtained by other researchers using
similar methods [249, 261, 263, 266, 289-294]. When the shift workers were asked how many times per
week of working on the day shift they usually nodded off or fell asleep while at work, 21.6% of the 2402
workers who responded said they fell asleep at least once each week on the day shift, with 2% of those
indicating that they fell asleep more than five times per week. When working evening shifts, 15.1% of the
2392 workers surveyed said they nodded off or fell asleep one or more times per week, with 0.7%
indicating that they fell asleep more than five times per week. When asked about working the night shift,
55.7% of the 2424 respondents said they fell asleep at least once per week, with 12.1% responding that
they fell asleep more than 5 times per week. These inter-individual differences in the severity of
symptoms of Shift Work Disorder derived from workers participating in field studies are consistent with
laboratory investigations that have revealed considerable differential vulnerability to the deterioration in
neurobehavioral performance associated with sleep loss and night shift work [295-300]. Overall, 57.0% of
2363 workers reported falling asleep at least once during a full shift rotation. While results varied by
company, at least 40% of the workers from each and every company reported nodding off or falling
asleep on the night shift at least once per week.
Sleepiness among Nuclear Powered Electric Power Generation Plant Workers on 8-hour Shifts
There is a common misconception that in critical situations, where individuals have great responsibility
for human life, they can voluntarily overcome the effects of sleep loss and misalignment of circadian
phase. Our survey data did not support this hypothesis. Even nuclear power plant workers experienced the
same debilitating effects of night shift work on alertness and performance. As with shift workers in the
other industries we surveyed, the nuclear plant personnel reported a significant drop in their level of
alertness on the night shift. This drop was reported by both licensed and non-licensed nuclear plant
personnel. In addition, both licensed and non-licensed personnel reported that they were most tired on the
night shift. In fact 49.4% of the nuclear power plant workers reported that they fell asleep at least once
per week on the night shift, with 30.5% reporting that they fell asleep 2 to 5 times per week, and 5.2%
reporting 6 to 10 times per week. As in other industries, nodding off or falling asleep at work occurred to
a lesser extent on the day and evening shifts. The predominance of reported sleeping on the night shift is
consistent with the fact that 71% of the 2,498 workers responding indicated that they were most tired on
the night shift. 17.3% indicated they were most tired on the day shift, 4.2% responded that they were most
tired on the evening shift, and 7.5% said that they were not more tired on any shift. Similarly, when asked
to rate their alertness on the VAS, the average + S.E.M. alertness score of 2,392 workers on the night shift
was 42.0 + 0.54; the average alertness score of 2,322 workers on the day shift was 66.5 + 0.47; and the
average alertness score of 2,366 workers on the evening shift was 73.0 + 0.42; and the average alertness
score of 2,180 respondents on their days off was 76.9 + 0.43. When asked if they thought that their
schedule makes them sleepy, a majority of workers (54.1% of 2,342) answered YES. On a separate
question asking if they felt too sleepy during work, 36.8% of 799 workers who were asked this question
responded affirmatively.



                                                    42
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 43 of 238



Attentional Failures and Occupational Safety
The impact of the profound fatigue associated with night shift work is highlighted by the responses from
employees reporting instances of falling asleep driving to or from work: 17.6% of 1,270 shift workers
reported that they had fallen asleep while driving to or from work in the last year and 30.4% of 2,368 shift
workers reporting that they had at least one near miss or actual automobile accident due to sleepiness in
the past year. A subset of these workers were asked more detailed questions regarding the circumstances
of these accidents. 3.6% of all workers responding reported having an actual automobile accident due to
sleepiness. Of these 15 workers, ten had accidents on a work day. Two reported accidents that happened
while on evening shift rotation, and eight occurred to workers on the night shift. Of the 428 workers
responding to a question about near-miss automobile accidents due to sleepiness, 146 (34.1%) reported
having at least one actual or near-miss automobile accident due to sleepiness in the past year. When asked
about procedural errors at work due to sleepiness, 19.7% of 233 workers responding reported at least one
procedural error, and 33.2% of 214 workers responding reported near-miss procedural errors at work due
to sleepiness. When questioned about personal injury accidents at work due to sleepiness, 6.9% of 245
workers responding reported actual personal injury accidents, and 18.4% of 228 workers reported near-
miss personal injury accidents due to sleepiness.
In 1992, we published data on a study of 876 nurses. We found that 32.4 percent of those who always
worked nights reported falling asleep during the night shift at least once a week [301]. Furthermore, we
demonstrated that nurses who worked the night shift had 2.24-fold greater odds of a motor vehicle crash
and nearly double the risk of a near-crash [301]. In 1996, Novak and Auvil-Novak published data from a
cohort of night-working nurses, 95.5 percent of whom report that that they had experienced at least one
accident or near-accident driving home from the night shift [302]. In 1999, Stutts et al. reported that
working the night shift increases the odds of a sleep-related crash by nearly six times and [303]. In 2007,
in a study of nurses, Scott et al. reported that working at night increased the odds of a drowsy driving
incident four-fold, such that 79.5 percent of nurses who worked only the night shift had an episode of
drowsy driving within a 4-week study interval [304]. Moreover, 3.3 percent of those nurses reported
experiencing drowsy driving following every shift worked. In a 2008 study of nurses, Dorrian et al. [305]
reported that “nearly half of extreme drowsiness and near-accident reports occurred between 0700 and
0900h. This coincides with the end of the night shift” [305]. These data are consistent with the
conclusions from the published literature published by Lyznicki et al. for the Council on Scientific Affairs
of the American Medical Association, by Horne [226, 306], by Scott et al. [304], and by Dorrian et al.
[305], who concluded that night shift work was associated with a markedly increased risk of fatigue-
related motor vehicle crashes. In 2007, Scott et al. concluded: “Given the large numbers of nurses who
reported struggling to stay awake when driving home from work and the frequency with which nurses
reported drowsy driving, greater attention should be paid to increasing nurse awareness of the risks and to
implementing strategies to prevent drowsy driving episodes to ensure public safety. Without mitigation,
fatigued nurses will continue to put the public and themselves at risk” [304].
The work schedule itself has a significant effect on the risk of errors and accidents. The number of
consecutive work hours; the number of consecutive days of work; the time of day and the frequency of
rest breaks have all been found to influence the risk of error and accident [307-310]. A meta-analysis of a
number of research studies has revealed that the relative risk of Injury or accident is more than doubled
after 12-hours of work [307], comparable to the results of Haneke et al., who reported in 1998 that the
relative accident risk increased exponentially after the 9th hour of work to more than double the risk of an




                                                    43
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 44 of 238



8-hour shift [311]. Rogers and her colleagues found that the risk of error was three times higher when
nurses worked shifts of 12.5 hours or longer [310].
When workers experienced with both 8- and 12-hour night shifts were asked which shift resulted in
fatigue which decreased their performance at work, 80 percent of respondents felt that the 12-hour
workday resulted in the least efficient performance due to fatigue [312]. In a modeling study entitled "The
12-hour Shift Revisited: Recent Trends in the Electric Power Industry" conducted by Ontario Hydro in
Toronto, Canada, it was estimated that human error by operators would be doubled by a change from 8-
hour to 12-hour shifts, due to fatigue and misalignment of circadian phase. This resulted in a 70 percent
increase in their risk assessment of a public accident [313-315]. In addition to night shifts posing at
greater risk of injuries and accidents than day shifts, and 12-hour shifts posing a greater hazard than 8-
hour shifts, and the later hours of the night shift posing a much greater hazard than the initial hours of the
night shift, and the circadian peak of sleep-related errors and accidents occurring between 6 a.m. to 9
a.m., the number of consecutive days of lengthy shifts also affects the risk of errors and accidents. In
2006, Folkard and Lombardi [307] reported that “there was a significant trend [in the risk of accidents]
across four successive night shifts … [such that] risk was about 6% higher on the second night, 17%
higher on the third night, and 36% higher on the fourth night.”
In 1998, the National Highway Transportation Safety Administration concluded, based on evidence from
crash reports and self-reports of sleep behavior and driving performance, that one of the three top
population groups at highest risk of drowsy driving crashes was: "Shift workers whose sleep is disrupted
by working at night or working long or irregular hours" [316]. The National Highway Transportation
Safety Administration noted that "periods of work longer than 8 hours have been shown to impair task
performance and increase [the risk of motor vehicle] crashes"[316]. As reported by the Department of
Transportation, the relative risk of a fatigue-related crash among truck drivers—which is the leading
cause of fatal-to-the-driver truck crashes [104, 317]—increases sharply after 10 hours of driving, such
that there is a fifteen-fold increase in the risk of a fatigue-related crash in the group driving more than 13
hours [318] (Figure A-19).




                                                      44
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 45 of 238



                                                                                        Figure A-19.




Figure 16. Figure 16 shows the relative risk of a fatigue-related fatal crash by the number of hours of
driving. Data on hours driving up to 1992 came from phone interviews and from the FHWA’s form MCS–
50T accident reports. Motor carriers involved in certain accidents were required to complete these forms
up to 1992. Since elimination of the requirement to file MCS–50T accident reports in 1993, data on hours
driving come entirely from phone interviews by University of Michigan Transportation Research Institute
researchers. The interview source is the owner of the truck, so the agency expects some under-reporting
for hours above the current limits. About one quarter of all respondents refused to answer this question,
much higher than the percent missing for any other question. Nonetheless, the data clearly show the
impact of extra hours driving on the likelihood of fatigue being cited in a crash. Not surprisingly, risk
increases with time driven. Approximately 20 percent of the fatal crashes per year where fatigue is coded
as a factor involve the driver being behind the wheel for 13 or more hours [Figure and legend taken from
[318]].

In another study, we demonstrated that young physicians in training who were randomized to work 30-
hour shifts experienced twice as many attentional failures during nighttime hours as compared to those
same physicians randomized to work a schedule in which the longest shift was just over half that duration
and was preceded and followed by 13 to 23 hours off [13]. We also found that resident physicians
commuting from the hospital after shifts that exceeded 24 hours in duration had a 168 percent greater risk
of a motor vehicle crash compared with those same physicians commuting after a shift that averaged
approximately 12 hours in duration.
As Harris observed more than forty years ago, truck driving in particular is one of the most demanding
vigilance tasks, in which a momentary lapse of attention has the potential for disastrous consequences
[106]. Fatigue-related crashes in commercial motor vehicles occur most commonly during night-time
hours [105, 106, 319]. Sleep-related fatigue is a major cause of crashes involving heavy trucks due to
fatigue-related impairment of driving skills (poor judgment, slowed reaction times, decreased awareness
and increased distractibility) [104, 317, 320]. Sleep-related fatigue can be caused by long work hours and
lack of sleep and is strongly influenced by time of day [with increased risk in the latter half of the habitual
sleep episode and in the mid-afternoon between about 1-5 p.m. [92]]. In May of 1994, two parents in


                                                      45
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 46 of 238



Maine whose son and three of his friends were killed by a truck driver who the parents believe fell asleep
at the wheel formed an organization they call “Parents Against Tired Truckers,” an organization with the
stated goal of reducing heavy truck crashes resulting from truck driver fatigue.
Sleepiness among Police Officers in an Urban Police Working 8-hour Shifts
Thirty years ago, I conducted an evaluation of the impact of the shift work schedule on the alertness and
performance of the officers in the Philadelphia Police Department
[(http://healthysleep.med.harvard.edu/need-sleep/success-stories/lou-killer-shift; accessed February 21,
2015)]. In order to do so, a survey questionnaire was administered to a representative sample of patrolmen
and detectives from all districts and divisions in the City of Philadelphia to obtain information from a
cross section of the officers (a horizontal sample). Simultaneously, a single district of patrolmen and
detectives was selected for an in-depth evaluation (a vertical sample). In this way, 198 questionnaires
were collected from across the City of Philadelphia and 177 questionnaires were collected from members
of the 35th District and the Northwest Detectives in the City of Philadelphia, for a total of 375
respondents. I found that 54.3 percent of the officers reported that they received an inadequate amount of
sleep. In fact, the only time that the officers averaged eight hours of sleep per night was during a series of
days off. When working, the officers' average daily sleep times were 6.7 hours per 24 hours while on day
shift; 7.2 hours while on the evening shift; and 6.3 hours when on the night shift. Significantly, more than
50 percent of the officers reported a moderate to severe problem with poor quality sleep. More than 70
percent of the officers admitted falling asleep on the job (intentional or unintentional) during the night
shift; one third of the officers reported falling asleep on the job when working the day shift; and one in
seven officers reported falling asleep at work while working the evening shift. Officers who admitted
falling asleep at work during the night shift estimated that it happened an average of more than three
times per week of night shifts. Officers on the night shift averaged 3.8 of such on the job sleep incidents
per week, despite the fact that falling asleep at work was considered grounds for disciplinary action
and/or termination. Furthermore, 41.3 percent of the officers reported feeling tired frequently or most of
the time both on and off the job while on the night shift. In fact, one out of every ten officers reported
incidents when they actually fell asleep while driving to or from work during the prior year. Nearly one in
four officers reported an actual or near miss automobile accident due to sleepiness in the prior year.
Thirteen percent of the officers reported three or more such incidents in the prior year. Finally, I found
that 75 percent of the officers reported that their schedule did not provide them enough time with their
children. Nearly 80 percent reported that their families were dissatisfied with their work schedule. Only
16 percent reported that their families were satisfied with their work schedule.
Sleepiness among Air Traffic Controllers on a Rapidly Rotating Shift Work Schedule
Survey data reveal that sleep disruption and fatigue are serious problems among air traffic controllers, as
well. Data from a Congressionally mandated, FAA-sponsored survey distributed from 1999 to 2000 to all
23,500 FAA personnel with an ATCS designation revealed that 62% of the 4,112 enroute and terminal
ATCS respondents reported difficulty sleeping before the midnight shift. In fact, according to a pamphlet
published by the FAA in 2001, “67% of ATCS shift workers reported having trouble sleeping because of
shift work [and] 46% of ATCS shift workers indicated that they often fall asleep unintentionally.” [321].
Reported sleep quality was rated most poorly (averaging only 1.3 on a 1-5 scale in which 5 was high) on
the sleep between the day shift and the night shift on the FAA’s counterclockwise, rapidly rotating
schedule worked by 92 percent of the respondents [321], and the respondents felt least rested (average
rating of 1) after the midnight shifts and the least mentally sharp in terms of alertness and memory at the



                                                     46
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 47 of 238



end of the midnight shift, consistent with data from our studies in the laboratory [2]. As the FAA reported
in 2001, “Mental sharpness is lowest during the midnight shift because at this time, shift workers must
deal with the circadian low point for energy and alertness levels, and the effects of poor quality daytime
sleep.” [321]. In fact, 77% of the FAA’s air traffic controllers on the counterclockwise, rapidly rotating
shift work schedule with midnight shifts reported that they had caught themselves about to doze off while
at work; 79 percent of the air traffic controllers had sometimes, frequently or always had lapses of
attention and 36 percent had actually fallen asleep at the wheel while commuting on the midnight shift
[321]. This most often occurred on the commute home from the midnight shift. When asked if the air
traffic controllers had any other comments or observations relating to their sleep and fatigue, the most
common category of response was: “Quick turn-arounds between shifts cause fatigue and/or are
dangerous.” This spontaneous response was written in by 164 air traffic controllers. The second most
common write-in response category was that “shift work in general causes fatigue, is dangerous, and does
not allow a sleep routine,” which was noted by 115 respondents.
Objective Field Data on the Effects of Shift Work
The self-reported rate of nodding off or falling asleep at work among nuclear power plant control room
operators and police officers seen in our survey data is consistent with survey data on severe sleepiness of
train drivers working an irregularly scheduled night shift [322], and with data recently obtained using
continuous electroencephalographic (EEG) recordings of power plant operators in Sweden. Dr. Kerstin
Dahlgren of the Swedish Nuclear Inspectory has recorded ambulatory polysomnograms on 20 nuclear
power plant workers on a rotating shift work schedule and has found that approximately 25 percent of
them fall asleep while operating the plant, mainly while on the night shift (Dr. Dahlgren, personal
communication). Dr. Dahlgren notes that the operators not only napped when she left them on their own,
but they progressed to slow wave sleep, according to the EEG recordings (Dr. Dahlgren, personal
communication), a progression which our laboratory studies indicate requires an average of 18.0 + 8.6
minutes (range 9.5 to 33.5 minutes). During her study, she has further personally observed situations in
which all five nuclear power plant operators were simultaneously asleep. Objective field studies have also
discovered sleeping among workers subject to circadian rhythm disruptions and/or sleep deprivation in
other industries where worker alertness is commonly viewed as a necessary element of successful job
performance. For example, studies of airline pilots have revealed instances of pilots asleep while on duty
on the flight deck [262, 323] and physicians falling asleep while caring for patients in Intensive Care
Units [13]. EEG recordings of the pilots have shown patterns consistent with sleep or inattention.
Observers in the cockpit have also seen airline crews take voluntary and involuntary naps. In some cases,
the crew discussed who would nap, despite regulations prohibiting such behavior. In fact, a NASA/FAA
sponsored study revealed that the pilots of commercial airlines were napping approximately 11% of the
time on long haul flights (average flight duration, 10.4 hours) with nap episodes averaging 46 minutes in
duration, occurring throughout the flights despite the presence of NASA observers and the knowledge
that their EEG patterns were being monitored [324]. Studies of train drivers in the field have shown
similar results: EEG and EOG changes consistent with inattention, microsleep, and/or sleep and observer
(in the locomotive) recorded instances of inattention or missed signals and other severe performance
lapses [292, 294, 325]. One study [292] found that of 2,290 train trips, 1.5% (34 cases) had actual
operational misses involving drowsing or napping; 79% of these occurred between midnight and 6 a.m.
and 12% between 10 p.m. and midnight. The NASA/FAA field study revealed that alertness of pilots
from top of descent to landing can be improved by the use of scheduled cockpit naps [262], similar to the
results of a CAMI study. However, we have found that brief (<4 hour) sleep episodes are insufficient for



                                                    47
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 48 of 238



restoring performance in first-year resident physicians working overnight extended-duration work shifts
[326].
When the work to be performed is relatively monotonous and routine, then sleepiness may be even more
difficult to overcome [266, 327]. Dr. Dahlgren found that workers at the power plants were generally
inactive and that there was even less activity on the night shift. The biological factors causing sleep and
inattentiveness in shift workers would therefore be even more difficult to overcome in a relatively non-
stimulating environment, such as that of monitoring a control room in an electric power plant, driving a
motor vehicle on a limited access highway, or piloting a vessel at night from the darkened bridge of a
slowly moving cargo ship.
As illustrated in Figure A-20, continuous polysomnographic monitoring of 80 licensed commercial
drivers without OSA during 7,500 hours of long-haul trucking operations revealed that more than half of
the long-haul truck drivers experienced episodes of drowsy driving, mostly during night driving [328].
Predictably, these episodes of drowsy driving were not distributed evenly across the 80 drivers. In fact,
more than half of the drowsy driving episodes occurred in just 8 (10%) of the 80 drivers [328], revealing
the differential vulnerability of this subset of drivers to the sleep deprivation and circadian misalignment
associated with night driving. This is consistent with the differential vulnerability to nocturnal sleep loss
observed in laboratory studies [295-300].
Countermeasures such as the use of light exposure of optimal wavelength and intensity to suppress
endogenous melatonin secretion, enhance alertness and reset the circadian clock of night shift workers
[45, 48, 122, 329], the use of wake-promoting therapeutics during night work [273, 274, 330] and the use
of sleep-promoting therapeutics during day sleep [44, 331-333] hold promise for use in overcoming the
propensity for the occurrence of lapses of attention and unintended sleep episodes during night shift work.




                                                     48
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 49 of 238




                                                                                             Figure A-20.




As noted in the 1975 FAA study carried out at the FAA Civil Aeromedical Institute in Oklahoma City,
Oklahoma that was entitled “The Effects of a 12-Hour Shift in the Wake-Sleep Cycle on Physiological
and Biochemical Responses and on Multiple Task Performance,” the interaction of sleep loss with
misalignment of circadian phase may explain why performance is so significantly degraded at the end of
the first night shift [334]. As Higgins and his colleagues at the FAA Civil Aeromedical Institute
concluded from their study, “The implications of these findings are as follows: (1) Individuals making a
12-hour alteration in the wake-sleep cycle should not perform critical tasks during the first awake period
following the change. Performance decrements observed during this first period might be due to either the
sleep loss or the initial adjustment to the new schedule, or both factors could be contributory. (2) After the
first full sleep period following the change, subjects appeared to perform well even though the
physiological and biochemical parameters measured were still adjusting to the change. …” [334] (pp. 23-
24).
More than 30 years later, we have published a paper based on studies sponsored by the National Institute
of Occupational Health in my laboratory at the Harvard Medical School/Brigham and Women’s Hospital
that comes to a similar conclusion, as shown in Figure A-21, which is from our publication entitled
“Acute Sleep Deprivation and Circadian Misalignment Associated with Transition onto the First Night of
Work Impairs Visual Selective Attention” [14]. Moreover, we have demonstrated that the sleep
deprivation associated with night shift work resulted in individuals becoming “fast and sloppy” when
doing visual searches [42]—with impairment of decision making [335]—and that sleep deprivation
interferes with the search for rare targets [336]. Excessive sleepiness is also known to enhance
distractibility when performing a routine task [161]. We have also found the degradation of performance
on a spatial configuration visual search task to be significantly worse on the first night shift as compared
to subsequent night shifts, with participants exhibiting a significantly greater number of attentional
failures on the first night of an overnight work episode [14].


                                                     49
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 50 of 238




                                                                                                            Figure A-21




Figure A-21. The Impact of Night Work on Vigilance RT and Attentional Failures. This figure presents results from
the Psychomotor Vigilance Task (PVT). The left panel represents the group-averaged cumulative response time
(RT) percentile distribution. The x-axis represents response time. The error bars represent the standard error of the
mean. The dashed vertical line is plotted at the average attentional lapse threshold (90th percentile of baseline RT).
The y-axis represents percentile points. The average cumulative distributions were computed by calculating the RT
percentiles for the day (open circles), first night shift (filled diamond) and ‘subsequent’ night shifts (filled square)
for each individual subject, and then averaging them across subjects to compute the final cumulative distributions.
For each of the shifts, these cumulative distributions were fitted with a 4-parameter Weibull function. The right
panel presents the number of attentional lapses on the three shifts. The error bars represent the standard error of the
mean. There was a significant increase in attentional failures during night work, and this was most pronounced on
the first night shift. Figure and legend from [14].

When sleep pressure is elevated, as occurs just after working the overnight shift, then routine, highly
overlearned tasks like driving a motor vehicle are impaired. In collaboration with the Liberty Mutual
Research Institute for Safety, we evaluated the impact of actual night-shift work on measures of
drowsiness and driving performance while operating a actual motor vehicle in sixteen night-shift workers
driving during the daytime [337]. Each of those workers completed two 2-h daytime driving testing
sessions on a closed driving track operated by the Liberty Mutual Research Institute for Safety in
Hopkinton, Massachusetts. The sessions all began between 9:30 a.m. and 2:30 P.M., and were time-
matched for each individual to control for potential time-of-day effects. In one instance, the drive testing
session occurred after a prior night of sleep averaging 7.6 ± 2.4 h in duration, without having worked on
the night shift (the post-sleep condition). In another instance, the drive testing session occurred after a
prior night of work averaging 8.3 ± 4.1 h in duration (the post-night-shift condition). Participants in the
post-night-shift condition reported obtaining an average (±SD) of 0.4 ± 1.1 h of sleep between the start of
their overnight shift and the start of their post-night-shift drive (in three cases this sleep occurred during
the night shift, whereas in one case it occurred between the end of the night shift and the start of the post-



                                                          50
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 51 of 238



night shift-drive). As shown in the Figure A-22 below, we found that eleven near-crashes occurred in 6 of
16 post-night-shift drives (37.5%), and that 7 of 16 post-night-shift drives (43.8%) were terminated early
for safety reasons, compared with zero near-crashes or early drive terminations during 16 post-sleep
drives (Fishers exact: P=0.0088 and P=0.0034, respectively). No near-crashes occurred during driving
after a night of sleep; 11 occurred during driving after night-work [337] (Figure 19).




                                                                                                         Figure A-22




Figure A-22. Near-crash driving events and drive terminations occurred only in post-night-shift drives. (Left)
Cumulative histogram of 11 near-crash driving events across time since drives began in each condition. (Right)
Kaplan–Meier survival curve of the seven drive terminations since drives began in each condition (P=0.00308).
None of the drivers in the post-sleep driving sessions had a near-crash driving event or drive termination, whereas 6
of the 16 participants had a near-crash driving event and 7 of the 16 participants had the drive terminated in the post-
night-shift driving sessions (P = 0.0088 and P = 0.0034, respectively). Tick marks on both panels indicate driving
breaks that occurred every 15 min to complete sleepiness assessment surveys. Figure A-22 and associated legend
taken from [337].

Though all near-crashes in this group of 16 participants occurred after at least 45 min of driving, evidence
of fatigue-related degradation in the participants’ driving performance was evident within the first 15
minutes of the post-night-shift drive. As shown in Figure 20 below, participants had a significantly higher
rate of lane excursions, average Johns Drowsiness Scale, blink duration, and number of slow eye
movements during post-night-shift drives compared with post-sleep drives (3.09/min vs. 1.49/min; 1.71
vs. 0.97; 125 ms. vs. 100 ms.; 35.8 vs. 19.1; respectively, P < 0.05 for all) [337].
This real-vehicle driving study demonstrated increased objective and subjective drowsiness and degraded
daytime driving performance in 16 night-shift workers while driving after a night of work, deteriorating
with drive duration. We thus found that sleep deficiency induced by night-shift work increased driver
drowsiness, degrading driving performance and increasing the risk of near-crash drive events [337]. With
more than 9.5 million Americans working overnight or rotating shifts and one-third of United States
commutes exceeding 30 min, these results have implications for traffic and occupational safety.
In 2012, while we were in the process of analyzing the data that we had collected in 2011 for the Lee et
al. study that we published in 2016 [337], ABC News requested that we test the driving performance of
ABC News journalist and correspondent Mr. Ron Claiborne after a night without sleep using the same
recording methods for the driving test sessions that we used in 2011, to evaluate the impact of increased



                                                          51
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 52 of 238



homeostatic sleep pressure on his ability to drive using the same methods that we used in the experiment
described in [337] and that are illustrated in Figure 20 below.



                                                                                                          Figure A-23




Figure A-23. Drowsiness progressively increased across driving sessions. Driving performance, ocular, and survey
measures of drowsiness are shown by drive condition and drive duration. Mean values with Standard Error of the
Mean bars. For each of these variables except the KSS, there was a significant interaction effect of driving duration
(driving block 1–7) by condition (P < 0.05). Condition alone had a significant effect on the KSS (P < 0.05). Tick
marks indicate driving breaks, as in Figure A-22. Figure A-23 and associated legend taken from [337].




                                                         52
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 53 of 238

                                                                                                Figure A-24




Figure A-24. ABC News correspondent Mr. Ronald driving a specially instrumented van during a test driving
session while outfitted for polysomnographic recording and eye tracking equipment. Investigator-observer in the
front passenger seat can activate emergency braking maneuvers to prevent a crash. Seated in the second row, Dr.
Charles Czeisler and Dr. Michael Lee are monitoring Mr. Claiborne’s electroencephalogram and electrooculogram
during the drive.

As shown in the video report that he filed on ABC News Nightline on December 3, 2012
(https://www.youtube.com/watch?v=JwCnJZyU70M and https://abcnews.go.com/Nightline/video/sleepy-
drivers-dose-unknowingly-17872351, both accessed on May 26, 2018), and on ABC World News
Tonight with Diane Sawyer (https://abcnews.go.com/WNT/video/micro-sleep-blame-accidents-
17871728, accessed on May 26, 2018), Mr. Claiborne was very impaired when driving after he had
missed a night of sleep. Like most sleep-deprived individuals, Mr. Claiborne reported that he thought he
could handle the driving after missing a night of sleep. However, about a half-hour into the drive, Mr.
Claiborne fell asleep at the wheel and drove completely off of the roadway on the closed track (see
Figures A-25 and A-26 below).




                                                       53
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 54 of 238




                                                                                          Figure 22.




Figure A-25. Photograph of ABC News correspondent Mr. Ronald Claiborne when he was asleep at the wheel
while driving an instrumented van occupied by himself and three other people on a test track in Hopkinton, MA,
while he was being recorded in a driving test session after missing one night sleep.

                                                              Figure A-26.




Figure A-26. Photograph from the instrumented van driven by ABC News correspondent Mr. Ronald Claiborne and
occupied by himself and three other people as it drove off the roadway completely on a test track in Hopkinton,
Massachusetts, while Mr. Claiborne was being recorded by Dr. Charles Czeisler and colleagues in a driving test
session after a night without sleep.




                                                       54
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 55 of 238



Recognizing that it was unsafe to continue driving, Mr. Claiborne decided to terminate the 2-hour drive
testing session early. After terminating the drive testing session, Mr. Claiborne forgot to put the vehicle in
“Park,” and had to be reminded to do so by an investigator before leaving the driver’s seat of the vehicle
(https://www.youtube.com/watch?v=JwCnJZyU70M and https://abcnews.go.com/Nightline/video/sleepy-
drivers-dose-unknowingly-17872351, both accessed on May 26, 2018).
During Mr. Claiborne’s half-hour drive testing session, polysomnographic (PSG) recording—including
electroencephalographic (“brain wave” or EEG) recording—using electrodes attached to the face and
scalp (illustrated in Figure 24 below) revealed that Mr. Claiborne experienced 22 attentional failures
and/or micro-sleep episodes, though he remembered only two of them
(https://www.youtube.com/watch?v=JwCnJZyU70M and https://abcnews.go.com/Nightline/video/sleepy-
drivers-dose-unknowingly-17872351, both accessed on May 26, 2018).

                                                                                                     Figure A-27.




Figure A-27. Polysomnographic (PSG) recording equipment used to monitor the electroencephalogram (EEG) and
electrooculogram (EOG) of ABC News Correspondent Mr. Ronald Claiborne.

Thus, despite being hooked up to all of our monitoring equipment, and despite the presence of television
news crews filming at multiple positions along the track, and despite the presence of scientist observers in
the car, including myself, Mr. Claiborne recapitulated all of the findings that we observed in the 16
participants that we had carefully evaluated in the randomized study that we later published [337]. The
Liberty Mutual Research Institute for Safety test track, located in Hopkinton, Massachusetts, on which we
conducted the driving test sessions is illustrated in Figure A-28 below.




                                                     55
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 56 of 238




 Figure A-28.




Sleep disorders and crash risk
Common sleep disorders increase risk of motor vehicle crashes [28, 338].
Obstructive sleep apnea/hypopnea. Obstructive sleep apnea/hypopnea (OSA) results in sleep
fragmentation and consequent daytime sleepiness. Excessive daytime sleepiness is reported in about 80%
of patients with OSA, 80 to 90% of whom remain undiagnosed and untreated; it often takes several years
from the time a patient presents to a physician with symptoms until the correct diagnosis is made [1].
Performance related to executive functions such as verbal fluency, planning and sequential thinking—the
purview of the frontal cortex, an area of the brain that imaging studies has revealed to be exquisitely
sensitive to sleep loss—is very adversely affected by OSA [339]. Vigilance and the ability to sustain
attention are also degraded in patients with OSA. Reaction times on a sustained attention task in patients
with mild to moderate OSA have been reported to be comparable to or worse than those of a young adult
with a blood alcohol concentration of 0.080 g/dL [340]. Untreated patients with OSA perform much more
poorly in a driving simulator (in terms of lane deviations, tracking errors, off-road events and collisions
with obstacles) and have a markedly increased in risk for having a motor vehicle crash [28, 341-354].
Two systematic reviews reported that the majority of studies found that patients with obstructive sleep
apnea had a motor vehicle crash risk that was 2 to 3 times higher than those without obstructive sleep



                                                    56
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 57 of 238



apnea [355, 356], with individual studies estimating the crash risk to be more than 6-fold higher in
patients with obstructive sleep apnea [351]. We found that nonadherence with an employer-mandated
sleep apnea treatment greatly increased the risk of serious truck crashes [357], and that implementation of
a sleep health education and sleep disorders screening and referral for treatment program significantly
reduced injury rate and reduced disability day usage by 46% [358, 359].
Insomnia. Insomnia is the most common sleep disorder, with symptoms of disturbed sleep affecting most
adults at some time in their lives [1]. The clinical definition of insomnia is a chronic (> 6 months)
complaint of latency to sleep onset or awakenings from sleep of at least a half hour occurring at least
three times per week. The prevalence of insomnia associated with a daytime complaint of increased
sleepiness or fatigue is 8% to 18% [360]. Broadly, insomnia may be psychophysiologic or secondary to
the sleep environment, an irregular sleep schedule [361], a sleep-related movement disorder, a psychiatric
condition, a medical condition, a medication or substance, or a circadian rhythm sleep disorder such as
shift work disorder [1]. Insomnia in non-depressed adults is a risk factor for depression [362]. Insomnia
syndrome, which includes increased daytime sleepiness, it is associated with an increased rate of work
absenteeism, reduced productivity and increased risk of accidents [1, 363].
Shift Work Sleep-Wake Disorder. As reviewed above, night shift work is often associated with insomnia
during daytime sleep. Excessive sleepiness during night work or insomnia during day sleep are the
cardinal symptoms of a condition known as Circadian Rhythm Sleep Disorder (CRSD), Shift Work Type
(Shift Work Disorder, SWD) [269], which recent research indicates may have a genetic basis in some
individuals [270]. While most employees nod off or fall asleep regularly while working at night or while
commuting to or from night work [273], about 5 to 10% of such workers suffer chronically from
moderate to severe SWD [364]. One-third of nurses who work at night report that they fall asleep in the
hospital every week of night work (302), with half admitting that they fall asleep at the wheel while
driving to or from the hospital; twice as many night-working nurses reported making medication errors or
having motor vehicle crashes as compared to those who worked the day and evening shifts, but did not
work at night [301]. Long work weeks and extended duration work shifts that do not allow sufficient time
for sleep can elicit attentional failures during work in most if not all employees [13], effectively inducing
SWD in all workers in the same way that depriving people of food will eventually induce malnutrition in
all people who are starved. Exposure to less extreme work schedules reveals considerable variability in
the ability of individuals to cope with the demands of work schedules that require employees to work
during times that they would otherwise be asleep. A number of countermeasures and treatments can be
effective in treating the symptoms of Shift Work Disorder, including improvements in work scheduling,
use of properly timed use of light, administration of nutritional supplements such as caffeine and
melatonin, and use of pharmacologic agents such as modafinil, as we have demonstrated in my laboratory
and our field study investigations [13, 44, 48, 271-276], although none eliminate them altogether.
There are a number of other factors that can have an impact on alertness and performance. These include
the length of time on task, the level of environmental stimulation, the level of physical activity, posture,
the level of task stimulation/novelty, many other medical conditions, and the use of pharmacologic agents
with stimulant or hypnotic properties. Caffeine administration can reduce the adverse impact of
misalignment of circadian phase as well as increased homeostatic pressure on neurobehavioral
performance [274]. It should be noted that caffeine, which has a 6- to 9-hour half-life, may interfere with
recovery sleep. Neither caffeine nor other wake-promoting therapeutics are a substitute for sleep. In a
study of fatal-to-the-driver truck crashes, the National Transportation Safety Board (NTSB) found that
plasma caffeine levels were highest in drivers involved in fatigue-related crashes [104, 317]. The NTSB



                                                     57
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 58 of 238



interpreted high plasma caffeine data from those drivers as indicating that the drivers were taking caffeine
to try to combat their fatigue. Unfortunately, even high levels of caffeine were insufficient to save those
drivers from the effects of fatigue, which the NTSB found to be the leading cause of fatal crashes in those
trucker drivers, accounting for 31 percent of fatalities, equal to the fraction of fatal truck crashes caused
by both drugs and alcohol combined [104, 317].
Summary of Pertinent Findings
1. Based on the measurements that were provided to me by Dr. Jamie Zeitzer, the following conditions
   existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5, located in
   San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N 122°27'34.6"W], cell
   #13, Cell Block 8, on the afternoon of Monday, July 18th, 2022, from ~14:45 until 15:30.
       a. The cell measured approximately 95” wide by 126” long.
       b. The cell was mostly rectangular.
       c. From the perspective of the door, there was a bunk bed in the upper left corner, desk in the
           lower left corner and toilet in the upper right corner.

2. Based on the measurements that were provided to me by Dr. Jamie Zeitzer, the following conditions
   existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5, located in
   San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N 122°27'34.6"W], cell
   #13, Cell Block 8, on the afternoon of Monday, July 18th, 2022, from ~14:45 until 15:30. The cell
   was illuminated by three sources.
       a. By the door, there was a window that looked out into the interior of the jail. This window
           measured 47” wide by 83” high.
       b. Opposite the door, there was a window that had exposure to an interior utility corridor that
           has frosted windows that face outside. This interior window measured facing the interior
           utility corridor was 5” wide by 30” high. The windows were made of an undetermined
           transparent material.
       c. On the ceiling, centrally located, was an enclosed, presumably fluorescent light fixture. The
           ceiling height was approximately 106". The downward lens measured 10.6” wide and 46”
           long (the long way running from the door to the exterior window).

3. CCSF-NORBERT_097824, which is an enlarged partial first floor plan of one of the cell blocks in
   the San Francisco County Jail #3, formerly known as San Francisco County Jail #5, located in San
   Mateo County at 1 Moreland Drive in San Bruno CA 94066, shows the layout of the cells within that
   cell block, and how one interior wall of each cell faces a central common area. The other interior wall
   of each cell faces a utility corridor containing heating, ventilation and air conditioning (HVAC) duct
   work, plumbing pipes and other utilities, which has frosted windows that face outside (as shown in
   Figure PF-2, taken from the inside of the jail, and Figure PF-3, taken from outside the jail). One wall
   of each cell has a narrow window that faces the utility corridor. Another wall that contains the
   entrance/egress door of each cell is fabricated with floor-to-ceiling transparent glass-like material and
   framing. Both sets of interior windows are illustrated in Figure PF-4.




                                                     58
   Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 59 of 238



Figure PF-1: Enlarged partial first floor plan of a cell blocks in San Francisco County Jail #3,
formerly known as San Francisco County Jail #5, located in San Mateo County at 1 Moreland Drive
in San Bruno CA 94066 (CCSF-NORBERT_097824).




Figure PF-2: View from interior window facing the utility corridor from Cell #13, Cell Block 8 in
San Francisco Jail #3 on the afternoon of Monday, July 18th, 2022, from ~14:45 until 15:30.
                                                                        The left panel shows the
                                                                        view from the right side
                                                                        facing the window several
                                                                        feet inside the room. The
                                                                        middle panel is a
                                                                        photograph taken through
                                                                        the same window facing
                                                                        toward the right. The right
                                                                        panel is a photograph that
                                                                        was taken very close to the
                                                                        window, showing pipes in
                                                                        the utility corridor, and the
                                                                        frosted glass on the exterior
                                                                        window across the utility
                                                                        corridor hallway.




                                               59
   Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 60 of 238



Figure PF-3: Exterior photograph of San Francisco County Jail #3, formerly known as San Francisco
County Jail #5, located in San Mateo County at 1 Moreland Drive in San Bruno, CA.




From: https://www.sfsdhistory.com/research/chronological-list-of-sf-county-jail-locations accessed September 1, 2022.

Figure PF-4: Photograph of the interior of a jail cell in San Francisco County Jail #3, formerly
known as San Francisco County Jail #5, located in San Mateo County at 1 Moreland Drive in San
                                                                                             Bruno
                                                                                             showing
                                                                                             the upper
                                                                                             and lower
                                                                                             interior
                                                                                             windows
                                                                                             in the
                                                                                             door, the
                                                                                             window
                                                                                             in the wall
                                                                                             facing the
                                                                                             common
                                                                                             area, the
                                                                                             sink, the
                                                                                             mirror,
                                                                                             bunk bed
                                                                                             frame,
                                                                                             mattress,
                                                                                             chair and
                                                                                             metal
                                                                                             table, and
                                                                                             interior
                                                                                             window
                                                                                             next to the
                                                                                             sink
                                                                                             facing a
                                                                                             utility
                                                                                             corridor.



                                                         60
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 61 of 238



4. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
   conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
   located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
   122°27'34.6"W], cell #13, Cell Block 8, on the afternoon of Monday, July 18th, 2022, from ~14:45
   until 15:30. Light measurements were made with an International Light IL1400A research
   radiometer/photometer with an SCL110 head (photopic sensitivity, measurement range: 0.09 –
   1,000,000 lux).

    To provide context for the readings, the following approximations are relevant: 0 lux [complete
    darkness], 0.5 lux [full moon], 10 lux [very dim room light], 50 lux [low room light, similar to a
    bedroom], 100 lux [moderately low room light, similar to a living room], 200 lux [well lit office
    space], 500 lux [very well lit office space, like a doctor’s office], 10,000 lux [sunrise/sunset], 50,000
    lux [moderately bright daylight], 100,000 lux [bright daylight].

    Unless noted, light measurements were made at approximately 5’8” in height. The lens of the light
    meter was placed on the forehead of the observer (Dr. Jamie Zeitzer) without obstruction and in an
    angle of gaze when no other individuals were present. Measurements were examined until the
    photometer produced a stable illuminance reading. As shown in Table PF-1:

        a. The maximum light in the room (placing the sensor a few inches away from the light) was
           1345 lux.
        b. Illuminance levels were much higher on the top bunk than on the bottom bunk.
Table PF-1. Spot measurements of illumination in Cell #13, Cell Block 8 of County Jail #3.

Position                                                                Angle            Illuminance
                                                                                         (lux)
Face pressed against the window to the outside                          horizontal       356
Face pressed against the interior window                                horizontal       60
Bottom bunk (head by interior window)                                   upward           30
Bottom bunk (head by exterior window)                                   upward           30
Top bunk (head by interior window)                                      upward           310
Top bunk (head by interior window)                                      at light         657
Top bunk (head by exterior window)                                      upward           140
Top bunk (head by exterior window)                                      at light         175


5. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
   conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
   located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
   122°27'34.6"W], cell #13, Cell Block 8, on the afternoon of Monday, July 18th, 2022, from ~14:45
   until 15:30, as shown in Figure PF-4, spot illuminance measurements in the horizontal angle of gaze
   at the eye level of an ambulatory 5’10” observer revealed that an inmate standing in the cell would be
   exposed to approximately 55 to 275 lux of light, depending on the angle of gaze. Illuminances were
   higher when the individual observer was gazing toward the ceiling light fixture and the interior
   window facing the utility corridor than when the observer was gazing toward the interior window
   facing the common area, the metal table, or the bed.



                                                     61
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 62 of 238



   Figure PF-4. Approximate                                                                      Interior window
   direction of measurements within
                                                                                               facing common area
   Cell #13 of Cell Block 8 of the San
   Francisco County Jail #3, on the                 55                                                          71




                                                                                                                              Desk
   afternoon of Monday, July 18th,
   2022, from ~14:45 until 15:30 are
   represented with the spot                                                                                                  79
   illuminance measurement. All
   measurements were done in the
   horizontal angle of gaze.




                                                                       Ceiling Light Fixture
6. Based on the ambient illumination                           247
   data that were provided to me by
                                                                                        98
   Dr. Jamie Zeitzer, the following
   conditions existed at San Francisco
   County Jail #3, formerly known as
   San Francisco County Jail #5,
   located in San Mateo County at 1




                                                                                                    Narrow interior window
   Moreland Drive in San Bruno CA
                                                                            274
   94066 [37°37'22.1"N




                                                                                                    facing utility corridor
   122°27'34.6"W], cell #13, Cell
   Block 8, on the afternoon of                     181
   Monday, July 18th, 2022, from                                                                  Bunk
   ~14:45 until 15:30, ambulatory                                                                 Bed
   measurements taken in common
   area, including the basketball court,
   revealed that for a 5’10” observer
   with the sensor placed at eye level, in the common area, illuminance ranged 22 to 116 lux in the
   horizontal angle of gaze and 140 to 262 lux in an upward angle of gaze.

7. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
   conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
   located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066, in the Gym of Cell Block
   8, on the afternoon of Monday, July 18th,
   2022, from ~14:45 until 15:30, which contains
   a basketball hoop, illuminance in the
   horizontal angle of gaze ranged from 6 to 100
   lux, and in an upward direction ranged from
   117 to 160 lux, including when the observer
   was looking directly at the frosted window, as
   illustrated in Figure PF-5. It is unknown if the
   window is exposed to outdoor light.

   Figure PF-5: Concrete-walled gym with a
   basketball hoop at San Francisco County Jail
   #3, located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066, Cell Block 8, on the
   afternoon of Monday, July 18th, 2022, from ~14:45 until 15:30.


                                                  62
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 63 of 238



8. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
   conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
   located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
   122°27'34.6"W], on the afternoon of Monday, July 18th, 2022, at 15:40, outside of the jail on an
   overcast, foggy day, illuminance ranged from 10,000 (horizontal angle of gaze) to 40,000 (slight
   upward angle of gaze) lux.

9. Based on the description of the data collection methods that were provided to me by Dr. Jamie
   Zeitzer, three illumination recorders (Light Logger, Mindsets, sensitivity range: 5 lux – 70,000 lux)
   were placed in Cell #13 in Cell Block 8 of San Francisco County Jail #3.


                                          Figure PF-6: Position of Light Logger Z1 in Cell 13 of Cell
                                          Block 8 in San Francisco County Jail #3.
    The units were calibrated against
    the IL1400 meter to ensure
    reliability and consistency of the
    measurements among the units. As
    shown in Figure PF-6, one (Z1)
    was attached to the middle of the
    horizontal crossbar of the top bunk
    (head of the bed by the interior
    window) pointed upward at an
    approximately 30° angle. Spot
    measurement was 475 lux.




                                                 Figure PF-7: Position of Light Logger Z2 in Cell 13 of
                                                 Cell Block 8 in San Francisco County Jail #3.

                                                 As shown in Figure PF-7, a second unit (Z2) was attached
                                                 to the wall in Cell 13 of and pointing in the horizontal
                                                 plane. It was placed at a height of 5’ 8” and located 36”
                                                 laterally from the door. Spot measurement was 157 lux.

                                                 As shown in Figure PF-8, a third unit (Z3) was attached
                                                 to the middle of the horizontal crossbar of the bottom
                                                 bunk (head of the bed by the exterior window) and
                                                 pointed upward at an approximately 30° angle. Spot
                                                 measurement was 33 lux.




                                                    63
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 64 of 238




Figure PF-8: Position of Light Logger Z3 in the middle of the horizontal crossbar of the bottom bunk in
Cell 13 of Cell Block 8 in San Francisco County Jail #3.




10. Based on the description of the data collection methods that were provided to me by Dr. Jamie
    Zeitzer, the three illumination recorders (Z1, Z2 and Z3) were placed in Cell #13 in Cell Block 8 of
    San Francisco County Jail #3, in the positions shown in Figures PF-6, PF-7 and PF-8, respectively.
    These units recorded ambient illumination (lux) once per minute for the next 48 hours.

11. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W], cell #13, Cell Block 8, for a 48-hour interval from the afternoon of Monday, July
    18th, 2022 between ~15:30 until the afternoon of Wednesday, July 20th, 2022, as shown in Figure PF-
    9, illumination levels recorded during the daytime from the three sensors were as follows:

        a. Sensor Z1 on the top bunk angled upwards towards the ceiling registered illuminances of
           ~500 lux.
        b. Sensor Z2 on the wall in the horizontal plane, registered illuminances of ~175 lux.
        c. Sensor Z3 on the bottom bunk angled upward recorded illuminances of ~40 lux.

12. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N



                                                    64
                          Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 65 of 238



                     122°27'34.6"W], cell #13, Cell Block 8, for a 48-hour interval from the afternoon of Monday, July
                     18th, 2022 between ~15:00 until the afternoon of Wednesday, July 20th, 2022, illumination levels
                     were reduced from approximately 9:30 pm until 6:30 am (9 hours during the scheduled sleep
                     episode). Average data recorded from the three sensors during that time were as follows:

                          a. Sensor Z1 on the top bunk angled upwards towards the ceiling registered illuminances of ~15
                             lux.
                          b. Sensor Z2 on the wall in the horizontal plane, registered illuminances of ~0 lux except for a
                             brief interval around 4:36 am on the first night, when the illuminance level increased to 175
                             lux for 10-15 minutes.
                          c. Sensor Z3 on the bottom bunk angled upward recorded illuminances of ~0 lux.

                     Figure PF-9: 48-hour illuminance measurements from three fixed-position light loggers mounted in
                     cell #13, Cell Block 8 of San Francisco County Jail #3, formerly known as San Francisco County Jail
                     #5, located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
                     122°27'34.6"W]. The 48-hour recording interval began on the afternoon of Monday, July 18th, 2022
                     at about ~15:00 and continued until the afternoon of Wednesday, July 20th, 2022.
                                                                                                     Top bunk                                                                                                          Bottom bunk

                    900                                                                                                                900
                    800                                                                                                                800
                    700                                                                                                                700
Illuminance (lux)




                                                                                                                   Illuminance (lux)




                    600                21:30          06:47                     21:21        06:39                                     600
                    500                                                                                                                500
                    400                                                                                                                400
                    300                                                                                                                300
                    200                                                                                                                200
                    100                                                                                                                100
                                                            ~15 lx
                      0                                                                                                                  0
                      12:00     18:00        00:00   06:00      12:00        18:00   00:00   06:00    12:00    18:00                     12:00     18:00        00:00   06:00   12:00          18:00   00:00   06:00   12:00      18:00
                              Jul 18, 2022                    Jul 19, 2022                      Jul 19, 2022                                     Jul 18, 2022                   Jul 19, 2022                       Jul 19, 2022
                    900                                              Time                                                                                                           Time
                    800
                    700
Illuminance (lux)




                    600
                    500                                                                       Horizontal angle
                    400                                                                                                                                                  Fluorescent
                    300                              4:36

                    200
                    100
                      0
                      12:00     18:00        00:00   06:00      12:00        18:00   00:00   06:00    12:00    18:00
                              Jul 18, 2022                    Jul 19, 2022                      Jul 19, 2022

                                                                     Time




                                                                                                                    65
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 66 of 238



13. Based on the measurements that were provided to me by Dr. Jamie Zeitzer, the following conditions
    existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5, located in
    San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N 122°27'34.6"W], Cell
    #17, Cell Block 5B, on Monday, August 22nd, 2022, from ~11:30 am until 12:05 pm. The dimensions
    of Cell #17, Cell Block 5B were similar to the dimension of Cell #13 in Cell Block 8, and window
    size was confirmed. Cell #17 was mostly rectangular and illuminated by three sources: (1) by the
    door, there was a window that looked out into the interior of the jail; (2) opposite the door, there was
    a window that, through an interior space, had indirect exposure to outside light. In Cell #17 of Cell
    Block 5B, there was less interference to visualize outside light through the frosted exterior window of
    the utility corridor than from the window of Cell #13 in Cell Block 8; (3) ceiling-mounted, centrally
    located, enclosed, presumably LED light fixture. From the perspective of the door, there was a bunk
    bed in the upper left corner, desk in the lower left corner and toilet in the upper right corner.

14. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W], Cell #17, Cell Block 5B, on Monday, August 22nd, 2022, from ~11:30 am until
    12:05 pm. As occurred on July 18, 2022, light measurements were made with an International Light
    IL1400A research photometer with an SCL110 head (photopic sensitivity, measurement range: 0.09 –
    1,000,000 lux). Unless noted, light measurements were made at approximately 5’8” in height. The
    sensor lens of the light meter was placed on the forehead of the observer (Dr. Jamie Zeitzer) without
    obstruction and in an angle of gaze in which no other individuals were present. Measurements were
    examined until the photometer produced a stable illuminance reading. Maximum light in the room
    (placing the sensor a few inches away from the light at head height) was 1,800 lux.

    As noted earlier, to provide context for these readings, the following approximations are relevant: 0
    lux [complete darkness], 0.5 lux [full moon], 10 lux [very dim room light], 50 lux [low room light,
    similar to a bedroom], 100 lux [moderately low room light, similar to a living room], 200 lux [well
    light office space], 500 lux [very well lit office space, like a doctor’s office], 10,000 lux
    [sunrise/sunset], 50,000 lux [moderately bright daylight], 100,000 lux [bright daylight].

    Table PF-2: Spot measurements of illumination in Cell #13, Cell Block 8 of County Jail #3.

Position                                                              Angle            Illuminance
                                                                                       (lux)
Face pressed against the window to the outside                        horizontal       1800
Face pressed against the interior window                              horizontal       50
Bottom bunk (head by exterior window)                                 upward           31
Top bunk (head by interior window)                                    Upward           813
Table 1. Spot measurements of cell illumination




                                                    66
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 67 of 238



15. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W], Cell #17, Cell Block 5B, on Monday, August 22nd, 2022, from ~11:30 am until
    12:05 pm, as shown in Figure PF-10, spot illuminance measurements in the horizontal angle of gaze
    at the eye level of an ambulatory 5'10" observer revealed that an inmate standing in the cell would be
    exposed to approximately 70 to 413 lux of light, depending on the angle of gaze. Illuminances were
    highest when the individual observer was gazing in the direction of the ceiling light fixture, and
    lowest when the observer was gazing toward the interior door facing the common area.

    Figure PF-10: Approximate direction of measurements within Cell #17 of Cell Block 5B of the San
    Francisco County Jail #3, on Monday, August 22nd, 2022, from ~11:30 am until 12:05 pm. are
    represented with the spot illuminance measurement. All measurements were done in the horizontal
    angle of gaze.
    Ambulatory spot                                                 Interior window
    measurements                                                  facing common area
    were recorded in
                                      70
    the horizontal




                                                                                                                                     Desk
    angle of gaze at
    the eye level of a
    5’10” observer.                                           LED Ceiling Light Fixture          96




                                                 413

                                                                                                                        211




                                                                                          320
                                                                                                window facing utility
                                                                                                  Narrow interior




                                     361                                                                                      Bunk
                                                                                                     corridor




                                                                                                                              Bed




                                                    67
                         Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 68 of 238



Based on the description of the data collection methods that were provided to me by Dr. Jamie Zeitzer,
three illumination recorders (Light Logger, Mindsets, sensitivity range: 5 lux - 70,000 lux) were placed in
Cell #17 in Cell Block 5B of San Francisco County Jail #3. The units were calibrated against the IL1400
meter to ensure reliability and consistency of the measurements among the units. As shown in Figure PF-
6 from Cell #13 from Cell Block 8, one (Z1) was attached to the middle of the horizontal crossbar of the
top bunk (head of the bed by the interior window) pointed upward at an approximately 30° angle. Spot
measurement in Cell #17 from Cell Block 5B was 813 lux. A second unit (Z2) was attached to the wall
and pointing in the horizontal plane. It was placed at a height of 5’ 8” and located 36” laterally from the
door. Spot measurement was 205 lux. A third unit (Z3) was attached to the middle of the horizontal
crossbar of the bottom bunk (head of the bed by the exterior window) and pointed upward at an
approximately 30° angle. Spot measurement was 31 lux. These units recorded ambient illumination (lux)
once per minute for the next 48 hours. The units were calibrated against the IL1400 meter to ensure
reliability and consistency of the measurements among the units.


    Figure PF-11. 48-hour illuminance measurements from three fixed-position light loggers mounted in
    cell #17, Cell Block 5B of San Francisco County Jail #3, formerly known as San Francisco County
    Jail #5, located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W]. The 48-hour recording interval began at approximately noon on Monday, August
    22, 2022 and continued until about noon on Wednesday, August 24, 2022.

                                                                                                Top bunk                                                                                                         Bottom bunk

                         900                                                                                                                900
                                          21:55           06:52                    21:39     06:46
                         800                                                                                                                800

                         700                                                                                                                700
     Illuminance (lux)




                                                                                                                        Illuminance (lux)




                         600                                                                                                                600

                         500                                                                                                                500

                         400                                                                                                                400

                         300                                                                                                                300

                         200                                                                                                                200

                         100                                                                                                                100
                                                              ~30 lx
                          0                                                                                                                  0
                          12:00     18:00         00:00   06:00   12:00     18:00    00:00   06:00      12:00        18:00                   12:00     18:00        00:00   06:00   12:00    18:00   00:00   06:00     12:00        18:00
                                  Aug 22, 2022                     Aug 23, 2022                      Aug 24, 2022                                    Aug 22, 2022                    Aug 23, 2022                    Aug 24, 2022
                         900
                                                                  Time                                                                                                              Time
                         800

                         700
     Illuminance (lux)




                         600

                         500
                                                                                             Horizontal angle
                         400

                         300                                                                                                                                                        LED
                         200

                         100

                          0
                          12:00     18:00         00:00   06:00   12:00     18:00    00:00   06:00      12:00        18:00
                                   Aug 22, 2022                     Aug 23, 2022                      Aug 24, 2022

                                                                  Time




                                                                                                                           68
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 69 of 238



16. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W], in Cell #17 in Cell Block 5B, for a 48-hour interval from about noon on Monday,
    August 22, 2022 until about noon on Wednesday, August 24, 2022, as shown in Figure PF-11,
    illumination levels recorded during the daytime from the three sensors were as follows:

        a. Sensor Z1 on the top bunk angled upwards towards the ceiling registered illuminances of
           ~750 lux.
        b. Sensor Z2 on the wall in the horizontal plane, registered illuminances of ~260 lux.
        c. Sensor Z3 on the bottom bunk angled upward recorded illuminances of ~55 lux.

17. Based on the ambient illumination data that were provided to me by Dr. Jamie Zeitzer, the following
    conditions existed at San Francisco County Jail #3, formerly known as San Francisco County Jail #5,
    located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
    122°27'34.6"W], in Cell #17 in Cell Block 5B, for a 48-hour interval from about noon on Monday,
    August 22, 2022 until about noon on Wednesday, August 24, 2022, as shown in Figure PF-11,
    illumination levels were reduced from approximately 9:30 pm until 6:30 am (9 hours during the
    scheduled sleep episode). Average data recorded from the three sensors during that time were as
    follows:

        a. Sensor Z1 on the top bunk angled upwards towards the ceiling registered illuminances of ~27
           lux.
        b. Sensor Z2 on the wall in the horizontal plane, registered illuminances of ~0 lux.
        c. Sensor Z3 on the bottom bunk angled upward recorded illuminances of ~0 lux.
                                                                              0.030
18. Based on the ambient illumination data that were provided to
    me by Dr. Jamie Zeitzer, the following conditions existed at              0.025

    San Francisco County Jail #3, formerly known as San
                                                                              0.020
    Francisco County Jail #5, located in San Mateo County at 1
    Moreland Drive in San Bruno CA 94066 [37°37'22.1"N
                                                                    SPD (W)




                                                                              0.015
    122°27'34.6"W], in Cell #17 in Cell Block 5B on August
    22, 2022. A single measurement of spectral power                          0.010

    distribution was made. A sensor (BlueIris) was placed flat on
                                                                              0.005
    the top bunk facing the ceiling. The spectral power
    distribution that was recorded is shown in Figure PF-12. This             0.000
    instrument registered 924 lux, 3,702 °K CCT, and 579
                                                                                        400   450   500   550   600   650   700
    Equivalent Melanopic Lux (EML).                                                                       nm



                                                                                      Figure PF-12: Spectral Power
                                                                                      Distribution recorded in Cell
                                                                                      #17 in Cell Block 5B on August
                                                                                      22, 2022 from a sensor placed
                                                                                      flat on the top bunk facing the
                                                                                      ceiling.


                                                   69
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 70 of 238



19. According a methodological description provided to me by Julianna Di Miceli, a doctoral student in
    the Department of Clinical Psychology at The Wright Institute in Berkeley, CA, a group of 18
    doctoral students from the Wright Institute, Berkeley, California were recruited and paid to interview
    inmates of the San Francisco County Jail via videoconference (Zoom) during the month of August,
    2022. The interviews were based on a battery of open-ended questions and questionnaires designed
    to assess sleep, circadian rhythms and mental health that were assembled by Dr. Jess Ghannam,
    Clinical Professor of Psychiatry and Global Health Sciences in the School of Medicine at the
    University of California San Francisco, and me. The doctoral students from the Wright Institute
    interviewed 26 inmates from San Francisco County Jail, with 11 fully completing the interviews and
    15 still in progress as of Wednesday, August 31, 2022. The interview material consisted of nine open-
    ended questions, four separate questionnaires (Pittsburgh Sleep Quality Index, PTSD Checklist for
    DSM-5 (PCL-5), Beck Anxiety Inventory (BAI), and Beck's Depression Inventory (BDI)), and a
    fifth, compiled questionnaire with two sections: one section designed to assess Sleep and Circadian
    Rhythms [Item 19 of the Morningness-Eveningness Questionnaire (1 item), Jail Sleep Assessment
    (JSA-40), Restorative Sleep Questionnaire (REST-Q-9), Karolinska Sleepiness Scale (KSS-1), Prison
    Environment Sleep Questionnaire (PESQ-16), Sleep Hygiene Index (SHI-13), Sleep Condition
    Indicator (SCI-8), Sleep Disorders Screen (SDS-5), Berlin Questionnaire (10 items), Dysfunctional
    Beliefs and Attitudes About Sleep (DBAS-16), Epworth Sleepiness Scale (ESS-8)]; and the other
    designed to assess Mental Health [Patient Health Questionnaire (PHQ-9), Generalized Anxiety
    Disorder (GAD-7), Kessler Psychological Distress Scale (K10), Brief Psychiatric Rating Scale
    (BRPS-24)]. Following an interview training, graduate students interviewed the inmates individually
    via Zoom, which required between two and three scheduled interviews. The names of inmates were
    compiled from various sources, including inmates who had previously had contact with class counsel,
    named plaintiffs, inmates who were referred by other inmates, or who were self referrals after
    learning of this effort. Before conducting any interviews, interviewers participated in a live or
    recorded interview training, which discussed the etiquette and procedures surrounding the conduct
    and content of the interview, including open-ended questions, questionnaires, note-taking, scoring,
    and organization of materials. The interviews began with an opening introduction statement
    describing the purpose of the interview, the acquisition of verbal consent which was audio recorded
    when possible, and then administration of the survey instruments described above. Interviews took
    place over two meetings in most cases, a few required a third meeting. Requests to the jail were made
    for double periods and could therefore be scheduled for 1 hour and 15 minutes. The first interview
    was consistently 1 hour and 15 minutes, while the second interview took between 30 minutes to the
    full 1 hour and 15 minutes depending on the inmate. A total of 31 inmates were invited to participate
    in interviews, and 26 participated while 5 declined. The names of inmates were compiled from
    various sources, including inmates who had previously had contact with class counsel, named
    plaintiffs, inmates who were referred by other inmates, or who were self referrals after learning of this
    effort. At present, 11 prisoners fully completed the interview process while 15 partially completed the
    interview process due to scheduling challenges. The prisoners ranged from 20 to 60 years old and
    have been incarcerated at the San Francisco County Jail between 1 and 10 years. After the interviews,
    the interviewers scored the assessments, organized their notes, and submitted their materials to the
    coordinator, Ms. Julianna Di Miceli. Ms. Di Miceli then double-checked the scoring for accuracy and
    deidentified the data. Deidentifying the data included assigning a random number and letter
    combination to each inmate in a password protected and encrypted spreadsheet to which only Ms. Di
    Miceli had access. Subsequently, the number-letter identifier was recorded with the associated
    assessment scores, deidentified qualitative data, and the inmate's body-mass index score. These data


                                                     70
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 71 of 238



   were distributed to Dr. Jess Ghannam and to me for analysis. Ages and ethnicity/race information
   were recorded for the summary of the data but dissociated from any specific, individual data to
   maintain confidentiality. The survey results were then anonymized, compiled, and distributed to Dr.
   Ghannam and to me. I have summarized the Questionnaire Findings and the responses to the
   Supplemental Questions below.
Questionnaire Findings (QF), Section 1. Sleep Characteristics
20. Information about sleeping conditions collected from the 40-item Jail Sleep Assessment (JSA-
   40) questionnaire that was administered to inmates during August 2022 is tabulated and
   summarized in Table QF-JSA-1 below. Of 14 surveyed inmates, 8 (57.1%) typically slept on the
   bottom bunk and 5 (35.7%) typically slept on the top bunk. Overall, 9 (64.3%) typically shared a
   cell with another inmate (7 under lockdown conditions, 2 under regular conditions).
Table QF-JSA-1.
                                                          Last week            Last night
                                                       Total N (%)          Total N (%)
Sleeping arrangement                                          14                   14
Bottom Bunk                                                    8 (57.1)             9 (64.3)
Top Bunk                                                       5 (35.7)             4 (28.6)
Floor                                                          1 (7.1)              0 (0)
Other                                                          0 (0)                1 (7.1)
Rooming conditions                                            14                   14
Alone in cell, regular conditions                              5 (35.7)             5 (35.7)
Alone in cell, lockdown conditions                             0 (0)                0 (0)
Share cell with another inmate, regular conditions             2 (14.3)             3 (21.4)
Share cell with another inmate, lockdown                       7 (50)               6 (42.9)
conditions

21. Information about lights out and first attempt to sleep collected from the 40-item Jail Sleep
   Assessment (JSA-40) questionnaire administered to inmates during August 2022 is tabulated and
   summarized in Table QF-JSA-2. below. Of 15 surveyed inmates, 13 (86.7%) reported that lights
   out occurred between 9:00 PM and 9:59 PM. Overall, 7 (46.7%) inmates reported first
   attempting to fall asleep more than 1 hour after this interval (i.e., 11:00 PM), with 4 (26.7%) first
   attempting to fall asleep more than 2 hours after this interval (i.e., 12:00 AM [+1 day]).




                                                  71
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 72 of 238



Table QF-JSA-2.
                                                     Last week            Last night
                                                  Total N (%)          Total N (%)
Typical time of lights out in the evenings               15                   15
8:00 to 8:59 PM                                           1 (6.7)              0 (0)
9:00 to 9:59 PM                                          13 (86.7)            14 (93.3)
10:00 to 10:59 PM                                         1 (6.7)              1 (6.7)
Typical time of first attempt to fall asleep             15                   15
6:00 to 6:59 PM                                           1 (6.7)              0 (0)
7:00 to 7:59 PM                                           0 (0)                0 (0)
8:00 to 8:59 PM                                           0 (0)                0 (0)
9:00 to 9:59 PM                                           0 (0)                2 (13.3)
10:00 to 10:59 PM                                         7 (46.7)             5 (33.3)
11:00 to 11:59 PM                                         3 (20)               3 (20)
12:00 to 12:59 AM (+1 day)                                2 (13.3)             1 (6.7)
1:00 to 1:59 AM (+1 day)                                  1 (6.7)              2 (13.3)
2:00 to 2:59 AM (+1 day)                                  1 (6.7)              2 (13.3)

22. Information about sleep latency collected from the 40-item Jail Sleep Assessment (JSA-40)
   questionnaire administered to inmates during August 2022 is tabulated and summarized in Table
   QF-JSA-3. below. The overall mean sleep latency was 1.4 hours per night (standard deviation =
   1.09 hours), with a range of 0.2 hours to 3.5 hours. Of 15 surveyed inmates, 6 (40%) reported
   less than 1 hour of typical sleep latency, while 5 (33.3%) reported 2 or more hours of sleep
   latency as typical.
Table QF-JSA-3.
                                                  Last week           Last night
                                               Total N (%)         Total N (%)
Typical sleep latency in hours                        15                  15
Fewer than 0.50                                        2 (13.3)            4 (26.7)
0.50 to 0.99                                           4 (26.7)            5 (33.3)
1.00 to 1.49                                           3 (20)              3 (20)
1.50 to 1.99                                           1 (6.7)             1 (6.7)
2.00 to 2.49                                           2 (13.3)            1 (6.7)
2.50 to 3.00                                           1 (6.7)             1 (6.7)
More than 3.00                                         2 (13.3)            0 (0)




                                                72
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 73 of 238




23. Information about lights on and wake time collected from the 40-item Jail Sleep Assessment
    (JSA-40) questionnaire administered to inmates during August 2022 is tabulated and summarized
    in Table QF-JSA-4. below. Of 15 surveyed inmates, 13 (86.6%) reported that lights on typically
    occurred between 6:00 AM and 7:59 AM. Despite this, 10 (66.7%) reported that they typically
    woke up to start their day after this time. Only 3 of 15 (20%) surveyed inmates indicated that
    they ultimately woke up naturally. Overall, 6 of 15 (40%) surveyed inmate indicated that the
    serving of breakfast or a prison guard ultimately woke them up.
Table QF-JSA-4.
                                                 Last week            Last night
                                              Total N (%)          Total N (%)
Typical time of lights on in the morning             15                   15
6:00 to 6:59 AM                                       5 (33.3)             7 (46.7)
7:00 to 7:59 AM                                       8 (53.3)             8 (53.3)
8:00 to 8:59 AM                                       1 (6.7)              0 (0)
9:00 to 9:59 AM                                       1 (6.7)              0 (0)
Typical time to wake up to start the day             15                   15
4:00 to 4:59 AM                                       1 (6.7)              1 (6.7)
5:00 to 5:59 AM                                       0 (0)                0 (0)
6:00 to 6:59 AM                                       2 (13.3)             2 (13.3)
7:00 to 7:59 AM                                       2 (13.3)             6 (40)
8:00 to 8:59 AM                                       7 (46.7)             3 (20)
9:00 to 9:59 AM                                       2 (13.3)             1 (6.7)
10:00 to 10:59 AM                                     1 (6.7)              1 (6.7)
…
2:00 to 2:59 PM                                        0 (0)               1 (6.7)

24. Information about breakfast collected from the 40-item Jail Sleep Assessment (JSA-40)
    questionnaire administered to inmates during August 2022 is tabulated and summarized in Table
    QF-JSA-5. below. Of 15 surveyed inmates, all reported that breakfast was typically served
    between 3:00 AM and 4:59 AM. More than 90% of inmates reported that they did not eat
    breakfast when it was served, and nearly half reported that they could only sometimes or
    typically not fall back asleep after breakfast had been served.




                                               73
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 74 of 238




Table QF-JSA-5.
                                                                        Last week            Last night
                                                                     Total N (%)          Total N (%)
Typical time breakfast was served                                           15                   15
3:00 to 3:59 AM                                                              6 (40)               7 (46.7)
4:00 to 4:59 AM                                                              9 (60)               8 (53.3)
Typically, was breakfast eaten when served?                                 14                   15
Yes                                                                          1 (7.1)              1 (6.7)
No                                                                          13 (92.9)            14 (93.3)
Typically, able to fall back asleep after breakfast was served?             15                   15
Yes                                                                          8 (53.3)            11 (73.3)
Sometimes                                                                    4 (26.7)       N/A      N/A
No                                                                           3 (20)               4 (26.7)

25. Information about sleep duration collected from the 40-item Jail Sleep Assessment (JSA-40)
    questionnaire administered to inmates during August 2022 is tabulated and summarized in Table
    QF-JSA-6. below. The overall mean nocturnal sleep duration was 5.3 hours per night (standard
    deviation = 0.78 hours), with a range of 4 hours to 6.5 hours. Of 15 surveyed inmates, 3 (20%)
    reported 4 hours of sleep on a typical night, 3 (20%) reported 5 hours of sleep, 3 (20%) reported
    5.5 hours of sleep, 5 (33.3%) reported 6 hours of sleep, and 1 (6.7%) reported 6.5 hours of sleep.
    No inmate reported obtaining more than 6.5 hours of sleep on a typical night.
Table QF-JSA-6.
                                                                        Last week
                                                                     Total N (%)
Typical nocturnal sleep duration in hours                                   15
4                                                                            3 (20)
4.5                                                                          0 (0)
5                                                                            3 (20)
5.5                                                                          3 (20)
6                                                                            5 (33.3)
6.5                                                                          1 (6.7)
More than 6.5                                                                0 (0)

26. Inmates reported considerable evidence of sleep fragmentation during the prior week. On
    average, the mean number of times that the inmates reported being awoken during the past
    week was 2.6 times per night (median=2.5 times per night; range 0.3 to 4 times per night).




                                                 74
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 75 of 238



   During these awakenings, the inmates reported that they remained awake for an average of 48
   minutes after each awakening (median=30 minutes; range 5 minutes to 2.5 hours).

27. Inmates reported considerable evidence of sleep fragmentation during the night prior to the
    survey. On average, the mean number of times that the inmates reported being awoken during
    the prior night was 1.8 times the prior night (median=2 times the prior night; range 0 to 4 times
    the prior night). During these awakenings the prior night, the inmates reported that they
    remained awake trying to fall back to sleep the prior night for an average of 102 minutes after
    each awakening (median=2 hours; range 0 to 4 hours). All 15 respondents tried to fall asleep
    after breakfast was served, but 27% were unable to do so. Those who were able to fall asleep
    after breakfast was served were able to do so in an average of 23 minutes (median 17 minutes,
    range 5 minutes to 1 hour).

28. Some inmates reported nodding off or falling asleep during the daytime. During the past week,
    the average number of daytime naps was 0.74 per day (median=1 nap per day, with a minimum
    of 0 naps and a maximum of 2 per day). The average reported duration of daytime nap sleep was
    45 minutes, with a median duration of 30 minutes, and a range from 0 minutes to 2 hours. The
    total hours nap sleep each day during the prior week averaged 54 minutes per day, with a median
    of 45 minutes, a minimum of 0 minutes and a maximum of 2 hours. During the day before the
    interview, the inmates reported that they had nodded off or fallen asleep during the daytime an
    average of 1.9 times (median=2; minimum 0 times and a maximum of 4 times yesterday). The
    number of deliberate naps the prior day averaged 0.4 (median=0; minimum 0 and maximum 2).
    Inmates averaged 1 hour of total daytime sleep the prior day (with a median of 30 minutes and a
    range of 0 to 3 hours).

29. Information about the sleep environment collected from the 16-item Prison Environmental
    Sleep Questionnaire (PESQ-16) administered to inmates during August 2022 is tabulated and
    summarized in Table QF-PESQ. below. High scores indicate more common and significant
    disruption of sleep attributed to the assessed factors. The overall mean PESQ score was 40.1 out
    of 64 (standard deviation = 14.0), with a range of 17 to 61. For comparison, the mean score in
    the initial validation study that established the instrument was 22.3 (standard deviation = 11.5)
    for inmates with insomnia symptoms and 11.6 (standard deviation = 9.1) for inmates without
    insomnia symptoms (Dewa et al., 2017). Of 11 surveyed inmates, the most common factor that
    disturbed sleep quite a bit or extremely was the comfortability of mattresses (10 inmates
    [90.9%]). Other factors reported by more than half of inmates included being worried or
    anxious, mind racing, noise (doors slamming, the prison environment, other prisoners, and
    staff), physical pain, and light.




                                                 75
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 76 of 238



Table QF-PESQ.
                                                                           Total N (%)
Prison Environmental Sleep Questionnaire (PESQ) Score and                         11
Items

The extent to which the below factors disturbed sleep “Quite a Bit” or
“Extremely” (on a scall of “Not at all” to “Extremely”)
Being worried or anxious                                                            8 (72.7)
Mind racing                                                                         8 (72.7)
Noise from doors slamming                                                           6 (54.5)
Noise from prison environment                                                       7 (63.6)
Prisoner sounds                                                                     8 (72.7)
Noise from staff                                                                    7 (63.6)
Water noises                                                                        5 (45.5)
Noise from a TV and/or radio                                                        5 (45.5)
Noise from intercom or telephone                                                    4 (36.4)
Bed parts squeaking                                                                 5 (45.5)
Mattress was too uncomfortable                                                     10 (90.9)
Physical pain                                                                       8 (72.7)
Too hot in my cell                                                                  7 (63.6)
Too cold in my cell                                                                 4 (36.4)
Too light in my cell                                                                8 (72.7)
Incident with another prisoner                                                      3 (27.3)
Total score: 0 to 16                                                                0 (0)
Total score: 17 to 32                                                               4 (36.4)
Total score: 33 to 48                                                               2 (18.2)
Total score: 49 to 64                                                               5 (45.5)
Dewa LH, Hassan L, Shaw JJ, Senior J. Trouble sleeping inside: a cross-sectional study of the
prevalence and associated risk factors of insomnia in adult prison populations in England. Sleep Med.
2017 Apr;32:129-136. doi: 10.1016/j.sleep.2016.12.018. Epub 2017 Jan 16. PMID: 28366324;
PMCID: PMC5390769.


Questionnaire Findings (QF), Section 2. Sleep Screening Instruments
30. Information about diurnal preference collected from Item 19 of the 8-item Sleep Condition
    Indicator questionnaire administered to inmates during August 2022 is tabulated and
    summarized in Table QF-MEQ. below. Of 13 surveyed inmates, 9 (69.2%) identified as evening
    types. The most common diurnal preferences were definite evening type (5 [38.5%]) and rather
    more of an evening type than a morning type (4 [30.8%]). Only 2 (15.4%) inmates identified as
    definite morning types.


                                                 76
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 77 of 238



Table QF-MEQ.
                                                                    Total N (%)
Diurnal preference                                                         13
Any morning type (definite or rather)                                       4 (30.8)
Definite morning type                                                       2 (15.4)
Rather morning type                                                         2 (15.4)
Any evening type (definite or rather)                                       9 (69.2)
Definite evening type                                                       5 (38.5)
Rather evening type                                                         4 (30.8)
Horne JA, Ostberg O. A self-assessment questionnaire to determine morningness-eveningness in
human circadian rhythms. Int J Chronobiol. 1976;4(2):97-110. PMID: 1027738.
31. Information about insomnia symptoms was collected from the 8-item Sleep Condition Indicator
    questionnaire administered to inmates during August 2022. Of 12 surveyed inmates, 12 (100%)
    screened positive for clinically significant insomnia symptoms based on the established threshold
    of a score below 16 out of 50 (Espie et al., 2014).
    [Espie CA, Kyle SD, Hames P, Gardani M, Fleming L, Cape J. The Sleep Condition Indicator: a
    clinical screening tool to evaluate insomnia disorder. BMJ Open. 2014 Mar 18;4(3):e004183. doi:
    10.1136/bmjopen-2013-004183. PMID: 24643168; PMCID: PMC3964344.]

32. Information about excessive daytime sleepiness was collected from the Epworth Sleepiness Scale
    questionnaire administered to inmates during August 2022. Of 12 surveyed inmates, 7 (58.3%)
    screened positive for excessive (i.e., above normal) daytime sleepiness based on the established
    threshold of a score above 10 out of 24 (Johns, 1992).
    [Johns MW. Reliability and factor analysis of the Epworth Sleepiness Scale. Sleep. 1992
    Aug;15(4):376-81. doi: 10.1093/sleep/15.4.376. PMID: 1519015.]

33. Information about risk of obstructive sleep apnea was collected from the Berlin Questionnaire
    administered to inmates during August 2022. Of 13 surveyed inmates, 7 (53.8%) screened
    positive for high risk of obstructive sleep apnea based on the established threshold of two or
    more of three categories scored as positive (Netzer et al., 1999).
    [Netzer NC, Stoohs RA, Netzer CM, Clark K, Strohl KP. Using the Berlin Questionnaire to
    identify patients at risk for the sleep apnea syndrome. Ann Intern Med. 1999 Oct 5;131(7):485-91.
    doi: 10.7326/0003-4819-131-7-199910050-00002. PMID: 10507956.]

34. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
    Q) questionnaire administered to inmates during August 2022 is tabulated and summarized in
    Table QF-REST. below. Of 12 inmates who completed the REST-Q, all but 1 (91.6%) screened
    as having low restorative sleep scores based on a threshold of below 50 out of 100 established by
    Robbins et al. (2022), with higher scores reflecting more restorative sleep. Overall, more than
    half (7) of surveyed inmates had REST-Q scores below 20. The only inmate not in that group
    scored a 50, which is the lower bound for somewhat restorative sleep scores. The prevalence of


                                                 77
        Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 78 of 238



    low restorative sleep in this population is 280% higher than that of a representative sample of
    United States adults, among whom 32.7% had low restorative sleep scores, 39.2% had somewhat
    restorative sleep scores, and 28.1% had high restorative sleep scores. An itemized assessment
    reveals that surveyed inmates averaged feeling that last night’s sleep left them feeling between
    not at all and a little bit in a good mood, rested, refreshed, ready to start the day, and energetic.
    The average response to how last night’s sleep left them feeling in terms of mental alertness was
    between a little bit and somewhat. They also responded that last night’s sleep left them feeling,
    on average, between somewhat and very much grouchy, and between a little bit and somewhat
    tired and sleepy.
    [Robbins R, Quan SF, Buysse DJ, Weaver MD, Walker MP, Drake CL, Monten K, Barger LK,
    Rajaratnam SMW, Roth T, Czeisler CA. 2022. A Nationally Representative Survey Assessing
    Restorative Sleep in US Adults. Front. Sleep. 1:935228. doi: 10.3389/frsle.2022.935228]
Table QF-REST.
Responses were captured on a scale from 1 (not at all) to 2 (a little bit), 3 (somewhat), 4 (very much),
and 5 (completely).
                                                                                                Mean     Standard
                                                                                                         deviation
REST-Q - overall score and individual items (n = 12)
Total score (0 to 100)                                                                            25.5        13.6
Last night's sleep left me feeling…
For the below items, higher scores (closer to 5 out of 5) reflect more restorative sleep
…in a good mood                                                                                    1.8         0.8
…rested                                                                                            1.8         1.0
…refreshed                                                                                         1.6         0.8
…ready to start the day                                                                            1.7         1.0
…energetic                                                                                         1.6         0.8
…mentally alert                                                                                    2.3         1.2
For the below items, lower scores (i.e., closer to 1 out of 5) reflect more restorative sleep
…tired                                                                                             2.3         1.3
…sleepy                                                                                            2.4         1.5
...grouchy                                                                                         3.3         1.7


Questionnaire Findings (QF), Section 3. Mental Health Screening Instruments
35. Information about anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-
    item Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during
    August 2022 is tabulated and summarized in Table QF-ANX. below. Of 18 inmates who
    completed the BAI, 15 (83.3%) screened positive for moderate to severe clinically meaningful
    anxiety symptoms; 10 (55.6%) were experiencing severe anxiety symptoms. Categories are based
    on the established thresholds with scores of 16 to 25 as moderate and 26 to 63 as severe (Beck et


                                                              78
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 79 of 238



   al., 1988). Of 13 inmates who completed the GAD-7, 11 (84.6%) screened positive for moderate
   to severe clinically meaningful anxiety symptoms; 7 (53.8%) were experiencing severe anxiety
   symptoms. Categories are based on the established thresholds with scores of 10 to 14 as
   moderate and 15 to 21 as severe (Löwe et al., 2008). Together, these findings indicate that across
   symptom and severity screening instruments, clinically meaningful, severe anxiety symptoms
   were highly prevalent within this population.
Table QF-ANX.
                                                                       Total     (%)
                                                                       N
Anxiety symptoms - Beck Anxiety Inventory (BAI)                              18
Minimal                                                                       1 (5.6)
Mild                                                                          2 (11.1)
Moderate                                                                      5 (27.8)
Severe                                                                       10 (55.6)
Moderate to severe                                                           15 (83.3)
Anxiety symptoms - Generalized Anxiety Disorder (GAD-7)                      13
Minimal                                                                       1 (7.7)
Mild                                                                          1 (7.7)
Moderate                                                                      4 (30.8)
Severe                                                                        7 (53.8)
Moderate to severe                                                           11 (84.6)
[Beck AT, Epstein N, Brown G, Steer RA. An inventory for measuring clinical anxiety:
psychometric properties. J Consult Clin Psychol. 1988 Dec;56(6):893-7. doi: 10.1037//0022-
006x.56.6.893. PMID: 3204199.]
[Löwe B, Decker O, Müller S, Brähler E, Schellberg D, Herzog W, Herzberg PY. Validation and
standardization of the Generalized Anxiety Disorder Screener (GAD-7) in the general population.
Med Care. 2008 Mar;46(3):266-74. doi: 10.1097/MLR.0b013e318160d093. PMID: 18388841.]
36. Information about depression symptoms collected from the Beck Depression Inventory (BAI)
    and 9-item Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during
    August 2022 is tabulated and summarized in Table QF-DEP. below. Of 18 inmates who
    completed the BDI, 14 (77.8%) screened positive for moderate to extreme clinically meaningful
    depression symptoms; 7 (38.9%) were experiencing severe or extreme depression symptoms.
    Categories are based on the established thresholds with scores of 21 to 30 as moderate and 31 to
    40 as severe, and 41 to 63 as extreme (Beck et al., 1988). Of 13 inmates who completed the
    PHQ-9, all 13 (100%) screened positive for moderate to severe clinically meaningful depression
    symptoms; 6 (46.2%) were experiencing severe depression symptoms. Categories are based on
    the established thresholds with scores of 10 to 14 as moderate, 15 to 19 as moderately severe,
    and 20 to 27 as severe (Löwe et al., 2008). Together, these findings indicate that across symptom




                                                 79
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 80 of 238



   and severity screening instruments, clinically meaningful, severe depression symptoms were
   highly prevalent within this population.
Table QF-DEP.
                                                                         Total     (%)
                                                                         N
Depression symptoms - Beck Depression Inventory (BDI)                         18
Normal                                                                         1 (5.6)
Mild                                                                           2 (11.1)
Borderline                                                                     1 (5.6)
Moderate                                                                       7 (38.9)
Severe                                                                         5 (27.8)
Extreme                                                                        2 (11.1)
Moderate to extreme                                                           14 (77.8)
Depression symptoms - Patient Health Questionnaire (PHQ-9)                    13
None                                                                           0 (0)
Mild                                                                           0 (0)
Moderate                                                                       4 (30.8)
Moderately severe                                                              3 (23.1)
Severe                                                                         6 (46.2)
Moderate to severe                                                            13 (100)
[Beck AT, Ward CH, Mendelson M, Mock J, Erbaugh J. An inventory for measuring depression.
Arch Gen Psychiatry. 1961 Jun;4:561-71. doi: 10.1001/archpsyc.1961.01710120031004. PMID:
13688369.]
[Löwe B, Kroenke K, Herzog W, Gräfe K. Measuring depression outcome with a brief self-report
instrument: sensitivity to change of the Patient Health Questionnaire (PHQ-9). J Affect Disord. 2004
Jul;81(1):61-6. doi: 10.1016/S0165-0327(03)00198-8. PMID: 15183601.]
37. Information about post-traumatic stress disorder (PTSD) symptoms was collected from the
    Posttraumatic Stress Disorder Checklist (PCL-5) questionnaire administered to inmates during
    August 2022. Of 23 surveyed inmates, 20 (87.0%) screened positive for clinically meaningful
    PTSD symptoms based on the established threshold of a score of 31-33 or higher. Such a score
    suggests the patient may benefit from PTSD treatment, with the PCL-5 having been recently
    revised to reflect Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (DSM-5)
    changes to the PTSD criteria (Blevins et al., 2015).
    [Blevins CA, Weathers FW, Davis MT, Witte TK, Domino JL. The Posttraumatic Stress
    Disorder Checklist for DSM-5 (PCL-5): Development and Initial Psychometric Evaluation. J
    Trauma Stress. 2015 Dec;28(6):489-98. doi: 10.1002/jts.22059. Epub 2015 Nov 25. PMID:
    26606250.]




                                                 80
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 81 of 238



38. Information about psychological distress was collected from the Kessler Psychological Distress
    Scale (K10) questionnaire administered to inmates during August 2022. Of 13 surveyed inmates,
    10 (76.9%) screened positive for moderate (3 inmates [23.1%]) to severe (7 inmates [53.8%])
    psychological distress based on the threshold of respondents with scores of 25 to 29 likely
    having a moderate mental disorder and a score between 30 and 50 likely having a severe mental
    disorder (Kessler et al., 2002).
    [Kessler RC, Andrews G, Colpe LJ, Hiripi E, Mroczek DK, Normand SL, Walters EE,
    Zaslavsky AM. Short screening scales to monitor population prevalences and trends in non-
    specific psychological distress. Psychol Med. 2002 Aug;32(6):959-76. doi:
    10.1017/s0033291702006074. PMID: 12214795.]


Questionnaire Findings (QF), Section 4. Sleep x Mental Health Screening Instruments
39. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
    Questionnaire and PTSD symptoms collected from the PCL-5 questionnaire administered to
    inmates during August 2022 is tabulated and summarized in Table QF-MEQ-PCL. below. Of
    13 inmates who completed both questionnaires, 12 (92.3%) screened positive for PTSD
    symptoms. The only inmate who did not screen positive identified as a “definite morning type”
    (i.e., early to bed, early to rise), indicating a diurnal preference more closely aligned with the
    timing of lighting and sleep opportunities within the San Francisco County Jail.
Table QF-MEQ-PCL.
                                                                     PTSD
                                                                   symptoms
                                            Total      (%)       n (%)
                                            N
Diurnal preference                               13
Any morning type (definite or rather)             4    (30.8)      3   (75)
Definite morning type                             2    (15.4)      1   (50)
Rather morning type                               2    (15.4)      2   (100)
Any evening type (definite or rather)             9    (69.2)      9   (100)
Rather evening type                               4    (30.8)      4   (100)
Definite evening type                             5    (38.5)      5   (100)

40. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
    Questionnaire and anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-
    item Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during
    August 2022 is tabulated and summarized in Table QF-MEQ-ANX-1. and QF-MEQ-ANX-2.
    below. Of 12 inmates who completed both Item 19 of the MEQ and the BAI, 9 (75%) were
    evening types. Overall, 6 (66.7%) of these inmates screened positive for severe anxiety
    symptoms, including 80% of definite evening types. By comparison, 1 of the 3 (33.3%) morning
    types screened positive for severe anxiety symptoms.



                                                  81
                 Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 82 of 238



          Table QF-MEQ-ANX-1.
                                                                            Mild              Moderate                  Severe
                                                 Total       (%)          n (%)             n    (%)             n         (%)
                                                 N
     Diurnal preference                               12     (100)         2   (16.7)          3      (25)              7   (58.3)
     Any morning type (definite or rather)             3     (25)          1   (33.3)          1      (33.3)            1   (33.3)
     Definite morning type                             2     (16.7)        1   (50)            0      (0)               1   (50)
     Rather morning type                               1     (8.3)         0   (0)             1      (100)             0   (0)
     Any evening type (definite or rather)             9     (75)          1   (11.1)          2      (22.2)            6   (66.7)
     Rather evening type                               4     (33.3)        1   (25)            1      (25)              2   (50)
     Definite evening type                             5     (41.7)        0   (0)             1      (20)              4   (80)

          41. Of 13 inmates who completed both Item 19 of the MEQ and the GAD-7, 9 (69.2%) were
              evening types. Overall, 5 (55.6%) of these inmates screened positive for severe anxiety
              symptoms, including 80% of definite evening types. By comparison, 2 of the 4 (50%) morning
              types screened positive for severe anxiety symptoms. Mild and moderate anxiety symptoms were
              also more common among evening than among morning types, whereas minimal anxiety
              symptoms were more common among morning types.

              Table QF-MEQ-ANX-2.
                                                                      Minimal               Mild          Moderate            Severe
                                             Total     (%)           n   (%)      n          (%)         n (%)              n   (%)
                                             N
Diurnal preference                                13   (100)          1   (7.7)         1    (7.7)        4    (30.8)         7      (53.8)
Any morning type (definite or rather)              4   (30.8)         1   (25)          0    (0)          1    (25)           2      (50)
Definite morning type                              2   (15.4)         1   (50)          0    (0)          0    (0)            1      (50)
Rather morning type                                2   (15.4)         0   (0)           0    (0)          1    (50)           1      (50)
Any evening type (definite or rather)              9   (69.2)         0   (0)           1    (11.1)       3    (33.3)         5      (55.6)
Rather evening type                                4   (30.8)         0   (0)           1    (25)         2    (50)           1      (25)
Definite evening type                              5   (38.5)         0   (0)           0    (0)          1    (20)           4      (80)

          42. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
              Questionnaire and depression symptoms collected from the Beck Depression Inventory (BDI)
              and 9-item Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during
              August 2022 is tabulated and summarized in Table QF-MEQ-DEP-1. and QF-MEQ-DEP-2.
              below. Of 12 inmates who completed both Item 19 of the MEQ and the BDI, 9 (75%) were
              evening types. Overall, 5 (55.6%) of these inmates screened positive for severe or extreme
              depression symptoms, including 60% of definite evening types. By comparison, 1 of the 3
              (33.3%) morning types screened positive for severe or extreme depression symptoms.




                                                                82
                 Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 83 of 238



          Table QF-MEQ-DEP-1.
                                          Normal            Mild      Borderline Moderate             Severe      Extreme
                        Total (%)       n   (%)            n (%)      n (%)      n  (%)             n    (%)      n (%)
                        N
Diurnal preference        12 (100)           1 (8.3)       1 (8.3)        1 (8.3)     3 (25)         4 (33.3)        2 (16.7)
Any morning type            3 (25)           1 (33.3)      0 (0)          0 (0)       1 (33.3)       0 (0)           1 (33.3)
(definite or rather)
Definite morning type       2 (16.7)         0 (0)         0 (0)          0 (0)       1 (50)         0 (0)           1 (50)
Rather morning type         1 (8.3)          1 (100)       0 (0)          0 (0)       0 (0)          0 (0)           0 (0)
Any evening type            9 (75)           0 (0)         1 (11.1)       1 (11.1)    2 (22.2)       4 (44.4)        1 (11.1)
(definite or rather)
Rather evening type         4 (33.3)         0 (0)         1 (25)         1 (25)      0 (0)          2 (50)          0 (0)
Definite evening type       5 (41.7)         0 (0)         0 (0)          0 (0)       2 (40)         2 (40)          1 (20)


          43. Of 13 inmates who completed both Item 19 of the MEQ and the PHQ-9, 9 (69.2%) were
              evening types. Overall, 5 (55.6%) of these inmates screened positive for severe depression
              symptoms, including 60% of definite evening types. By comparison, 1 of the 4 (25%) morning
              types screened positive for severe depression symptoms.
          Table QF-MEQ-DEP-2.
                                                                      Moderate         Moderately          Severe
                                                                                        Severe
                                                 Total      (%)       n     (%)      n    (%)          n       (%)
                                                 N
     Diurnal preference                               13    (100)     4     (30.8)     3   (23.1)          6   (46.2)
     Any morning type (definite or rather)             4    (30.8)    2     (50)       1   (25)            1   (25)
     Definite morning type                             2    (15.4)    1     (50)       0   (0)             1   (50)
     Rather morning type                               2    (15.4)    1     (50)       1   (50)            0   (0)
     Any evening type (definite or rather)             9    (69.2)    2     (22.2)     2   (22.2)          5   (55.6)
     Rather evening type                               4    (30.8)    2     (50)       0   (0)             2   (50)
     Definite evening type                             5    (38.5)    0     (0)        2   (40)            3   (60)

          44. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
              Questionnaire and psychological distress collected from the Kessler Psychological Distress Scale
              (K10) questionnaires administered to inmates during August 2022 is tabulated and summarized
              in Table QF-MEQ-K10. below. Of 13 inmates who completed both Item 19 of the MEQ and
              the K10, 9 (69.2%) were evening types. Overall, 6 (66.7%) of these inmates screened positive for
              severe psychological distress, including 80% of definite evening types. By comparison, 1 of the 4
              (25%) morning types screened positive for severe psychological distress.




                                                             83
         Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 84 of 238



  Table QF-MEQ-K10.
                                                               Mild           Moderate       Severe
                                          Total      (%)      n (%)         n   (%)        n    (%)
                                          N
Diurnal preference                             13    (100)     3   (23.1)    3   (23.1)      7   (53.8)
Any morning type (definite or rather)           4    (30.8)    1   (25)      2   (50)        1   (25)
Definite morning type                           2    (15.4)    0   (0)       1   (50)        1   (50)
Rather morning type                             2    (15.4)    1   (50)      1   (50)        0   (0)
Any evening type (definite or rather)           9    (69.2)    2   (22.2)    1   (11.1)      6   (66.7)
Rather evening type                             4    (30.8)    2   (50)      0   (0)         2   (50)
Definite evening type                           5    (38.5)    0   (0)       1   (20)        4   (80)

  45. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
      Q) and PTSD symptoms collected from the PCL-5 questionnaire administered to inmates
      during August 2022 is tabulated and summarized in Table QF-REST-PCL. below. The REST-Q
      scoring categories are typically low (0 to 49.99), somewhat (50 to 74.99), or high (75 to 100).
      However, given that only 1 inmate screened for somewhat restorative sleep (with a score of 50)
      and 0 inmates screened for highly restorative sleep, for this analysis, inmate REST-Q scores
      were categorized as 0 to 19.99, 20 to 39.99, and 40 to 50. This categorization applies to this
      section and the following 3 sections. Of 12 inmates who completed both the REST-Q and the
      PCL-5, 7 (58.3%) had scored between 0 and 19.99 out of 100, with higher scores reflecting more
      restorative sleep. Overall, all 7 (100%) of these inmates screened positive for PTSD symptoms,
      as did both inmates who scored between 20 and 39.99 on the REST-Q. By comparison, 2 of the
      3 (66.7%) inmates who scored between 40 and 50 on the REST-Q screened positive for PTSD
      symptoms.
  Table QF-REST-PCL.
                                                  PTSD
                                                symptoms
                          Total   (%)         n   (%)
                          N
  REST-Q Total                 12               11 (91.6)
  Score
  0 to 19.99                     7 (58.3)        7 (100)
  20 to 39.99                    2 (16.7)        2 (100)
  40 to 50                       3 (25)          2 (66.7)

  46. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
      Q) and anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-item
      Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during August
      2022 is tabulated and summarized in Table QF-REST-ANX-1. and QF-REST-ANX-2. below.



                                                    84
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 85 of 238



   Of 11 inmates who completed both the REST-Q and the BAI, 7 (63.6%) had scored between 0
   and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 5 (71.4%) of
   these inmates screened positive for severe anxiety symptoms, as did both inmates who scored
   between 20 and 39.99 on the REST-Q. By comparison, neither of the inmates who scored
   between 40 and 50 on the REST-Q screened positive for severe anxiety symptoms.
Table QF-REST-ANX-1.

                                                     Mild          Moderate            Severe
                              Total N     (%)        n (%)         n   (%)             n      (%)
   REST-Q Total Score         11                     2 (18.2)      2   (18.2)          7      (63.6)
   0 to 19.99                 7           (63.6)     1 (14.3)      1   (14.3)          5      (71.4)
   20 to 39.99                2           (18.2)     0 (0)         0   (0)             2      (100)
   40 to 50                   2           (18.2)     1 (50)        1   (50)            0      (0)

47. Of 12 inmates who completed both the REST-Q and the GAD-7, 7 (58.3%) had scored
    between 0 and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 4
    (57.1%) of these inmates screened positive for severe anxiety symptoms, as did both inmates
    who scored between 20 and 39.99 on the REST-Q. By comparison, 1 of the 3 (33.3%) inmates
    who scored between 40 and 50 on the REST-Q screened positive for severe anxiety symptoms.
Table QF-REST-ANX-2.

                                    Minimal              Mild            Moderate          Severe
                  Total
                            (%)     n       (%)          n      (%)      n      (%)        n      (%)
                  N
REST-Q Total
                  12                1       (8.3)        1      (8.3)    3      (25)       7      (58.3)
Score
0 to 19.99        7         (58.3) 0        (0)          1      (14.3)   2      (28.6)     4      (57.1)
20 to 39.99       2         (16.7) 0        (0)          0      (0)      0      (0)        2      (100)
40 to 50          3         (25)   1        (33.3)       0      (0)      1      (33.3)     1      (33.3)

48. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
    Q) and depression symptoms collected from the Beck Depression Inventory (BDI) and 9-item
    Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during August
    2022 is tabulated and summarized in Table QF-MEQ-DEP-1. and QF-MEQ-DEP-2. below. Of
    12 inmates who completed both the REST-Q and the BDI, 7 (58.3%) had scored between 0 and
    19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 3 (42.9%) of these
    inmates screened positive for severe to extreme depression symptoms, as did both inmates who
    scored between 20 and 39.99 on the REST-Q. By comparison, none of the inmates who scored
    between 40 and 50 on the REST-Q screened positive for severe depression symptoms.




                                                    85
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 86 of 238



     Table QF-MEQ-DEP-1.

                              Normal       Mild          Borderline Moderate                Severe            Extreme
               Total
                     (%)      n    (%)     n    (%)      n (%)             n     (%)
               N
REST-Q
               12             1    (8.3)   1    (8.3)    1     (8.3)       3     (25)       3        (25)     2   (16.7)
Total Score
0 to 19.99     7       (58.3) 0    (0)    1     (14.3) 1       (14.3)      2     (28.6)     2        (28.6)   1   (14.3)
20 to 39.99    2       (16.7) 0    (0)    0     (0)    0       (0)         0     (0)        1        (50)     1   (50)
40 to 50       3       (25)   1    (33.3) 0     (0)    0       (0)         1     (33.3)     0        (0)      0   (0)

     49. Of 12 inmates who completed both the REST-Q and the PHQ-9, 7 (58.3%) had scored between
         0 and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 4 (57.1%)
         of these inmates screened positive for severe depression symptoms, as did both inmates who
         scored between 20 and 39.99 on the REST-Q. By comparison, none of the inmates who scored
         between 40 and 50 on the REST-Q screened positive for severe depression symptoms.


     Table QF-MEQ-DEP-2.
                                                                       Moderately
                                                   Moderate                       Severe
                                                                       Severe
                                   Total
                                         (%)       n     (%)           n   (%)          n   (%)
                                   N
                   REST-Q Total
                                   12              4     (33.3)        2   (16.7)       6   (50)
                   Score
                   0 to 19.99      7       (58.3) 2      (28.6)        1   (14.3)       4   (57.1)
                   20 to 39.99     2       (16.7) 0      (0)           0   (0)          2   (100)
                   40 to 50        3       (25)   2      (66.7)        1   (33.3)       0   (0)

     50. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
         Q) and psychological distress collected from the Kessler Psychological Distress Scale (K10)
         questionnaires administered to inmates during August 2022 is tabulated and summarized in
         Table QF-REST-K10. below. Of 12 inmates who completed both the REST-Q and the K10, 7
         (58.3%) had scored between 0 and 19.99 out of 100, with higher scores reflecting more
         restorative sleep. Overall, 4 (57.1%) of these inmates screened positive for severe psychological
         distress, as did both inmates who scored between 20 and 39.99 on the REST-Q. By comparison,
         none of the inmates who scored between 40 and 50 on the REST-Q screened positive for severe
         psychological distress.




                                                        86
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 87 of 238



    Table QF-REST-K10 x Inmates who screened positive for mild, moderate or severe
    psychological distress

                                                  Mild              Moderate      Severe
                            Total
                                       (%)        n        (%)      n    (%)      n       (%)
                            N
REST-Q Total Score          12                    3        (25)     3    (25)     6       (50)
0 to 19.99                  7          (58.3)     2        (28.6)   1    (14.3)   4       (57.1)
20 to 39.99                 2          (16.7)     0        (0)      0    (0)      2       (100)
40 to 50                    3          (25)       1        (33.3)   2    (66.7)   0       (0)


Responses to Supplemental Questions (RSQ)
51. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 2K that highlight the sleep and
    lighting conditions faced by inmates in the San Francisco County Jail, and the conditions faced by
    inmates who work on jobs that are assigned to them:

        Question: Do you sleep at times other than at night? Daytime?
        Sometimes, it depends on if I work a double shift or not. This week I’ve done double
        shifts every day. Maybe there was once I didn’t go in. I’m exhausted after I work a double
        shift. They ask us to work double shifts because they’re short staffed. Sometimes I
        work 1-5 AM, then I get back to my cell and I can sleep from 5:30-7:30 before I have
        to get up.
        [Inmate 2K, Page 2, Sleep Q 1; emphasis added]

        Question 7. Have they changed the lights in your cell (i.e., Removed the old fluorescent fixtures)?
        Not sure because I haven’t been here long. The lights are so bright. It depends on if you’re
        on the top or lower bunk. It’s worse on the top bunk. Brighter. You have to put
        something over your face or head during the day if you want to sleep. Nighttime too.
        On the top bunk though you get too hot if you’ve got something covering your head.
        There’s too much light in the rooms. It’s bright like a sun. We can’t control the
        lights. I’ve never had that before. In the 2 other jails I’ve been in, we’ve been able to
        control the lights, we have a light switch in our cell. Or we have a red light on for
        nighttime, not like this light. I wouldn’t even call it a nightlight.

        Sub Question: Do you think you could read by that light?
        Oh definitely
        [On] the top bunk it’ll bother you all day
        It’s really bright. Too much light in the rooms. Get lucky if a couple [of lamps] burn out
        and it takes maintenance a long time to alter it. They tell you can’t cover [the ceiling light
        fixture]



                                                      87
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 88 of 238



Some people do; all it takes is 1 [Commanding Officer] to come tear up your whole cell or
write you up
It’s definitely really bright. If you’re in your cell. More bearable on the bottom [bunk]/
Would rather sit in the chair all day [because in the] top bunk you’re only a couple
[of feet] from the light itself. Headaches – increased; on the top bunk it’s really bad
[Inmate 2K, Page 3-4, Sleep Q 7; emphasis added]

Elaborated answers from JSA-40
Noise keeps me up
[Commanding Officer] come and bang on the door
Other people bang on doors
Talking through the ports
[Commanding Officer]’s are loud down here talking at times
When people go to work they’re loud
Always hear the keys jingling; they come by to open your port–it’s super loud
Food drops down boom
I got ear plugs in and it still wakes me up

Mattresses:
New ones, they’re so little [that] my elbows fall off of it, hitting the metal all night
Nerve damage in my hands
Hard to sleep; woken up every night [because] my hands are numb, they’re asleep
Doctor on site, I’ve been asking for over a year for help with this–she put in a referral to
actually go to a hospital finally (after a year)
…
I’ve been in jail a couple of times
I did 6 months once and this time it’s been 3 years. I’ve been here a year.
That’s never been the case in any of the other jails. This is the worst.
In since 2019
The worst experience of my life
Worse than when I was in prison
2 other county jails–Contra Costa, Santa Clara
Doesn’t even compare [emphasis added]

[Here there is…] No sunlight; No fresh air; No pull up bar or dip bar; No way to exercise
It’s crazy; they don’t do their safety checks
They don’t respond to grievances
Things that have come up in complaints

Food here is terrible. Soy products. Breakfast–cakes, might get pb&J
Little cakes every day. Terrible for you.
All the shit for the main dinners. Soy based




                                          88
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 89 of 238



        The food is terrible. Might get one hard boiled egg and a piece of cake once a week for
        breakfast.
        When we do get meat, the portions are so small; they say 4 oz piece but I think they’re more
        like 2oz pieces. Half the time we get lunch meat, but it’s the soy crap
        Because we’re in lockdown we have to eat in the cell & shit in the cell

        Question: How often do you have real meat?
        Maybe once or twice every other week.

        Question: How has the food affected your digestion?
        Terrible, constipated, not regular bowel movements like I normally have, weight gain,
        commissary food is even crap, it’s all shit. I’m really worried about my health
        Cholesterol has been high; I’ve never had problems with any of that before; I’m only
        37 right now. [It is] hard to lose weight or do anything
        They always have pull up bars and dip bars at jail
        They don’t have anything here for you to try and exercise
        So you have to try to come up [with] your own things but it’s hard to do anything at all

        Medications to help sleep
        Melatonin
        They prescribe me suboxone which I use sometimes to sleep
        [Inmate 2K, Page 4-5, Elaborated answers from sleep survey; emphasis added]

52. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 3L that highlight the sleep and
    lighting conditions faced by inmates in the San Francisco County Jail:
        Question. How is the light at night?
        The nights are dim at night, but not fully off

        Question: Is it bright enough that you could read or write using the light from the night setting?
        Yes

        Question: How do the light fixtures affect your ability to fall and stay asleep?
        Does not affect sleep at night

        Question: Do the lights impact your experience of headaches at all? (additional/ worse
        headaches?)
        Sometimes get headaches

        Question: What time does the jail turn on the lights in your cell in the morning?
        7am




                                                     89
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 90 of 238



        Question: What time does the jail turn on the lights in the pod area (common area) in the
        morning?
        7am
        [Inmate 3L, Page 2, Sleep Q 4]

        Medications
        He is not able to get the medications that he has his whole life. In the jail, they are not willing to
        give these medications to him. Withdrawal affecting sleep.
        Medication that he took on the outside and is now currently not able to get
        -       Trazodone for sleep
        -       Adderall
        -       Wellbutrin
        [Inmate 3L, Page 3, Medications]

53. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 5D that highlight the conditions
    faced by inmates in the San Francisco County Jail:

        Question 4. What is the schedule for programming?
        Usually 8-10:30am But today on lockdown for 24 hours in cell. No shower or anything, just like
        that. Usually wake up get ready at 8am, deputy taking nap usually in chair most of them). Then
        get coffee ready and something to read or study then all of a sudden, on lockdown with n
        explanation or anything. It’s like getting ready to go out of apartment and it’s a big deal for us.
        Haven’t seen sun or smelled fresh air for 7 years. Constant torture, my mind and mental is
        absolutely different. It’s torture i’m
        [Inmate 5D, Page 1, Question 4; emphasis added]

        Elaborations on Sleep Questionnaire
        Lights 24 hours
        Deputies shaking door to make sure it’s locked, it’s the pervasion of sleep
        - 1 sergeant has 100 keys and when he walks it’s so loud
        [Inmate 5D, Page 2, Elaborations on Sleep Questionnaire; emphasis added]

        Question 3. How noisy is it during the day?
        95-98%
        Question: Can you hear noise from the common room?
        Absolutely
        Question: Can you hear noise from the next cell?
        Absolutely, I can hear a noise from 24 to a different block its noisy 24 hr [per day]
        [Inmate 5D, Page 3, Sleep Q 3; emphasis added]

        Question 4. Have they changed the lights in your cell (i.e., removed the old fluorescent fixtures)?
        They turned the switch off from the control room for the whole pod, it’s like we are in theater .
        it’s one light that turn everything off for 1000 inmates




                                                      90
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 91 of 238



Question: How is the light at night? If they changed the type of light, is the light dimmer or
brighter at night than it used to be?
Its’s like the light in the interview room, puts mask over eyes to sleep at night
Feels like they mess you up with mental health at night, very bright. In daylight, it’s very
bright so after 9:30 they turn off light but it’s still very bright
Even uses drawing to block light and they get write-up so prevented from using phone, no
commissary food for you or shower and you can’t leave cell

Question: Is it bright enough that you could read or write using the light from the night setting?
100%

Question: How do the light fixtures affect your ability to fall and stay asleep? If the light has been
changed, how does it compare to before?
Absolutely

Question: Do the lights impact your experience of headaches at all? (additional/ worse
headaches?)
Oh yeah, of course the worst the worst. Never had headaches in life until being in here

Question: What time does the jail turn on the lights in your cell in the morning?
Turn on at 6:30am when everyone is sleeping and the light is bright
The ward shift starts at 7am so everyone has to get up
We get excited when light turns on and have to stay in cell and it’s so hot

Question: What time does the jail turn on the lights in the pod area (common area) in the
morning?
Same thing. Pod and cells are hand in hand
[Inmate 5D, Page 3-4, Sleep Q 4; emphasis added]

Medication
       Won’t give medication to sleep
Melatonin?
-      Can’t get it from nurse
-      No sleeping medication at all
-      Tylenol is ok and ok to get refill
-      If you have very few staff and human in cell 24 hours, inevitable for people to develop
some sort of ailment
o      People here so miserable
o      No movement and people are sick and not moving

Some guys have said they’ve either bought or were prescribed suboxone and maybe developed
problems while they were on it. Have you experienced this?
-      Personally stay away from it except for prescribed drugs
-      But see people very dependent on it
o      See people taking it 3-4 times a day every day, so even more addiction




                                             91
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 92 of 238



        PTSD medication
        Psychiatrist prescribed Prazosin (high blood pressure) and Lexapro (antidepressant) and felt heart
        stop during workout
                *Psychiatrist denied that it was due to medication
                *No to general hospital and they put device on chest over heart to track heat rate and it
                burnt skin
                *Told doctor he didn’t feel healthy and the doctor came running and he said that the
                medication had side effect on his heart even though he had been saying it was fine.
                *Wouldn’t listen to [inmate] that something was wrong
                *Dr. Hasberk-has been putting in requests 5-6 times
        [Inmate 5D, Page 4-5, Medication; emphasis added]

54. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 6H that highlight the conditions
    faced by inmates in the San Francisco County Jail:

        Question 4: Have they changed the lights in your cell? i.e., removed the old fluorescent fixures?
        Cell that he has moved into has not had the lights changed yet. Only two bulbs running so it’s
        nice. It makes them dimmer. Sometimes the night light isn’t changed at night.

        Question: How is the light at night? If they changed the type of light, is the light dimmer or
        brighter at night than it used to be?
        Lights are bright at night. Main lights shut off and it’s just the night light, but the night light is
        still bright.

        Question: Is it bright enough that you could read or write using the light from the night setting?
        Yes.

        Question: How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        Bottom bunk is nicer because it’s shaded, but on the top bunk you have to hide from the light
        to sleep.

        Question: Do the lights impact your experience of headaches at all? (additional/worse
        headaches?)
        Has had headaches but not sure if it’s from the lights or something else.

        Question: What time does the jail turn on the lights in your cell in the morning?
        7am.

        Question: What time does the jail turn on the lights in the pod area (common area) in the
        morning?
        7am
        [Inmate 6H, Page 2-3, Question 4; emphasis added]




                                                      92
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 93 of 238




55. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 12Y that highlight the conditions
    faced by inmates in the San Francisco County Jail:

        Question: Have you had COVID? How sick were you?
        Michael – nurse, the worst attitude; I’ll ask him “hey Michael can you refill this prescription” he
        did it and then 2 weeks later I asked him to refill but he said “I’m not doing that anymore” – this
        was for my melatonin; I didn’t get a refill for 2 weeks
        [Inmate 12Y, Page 4, Question 8c; emphasis added].

        Question 1: Do you sleep at times other than at night? Daytime?
        Still trying to get the suboxone out of my system; hard to sleep at nighttime; catch tiny naps
        during the day; 1 or 2 30-min naps; at night time I can sleep for 3 or 4 hours; 4AM deputies
        come to open the ports for breakfast; unless I’m high on suboxone then I can sleep through it
        all – I’m able to sleep through all that noise; sometimes they’ll open them 30 min before
        breakfast, the cold air from the pod will go into your cell
        Right now I’m on the top bunk, cold air that blows right on top of me all night long – runny
        nose, sneezing, it’s cold cold air; on really cold nights, they let cold air blow into your cell;
        on really hot days, it’s really hot – no regulation; it feels like there’s not thermostat, the outside
        temperature seems to come in
        [Inmate 12Y, Page 6, Question 1; emphasis added].

        Question 2. How often do you sleep during the day?
        Off of suboxone; I can only sleep 3 or 4 hours throughout the night
        Once the breakfast comes I can’t go back to sleep
        I’m trying to stay tired because I have no way to burn energy off
        [Inmate 12Y, Page 6, Question 2; emphasis added].

        Question 3. How noisy is it during the day?
        A.      Is the tv on?
        Could buy earplugs, I take labels off my shampoo bottle and put it over the speaker Most of the
        time the deputies don’t worry about that

        B.       Can you hear noise from the common room?
        Yes; deputies on the podium, top tier free time, they’re out walking, talking, on the phone – it’s a
        lot of interaction; it can definitely get loud

        C.       Can you hear noise from the next cell?
        Yes; when they’re talking loud. A lot of times [because] we’re stuck in our cell all day, we’ll yell
        at each other from cell to cell and even throughout the night they’ll do that [because] we’re
        so restless
        [Inmate 12Y, Page 6-7, Question 3; emphasis added].




                                                     93
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 94 of 238




Question 4: Have they changed the lights in your cell? (i.e., removed the old fluorescent fixtures?
Super bright lights, they’re the same as they’ve been
Lights on at 630 AM off 9:30 at night
Under 2 blazing lights
Years under these blazing lights
During the daytime, if my light is fully uncovered, it’s way too bright

Sleeping masks
I haven’t seen them distributed for a long time. Not on commissary. Inmates don’t know
you can get these masks

Super bright; pretty much squinting; I cover most of the light fixture because it’s too bright
Covered more than ½ of the light, still sufficient light < deputies will come by and force
people to take things off; Squinting, headaches just from the lights
It’s sensory overload; I’m a mechanic – study electrical. These are too bright.

Even at nighttime the 2 bright lights turn off, one dimmer light turns on; one little light.
Then it seems to get brighter as it warms up

In jail since august 2018; I’ve never had headaches before being incarcerated
[Inmate 12Y, Page 7-8, Question 4; emphasis added].

Elaborations on sleep questions
Noise at night
Nighttime still deputies that walk around w/ their keys; their keys will be loose, whatever
they’re clipped to; 2 nights ago 2 deputies talking hella loud on the podium 3 AM, before
breakfast

Breakfast
Sometimes super sugary breakfasts, if I eat breakfast when breakfast comes; sugary in my system
Can’t go back to sleep anyway
Wait until 6:30/7:00 for lights to come on; Supposed to eat before it’s even light; Eat In the dark

Mattress and bedding
We don’t have a pillow. We have a lump in the mattress. I cut mine out because I sleep on my
stomach.

Medication
I take melatonin. It took me 2 years to get on it because they kept asking me if I had a psych
issue, that I needed to have a psych issue to get melatonin, even though melatonin isn’t a psych
drug. And now sometimes weeks go by without it because they don’t refill it. The nurses are also
overworked and don’t want to give you things.
[Inmate 12Y, Page 10, Elaborations on sleep questions; emphasis added].




                                            94
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 95 of 238



56. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 15B that highlight the conditions
    faced by inmates in the San Francisco County Jail:

        Question 4. Have they changed the lights in your cell? (i.e., removed the old fluorescent
        fixtures?)
        On the top bunk, it’s the hardest
        They give you sleep masks now – they just recently started doing sleep masks w[ith]in the last 2
        years
        Before that, it was very difficult; it’s blinding and right the fuck there
        You can see it through your eyelids
        Instead of it being dark and calm
        It’s the same light they just dim them < 2 bulbs, the middle stays lit of both of the bulbs

                                          Figure RSQ-1: Drawing of ceiling light fixture by Inmate 15B
                                          Blue = outline of light fixture
                                          Yellow = 2 bulbs
                                          Box outline = section of light that is on during nighttime




        Masks – you have to request it, I don’t think people know they’re available
        Newcomers – how do I get those? They weren’t told they were available

        there are sleeping pills on new inmates when they come in, not supposed to sell them but some
        do; a psych drug to help them sleep [because] they can’t sleep
        [Inmate 15B, Pages 3-5, Question 4; emphasis added]

        Elaborations on sleep questions
        Mattress – uncomfortable
        But also can depend on the bunk – sometimes it moves, makes lots of noise
        some of the bunks are noisy, the part in the middle moves and bumps against other stuff
        can wake up your bunkie

        Noise
        [Commanding Officer]’s Pulling on the doors, their keys jingling
        Knock on the windows – checking if we’re alive
        Sometimes this happens at 2 AM – we used to check
        Haven’t experienced the knock on the window in the while
        They pull on the door and it makes us wake up < to check that you’re alive

        Light
        Bottom bunk
        Been on the top bunk too


                                                   95
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 96 of 238



        When I wake up in the morning it’s blinding
        My vision has gotten worse since getting incarcerated
        I’ve been incarcerated for 6 years with no sunlight
        Age – 25; 12/18/96

        “night light” – in some cells they’re dim, it some cells it looks like the normal light is still on
        Sometimes we try to put something on it to dim it down while we sleep but the deputies tell
        us to take it down
        The night light currently – I could read from it
        Haven’t seen anyone change the light fixtures
        [Inmate 15B, Page 5, Elaborations on sleep questions; emphasis added]

57. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 16J that highlight the conditions
    faced by inmates in the San Francisco County Jail:
        Question 4. Have they changed the lights in your cell? (i.e., removed the old fluorescent
        fixtures?)
                 no

        a. How is the light at night? If they changed the type of light, is the light dimmer or brighter at
        night than it used to be?
        The light that is on acts as a night light. Old lights have not been changed out

        b. Is it bright enough that you could read or write using the light from the night setting?
        Yes

        c. How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        Inmate [16J says he] sleeps on lower bunk, so it is kinda covered- much worse on the top bunk

        e. What time does the jail turn on the lights in your cell in the morning?
        7am

        f. What time does the jail turn on the lights in the pod area (common area) in the morning?
        Comes on at 7am and stays on until 9:30 pm
        [Inmate 16J, Page 2, Sleep Q 4; emphasis added]

        Elaborations on sleep questions
        Banging on doors, light fixture, people talking to loud,
        [Inmate 16J, Page 2, Elaborations on sleep questions; emphasis added]

58. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 19F that highlight the conditions
    faced by inmates in the San Francisco County Jail:


                                                     96
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 97 of 238



        Question 4. Have they changed the lights in your cell? (i.e., removed the old fluorescent
        fixtures?)
                 Never changed.

        A.       How is the light at night? If they changed the type of light, is the light dimmer or brighter
        at night than it used to be?
        It is bright, you can see the light through your eyelids. I can read with the light.

        B.      Is it bright enough that you could read or write using the light from the night setting?
        Yes, I read with the light every night.

        C.     How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        Majorly affects me. I like it dark. I suffer from migraines so then when I get a migraine it is
        more horrible. And then I do not get the quiet I need.

        D.      Do the lights impact your experience of headaches at all? (additional/worse headaches?)
        The constant inundation of light adds to my migraines for sure. It would be nice to have
        regular ambient sunlight. It is like being in a fishbowl here.

        E.      What time does the jail turn on the lights in your cell in the morning?
        6:30 or 7 am the brighter lights turn on.

        F.      What time does the jail turn on the lights in the pod area (common area) in the morning?
        About the same time – 6:30.
        [Inmate 19F, Pages 2-3, Sleep Q 4; emphasis added]

        Elaborations on sleep questions
        Too many problems. I have arthritis and I am in constant pain and the mattress is thin and
        hard. I am in pain 24/7. The light drives me nuts. The night light is very bright inside the cell
        unless you tie something on your face which is really uncomfortable. They say the light is for
        safety but for who? I do not get it.
        [Inmate 19F, Page 2, Elaborations on sleep questions; emphasis added]

        Medication
        Melatonin? They do not give it to us here. They do not do that. That would be nice though.
        [Inmate 19F, Page 3, Medication; emphasis added]


59. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 23M that highlight the
    conditions faced by an inmate whose ceiling light fixture has been replaced with an LED light in the
    San Francisco County Jail:




                                                     97
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 98 of 238



        Question 4. Have they changed the lights in your cell? (i.e., removed the old fluorescent
        fixtures?)
        Yes, there was an issue with lights. Service people came and replaced them. Now they are LED
        lights. They are hella bright. Sometimes try to put paper over them but they get in trouble for
        doing that. Cannot sleep during the day because of that. 7 am - 9:30pm

        a.       How is the light at night? If they changed the type of light, is the light dimmer or brighter
        at night than it used to be?
        It dims down. It has always been the same.

        b.      Is it bright enough that you could read or write using the light from the night setting?
        Yes

        c.     How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        Yes. This is probably the main reason why it takes so long to sleep.

        d.     Do the lights impact your experience of headaches at all? (additional/worse headaches?)
        Yes. They give Tylenol and ibuprofen for the headaches. Doctor came to pod.

        e.      What time does the jail turn on the lights in your cell in the morning?
        7 am

        f.      What time does the jail turn on the lights in the pod area (common area) in the morning?
        7 am
        [Inmate 23M, Page 2, Sleep Q 4; emphasis added]


60. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 29X that highlight the conditions
    faced by inmates in the San Francisco County Jail:

        Question 4. Have they changed the lights in your cell? (i.e., removed the old fluorescent
        fixtures?)
                 No, still the same (bright)

        a.       How is the light at night? If they changed the type of light, is the light dimmer or brighter
        at night than it used to be?
        Kind of bright at night; uses mask to cover eyes

        b.     Is it bright enough that you could read or write using the light from the night setting?
        Yes you can read because it’s bright

        c.     How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?


                                                     98
       Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 99 of 238



                I’m fine when I’m wearing the mask

        d.      Do the lights impact your experience of headaches at all? (additional/worse headaches?)
                Not really

        e.      What time does the jail turn on the lights in your cell in the morning?
                8am

        f.      What time does the jail turn on the lights in the pod area (common area) in the morning?
                8am
        [Inmate 29X, Page 2, Sleep Q 4; emphasis added]

        Elaborations on sleep questions
        The mattresses are thin and keep me up. I’ve learned to sleep through it.
        [Inmate 29X, Page 1, Elaborations on sleep questions; emphasis added]

61. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 30B that highlight the conditions
    faced by inmates in the San Francisco County Jail:
        Question 7. Have they changed the lights in your cell? (i.e., removed old fluorescent fixtures?)
                No, they just put another bulb in when they go out

        a. Is the light dimmer or brighter at night?
        Idk if you can consider them night lights b/c they’re so bright
        When you close your eyes you see light through them
        Who can sleep through that?
        Eyes aching
        Could read easily no problem
        Could see a spider crawling on the floor

        c. Have the new light fixtures changed how easy or how hard it is for you to fall asleep at night?
        Very hard to fall asleep at night
        6:40/45 AM the lights come on until 9:40 PM
        Night light comes on, on the whole night

        e. Any new headaches? Worse headaches?
        Yes; a lot yes, like migraine type of headaches
        Before I was incarcerated, I didn’t get migraines

        How often?
        Every day, a couple times a day, I have to take a lot of ibuprofen
        Ibuprofen mutes the headache
        How often are you headache-free?
        There isn’t anytime that I don’t have headaches; I always have a headache




                                                    99
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 100 of 238



 Sometimes it gets really bad; I feel like I’m going to faint, I have a problem with vision
 sometimes; sometimes my head throbs
 I didn’t even wear glasses before I came here – now 39; 32 when I was booked
 I can’t see far away sometimes, I can’t even see close up
 I’m more calm when they turn the lights off; I can see better when the light’s off; I don’t
 have headaches when the lights are off
 When the lights on, I feel drained, I have headaches, I’m having vision problems, I feel weak
 The nightlights make me not sleep b/c they’re so bright
 When we try to cover them “oh take them down I can’t see” but they have a flashlight so why we
 can’t have lights off
 It feels like these lights are used as a way to control us, it’s a mind game
 [Inmate 30B, Pages 3-4, Sleep Q 7; emphasis added]

 Elaborations on sleep questions
 How does the ventilation affect your breathing at night?
 All the air is recycled
 No cool air or hot air
 Stinks in the room sometimes
 Sometimes the vents go off, no ventilation – no fresh air at all
 Makes it hard to be in the cell at all
 Hard to sleep

 Pain – back, side, arms, legs
 The beds are no good
 5’9” height – curled up

 No pillows
 Neck hurting, I forgot that one

 Hard to fall asleep and hard to stay asleep

 Sleep – Noise doesn’t bother me when I’m sleeping here unless you on top of the psych pod
 if you’re in the hole in 2A; hard to get sleep because they bang all night
 they bang all night
 no sleep

 Other noise:
 keys jangling; some CO’s try to put them in their pocket, some of them keep them jangling

 Sleep problems interfering with functioning:
 Even if I am tired, I stay up b/c I can’t go to sleep
 The lights are on too bright

 How often are you tired?
 I’m an energetic person; I like to do things, work out, go outside; I can’t do any of that
 Every day I’m struggling with depression, withdrawing, antisocial


                                              100
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 101 of 238



 idk if I’m bipolar
 something I see, something I hear
 antisocial; withdraw from people
 a lot of people in here that think I don’t like them
 I’ve seen everything and been thru everything because I’ve been in here so long
 When I see certain things, I tune people out; ignore them

 I also feel like I can’t concentrate, I have a memory disorder or something because I don’t
 remember things anymore
 Hard to remember stories, am I mixing up the story with other situations
 I don’t remember the date, I don’t remember the day/what day is it
 I forget what I’m doing when I go to do it; I go into the cell from the phone “what did I come in
 here for” walk out again and then remember
 I have to write stuff down a lot because I forget
 Especially stuff I want to talk about with others

 I lose track of days, the only time I know what day it is if someone says “commissary today” or I
 know I have baby visits on Saturdays “I’ll see you tomorrow” the only way I keep track of days is
 by certain stuff happening
 Tshirt socks and underwear, pants/sweaters/ sheets towels < happens on different days
 Forget if something happened this morning or an hour ago, this morning or yesterday morning

 Forget what people say
 I get distracted easily
 Someone’s in the middle of telling me something
 And if something happens here I get distracted
 I try not to forget the conversation
 Phone times out and have to call back – what were we just talking about?

 I have to write everything down so I remember things
 Make notes to myself
 Write down things I want to talk about or do
 [Inmate 30B, Pages 4-6, Elaborations on sleep questions; emphasis added]

 Additional Notes
 Diabetes diagnosis 1/15/22, put me on meds
 Diet – a little bit more chicken; sometimes 2 cakes
 Cornflakes, 2 oranges, 2 rice cakes, and jelly
 Medications; metformin, Glipizide
 They tried a Librium shot 1x/week; but gave me bad stomach pain/knots

 How are you managing your diabetes and blood sugar?
 I’m just not eating; Blood tests to check glucose – 2x/day. They wake me up at 3:00 or 3:30
 sometimes to check my blood sugar




                                            101
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 102 of 238



        Do they know you’re not eating as much?
        I don’t really tell them
        Incarcerated for 7 years

        Does your family have a history of diabetes? Do you have a history of it and it went into
        remission? Or is this the first time you’re diagnosed with it?
        First time getting the diagnosis; does not run in my family
        There aren’t good food options. It’s all crappy food. They give us sugar cakes for breakfast. I
        can’t eat those.
        [Inmate 30B, Page 6, Additional notes; emphasis added]

62. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 31E that highlight the conditions
    faced by an inmate whose ceiling light fixture has been replaced with an LED light in the San
    Francisco County Jail:

        Question 4. Have they changed the lights in your cell? (i.e., removed old fluorescent fixture?)
               They changed them to LED lights.

        A.       How is the light at night? If they changed the type of light, is the light dimmer or brighter
        at night than it used to be?
        Nightlight at night, always light on. Bright lights all the time. Nobody can even go outside
        and get real lights, its all the fake lights.

        B.      Is it bright enough that you could read or write using the light from the night setting?
                Yes, its bright and still lights up the room. Not as bright as the LED lights.

        C.      How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        Gives you a headache in the beginning but then you get used to it. You have to cover your
        eyes to go to sleep, it is very bright.

        D.      Do the lights impact your experience of headaches at all? (additional/worse headaches?)
                Yes, you will have more headaches.

        E.      What time does the jail turn on the lights in your cell in the morning?
                7 am

        F.      What time does the jail turn on the lights in the pod area (common area) in the morning?
                7 am, could be a little earlier
        [Inmate 31E, Pages 2-3, Sleep Q 4; emphasis added]




                                                    102
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 103 of 238



        Medication
        Diabetic, diabetes eats at your nerves. Always in a lot of pain, it helps make the pain tolerable.
        People who have opioid abuse problems, suboxone helps a lot. Meds that I take they do help.
        They give the medicine 3 times a day.
        [Inmate 31E, Page 3, Medication; emphasis added]

63. Based on the data provided to me by Julianna Di Miceli, a doctoral student in the Department of
    Clinical Psychology at The Wright Institute in Berkeley, CA, I have excerpted a number of free-text
    responses to questions (indicated in italics typography) from Inmate 39g that highlight the conditions
    faced by inmates in the San Francisco County Jail:
        Question 1: Do you sleep at times other than at night? Daytime?
        Inmate 39G tries not to take any naps during the day since it is already very difficult to sleep at
        night and he believes napping during the day would make it worse. He tries to avoid sitting
        on the bed during the day as he might get tired and fall asleep.
        [Inmate 39G, Page 2, Sleep Q 1; emphasis added]

        2. How often do you sleep during the day?
        Tries not to sleep during the day 39G
        [Inmate 39G, Page 2, Sleep Q 2; emphasis added]

        3. How noisy is it during the day?
        It is noisy about twice a week, when something is going on or everyone is talking about
        something. During the night, it is noisy about 3-4 times per week.

        a.     Is the TV on? Hours the TV is on?
        8am-9:30pm

        b.      Can you hear noise from the common area?
        No

        c.      Can you hear noise from the next cell?
        Yes
        [Inmate 39G, Page 2, Sleep Q 3; emphasis added]

        Question 4. Have they changed the lights in your cell? (i.e., removed old fluorescent fixtures?)
                 No
        A.       How is the light at night? If they changed the type of light, is the light dimmer or brighter
        at night than it used to be?
        The night light is very bright. If you’re sleeping on the top bunk the light is right there.
        Inmate 39G sleeps on a bottom bunk and tries to hang a sheet next to his bunk to cover the light,
        but this is not allowed so occasionally a guard will come by and tell him to remove it.
        [Inmate 39G, Page 2, Sleep Q 4; emphasis added]
        5.       a.        Is it bright enough that you could read or write using the light from the night
        setting?
        For sure.




                                                    103
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 104 of 238



        b.       How do the light fixtures affect your ability to fall and stay asleep? If the light has been
        changed, how does it compare to before?
        “Its bad, its right there. You have to cover yourself with the blanket.”

        c.      Do the lights impact your experience of headaches at all? (additional/worse headaches?)
        Inmate 39G has started having bad migraines lately, which he never used to experience. He
        doesn’t know for sure what this is from but imagines it could be from the lights.

        d.      What time does the jail turn on the lights in your cell in the morning?
        6am

        e.      What time does the jail turn on the lights in the pod area (common area) in the morning?
        6am
        [Inmate 39G, Page 2, Sleep Q 5; emphasis added]

        Medication
        Not allowed to get melatonin from the nurse
        Inmate 39G takes suboxone and likes it overall. He finds that it helps him “get through the day.”
        Suboxone helps Inmate 39G get through the day and get things done when he’s tired. It helps him
        communicate and be clear. He describes that it is difficult to talk when he doesn’t take it. It helps
        him forget about whatever he is going through and puts him in a better mood.
        Occasional constipation; tolerance builds quickly.
        [Inmate 39G, Page 3, Medications; emphasis added]

64. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, the general conditions of
    confinement of the inmates who participated in the interviews are such that the inmates interviewed
    were housed in different kinds of pods, including worker, program, general population, and
    administrative segregation pods.

65. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, the lighting and light schedule in the
    San Francisco County Jail are consistent across pods. Each cell contains one fluorescent ceiling light
    fixture with two long bulbs. The jail is in the process of retrofitting the fluorescent lights into LEDs,
    within the same light fixture set-up. The lights are fully turned on at about 6:30 AM and are dimmed
    at 9:30 PM. At the dimmer light setting, the lighting is provided by the same fluorescent light fixtures
    with the center third of the light fixture turned on. The lights are on a timer that can be overridden by
    the deputy if needed.

66. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, most inmates in the San Francisco
    County Jail report trying to fall asleep between 10:00 PM and 1:00 AM, taking between 30 to 180
    minutes (3 hours) to fall asleep.




                                                     104
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 105 of 238



67. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail do not have the ability to control the light brightness in their cells.

68. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail may be purposefully woken up between 1:00 AM and 5:00 AM for a variety of reasons,
    including:
         a. medical tests such as blood glucose for diabetes;
         b. administration of COVID-19 tests;
         c. “wellness checks” (up to three times a night), wherein officers knock on windows or pull on
            the doors to wake the prisoners and check that they are alive regardless of the inmate’s level
            of risk;
         d. Inquiries as to whether the inmate has a court date the following day.

69. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, deputies in the San Francisco County
    Jail may, in addition to or instead of knocking on the cell doors of inmates, use flashlights to spotlight
    the inmates when asking questions or doing wellness checks.

70. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail also report the sound of keys jangling, which disrupts sleep, or officers having conversations
    around 3 or 4 AM on the podium.

71. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates on some pods in the San
    Francisco County Jail report that between 3:30-3:45 AM, deputy officers go to each cell and open the
    port through which breakfast is delivered by workers around 4:00 AM.

72. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates on some pods in the San
    Francisco County Jail report that breakfast is delivered closer to 4:00 and 4:30 AM, respectively.

73. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail report that when breakfast is being served, there is a loud “bang” that accompanies each port
    being opened, as the door of the port hits the door of the cell as it falls.

74. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail report that breakfast is delivered by POD workers through the cell door slots. Inmates have to rise
    to collect the trays. Some inmates eat breakfast at the time it is delivered, some inmates save it to eat
    later in the morning, and some do not eat it at all. The inmates have between 5 and 10 minutes to
    choose what to do with their food before the trays get picked up.




                                                     105
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 106 of 238



75. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute, many inmates in the San Francisco County Jail report
    being unable to fall asleep again after being awoken for breakfast, regardless of whether they choose
    to eat breakfast, although some prisoners report falling back asleep after breakfast on some days.

76. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute, some inmates in the San Francisco County Jail report
    being able to take one or two 20 to 30 minute naps during the day, while others are unable to do so.

77. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail report that the amount of out-of-cell time depends on several factors, including pod type and
    lockdown frequency. Inmates in the worker pods are required to work on a daily basis, serving their
    pod and other pods, even when other pods are in lockdown or are in quarantine. Inmates in
    programming pods are supposed to have programs for up to 3 hours a day and out of cell time for up
    to 2.5 hours a day. The programming and out-of-cell time is canceled if the pod is in quarantine due
    to COVID-19 or in lockdown. Lockdown may be caused by a fight in their pod or a different pod or
    the jail being short staffed, sometimes up to several weeks at a time.

78. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, depending on the timing of
    lockdowns, inmates in the San Francisco County Jail may be unable to shower for days. Prisoners in
    an experimental, general population, anti-COVID-exposure pod were told that they were supposed to
    get a minimum of 45 minutes of “walk time” (out of cell time) per day, and that even if other pods are
    in lockdown, the experimental pod is supposed to remain open. Inmates report that this walk time gets
    canceled at least 4 times a week, and sometimes for up to 10 or more consecutive days.

79. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the San Francisco County
    Jail in the administrative segregation pods get out of their cell only for showers—10 to 15 minutes per
    shower—on 4 days per week. Out of cell time is when prisoners can use the phones, get food from
    commissary, clean their cells, shower, and possibly exercise or go to the gym if they have time.

80. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, inmates in the general population of
    the San Francisco County Jail have access to four (4) phones mounted on the walls of the common
    area and 2 roll-a-way phones. Because there are many inmates vying for a limited number of phones,
    most inmates report having no yard or exercise time.

81. Based on the description provided to me by Julianna Di Miceli, a doctoral student in the Department
    of Clinical Psychology at The Wright Institute in Berkeley, CA, some inmates in the San Francisco
    County Jail report respiratory problems that interfere with their sleep due to recycled, circulating air
    that contains dust and orange clothing particles. In the administrative segregation pods, because
    inmates are only out of their cells for showers, which is not enough time to use the wall phones,
    inmates share the two roll-a-way phones, which are rolled to each cell for inmates to use for phone
    calls.


                                                    106
         Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 107 of 238



Conclusions
A number of environmental and biological factors that affect sleep and circadian rhythms by inducing
acute and chronic sleep deficiency, circadian misalignment, or recurrent circadian disruption can thereby
contribute to increased risk of adverse physical health, mental health, safety and neurobehavioral
performance consequences, and to the risk of sleep-related or fatigue-related impairments of health and
performance. These environmental and biological factors include: ambient lighting conditions;
environmental noise; ambient temperature; sleep surface; meal timing and nutritional content; genetic
polymorphisms; underlying medical condition, particularly chronic medical conditions such as sleep
disorders, metabolic disorders, cardiovascular disorders, immune disorders, neurologic disorders, and
cancer; age; sex; and use of medications. Therefore, I evaluated each of these factors in the present
matter. My findings are as follows:
    A.       Ambient lighting conditions. Ambient lighting in the cells of San Francisco County Jail #3 are
             such that inmates are exposed to bright artificial light during the daytime and, for those
             assigned to the top bunk, considerable exposure to artificial light at night (ALAN). Extensive
             evidence indicates that exposure to ALAN increases the risk of obesity and many diseases,
             including metabolic syndrome and diabetes, cardiovascular disease, sleep disorders such as
             obstructive sleep apnea, and multiple forms of cancer, and increases the risk of adverse
             mental health consequences as well, including symptoms of depression, anxiety and attention
             deficit hyperactivity disorder. In addition, exposure to ALAN disturbs sleep itself, inducing
             excessive daytime sleepiness and impairing the neurobehavioral performance of inmates, and
             increasing their risk of medical conditions known to be caused by sleep deficiency and sleep
             fragmentation, such as hypertension, impaired immune system functioning, and metabolic
             disease, together with the risk of adverse mental health consequences, including symptoms of
             depression, anxiety and attention deficit hyperactivity disorder.

    B.       Environmental noise. Exposure to environmental noise that is loud enough to disrupt sleep
             occurs at all hours of the day and night in the cells of San Francisco County Jail #3. Such
             recurrent exposure to environmental noise at night causes sleep interruption, sleep
             fragmentation, and sleep deficiency, which can adversely affect health, increasing
             inflammation and increasing the risk of obesity, invasive cancer, metabolic disease and heart
             disease, sleep disorders such as obstructive sleep apnea, inducing excessive daytime
             sleepiness and impairing the neurobehavioral performance of inmates, and increasing their
             risk of adverse mental health consequences as well, including symptoms of depression,
             anxiety, attention deficit hyperactivity disorder, and post-traumatic stress disorder, and
             impairing immune functioning.

    C.       Ambient temperature. There is evidence that some inmates house in certain cells of San
             Francisco County Jail #3 may be recurrently exposed to ambient temperatures that are outside
             the thermoneutral zone can cause sleep interruption, sleep fragmentation, and sleep
             deficiency, which can adversely affects health, inducing excessive daytime sleepiness and
             impairing the neurobehavioral performance of inmates, increasing inflammation and
             increasing the risk of obesity, invasive cancer, metabolic disease and heart disease, sleep
             disorders such as obstructive sleep apnea, and increasing the risk of adverse mental health
             consequences as well, including symptoms of depression, anxiety, attention deficit
             hyperactivity disorder, and post-traumatic stress disorder, and impairing immune functioning.


                                                   107
     Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 108 of 238




D.       Sleep surface and bedding. Recurrent exposure to a sleep surface and bedding that induces
         pain and thereby interferes with the ability to sustain sleep can cause sleep interruption, sleep
         fragmentation, and sleep deficiency, which can adversely affects health, increasing
         inflammation and increasing the risk of obesity, invasive cancer, metabolic disease and heart
         disease, sleep disorders such as obstructive sleep apnea, and increasing the risk of adverse
         mental health consequences as well, including symptoms of depression, anxiety, attention
         deficit hyperactivity disorder, and post-traumatic stress disorder, and impairing immune
         functioning.

E.       Meal timing and nutritional content. Providing inmates their breakfast meal in the middle of
         the biological night at ~3:30 am to ~4:30 am each day not only causes sleep interruption,
         sleep fragmentation and sleep deficiency, especially for those who are unable to go back to
         sleep after this deliberate environmental disruption, but many of those inmates who actually
         eat breakfast at the time that it is served will experience significantly elevated blood glucose
         concentrations (hyperglycemia) compared to that which would occur eating the same meal
         that was not misaligned. That is especially true given the high sugar content reported by
         multiple inmates in the breakfast cakes that they are served each morning. Serving of
         breakfast at that time increases the risk of obesity, impaired glucose tolerance,
         cardiometabolic disease, and ultimately diabetes due to misalignment of circadian phase at
         the time of the high-glucose meal service provided to inmates in San Francisco County Jail
         #3. Such recurrent exposure to meals rich in glucose in the middle of the biological night will
         adversely affect the health of many inmates, especially those with a common genetic
         background that is associated with a gain-of-function polymorphism of the melatonin
         receptor gene, increasing the risk of obesity, metabolic disease and heart disease, and sleep
         disorders such as obstructive sleep apnea, with all of their attendant adverse health
         consequences, such as increased risk of invasive cancer, metabolic disease and heart disease,
         and increased risk of adverse mental health consequences, including symptoms of depression,
         anxiety, attention deficit hyperactivity disorder, and post-traumatic stress disorder, and
         impairing immune functioning.

F.       Genetic polymorphisms. Inmates with certain common genetic backgrounds, for example,
         gain-of-function polymorphism of the melatonin receptor gene, or polymorphisms in the
         metabolism of caffeine, or the chronotype genetic variant in the PER2 gene that is associated
         with a longer intrinsic circadian period and a later chronotype (e.g., evening type trait) in
         humans, will be at increased risk of suffering the adverse consequences associated with the
         environmental and biological factors that adversely affect inmates in the San Francisco
         County Jail.

G.       Underlying medical condition and chronotype
         a. Sleep disorders. Inmates with certain common sleep disorders, for example, obstructive
            sleep apnea, or insomnia disorder, will be at increased risk of suffering the adverse
            consequences associated with the environmental and biological factors that adversely
            affect inmates in the San Francisco County Jail. In addition, inmates scheduled to work
            during night-time hours, such as Inmate 2K, some of whose interview responses are
            quoted above, are at a much greater risk of suffering from Shift Work Disorder, since the


                                                 108
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 109 of 238



         ambient noise levels and meal schedule in the San Francisco County Jail will often
         preclude such inmate workers from obtaining the sleep that they need during the daytime
         after working an overnight shift. This will increase their risk of occupational and other
         injuries.

    b. Chronotype. Inmates who were evening types had a higher prevalence of screening
       positive for adverse mental health symptoms than those who were morning types. Since
       late chronotypes may have suffered from greater sleep deficiency on this lighting and
       sleep schedule, with the wake-maintenance zone interfering with their ability to fall
       asleep at 9:30 pm, and experience greater circadian misalignment associated with the
       timing of the 3:30 am to 4:30 am breakfast meals, evening chronotypes will probably
       suffer greater adverse physical health consequences of the environmental and scheduling
       conditions in the San Francisco County Jail.

    c. Metabolic disorders. Inmates with certain common metabolic disorders, for example,
       type 1 or type 2 diabetes, or obesity, will be at increased risk of suffering the adverse
       consequences associated with the environmental and biological factors that adversely
       affect inmates in the San Francisco County Jail.

    d.    Cardiovascular disorders. Inmates with certain common cardiovascular disorders, for
         example, hypertension or coronary artery disease, will be at increased risk of suffering
         the adverse consequences associated with the environmental and biological factors that
         adversely affect inmates in the San Francisco County Jail.

    e. Immune functioning. Inmates exposed to infectious agents such as COVID-19 or
       monkeypox, for example, will likely experience an impaired immune response, both o the
       infections agents or vaccines designed to protect against the conditions, due to sleep
       fragmentation, sleep deficiency and circadian disruption associated with the
       environmental and biological factors that adversely affect the sleep and circadian rhythms
       of inmates in the San Francisco County Jail.

    f.   Gastrointestinal illness. Inmates with certain common gastrointestinal disorders, for
         example, ulcerative colitis or Crohn’s Disease, will be at increased risk of suffering the
         adverse health consequences and exacerbations of their conditions associated with the
         environmental and biological factors that adversely affect inmates in the San Francisco
         County Jail, inducing recurrent circadian disruption, circadian misalignment, sleep
         fragmentation, sleep interruption and sleep deficiency.

    g. Psychiatric disorders. Inmates with certain common psychiatric disorders, for example,
       depression, anxiety disorder, attention deficit hyperactivity disorder, and post-traumatic
       stress disorder, will be at increased risk of suffering the adverse health consequences and
       exacerbations of their conditions associated with the environmental and biological factors
       that adversely affect inmates in the San Francisco County Jail, inducing recurrent
       circadian disruption, circadian misalignment, sleep fragmentation, sleep interruption and
       sleep deficiency.




                                            109
         Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 110 of 238



             h. Neurologic disorders. Inmates with certain common neurologic disorders, for example,
                migraine headache, or epilepsy, will be at increased risk of suffering the adverse health
                consequences and exacerbations of their conditions associated with the environmental
                and biological factors that adversely affect inmates in the San Francisco County Jail,
                inducing recurrent circadian disruption, circadian misalignment, sleep fragmentation,
                sleep interruption and sleep deficiency.

             i.    Cancer. Inmates with certain common types of cancer, for example, prostate cancer or
                  liver cancer, will be at increased risk of suffering more invasive and severe forms of such
                  cancers due to the environmental and biological factors that adversely affect inmates in
                  the San Francisco County Jail, inducing recurrent circadian disruption, circadian
                  misalignment, sleep fragmentation, sleep interruption and sleep deficiency.

    H.       Age. The impact of acute and chronic sleep deficiency induced by the environmental
             conditions at the San Francisco County Jail will have a greater adverse impact on the
             neurobehavioral performance of young as compared to older inmates, whereas the impact on
             cancer risk and diabetes may be greater in older as compared to young inmates.

    I.       Sex. The impact of acute and chronic sleep deficiency and recurrent circadian disruption
             induced by the environmental conditions at the San Francisco County Jail will have a greater
             increase in the risk of certain diseases in men (e.g., prostate cancer) than it will have in
             women, whereas for other diseases (e.g., breast cancer), the increased risk would be greater in
             women than in men.

    J.       Use of medications. The impact of acute and chronic sleep deficiency and recurrent circadian
             disruption induced by the environmental conditions at the San Francisco County Jail will
             have a greater increase in the risk of adverse health outcomes in inmates taking certain
             medications, such as agents to treat diabetes or depression, than it will to inmates who are not
             taking such medications.
I contemplate utilization of charts and graphs drawn from the world scientific and medical literature
and/or created specifically with respect to the present matter to illustrate the influence of these factors on
human brain function, both in general terms and in relation to the present matter. I reserve the right to
amend or modify my conclusions as more material becomes available.




                                                     110
     Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 111 of 238



Opinions
   1. Based on my review of the materials provided to me in this matter and my education, training,
      background and experience, it is my opinion within a reasonable degree of scientific and medical
      certainty, that the environmental conditions and schedules to which inmates in the San Francisco
      County Jail are exposed induces sleep interruption, sleep fragmentation, chronic sleep deficiency
      and excessive daytime sleepiness in the inmates housed in the facility.

   2. Based on my review of the materials provided to me in this matter and my education, training,
      background and experience, it is my opinion within a reasonable degree of scientific and medical
      certainty, that the environmental conditions and schedules to which inmates in the San Francisco
      County Jail are exposed induces recurrent circadian disruption, misalignment of circadian phase
      with respect to meal timing in the inmates housed in the facility.

   3. Based on my review of the materials provided to me in this matter and my education, training,
      background and experience, it is my opinion within a reasonable degree of scientific and medical
      certainty, that the sleep interruptions, sleep fragmentation, sleep deficiency, circadian
      misalignment and recurrent circadian disruption induced by the environmental conditions and
      schedules to which inmates in the San Francisco County Jail are exposed increases or exacerbates
      the inmates’ risk of obesity and many diseases, including metabolic syndrome and diabetes,
      cardiovascular disease, including hypertension, gastrointestinal illnesses, osteoporosis, impaired
      immune functioning, sleep disorders such as obstructive sleep apnea, and multiple forms of
      cancer, and increases or exacerbates the inmates’ risk of adverse mental health consequences,
      including depression, anxiety disorder, attention deficit hyperactivity disorder, and post-traumatic
      stress disorder, while inducing excessive daytime sleepiness and impairing the neurobehavioral
      performance of inmates.

   4. Based on my review of the materials provided to me in this matter and my education, training,
      background and experience, it is my opinion within a reasonable degree of scientific and medical
      certainty, that the sleep interruptions, sleep fragmentation, sleep deficiency, recurring circadian
      misalignment of meal timing, and recurrent circadian disruption induced by the environmental
      conditions and schedules to which inmates in the San Francisco County Jail are exposed
      significantly increases their risk of their suffering from a chronic physical illness such as heart
      disease, diabetes, osteoporosis, gastrointestinal illnesses, cancer, or obstructive sleep apnea, or a
      chronic mental health condition, such as depression or anxiety disorder, the disabling effects of
      which are likely to persist for the rest of their lives, long after they are released from the San
      Francisco County Jail.

   5. Based on the findings summarized above, and my review of the materials provided to me in this
      matter, as well as my education, training, background, and experience, it is my opinion to a
      reasonable degree of medical and scientific certainty, that the inmates’ daytime functioning will
      be impaired, adversely affecting judgment, risk-taking, risk of injury, their ability to perceive and
      assess objects in their visual fields will be impaired by: (1) sleep-related cognitive slowing; (2)
      sleep-related impaired reaction time; (3) increased sleep-related distraction; (4) a sleep-related
      episodes of automatic behavior; (5) excessive sleep inertia; (6) sleep-related attentional failures;
      (7) micro-sleep episodes; (8) sleep-related impairment of judgment; and (9) sleep-related



                                                   111
  Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 112 of 238



    impairment of other mental faculties. These impairments will severely degrade many inmates’
    memory and perception and situational awareness, degrade their ability to participate in their
    legal defense, and increase their risk of violating institutional policies regarding maintaining
    appropriate conduct while in jail.

6. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   probability that the policies of the San Francisco County Jail, including the failure of the
   leadership of the San Francisco County Jail to implement a comprehensive program to address
   the sleep deficiency and recurrent circadian disruption to which inmates in the San Francisco
   County Jail are exposed—even after the testimony of Dr. Jamie Zeitzer in this matter in 2019,
   which detailed the serious adverse health and safety consequences of this environment and these
   scheduling policies on the inmates under the care of the San Francisco County Jail—is
   irresponsible and demonstrates a cultural indifference to the adverse health consequences of these
   conditions, reflecting a willful indifference to the serious health hazards associated with these
   unnecessarily dangerous conditions, and constituting gross negligence in continuing to maintain
   policies and practices that are so injurious to the health of the inmates.

7. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   certainty, that the environmental conditions and schedules that induce sleep interruptions, sleep
   fragmentation, chronic sleep deficiency and excessive daytime sleepiness among the inmates
   housed in the San Francisco County Jail could be significantly improved by the implementation
   of a comprehensive sleep health and wellness program for the staff and inmates of the San
   Francisco County Jail. Such a program could improve productivity and decrease the risk of costly
   occupational injuries in the facility, and improve the health of both the staff and inmates housed
   in the facility. Care will need to be taken to meet the operational requirements of the jail facility,
   while addressing the toxic environmental and scheduling factors that are currently injuring many
   of the inmates. Such a program should include implementation of the following 17 elements:

        a. An education program to train Sheriff Paul Miyamoto, the executive team members who
           manage the San Francisco County Jail, the commanding officers, the supervisors, the
           deputies, the scheduling staff, and all employees who work at the San Francisco County
           Jail, as well as all inmates of the San Francisco County Jail, on the principles of sleep and
           circadian science through a combination of interactive online and in-person educational
           sessions;

        b. Certification testing of jail staff for comprehension of the principles of sleep and
           circadian science;

        c. Development and implementation of jail scheduling policies grounded on sleep and
           circadian science, including the scheduling of inmates who work in the facility. Jail
           schedule policies should cover scheduled timing of meal service (e.g., eliminating the
           middle-of-the-night sugary breakfast meals that are currently being served), lights out and
           lights on, and times for medical testing and other data gathering to minimize the
           occurrence of events during the nighttime hours that need not interrupt sleep (e.g.,


                                                112
Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 113 of 238



         COVID-19 testing at 2 am, or waking up an inmate in the middle of the night to inquire
         as to whether an inmate has a court date the next morning);

    d. Development and implementation of work schedule policies for work hours of inmates
       who work staffing the jail (e.g., as cooks in the kitchen). These policies should include
       maximum number of consecutive work hours; the minimum number of off-duty hours
       between shifts; provision of sleeping quarters during the daytime for inmates scheduled
       to work all night; the maximum number of weekly work hours in any running 7‐day
       interval; the minimum number of days off in any running 7‐day interval and in any
       running 30‐day interval; the maximum number of consecutive overnight shifts; and
       training of inmate work schedulers in work schedule design principles;

    e. Development and implementation of work schedule policies for work hours of
       supervisors and deputies staff the jail on a 24/7 basis. These policies should include
       maximum number of consecutive work hours; the minimum number of off-duty hours
       between shifts; the maximum number of weekly work hours in any running 7‐day
       interval; the minimum number of days off in any running 7‐day interval and in any
       running 30‐day interval; the maximum number of consecutive overnight shifts; and
       training of staff work schedulers in work-schedule design principles;

    f.   Monitoring of effectiveness of, compliance with and enforcement of jail scheduling
         policies;

    g. Ambient lighting conditions in the jail cells that will facilitate adaptation to the jail
       schedule, and to the work schedule of those inmates who are working to staff the facility.
       Ambient lighting conditions should include the ability to enhance the intensity and
       optimize the wavelength of ambient light exposure to enhance alertness and facilitate
       circadian synchronization to the jail schedule;

    h. Ambient lighting conditions in the jail cells that will enable inmates to sleep at night,
       including reduction in light intensity and of the inmates on the top bunk and the provision
       of well-fitting eye masks during sleep to minimize retinal light exposure during sleep;

    i.   Ambient lighting conditions in the jail that will facilitate adaptation to the jail schedule,
         and to the work schedule of those inmates who are working to staff the facility. Ambient
         lighting conditions should include the ability to enhance the intensity and optimize the
         wavelength of ambient light exposure to enhance alertness and facilitate circadian
         synchronization to the jail schedule;

    j.   Development and implementation of policies to minimize noise during the inmates’
         scheduled sleep episode, and provision of soft foam ear plugs to all inmates to reduce
         environmental noise disturbance;

    k. Monitoring of the effectiveness of, compliance with and enforcement of noise reduction
       policies;




                                             113
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 114 of 238



            l.   Development and implementation of policies to ensure that the inmates are able to sleep
                 in a thermoneutral environment;

            m. Provision of sleep surfaces that do not impede the ability of inmates to sleep;

            n. Equipping the cells with inexpensive, non-contact sensors that will enable the staff to
               complete wellness checks (e.g., respiration) without disturbing the sleep of inmates;

            o. Sleep disorders screening using validated instruments of all jail staff members and
               inmates. Sleep disorders screening policies should include mandatory objective screening
               for obstructive sleep apnea in all employees and in all inmates with a body mass index
               greater than 30 kg/m2;

            p. Sleep disorders treatment, as necessary;

            q. Sleep disorders treatment compliance monitoring.

        Based on my review of the materials provided to me in this matter and my education, training,
        background and experience, it is my opinion within a reasonable degree of scientific and medical
        probability that implementation of such a comprehensive program should achieve marked
        reduction of sleep interruptions, sleep fragmentation, sleep deficiency, recurring circadian
        misalignment of meal timing, and recurrent circadian disruption currently induced by the
        environmental conditions and schedules to which inmates in the San Francisco County Jail are
        exposed. These policies should improve the health and safety of both the inmates and the staff of
        the San Francisco County Jail.
I contemplate utilization of charts and graphs drawn from the world scientific and medical literature
and/or created specifically with respect to the present matter to illustrate the influence of these factors on
human brain function, both in general terms and in relation to the present matter. I reserve the right to
amend or modify my conclusions and opinions as additional material becomes available.
Dated: September 2, 2022




Charles A. Czeisler, Ph.D., M.D.




                                                     114
      Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 115 of 238




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                                               134
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 135 of 238
        Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM       Page A-1 of A-103




                                                   Curriculum Vitae


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Education
1974            A.B. (magna       Biochemistry and Molecular                     Harvard College, Cambridge, MA
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1978            Ph.D.             Neuro- and Biobehavioral Sciences              Stanford University, Stanford, CA
                                  (William C. Dement M.D., Ph.D.)

1981            M.D.              Medical Doctor                                 Stanford University School of
                                                                                 Medicine, Stanford, CA
Postdoctoral Training
1981-1983       Senior Fellow     Health Policy                                  Center for Health Policy and
                                  (David A. Hamburg, M.D.)                       Management, John F. Kennedy
                                                                                 School of Government, Harvard
                                                                                 University, Cambridge, MA
Faculty Academic Appointments
1978         Adjunct Instructor             Biological Sciences                           Graduate School of Arts
                                                                                          and Sciences, Fordham
                                                                                          University, Bronx, NY
1979            Lecturer                    Undergraduate Studies                         Stanford University
1979-1980       Research Associate          Physiology                                    Harvard Medical School,
                                                                                          Boston, MA
1982-1983       Research Associate          Medicine                                      Harvard Medical School
1983-1987       Assistant Professor         Medicine                                      Harvard Medical School
1987-1998       Associate Professor         Medicine                                      Harvard Medical School
1994-           Affiliate Faculty           Program in Neuroscience                       Harvard Medical School
1998-           Professor of Medicine       Medicine                                      Harvard Medical School
                                                              1
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 136 of 238
        Appendix A               Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM        Page A-2 of A-103




2004-           Frank Baldino, Jr.,          Medicine                                      Harvard Medical School
                Ph.D. Professor of
                Sleep Medicine
2014-           Associate of Molecular       Molecular and Cellular Biology                Faculty of Arts and
                and Cellular Biology                                                       Sciences, Harvard
                                                                                           University,
                                                                                           Cambridge, MA

2019-           Senior Faculty               Harvard College Program in                    Faculty of Arts and
                                             General Education                             Sciences, Harvard
                                                                                           University

Appointments at Hospitals/Affiliated Institutions
1976-1978       Research Associate           Neurology                                     Montefiore Hospital,
                                                                                           Albert Einstein College of
                                                                                           Medicine, Bronx, NY
1982-1992       Associate Physician          Medicine, Endocrine Division                  Brigham and Women’s
                                                                                           Hospital, Boston, MA
1992-1998       Physician                    Medicine, Endocrine Division                  Brigham and Women’s
                                                                                           Hospital, Boston, MA
1998-           Senior Physician             Medicine, Division of Sleep                   Brigham and Women’s
                                             Medicine                                      Hospital, Boston, MA
1999-2014       Affiliate Faculty            Health, Science and Technology                Harvard Medical School/
                                             Program                                       Massachusetts Institute of
                                                                                           Technology, Cambridge,
                                                                                           MA
Other Professional Positions
1981-1993       Founder and Director                                Center for Design of Industrial Schedules,
                                                                    Boston, MA
1991-1994       Consultant                                          Light Sciences, Inc., Braintree, MA
1993-1994       Consultant                                          ShiftWork Systems, Inc., Cambridge, MA
1996-           Member, Board of Trustees                           Institute for Experimental Psychiatry
                                                                    Research Foundation, Milton, MA
2000-2011       Consultant                                          Cephalon, Inc., West Chester, PA (after 2005,
                                                                    Frazer, PA)
2001-2005       Consultant                                          Lifetrac, Inc., Biddeford, ME
2002-2003,      Consultant                                          Pfizer, Inc., New York, NY
2006
2003-2006       Member Circadian Rhythm Sleep                       Takeda Pharmaceuticals North America, Inc.,
                Disorders Advisory Board, and Consultant            Lincolnshire, IL
2003-2011       Consultant                                          Respironics, Inc., Murrysville, PA
2004            Consultant                                          Unilever, Inc., London, UK
2004            Consultant and Member, Sleep-Wake                   Cephalon, Inc., Frazer, PA
                Medicine Executive Advisory Board
2004-2007       Consultant and Member, Medical and                  Hypnion, Inc., Lexington, MA
                Scientific Advisory Board
2004-2005,      Consultant/Expert Witness                           Columbia River Bar Pilots, Astoria OR
                                                      2
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 137 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-3 of A-103


2010
2004-2013     Consultant                                        Sleep Multimedia, Inc.
2004-         Consultant                                        Vanda Pharmaceuticals, Inc., Washington DC
2005          Consultant                                        Warburg-Pincus
2005          Consultant                                        Morgan Stanley
2005          Consultant                                        Avera Pharmaceuticals, Inc., San Diego, CA
2005-2008     Consultant                                        Actelion Pharmaceuticals Ltd, Allschwil,
                                                                Switzerland
2005-2010     Consultant                                        Norfolk Southern
2005-         Chair, Scientific Advisory Board                  Vanda Pharmaceuticals, Inc., Washington DC
2007          Consultant                                        Fedex Kinko’s/Ketchum Inc.
2007-2009     Consultant                                        Sepracor, Inc., Marlborough, MA
2007-2010     Consultant                                        Somnus Therapeutics, Inc., Bedminster, NJ
2007-2010     Consultant                                        Eli Lilly and Co., Indianapolis, IN
2008-2009     Consultant                                        Garda Síochána Inspectorate (Dublin, Ireland)
2008-2009     Consultant                                        Sanofi-Aventis, Inc.
2008-2010     Consultant                                        Johnson & Johnson
2008-2011     Consultant                                        Portland Trailblazers
2008-2011     Consultant                                        Koninklijke Philips Electronics, N.V.
2008-2013     Consultant and Member, Scientific                 Zeo, Inc. (formerly Axon Labs, Inc.) Newton,
              Advisory Board                                    MA
2009          Consultant/Expert Witness                         Delta Airlines/Comair
2009-2010     Consultant/Expert Witness                         Global Ground Support
2009-         Consultant                                        Boston Celtics
2010-2011     Consultant                                        Minnesota Timberwolves
2010-         Consultant/Expert Witness                         Bombardier Inc.
2011          Consultant/Expert Witness                         Celadon Trucking Services, Inc.
2011-2012     Consultant                                        Novartis/Gerson Lehman Group
2012          Consultant                                        Boston Bruins
2013          Consultant                                        Synchrony Healthcare Communications/Teva
                                                                Pharmaceutical Industries Ltd.
2013          Consultant                                        Citgo and Valero
2013-2014     Consultant/Expert Witness                         Michael Jackson’s mother and children
2013-         Consultant                                        Boston Red Sox
2013-         Consultant                                        United Parcel Service
2013-         Consultant/Expert Witness                         Purdue Pharma L.P.

Major Administrative Leadership Positions
Local
1976-1981     Project Director, Laboratory of Human                Department of Neurology, Montefiore
              Chronophysiology,                                    Hospital
1983-1989     Director, Neuroendocrinology Laboratory              Brigham and Women’s Hospital
1990-2001     Director, Laboratory for Circadian and               Endocrine Division, Department of
              Sleep Disorders Medicine                             Medicine, Brigham and Women’s Hospital
1994-2001     Chief, Circadian, Neuroendocrine and Sleep           Endocrine Division, Department of
              Disorders Section                                    Medicine, Brigham and Women’s Hospital
1999-2004     Co-Director, Division of Sleep Medicine              Harvard Medical School
2001-2014     Chief, Division of Sleep Medicine                    Department of Medicine, Brigham and
                                                                   Women’s Hospital
                                                           3
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 138 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-4 of A-103


2004-           Director, Division of Sleep Medicine                 Harvard Medical School
2014-           Chief, Division of Sleep and Circadian               Departments of Medicine and Neurology,
                Disorders                                            Brigham and Women’s Hospital

National and International
1997-2008     Team Leader, Human Performance Factors,                National Space Biomedical Research
              Sleep and Chronobiology Team                           Institute (NSBRI), Houston, Texas



Committee Service
Local
1981-1988       Working Group on Health Promotion &      Division of Health Policy, Harvard
                Disease Prevention                       University
                                                         Role: Executive Officer
1983-           Adams House Senior Common Room           Harvard College
                                                         Role: Associate
1986-1989       Study Group on AIDS and Public Policy    Division of Health Policy Research and
                                                         Education, Harvard University
                1986-1989                                Role: Chairman
1989-1996       Graduate Medical Education Committee     Brigham and Women's Hospital
                                                         Member
1993-1996       Long-range Planning Committee            Endocrine Division, Brigham and Women’s
                                                         Hospital
                1993-1994                                Role: Member
                1995-1996                                Role: Chairman
1994            Computer Committee                       Endocrine Division, Brigham and Women’s
                                                         Hospital
                                                         Role: Member
1994-1996       Ad-hoc Faculty Search Committee          Endocrine Division, Department of
                                                         Medicine, Harvard Medical School
                                                         Role: Chairman
1996-           Sleep Grand Rounds Organizing Committee Division of Sleep Medicine, Brigham and
                                                         Women’s Hospital
                                                         Role: Member
1997-           Clinical Investigation Committee         Research Council, Brigham and Women'’
                                                         Hospital
                                                         Role: Member
1998-           Faculty Executive Committee              Division of Sleep Medicine, Harvard
                                                         Medical School
                                                         Role: Co-Chair
1998-           Education and Training Committee, Sleep, Brigham and Women’s Hospital
                Circadian and Respiratory Neurobiology   Role: Chairman
                Training Program
1999-2000,      Ad Hoc Committee of Evaluators for       Harvard Medical School
2002            Professorial Appointment                 Role: Member

2000-           Advisory Committee                                  John A. Hartford Foundation Center for
                                                                    Excellence in Geriatric Medicine, Division
                                                             4
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 139 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-5 of A-103


                                                          on Aging, Harvard Medical School
                                                          Role: Member
2001-           Harvard Work Hours, Sleep and Safety      Division of Sleep Medicine, Harvard
                Study Group                               Medical School
                                                          Role: Organizer
2001-           Executive Committee                       Department of Medicine, Brigham and
                                                          Women’s Hospital
                                                          Role: Member
2001-           Center for Clinical Investigation         Brigham and Women’s Hospital
                                                          Role: Member
2002-           Clinical Research Liaison Committee       Brigham and Women’s Hospital
                                                          Role: Member
2002-           General Clinical Research Center Steering Brigham and Women’s Hospital
                Committee                                 Role: Member
2002-2003       Task Force on Graduate Medical Education Partners HealthCare System
                                                          Role: Member
2004            Dry Space Subcommittee, Executive         Brigham and Women’s Hospital
                Committee on Space (ECOS)                 Role: Member
2006-           Ad Hoc Search Committee for the Peter C.  Harvard Medical School
                Farrell Professor of Sleep Medicine       Role: Chair
2007-           Ad Hoc Search Committee for the Gerald E. Harvard Medical School
                McGinnis Professor of Sleep Medicine      Role: Chair
2007-           Ad Hoc Search Committee for a Professor   Harvard Medical School
                of Medicine to serve as Director of the   Role: Chair
                Sleep and Health Education Programs
2007-           Division of Sleep Medicine Fellows        Brigham and Women’s Hospital
                Selection Committee                       Role: Co-Chair
Regional
1985-1986       Symposium on Health Promotion in the                Kellogg Foundation, Boston, MA
                Workplace                                           Role: Co-chairman
2008            Discovery Panel                                     NASA Future Forums, Museum of Science,
                                                                    Boston, MA
                                                                    Role: Panelist
2008            Fatigue Management II: Technological and            Liberty Mutual, Hopkinton, MA
                Pharmacological Approaches, Future                  Role: Working Group Member
                Directions in Fatigue and Safety Research
2008            Massachusetts Special Commission on                 Boston, MA
                Drowsy Driving                                      Role: Special Consultant
2008-2009       Expert Panel on Obstetrics, Staffing and            Betsy Lehman Center for Patient Safety,
                Communication Task Group                            Boston, MA
                                                                    Role: Consultant
National and International
1981-1982       Research Agenda for Health and Behavior             National Academy of Sciences (NAS)
                                                                    Institute of Medicine (IOM), Washington,
                                                                    DC
                                                                    Role: Task Force Member
1982-1983       Clinical Psychobiology Branch                       National Institute of Mental Health
                                                                    (NIMH), Bethesda, MD
                                                             5
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 140 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-6 of A-103


                                                             Role: Consultant
1983            Ad Hoc Advisory Group                        Institute of Chronobiology, New York
                                                             Hospital, Cornell Medical School, White
                                                             Plains, NY
                                                             Role: Member
1982-1984       The United States Olympic Committee          Sports Medicine Division, Colorado
                                                             Springs, CO
                                                             Role: Consultant
1984            Ad Hoc Subcommittee on Evaluation of         National Research Council, National
                Endocrine Studies in Space, Committee on     Academy of Sciences, Washington, DC
                Space Biology and Medicine                   Role: Member
1989-1990       Research Briefing Panel on Basic Sleep       Division of Health Science Policy, Institute
                Research                                     of Medicine, NAS, Washington, DC
                1989-1990                                    Role: Member
1989            Scientific Review Branch                     National Institute of Neurological and
                                                             Communicative Disorders and Stroke, NIH,
                                                             Bethesda, MD
                                                             Role: Advisory Consultant
1989            Board of Scientific Counselors               ADAMHA, National Institute of Mental
                                                             Health (NIMH), Bethesda, MD
                                                             Role: Ad hoc consultant
1989            General Clinical Research Center Site Visit Division of Research Resources, National
                Advisory Review Panel                        Institutes of Health, Bethesda, MD
                                                             Role: Member
1989-1990       Planning Committee, Consensus                National Institute on Aging and the Office
                Development Conference on Sleep              of Medical Applications of Research, NIH,
                Disorders in Older People                    Bethesda, MD
                                                             Role: Member
1989-1991       Panel on Workload Transition, Committee      National Research Council, National
                on Behavioral and Social Sciences and        Academy of Sciences, Washington DC
                Education                                    Role: Member
1989-1991       Advisory Panel, New Developments in          Office of Technology Assessment, United
                Neuroscience, “Biological Rhythms:           States Congress, Washington DC
                Implications for the Worker”                 Role: Member
1990-1991       Advisory Panel, Preflight Circadian Shifting National Aeronautics and Space
                of Shuttle Flight Crews, Space and Life      Administration (NASA), Johnson Space
                Sciences Directorate                         Center (JSC), Houston, TX
                                                             Role: Member
1990            Biological Rhythms Task Force                Mental Health Research Network, John D.
                                                             and Catherine T. MacArthur Foundation,
                                                             Chicago, IL
                                                             Role: Member
1990            Merit Award Advisory Review Panel            National Institute on Aging (NIA), National
                                                             Institutes of Health (NIH), Bethesda MD
                                                             Role: Member
1991            Future Approaches to the Basic               National Commission on Sleep Disorders
                Neurobiology of Sleep                        Research, Bethesda MD
                                                             Role: Workshop Panelist
1991-           External Advisory Committee                  University of Virginia National Science and
                                                             Technology Center, National Science
                                                        6
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 141 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM    Page A-7 of A-103


                                                                    Foundation
                                                                    Role: Member
1991            Committee for External Review of Sleep              Department of Psychiatry, Stanford
                Research Center and Clinic                          University, Stanford, CA
                                                                    Role: Chairman
1992            Neurolab Space Shuttle Research Planning            Division of Basic Brain and Behavioral
                Conference                                          Sciences, National Institute of Mental
                                                                    Health/Life Sciences Division, NASA,
                                                                    Houston TX
                                                                    Role: Consultant
1992            Program Project Site Visit Review Panel             Scientific Review Office, National Institute
                                                                    on Aging, NIH, Bethesda MD
                                                                    Role: Chairman
1994            Operations Center                                   Nuclear Regulatory Commission (NRC),
                                                                    Washington, DC
                                                                    Role: Consultant
1994-           Advisory Committee                                  Night Operations and Human
                                                                    Chronobiology, Life and Environmental
                                                                    Sciences Division, Air Force Office of
                                                                    Scientific Research (AFOSR)
                                                                    Role:Member
1994            Focus Group                                         Neural Basis of Psychopathology,
                                                                    Neuroscience and Behavioral Science
                                                                    Division, NIMH
                                                                    Role: Member
1994            Work Hours, Sleepiness and Accidents                National Institute for Psychosocial Factors
                Consensus Conference                                and Health, Department of Clinical
                                                                    Neuroscience, Karolinska Institute,
                                                                    Stockholm
                                                                    Role: Panel Member
1994-           External Advisory Committee                         General Clinical Research Center,
                                                                    University of Virginia, Charlottesville, VA
                                                                    Role: Member
1995            External Advisory Panel on “The Future of           NIMH
                Sleep Research at NIMH”                             Role: Member
1996            Workshop on Melatonin and Sleep                     Neurobiology of Aging Branch, NIA
                                                                    Role: Panel Member
1996-1997       Advisory Group Spaceflight and Aging                Biology of Aging Program, NIA
                                                                    Role: Member
1996            Integrative, Regulatory and Behavioral              Neuroscience Integration Project, Division
                Neurosciences Working Group                         of Research Grants, NIH
                                                                    Role: Member
1997            Systems Physiology Workshop, Committee              National Research Council, NAS
                on Space Biology and Medicine                       Role: Panelist
1998-           Human Factors Research Team, Workshop               Johnson Space Center Human Space and
                to Develop Critical Path Roadmap                    Life Sciences Program Office and National
                                                                    Space Biomedical Research Institute,
                                                                    Houston, TX
                                                                    Role: Chair
2000-           Scientific Advisory Board                           Alertness Management Initiative, Air
                                                             7
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 142 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-8 of A-103


                                                            Transport Association, Washington, DC
                                                            Role: Member
2001            Scientific Advisory Panel, Mars Exploration NASA Jet Propulsion Laboratory
                Rover Surface Operations Human Factors      Role: Member
                Workshop
2000-2002       Ad hoc reviewer                             Center for Scientific Review and National
                                                            Center for Research Resources, NIH
                                                            Role: Ad hoc reviewer
2003            External Advisory (Red Team II) Panel       International Space Station and Shuttle
                                                            Utilization Reinvention (SSUR) Team,
                                                            NASA
                                                            Role: Member
2003            Workshop on Effects of Sleep Disorders      National Center on Sleep Disorders
                and Sleep Restriction on Adherence to       Research, National Heart, Lung and Blood
                Prevention and Treatment Regimens           Institute (NHLBI), NIH
                                                            Role: Participant and Invited Speaker
2004            Workshop on Shift Work Sleep Disorder       National Sleep Foundation Workshop on
                                                            Shift Work Sleep Disorder, Washington,
                                                            DC
                                                            Role: Invited Speaker and Session Chair
2005            Human System Integration Workshop           Behavioral Health and Performance
                                                            Directorate, NASA, Houston, TX
                                                            Role: Participant
2005            Committee on Sleep Medicine and Research Institute of Medicine, National Academy of
                                                            Sciences
                                                            Role: Expert Consultant
2007            Medical Panel on Sleep Apnea and            Federal Motor Carrier Safety
                Commercial Truck Driving                    Administration (FMCSA), US Department
                                                            of Transportation (DOT)
                                                            Role: Panelist
2007            Committee on Optimizing Graduate            Institute of Medicine, National Academy of
                Medical Trainee (Resident) Hours and        Sciences
                Work Schedules to Improve Patient Safety    Role: Expert Consultant
2008            Fatigued Driving Committee                  National Highway Traffic Safety
                                                            Administration’s (NHTSA) Office of
                                                            Behavioral Safety Research, Bethesda, MD
                                                            Role: Panelist
2008-           Steering Committee                          Academic Alliance for Sleep Research
                                                            Role: Member
2008-2011       Sleep Disorders Research Advisory Board     NHLBI, NIH
                                                            Role: Member (2008-2011), Chair (2010-
                                                            2011)
2008            Consortium on Sleep Research                National Clinical and Translational Science
                                                            Awards (NIH-CTSA)
                                                            Role: HMS Representative
2008-           External Advisory Committee                 Wisconsin Sleep Center, University of
                                                            Wisconsin, Madison, WI
                                                            Role: Member
2009            External Advisory Committee                 Case Western Reserve University,
                                                            Cleveland, OH
                                                       8
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 143 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-9 of A-103


                                                                    Role: Member
2009            Sleep Research Network                              Role: Member (2009-), Chair Elect (2013),
                                                                    Chair 2013-2014
2012-           Medical Advisory Board                              Circadian Sleep Disorders Network
                                                                    Role: Member
2014            External Review Committee                           Stanford Center for Sleep Sciences and
                                                                    Medicine, Stanford CA
2014-2015       Panel Study on Truck Safety, Hours of               National Academy of Sciences (NAS),
                Service, and Fatigue                                Washington, DC
                                                                    Role: Task Force Member
2014            Selection Committee for Editor-in-Chief             Sleep Health journal, National Sleep
                                                                    Foundation
                                                                    Role: Member
2014            Drowsy Driving Forum                                National Transportation Safety Board,
                                                                    Washington DC
                                                                    Role: Panelist
2015-           Scientific Advisory Board                           Institute of Digital Media and Child
                                                                    Development, Stony Brook NY
                                                                    Role: Member
2015-           Sleep Disorders Council                             National Sleep Foundation, Arlington VA
                                                                    Role: Lead, Circadian Rhythm Disorders
2016-           Global Council on Brain Health                      AARP in Collaboration with Age UK
                                                                    Role: Issue Matter Expert on Sleep
2016-           Scientific Advisory Committee for the               Klarman Family Foundation, Boston MA
                Stanford Sleep Study                                Role: Member
2017-           Panel on Human Factors Science                      National Academies of Sciences,
                                                                    Engineering, and Medicine, Washington
                                                                    DC
                                                                    Role: Panel Member
Professional Societies
1975-         American Association for the Advancement
              of Science
              1981                                                  Symposium Co-Chairman
              1986,1989                                             Symposium Speaker
1975-         International Society for Chronobiology
1976-         Sleep Research Society
              1980, 1981, 1985                                      Satellite Symposium Chairman and Co-
                                                                    Chairman
                1980                                                Chairman, Biological Rhythm
                                                                    Nomenclature Committee
                1982-5, 1988, 1990-5, 1997-8                        Session Chairman
                1995-1999                                           Section Head, Circadian Rhythms Section
                1996-1999                                           Member, Board of Directors
                1996-1999                                           Member, Nominating Committee
                2003-2004                                           Chair, Research Committee
                2004-2005                                           President-Elect
                2004-2007                                           Chair, Presidential Task Force on Sleep and
                                                                    Public Policy
                2004-2007                                           Member, Executive Committee and Board
                                                             9
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 144 of 238
        Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-10 of A-103


                                                                     of Directors
                2004-2007                                            Member, Board of Directors
                2005-2006                                            President
                2006-2007                                            President, Sleep Research Society
                                                                     Foundation
1979-           Society for Neuroscience
                1986, 1999, 2007                                     Symposium speaker
1979-           American Physiological Society
                1995                                                 Workshop participant
1982-1988       Clinical Sleep Society
                1987-1988                                            Fellow
1985-           American Sleep Disorders Association
                1985-1989                                            Member, Nosology Committee
                1986-1990                                            Chairman, Subcommittee on Classification
                                                                     of Sleep Scheduling Disorders
                1988-                                                Fellow
                1989-1993                                            Member, Committee for Government
                                                                     Affairs and Public Policy
1985-           Association of Professional Sleep Societies
                1986                                                 Course Developer
                1986-1987                                            Member, Committee on Catastrophes, Sleep
                                                                     and Public Policy
                1987-8, 1993, 1995, 2000                             Invited Symposium Speaker
                1988-1990                                            Chairman, Ad Hoc Government Advisory
                                                                     Steering Committee on Safety, Performance
                                                                     and Sleep
                1990, 1996                                           Symposium Chairman
                1992-3, 1998, 2002-3                                 Course Speaker
                1994                                                 Workshop Organizer
                1997                                                 Annual Meeting Keynote Speaker
                1997-1999                                            Member, Annual Meeting Program
                                                                     Committee
                2004-2007                                            Member, Board of Directors
1986-           Academy of Behavioral Medicine Research              Fellow
1988-1990       American Federation for Clinical Research
1988-           Society for Research on Biological
                Rhythms
                1988, 1992, 1994, 1998                               Invited Symposium Speaker
                1993-1994                                            Member, Nominating Committee
                1996                                                 Session Chairman
                2002                                                 Keynote Speaker Annual Meeting
1989-1990       Northeastern Sleep Society                           Chairman and Host Annual Meeting
1990-1995       National Sleep Foundation                            Member, Board of Trustees
1990-           American Society for Clinical Investigation          Fellow
1995            American Physiological Society                       Rapporteur, Study Group on Clocks and
                                                                     Human Biology
1997-           Association of American Physicians
1998-1999,      World Federation of Sleep Research
2004-2007       Societies
                1998-1999                                            Member, Scientific Congress Committee,
                                                             10
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 145 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-11 of A-103


                                                                    Third International Congress
                2004-2007                                           Member, Board of Directors
1998-1999       Association for Patient-Oriented Research           Member, Board of Trustees
2002            American Society for Photobiology                   Symposium Co-Chair
2007-           Royal College of Physicians, London, U.K.           Honorary Fellow (F.R.C.P.)
2008-           American Clinical and Climatological                Elected as member
                Association
2014-2015       National Sleep Foundation                           Chair, Board of Directors
                                                                    Chair, SAC Subcommittee: Circadian
                                                                    Rhythm Disorders
                                                                    Member, Education Committee
2018-           National Sleep Foundation                           Chair, Sleep Timing and Variability
                                                                    Consensus Panel (STVCP)
Editorial Activities
Ad hoc Reviewer
Sleep
Proceedings of the National Academy of Sciences
Nature and Science of Sleep
Nature
Other Editorial Roles
1979-1980    Guest Editor                                           Sleep
1991-1997    Member, Editorial Board                                Sleep
1995-1999    Member, Editorial Advisory Board                       Journal of Biological Rhythms
1997         Guest Editor                                           Journal of Biological Rhythms
1997-2000    Member, Editorial Board                                Sleep Research Online
1997-2000    Member, Editorial Board                                American Journal of Medicine
2002-        Member, Editorial Board                                Sleep
2009         Member, Editorial Board                                Nature and Science of Sleep
2011         Member, Editorial Board                                Sleep and Biological Rhythms
2012         Member, Advisory Board                                 Sleep and Biological Rhythms
2013-        Member, Editorial Advisory Board                       Journal of Biological Rhythms
2014-        Member, Editorial Board                                Sleep Health

Honors and Prizes
1970        Winner (National Top           Westinghouse Science Talent
            40)                            Search
1970-1971   Honorary Freshman              Harvard College
            Scholarship
1972-1974   Harvard College                Harvard College
            Scholarship
1974-1975   Research Fellowship            Stanford Medical Scientist
                                           Training Program
1975-1981       Pre-doctoral               NIH Medical Scientist Training
                Fellowship                 Program (USPHS)
1981-1983       Josiah Macy
                Fellowship
1982            Harvard Medical
                Society Lecture
                                                            11
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 146 of 238
       Appendix A                Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-12 of A-103


1983-1984      Christopher Walker
               Fellowship
1987-1989      Sandoz Scholar in
               Medicine
1988           Elliot David Weitzman         Cornell Medical College,
               Lecture                       Westchester, NY
1989           Distinguished Lecture         Massachusetts Institute of
                                             Technology Lincoln Lab
1990           Election as Fellow            American Society for Clinical
                                             Investigation
1991           Robert R.J. Hilker,
               M.D. Lectureship
               Award in Occupational
               Medicine
1992           Keynote Lecture               International Brain Research
                                             Organization/Swiss chapter,
                                             Zurich
1992           Visiting Professor            Sinai Hospital of Baltimore/Johns
                                             Hopkins University School of
                                             Medicine, Baltimore, Maryland
1996           Plenary Lecture               Japanese Society for Sleep
                                             Research, Sapporo, Japan
1997           Keynote Speaker               Association of Professional Sleep
                                             Societies Annual Meeting, San
                                             Francisco, CA
1997           Election as Member            Association of American
                                             Physicians
1999           Phi Beta Kappa                Harvard College
2000           Keynote Speaker               Northeast Sleep Society
2001           “Aschoff’s Rule”
               International Award in
               Circadian Biology
2002           E.H. Ahrens, Jr.,             Association for Patient Oriented
               Lecture Award                 Research, Baltimore
2002           Keynote Speaker               Society for Research on Biological
                                             Rhythms, Amelia Island, FL
2002           William C. Dement             American Academy of Sleep
               Academic                      Medicine
               Achievement Award
2003           Keynote Speaker               Annual Patient Safety Research
                                             Conference, Agency for
                                             Healthcare Research and Quality,
                                             Washington, DC
2003           Plenary Speaker               World Congress of
                                             Chronobiology, Sapporo, Japan
2003           Distinguished Lecturer        Spaulding Rehabilitation Hospital,
                                             Boston, MA
2004           Plenary Speaker               Second International Forum on
                                             Sleep Disorders, Sanofi Aventis,
                                             Paris
                                                          12
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 147 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM      Page A-13 of A-103


2005           Keynote Speaker             Annual Meeting, Committee of
                                           Interns & Residents, Washington,
                                           DC
2005           Gordon Wilson               American Clinical and
               Lecturer                    Climatological Association, Santa
                                           Barbara, CA
2005           Plenary Address             X International Congress,
                                           Brazilian Sleep Research Society,
                                           Curitiba
2005           Keynote Speaker             New Zealand Resident Doctors
                                           Association Professional
                                           Conference on Safer Working
                                           Hours in Medicine, Auckland,
                                           New Zealand
2005           Visiting Professor of       University of Michigan Health
               Anesthesia and Pfizer       Systems, Ann Arbor, MI
               Lecturer in Sleep
2006           Distinguished Leaders       Faculty of Medicine, Dalhousie
               in Medicine Lecturer        University, Halifax, Nova Scotia
2006           Beckwith Family             Brown University, Providence,
               Lecturer and Beckwith       Rhode Island
               Family Visiting
               Professor of Medicine
2006           Healthy Sleep               National Sleep Foundation,                    Harvard Work Hours,
               Community Award             Washington, DC                                Health and Safety Group
2006           Director’s Award for        National Institute for Occupational
               Scientific Leadership in    Safety and Health, Washington,
               Occupational Safety         DC
               and Health (1 in nation)
2007           10th Annual J.Gerald        Duke Medical Center, NC
               Reves Duke Heart
               Center Lecture
2007           Dorcas Cummings             72nd Symposium: Clocks and
               Memorial Lecture            Rhythms, Cold Spring Harbor
                                           Laboratory, NY
2007           Lecturer                    NIH Director's Wednesday
                                           Afternoon Lecture Series,
                                           Bethesda MD
2007           Inducted to Honorary        Royal College of Physicians,
               Fellowship (F.R.C.P.)       London, U.K.
2007           Plenary Address             5th Congress of the World
                                           Federation of Sleep Research and
                                           Sleep Medicine Societies,
                                           Worldsleep07, Cairns, Australia
2007           Election as                 International Academy of
               Corresponding               Astronautics
               Member
2008           Elected as Member           American Clinical and
                                           Climatological Association
2008           Lifetime Achievement        National Sleep Foundation
                                                        13
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 148 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-14 of A-103


               Award
2008           Lord Adrian Gold            Royal Society of Medicine,
               Medal                       London, U.K.
2008           Distinguished Scientist     Sleep Research Society
               Award
2010           Keynote Speaker             Medical Scientist Training
                                           Program, Duke University
                                           Medical School
2010           Mark O. Hatfield            American Academy of Sleep
               Public Policy Award         Medicine
2010           Harriet Hardy Award         New England College of
                                           Occupational and Environmental
                                           Medicine (NECOEM)
2010           23rd Annual Catherine       Massachusetts Institute of
               N. Stratton Aging           Technology
               Successfully Lecture
2010           Election as Member          Institute of Medicine of the
                                           National Academies
2010           Election as Full            International Academy of
               Member                      Astronautics
2011           Keynote Speaker             North East Sleep Society Annual
                                           Meeting
2011           Mary A. Carskadon           Sleep Research Society
               Outstanding Educator
               Award
2011           Keynote Speaker             World Association of Sleep
                                           Medicine
2012           Keynote Speaker             Harvard School of Public Health
                                           Symposium “Sleep and Shift
                                           Work: Optimizing Productivity
                                           and Health Management in the
                                           24/7 Global Economy”
2014           Honorary Member             American Academy of Dental
               Keynote Lecture             Sleep Medicine
2014           Golden Mind-Body            University of Buffalo
               Medicine Lecture
2014           JSC Director’s              NASA, Johnson Space Center
               Innovation Award
2015           Elected Inaugural           American Physiological Society
               Fellow
2016           Keynote Speaker             Maryland Sleep Society Seventh
                                           Annual Scientific Meeting
2017           Michael S. Aldrich          University of Michigan
               Commemorative
               Lectureship
2018           Leonore Annenberg           Annenberg Center for Health
               Lecturer                    Sciences at Eisenhower Medical
                                           Center
2018           Keynote Lecture             Zurich Sleep Medicine
                                           Symposium 2018 / International
                                                         14
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 149 of 238
       Appendix A               Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-15 of A-103


                                            Symposium of the CRPP Sleep &
                                            Health
2018           Pittendrigh-Aschoff          Society for Research on Biological
               Keynote Lecture              Rhythms (SRBR)
2018           Green Cross for Safety       National Safety Council
               Innovation Award for
               Brigham Health Sleep
               Matters Initiative
2019           Peter C. Farrell Prize in    Harvard Medical School Division
               Sleep Medicine               of Sleep Medicine
2019           J.E. Wallace Sterling        Stanford University School of
               Lifetime Achievement         Medicine Alumni Association
               Award in Medicine
2019           Bernese Sleep Award          University of Bern, Bern,
                                            Switzerland
2022           Tom Roth Lecture of          SLEEP 2022, Charlotte, North
               Excellence                   Carolina

Report of Funded and Unfunded Projects
Funding Information
Past
1977-1979      Psychoneuroendocrine rhythms, aging and sleep disorders
               NIH R01 (National Institute on Aging)
               Project Director
1977-1979      Psychoneuroendocrine rhythms and sleep disorders
               NIH P01 (National Institute of Mental Health)
               Project Director
1979-1981      Psychoneuroendocrine rhythms, aging and sleep disorders
               NIH R01 (National Institute on Aging)
               Co-I: Project Director
1979-1981      Psychoneuroendocrine rhythms and sleep disorders
               NIH P01 (National Institute of Mental Health)
               Co-I: Project Director
1981-1983      Development of method to assess endogenous circadian phase/amplitude
               Peter Bent Brigham Hospital BRSG Grant
               PI
1983-1985      Disrupted sleep in the elderly: circadian etiology
               NIH R01 (National Institute on Aging)
               PI
1983-1984      Continuous vigilance simulator with real-time neuroendocrine correlation
               Air Force Office of Scientific Research; Department of Defense University Research
               Instrumentation Award
               PI
1983-1984      A chronobiotic study of quazepam
               Schering Plough Pharmaceutical Corporation
               PI
1983-1984      Circadian rhythms and athletic performance
               United States Olympic Committee
                                                        15
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 150 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-16 of A-103


               Subcontract PI
1984-1986      The workplace: an opportunity for health promotion
               W.K. Kellogg Foundation
               Executive Officer
1985-1990      Disrupted sleep in the elderly: circadian etiology
               NIH R01 (National Institute on Aging) competitive renewal for grant years 3-7
               PI
1985-1986      Development of a method to assess the period and amplitude of the endogenous circadian
               oscillator
               Brigham and Women’s Hospital BRSG Grant
               PI
1985-1988      Reproductive function in women: circadian interaction
               NIH R01 (NICHHD)
               PI
1986-1987      Brigham and Women’s Hospital BRSG Grant
               PI
1987-1988      Occupational reproductive hazards - rotating shiftwork
               March of Dimes Birth Defect Foundation
               Co-I
1988-1989      Phase response curve to light in human subjects
               Brigham and Women’s Hospital BRSG Grant
               PI
1989-1990      Development program for resetting the human circadian pacemaker
               National Aeronautics & Space Administration
               PI
1989-1994      Treatment of circadian sleep disorders with bright light
               NIH R01 (National Institute of Mental Health)
               PI
1990-1991      Comparative effects of pravastatin and lovastatin on nighttime sleep and daytime
               performance
               Bristol Myers-Squibb Company
               Investigator
1990-1997      Disrupted sleep in the elderly: Response to phototherapy
               NIH R01 (National Institute on Aging) competitive renewal for grant years 8-12
               PI
1991-1993      Pre-launch adaptation of extended duration orbiter crew members to 12-hr shift operations:
               Clinical trial with and without bright light exposure
               National Aeronautics & Space Administration
               PI
1991-1998      Sleep, aging and circadian rhythm disorders
               NIH P01 (National Institute on Aging)
               PI
1994-1995      Feasibility of evaluating effects of exogenous melatonin, delivered by transdermal
               therapeutic systems in chronic insomnia in the elderly
               Alza Corporation
               PI
1994           Pre-Definition: Clinical trial of melatonin as hypnotic for Neurolab crew
               National Aeronautics & Space Administration
               PI
1994           Antarctic research collaborative on sleep, concentration and fatigue
                                                         16
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 151 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-17 of A-103


               National Aeronautics & Space Administration
               PI
1994-1995      Definition Phase: "Clinical trial of melatonin as hypnotic for Neurolab crew"
               National Aeronautics & Space Administration
               PI
1994-1997      Pre-launch adaptation of orbiter crew members to earlier shifts following exposure to a
               single bright light episode
               National Aeronautics & Space Administration
               PI
1994-1997      Effect of exercise on endogenous circadian period, sleep and performance
               Air Force Office of Scientific Research
               PI
1994-2001      Bright light treatment of shift rotation insomnia
               NIH R01 (National Heart, Lung & Blood Institute)
               PI
1995-1999      Clinical trial of melatonin as hypnotic for Neurolab crew (ground-based study program in
               support of Neurolab mission)
               NIH U01 (National Institute on Aging)
               PI
1995-2000      Clinical trial of the effect of caffeine on the circadian and homeostatic interaction
               underlying deterioration of neurobehavioral functioning with sleep deprivation
               Air Force Office of Scientific Research; Partnership in Research Excellence & Transition
               Subcontract PI
1995-2000      Flight-Based Protocol Aboard Neurolab Space Shuttle: Clinical trial of melatonin as
               hypnotic for Neurolab crew
               National Aeronautics & Space Administration
               PI
1995-2001      Treatment of circadian sleep disorders with bright light
               NIH R01 (National Institute of Mental Health) competitive renewal for grant years 6-10
               PI
1996           Double-blind, placebo-controlled study to determine the effect of MK-0677 on sleep in
               elderly patients with sleep disturbances
               Merck Research Laboratories
               PI
1996-1997      A double-blind, placebo-controlled study to determine the effect of L-754,030 on light-
               induced melatonin suppression in healthy young men
               Merck Research Laboratories
               PI
1997-1999      Clinical trial of the effect of exercise on resetting of the endogenous circadian pacemaker
               Air Force Office of Scientific Research
               PI
1997-2000      Human Performance Factors, Sleep and Chronobiology Team
               National Space Biomedical Research Institute
               Team Leader
1997-2000      Circadian entrainment, sleep-wake regulation and neurobehavioral performance during
               extended duration space flight
               National Space Biomedical Research Institute
               PI
1997-2001      Evaluation of intermittent bright light exposure as a spaceflight countermeasure
               National Aeronautics & Space Administration
                                                           17
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 152 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-18 of A-103


               PI
1998-2003      Training in sleep, circadian and respiratory neurobiology
               NIH T32 (National Heart, Lung & Blood Institute)
               PI
1998-2005      Disrupted sleep in the elderly: Response to phototherapy
               NIH R01 (National Institute on Aging) competitive renewal for grant years 13-17
               PI until 2001; Investigator thereafter
1999-2000      Polysomnographic Study
               Merck Research Laboratories
               PI
1999-2000      Multi-site investigation of provigil (modafinil) treatment for performance impairing
               sleepiness associated with night shift work
               Cephalon Laboratories
               PI
1999-2000      Astronaut activity in space flight
               National Aeronautics & Space Administration
               PI
1999-2002      Circadian adaptation to night work in older people
               NIH R01 (National Heart, Lung & Blood Institute - National Occupational Research
               Initiative)
               PI
1999-2006      Sleep, aging and circadian rhythm disorders
               NIH P01 (National Institute on Aging) competitive renewal for grant years 6-10
               PI
2000           Clinical trial of the effect of exercise on resetting of the endogenous circadian pacemaker
               Air Force Office of Scientific Research
               PI
2000-2004      Circadian entrainment, sleep-wake regulation and performance during space flight
               National Space Biomedical Research Institute competitive renewal for grant years 4-6
               PI
2000-2004      Human Performance Factors, Sleep and Chronobiology Team
               National Space Biomedical Research Institute competitive renewal for grant years 4-6
               Team Leader
2000-2005      Clinical trial of the effect of modafinil on the circadian and homeostatic interaction
               underlying the deterioration of neurobehavioral functioning during jet lag and sleep
               deprivation
               Air Force Office of Scientific Research Partnership in Research Excellence & Transition
               competitive renewal for grant years 6-10
               Subcontract PI
2001-2002      A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
               Safety and Impact on Quality of Life of 12 Weeks of PROVIGIL® (Modafinil) Therapy at
               Dosages of 200 and 300 mg Once Daily as Treatment for Adults With Excessive
               Sleepiness Associated With Shift Work Sleep Disorder, Followed by a 12-Month Open-
               Label Extension Period
               Cephalon, Inc.
               PI
2001-2003      A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
               Efficacy and Safety of 12 Weeks of PROVIGIL® (Modafinil) Therapy at a Dose of 200
               mg as Treatment for Adults With Excessive Sleepiness Associated With Chronic Shift
               Work Sleep Disorder, Followed by a 12-Month Open-Label Extension Period
                                                          18
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 153 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-19 of A-103


              Cephalon, Inc.
              PI
2001-2004     Effects of extended work hours on ICU patient safety
              DHHS R01 (Agency for Healthcare Research and Quality)
              PI
2001-2005     After-effects of entrainment on human circadian period
              NIH R01 (National Institute of Neurological Disorders and Stroke)
              PI
2001-2006     Treatment of circadian sleep disorders with bright light
              NIH R01 (National Institute of Mental Health) competitive renewal for grant years 11-15
              PI
2001-2006     Effects of Extended Work Hours on Intern Health & Safety
              CDC R01 (National Institute of Occupational Safety and Health)
              PI
2001-2007     Circadian adaptation to non-24-hour sleep-wake schedules
              NIH R01 (National Institute of Neurological Disorders and Stroke)
              PI
2001-2008     Bright light treatment of shift rotation insomnia
              NIH R01 (National Heart, Lung & Blood Institute) competitive renewal for grant years 6-9
              PI
2002-2003     Pfizer, Inc.
              PI
2004-2005     A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
              Efficacy and Safety of 12 Weeks of R-Modafinil Therapy at a Dose of 200 mg as
              Treatment for Adults With Excessive Sleepiness Associated With Chronic Shift Work
              Sleep Disorder, Followed by a 12-Month Open-Label Extension Period
              Cephalon, Inc.
              PI
2004-2008     Human Performance Factors, Sleep and Chronobiology Team
              National Space Biomedical Research Institute competitive renewal for grant years 7-10
              Team Leader
2004-2008     Circadian entrainment, sleep-wake regulation and performance during space flight
              National Space Biomedical Research Institute competitive renewal for grant years 7-10
              PI
2004-2008     Sleep Disorders Management, Health and Safety in Police
              CDC R01 (National Institute of Occupational Safety and Health)
              PI
2004-2009     Adaptation of Circadian Responses to Light Treatment
              NIH R01 (National Heart, Lung & Blood Institute)
              PI
2005-2006     Optimizing the assessment of circadian and sleep/wake regulatory determinants of human
              performance through state of the art analysis of electroencephalogram, ocular activity and
              motor activity
              AFOSR (DURIP)
              PI
2005-2007     Implementing reduced work hours for all ICU staff to improve patient safety
              NIH (Agency for Healthcare Research and Quality)
              Investigator
2005-2008     Melatonin supplementation in hypertensive patients with beta blockers
              NIH (National Center for Complementary and Alternative Medicine)
                                                         19
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 154 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-20 of A-103


               Co-I
2005-2009      Testing the Effectiveness of a Comprehensive Fatigue Management for the Boston Police
               Department of Justice (National Institute of Justice)
               PI
2006-2008      Interaction of chronic sleep restriction and circadian misalignment on sleep and neuron-
               cognitive performance: developing a new model of sleep homeostasis
               AFOSR
               PI
2007-2008      Translating the science of alertness and performance from laboratory to field: Using state-
               of-the-art monitoring, imaging, and performance enhancement technologies to improve the
               alertness and safety of the military and civilian workforce
               AFOSR (DURIP)
               PI
2008           Procedural Complications Associated with Attending Physician Extended-Duration Work
               Shifts
               RxFoundation
               Investigator
2003-2008      Training in sleep, circadian and respiratory neurobiology
               NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
               Competitive renewal for grant years 6-10
               PI ($2,536,335)
               THE NHLBI’s National Center for Sleep Disorders Research identified the need to train
               investigators as its highest priority. The Harvard Medical School Division of Sleep
               Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
               at the Brigham and Women’s Hospital, is designed to address this need. This program
               provides structured, comprehensive research training to prepare outstanding individuals for
               academic positions in the broad field of sleep science and sleep medicine.
2004-2009      Mechanism Underlying the Effects of Blue Light in Humans
               NIH (National Center for Complementary and Alternative Medicine) R01 AT002129 (PI:
               Lockley)
               Investigator (PI until 2005)
               The goal of this proposal is to investigate the effects of different colors of light on human
               physiology, and in particular, test the claims that specific colors of light preferentially
               stimulate neurobiological, physiological and endocrinological systems. Using classical
               photobiological techniques, we will construct action spectra for the effects of different
               colors of light on a range of non-image forming responses in humans.
2005-2009      Disrupted sleep in the elderly: Response to phototherapy
               NIH R01 (National Institute on Aging) R01 AG06072
               competitive renewal for grant years 18-22
               Investigator
               The goals of this grant are to test an evening light treatment regimen designed to achieve
               an optimum phase relationship between sleep and the output of the circadian timing system
               in older people in order to improve objective and subjective sleep quality.
2008-2009      Effects of Acute Sleep Deprivation on Visual attention and Gaze Control
               National Space Biomedical Research Institute HPF00003
               PI ($79,233)
               The fundamental objective of this study is to identify the determinants (behavioral,
               visuomotor, microsleep-induced) of performance lapses (during the psychomotor vigilance
               task, PVT) under acute sleep deprivation, and to quantify whether those determinants
               change with circadian phase and/or homeostatic sleep pressure.
                                                          20
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 155 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-21 of A-103


2005-2010     Photic and nonphotic input to the human circadian system
              NIH (National Institute of Neurological Disorders and Stroke) R01 NS040982 (PI:
              Lockley)
              Competitive renewal for grant years 5-8
              Investigator
              We are testing the hypotheses that: Study 1) exposure to monochromatic light of 460 nm
              for 6.5 h in the early biological night will cause a 3 h delay in circadian phase and a 85%
              suppression in pineal melatonin production whereas exposure to the same photon density
              of 555 nm will have no effect on circadian phase or melatonin suppression (compared to
              1.7 h delay and 37% suppression in sighted subjects); Study 2) Exposure to a non-photic
              schedule advanced by 0.4 h relative to baseline intrinsic period will cause a phase advance
              of period of 0.4 h.
2007-2010     Evaluation of the potential for translation to practice of a sleep disorders management
              program for police
              CDC (National Institute of Occupational Safety and Health) R01OH009403
              PI ($150,847)
              We propose (1) to evaluate the potential for translation of the Operation Healthy Sleep
              program though the RE-AIM (Reach, Effectiveness, Adoption, Implementation, and
              Maintenance) framework to health behavior interventions; (2) to evaluate the cost,
              feasibility and sustainability of the Operation Health Sleep program through cost-benefit
              analysis; and (3) to evaluate the external validity of the Operation Healthy Sleep program
              by comparing health, safety and productivity outcomes obtained from the primary police
              sample (Massachusetts State Police) with those obtained from a parallel program in the
              Philadelphia Police Department and a nationwide sample of more than 4000 police officers
              participating in a web-based survey.
2009-2010     Operational evaluation of a photic countermeasure to improve alertness, performance, and
              mood during nightshift work on a 105-day simulated human exploration mission
              National Space Biomedical Research Institute HFP00002
              PI ($221,235)
              The purpose of this study is to validate the efficacy and operational feasibility of a photic
              countermeasure to facilitate adaptation to the 24.65-h Martian sol, thereby improving sleep
              and performance. We propose to address the following hypotheses: (1) afternoon and
              evening exposure to moderately bright light will establish a normal entrained circadian
              phase in subjects living on a 24.65-hour day; (2) afternoon and evening exposure to
              moderately bright light will result in improved sleep, enhanced alertness and mood; (3)
              afternoon and evening exposure to moderately bright light will maintain the
              neurobehavioral performance of crewmembers living on the Martian sol.
2009-2010     Operational evaluation of a photic countermeasure to improve alertness, performance, and
              mood during nightshift work on a 105-day simulated human exploration mission
              National Space Biomedical Research Institute HFP00002
              PI ($221,235)
              The purpose of this study is to validate the efficacy and operational feasibility of a photic
              countermeasure to facilitate adaptation to the 24.65-h Martian sol, thereby improving sleep
              and performance. We propose to address the following hypotheses: (1) afternoon and
              evening exposure to moderately bright light will establish a normal entrained circadian
              phase in subjects living on a 24.65-hour day; (2) afternoon and evening exposure to
              moderately bright light will result in improved sleep, enhanced alertness and mood; (3)
              afternoon and evening exposure to moderately bright light will maintain the
              neurobehavioral performance of crewmembers living on the Martian sol.
2006-2011     Treatment of circadian sleep disorders with bright light
                                                        21
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 156 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-22 of A-103


              NIH (National Institute of Mental Health) R01 MH045130
              Competitive renewal for grant years 16-20
              PI ($1,139,040)
              In this study we would systematically assess the circadian phase-shifting, melatonin
              suppressing, and alertness-enhancing response to a monochromatic light stimulus, using a
              wavelength (460 nm) that has been shown to maximally stimulate the circadian system.
2008-2011     A Comprehensive Firefighter Fatigue Management Program ‘Operation Healthy Sleep’
              Department of Homeland Security FEMA EMW-2007-FP-02197
              PI ($793,651)
              We propose to use a station-level, randomized experimental design to test the hypotheses
              that implementation of a Comprehensive Firefighter Fatigue Management Program will:
              (1) improve the mean total sleep, alertness and cognitive performance of firefighters; (2)
              improve firefighter safety, as determined by decreased rates of motor vehicle crashes and
              on-the-job injuries; (3) improve firefighters’ performance, as determined by decreased
              response time; (4) improve firefighters’ health, as determined by diagnosis and treatment
              of sleep disorders, improved general health indices and decreased number of ‘sick’ days;
              (5) improve firefighters’ and families’ job satisfaction and ability to cope with extended
              work hours.
2009-2012     Effects of the circadian clock and light on the production of estrogens
              NIH R21ES017112 (PI: Lockley)
              Investigator
              In the current proposal, we would like to take advantage of remaining urine and plasma
              samples collected under previous federal funds (NIH/NASA). We have a unique
              opportunity to study the relationships between light, circadian rhythms, shiftwork and
              melatonin and estrogen endocrinology from $1M-worth of prior research conducted under
              strictly controlled laboratory conditions. These data will allow us to test the specific
              hypotheses that; i) there are significant 24-hour diurnal and circadian rhythms in plasma
              estradiol and urinary estrone-3-glucuronide production; and ii) that these rhythms are
              inversely related to plasma melatonin and urinary 6-sulfatoxymelatonin, respectively; iii)
              plasma estradiol will be acutely elevated following suppression of plasma melatonin; and
              iv) that the circadian rhythm of estradiol will phase-shift in parallel with the melatonin
              rhythm during a simulated shift-work protocol.
2004-2011     Adaptation of circadian responses to light treatment (supplement)
              NIH R01 HL077453-05
              PI ($787,401)
              The primary aim is to study a fundamental property of the circadian pacemaker, which is
              the ability of photic history to change the efficacy of light stimuli in modulating circadian
              regulation. The study may reveal a new method to potentiate light therapy in the treatment
              of circadian rhythm disturbances.
2008-2012     Evaluation of Photic Countermeasures for Circadian Entrainment of Neurobehavioral
              Performance and Sleep-Wake Regulation Before and During Spaceflight
              National Space Biomedical Research Institute HFP01601
              PI ($1,428,571)
              This project will test the efficacy of exposure to blue-enriched light at a standard intensity
              for pre-launch and in-flight phase shifting.
2009-2012     Interactions of genetics, behavioral sleep loss, circadian rhythms & performance
              NIH (National Institute on Aging) SupplementP01 AG09975-S2
              PI ($499,804)
              We propose to study 6 healthy individuals with the PER34/4 genotype and 6 with the
              PER35/5 genotype. The protocol will include a 23-day inpatient stay with 2 weeks of
                                                         22
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 157 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-23 of A-103


              chronic sleep restriction in a forced desynchrony procedure, which will enable us to
              investigate both the circadian and wake-dependent contributions to alertness and
              performance, followed by one 40-hr sleep deprivation, which will enable us to investigate
              the response to an episode of acute sleep deprivation following chronic sleep restriction.
              We will record sleep and waking EEG, and test for multiple aspects of cognitive
              functioning, alertness and mood.
2009-2012     National firefighter sleep disorders management program: translation to practice
              Department of Homeland Security FEMA TBAEMW-2008-FP-02566
              PI ($787,721)
              Work hours, fatigue, performance, health and safety in firefighters; screening for sleep
              disorders and referral for treatment.
2010-2012     A comprehensive review of the work hours, health and safety of Federal Air Marshals
              FAMS
              PI ($354,330; NCE)
              The goal of this program is to reduce the adverse consequences of fatigue on the Air
              Marshals’ health, safety and performance. The overall goal will be to develop work-hour
              policies and guidelines, and education and training program and an efficient sleep
              disorders screening program that can be implemented to improve the health, safety and
              performance of Federal Air Marshals and thereby improve public safety nationally.
2006-2013     Sleep, aging and circadian rhythm disorders
              NIH P01 (National Institute on Aging) P01 AG09975
              Competitive renewal for grant years 11-15
              PI ($1,056,303; NCE)
              This proposal seeks to address that gap in our knowledge by using a well-established
              laboratory model to study what differences may exist between the sleep efficiency of older
              and younger subjects under conditions of chronic sleep restriction (ratio 19 hours
              scheduled wake: 5 hours scheduled sleep), carried out on a forced-desynchrony protocol,
              and by assessing the recuperative capabilities under conditions of sleep extension
              following this restriction. A ‘metabolic aging’ experiment has been included with the goal
              of understanding the endocrine and cardiovascular consequences of sleep restriction in
              both young and older subjects.
2009-2013     Validation of assessment tests and countermeasures for detecting and mitigating changes in
              cognitive function during robotics operations
              National Space Biomedical Research Institute NBPF02001 (PI: Lockley)
              Investigator
              We will test the effectiveness of blue-enriched light and/or caffeine as fatigue
              countermeasures during robotic and cognitive performance. Subjects will be exposed to
              short-wavelength enriched white light and/or continuous low-dose caffeine administration
              on the robotics performance days in a randomized, placebo-controlled within-subjects
              design
2008-2013     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 11-15
              PI
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.
                                                         23
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 158 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-24 of A-103


2007-2014     Desensitization of Circadian Responses to Light
              NIH (National Institute of Neurological Disorders and Stroke) R01 NS054277
              PI ($1,000,000; NCE)
              The proposed experimental and modeling efforts are to quantify the influences of acute
              sleep deprivation (short-term homeostatic), chronic sleep restriction (long-term
              homeostatic), circadian rhythmicity, and their interactions on neurocognitive performance
              and to develop a new model of sleep homeostasis that can predict the effects of chronic
              sleep restriction.
2009-2014     Efficacy of melatonin treatment in a phase advance model of insomnia
              NIH 1R01HL093279
              PI ($1,250,000)
              We propose to test the chronobiotic and sleep promoting effects of melatonin in a phase
              advance model of insomnia: (1.) Test the hypothesis that melatonin administered prior to
              scheduled sleep will advance circadian phase, with the plasma cortisol rhythm used as the
              primary phase marker, in a dose-dependent manner when sleep is scheduled to occur 5
              hours before habitual sleep time; (2.) Test the hypothesis that melatonin administered prior
              to scheduled sleep will increase sleep efficiency when sleep is scheduled to occur 5 hours
              before habitual sleep time.
2013-2014     Development of an Algorithm for Identifying Individuals who are Highly Vulnerable vs
              Highly Resistant to the Effects of Sleep Loss on Performance
              DARPA
              PI
              This project seeks to develop measures to predict individual variability in response to acute
              and chronic sleep loss. We will analyze existing data from baseline rested performance
              tests in an attempt to derive measures that can predict subsequent response to acute sleep
              loss or chronic sleep restriction.
2013-2014     Sleep duration required to restore performance during chronic sleep restriction
              NIH/NHLBI R01 HL114088 (PI: Klerman)
              Investigator
              To quantify to what extent the initial level and time course of dissipation of sleep inertia,
              the level of performance for hours 2-6 after awakening, and the rate of decline in
              performance with increased wake duration after 6 hours awake depend on the length of the
              prior sleep episode in addition to sleep:wake ratio and circadian phase.
2011-2014     Clinical trial of an intervention to reduce fatigue and improve safety and health in
              firefighters
              FEMA EMW-2010-FP-00521
              PI
              We propose to conduct a station-level, randomized clinical trial of policies designed to
              maximize sleep opportunities during current 24-hour shifts to improve alertness,
              performance, health and safety in firefighters.
2010-2014     Evaluation of a photic countermeasure for mission controllers
              NASA NNX10AF47G
              Co-PI ($481,181)
              We propose to implement a Comprehensive Fatigue Management Program for the flight
              mission controllers program. The goals of this program are to reduce the adverse
              consequences of fatigue on the mission controllers’ alertness, performance, health, and
              safety. The overall goals of our team include developing an online education training
              program and an efficient sleep disorders screening, evaluating the acceptability, feasibility
              and efficacy of a shorter wavelength photic countermeasure during operational night shifts
              to improve the alertness, performance, health and safety of mission controllers.
                                                        24
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 159 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-25 of A-103


2009-2015     Effects of attending surgeon and obstetrician fatigue on operating room safety
              NIH/NHLBI R01 HL095472
              PI ($1,000,000)
              In this proposal we will conduct a prospective observational study in the operating rooms
              of two hospitals – a community hospital without resident-physicians, and an academic
              center where residents work as assistant surgeons – to evaluate the effects of sleep
              deprivation on the performance of attending surgeons and obstetrician / gynecologists.
2009-2015     Mechanisms underlying adverse health consequences of shift work
              NIH R01HL094806 (PI: Scheer)
              Investigator
              We aim to determine the progressive physiological changes across a work week of realistic
              simulated shift work focusing on those metabolic, endocrine, inflammatory, and
              cardiovascular variables that are biomarkers of susceptibility to the development of
              diabetes, obesity, and cardiovascular disease. We will use a 14 day/night laboratory
              protocol involving a within-subject, randomized, cross-over design including a simulated
              night shift and day shift schedule using a formal battery of scheduled behaviors and light
              exposures in healthy day workers and shift workers.
2012-2015     Screening for Obstructive Sleep Apnea in National Football League Players
              NFL Charities G.A.M.S. ID 839
              PI ($100,000)
              This project will establish an NFL-wide system of identifying those at high risk of OSA
              and further evaluating those at high risk. The project will also establish a critical database
              that could guide team physicians on the diagnosis and management of OSA among NFL
              players. This will lead to improved cognitive and psychomotor performance in the short-
              term and reduced cardiometabolic risk in the long-term. The project also has the potential
              to raise awareness of the negative cardiovascular-related risks associated with OSA, a
              disease that is highly prevalent in our society at large. The increased awareness and
              involvement of NFL players in the project may motivate the general public to seek
              screening, evaluation and treatment, if necessary, which has the potential to substantially
              reduce morbidity and mortality due to CVD.
2012-2015     The ISS Dynamic Lighting Schedule: An In-Flight Lighting Countermeasure to Facilitate
              Circadian Adaptation, Improve Sleep and Enhance Alertness and Performance on the
              International Space Station
              NSBRI HFP02801(PI: Lockley)
              To study how new lighting would be used operationally to provide a countermeasure to
              shiftwork in a high-fidelity simulation of the ISS lighting environment and sleep patterns.
              Co-Investigator
2001-2017     Flight-Based Protocol Aboard Space Shuttle: “Sleep-Wake Actigraphy and Light Exposure
              During Spaceflight
              NASA NCC9-119
              PI ($1,340,327)
              This project is designed to investigate sleep and circadian rhythm organization and the
              prevalence of space flight-induced insomnia, during short and long-duration space flight.
              This experiment will use state-of-the-art ambulatory technology to monitor sleep-wake
              activity patterns and light exposure in all crewmembers aboard Space Shuttle and
              International Space Station missions.
2010-2016     Sensitization of human circadian responses to light
              NIH/NHLBI R01 HL94654
              PI
              The studies will examine the effect on the human circadian system of four different
                                                        25
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 160 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-26 of A-103


              durations of dim-light sensitization prior to a standardized light treatment.
2012-2016     Ultra-short light pulses as efficient countermeasures for circadian misalignment and
              objective performance and subjective alertness decrements
              NSBRI HFP02802 (PI: Klerman)
              Investigator
              The goal of this project is to explore sex differences in response to circadian and length of
              time awake factors on sleep and performance.
2012-2016     Sleep Duration Required to Restore Performance During Chronic Sleep Restriction
              NIH/NHLBI R01 HL114088 (PI: Klerman)
              Investigator
              The goal of this project is to explore sex differences in response to circadian and length of
              time awake factors on sleep and performance.
2016-2017     Ambulance Crashes in the United States: 2000 – 2015.
              Falck Foundation (PI: Czeisler)
              The goal of this grant is to determine the incidence of ambulance crashes in the Unites
              States over the past 15 years. Report temporal trends in both fatal and non-fatal crashes and
              use multiple sources of data to describe characteristics of these crashes. We will also
              estimate the proportion of crashes where fatigue may have been a contributing factor.
2016-2017     Environmental Factors Associated with Sleep Deficiency during Spaceflight
              NSBRI HFP04502 (PI: Barger)
              Investigator
              The major goals of this project are to test the hypotheses that (1) hypoxia will be
              associated with sleep deficiency; (2) increased noise will be associated with sleep
              deficiency; and (3) hypercapnia will be associated with sleep deficiency.
2016-2017     The Impact of Objectively Measured Sleep Deficiency and Circadian Misalignment on
              Performance during Spaceflight
              NSBRI HFP04504 (PI: Barger)
              Investigator
              The major goal of this project is to test the hypothesis that sleep deficiency and circadian
              misalignment will be associated with performance decrements during spaceflight.
2013-2018     Impact of Eliminating Extended Duration Work Shifts on Resident Health and Safety
              CDC/NIOSH R01 OH0103001 (PI: Barger)
              Investigator
              We propose to conduct a large-scale nationwide survey of interns, similar to that which we
              conducted from 2002 – 2007. We will collect work hours and sleep data as well as health
              and safety outcomes on monthly web-based surveys.

2013-2018     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 16-21
              PI
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.

2013-2019     Treatment of Circadian Disruption from Shiftwork in Older Adults
              NIH/NIA R01 AG044416 (PI: Duffy)
                                                    26
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 161 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-27 of A-103


              Investigator
              Our proposed study will test in older workers a sleep timing and enhanced lighting
              regimen that has been successful in allowing young workers to maintain optimal
              performance at night. Information from this study will be an important step in developing
              shift work treatments for the nearly 3 million older Americans who work night or rotating
              shift schedules.

2013-2018     Multi-Scale Modeling of Sleep Behaviors in Social Networks
              NIH/NIGMS R01 GM105018
              Co-PI (Co-PI: Klerman)
              The purpose of this grant is to explore sleep behaviors and social networks in a college
              population. Using multi-modal data from different cohorts of undergraduates, we will
              develop the first statistical and multi-scale mathematical models of sleep dynamics within
              social networks based on sleep and circadian physiology.

2015-2019     Clinical Trial Evaluating the Impact of Sleep and Sleep Deprivation on the Cerebral
              Glymphatic System
              ONR/N00014-15-1-2408
              PI
              The goals of this project are to test the hypothesis that the volume of Virchow-Robin
              spaces (VRs) is larger during sleep than during wakefulness; to test the hypothesis that the
              alteration of nonREM and REM states during sleep is associated with changes in the
              volume of VRs; to test the hypothesis that the volume of VRs is greater during deep
              nonREM sleep (N3) than during lighter nonREM sleep (N2) and to test the hypothesis that
              the volume of VRs is altered by prolonged wakefulness (sleep deprivation).

2012-2020     Multicenter trial of work-hour limits for PGY 2 & 3 resident work hours on patient safety
              CCC
              NIH/NHLBI U01 HL111478
              Co-PI ($8,249,567)
              We propose to carry out a randomized study in six intensive care units nationwide that will
              test whether a scientifically-founded intervention schedule that: 1) limits second and third
              year resident physicians to 16 consecutive hours of work; 2) promotes sleep; and 3)
              minimizes chronic sleep restriction, will result in: a decrease in preventable injuries to
              patients, a decrease in the risk that resident physicians will suffer motor vehicle crashes,
              increased resident sleep, and increased resident vigilance.

2018-2020     CTA: Open-label Clinical Trial to evaluate the Efficacy of Sodium Oxybate (Xyrem) in the
              Treatment of two Under-recognized Clinical Conditions: Post-traumatic Narcolepsy and
              Post-traumatic Hypersomnia.
              Jazz Pharmaceuticals, Inc.
              PI

2013-2021     Sleep, Aging, and Circadian Rhythm Disorders
              NIH/NIA P01 AG009975
              Role: PI/PD (Principal Investigator/Program Director)
              The central theme of this project is to differentiate the consequences of circadian
              disruption (while minimizing sleep loss) and sleep deficiency (while minimizing circadian
              disruption) on glucose regulation.

                                                           27
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 162 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-28 of A-103


2014-2020     Development of Countermeasures Against Adverse Metabolic Effects of Shift Work
              NIH/NHLBI R01 HL118601(PI: Scheer)
              Role: Investigator
              The goal of this application is to test whether manipulating the timing of food intake
              prevents the adverse metabolic effects of circadian misalignment, and whether
              desynchrony between the central circadian pacemaker and the behavioral cycle leads to
              internal desynchrony in humans.

2014-2019     Development and Testing of Biomarkers to Determine Individual Astronauts’
              Vulnerabilities to Behavioral Health Disruptions
              NNX14AK53G (PI: Lockley)
              Role: Investigator
              This study will evaluate biomarkers that will test the sensitivity of various sleep and
              circadian challenges to differentiate individuals

2015-2020     Lighting Protocols for Exploration - HERA Campaign
              NASA/NNX15AM28G (PI: Lockley)
              Role: Investigator
              The major goals of this project are to evaluate the efficacy of a combined countermeasure
              of light and exercise on alertness and performance.

2014-2021     Testing solid state lighting countermeasures to improve circadian adaptation, sleep, and
              performance during high fidelity analog and flight studies for the International Space
              Station
              Thomas Jefferson University/NNX15AC14G (PI: Lockley)
              Role: Investigator
              The major goals of this project are to complete final ground-testing required before
              replacement of the current fluorescent General Luminaire Assemblies (GLA) with solid
              state (LED) lighting on the International Space Station, and to conduct the first flight
              studies to examine the operational impact of the new LED lighting to facilitate rapid
              circadian rhythm resetting, and improve alertness and sleep during missions.

2016-2021     Circadian Lipidomics in Constant Routine, Forced Desynchrony, and Non-lab Setting
              NIH/NHLBI 5R01HL132556 (PI: Kristal)
              Role: Investigator
              The major goals of this project are to identify, optimize, validate, and to cross-validate a
              set of nested plasma lipidomics-based biomarker profiles that report circadian phase and
              alignment using well-characterized samples drawn from three constant routine protocols
              and four forced desynchrony protocols.

2016-2021     The Role of Circadian Periodicity in Human Cardiovascular Disease and Diabetes
              NIH/NHLBI 5R01HL103607-05A1 (PI: Forman)
              Role: Investigator
              The major goals of this project are to examine the effects of melatonin supplementation on
              insulin sensitivity using a hypersulinemic euglycemic clamp and β-islet cell function
              measured using a hyperglycemic clamp. We will also evaluate the effects of
              supplementation on HbA1c as a secondary analysis
              Role: Co-I

2017-2021     CTA: Effect of Dupilumab on Sleep Apnea Severity in Patients with Chronic
                                                  28
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 163 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-29 of A-103


              Rhinosinusitis. (PI: Wellman, D. Andrew) Regeneron Pharmaceuticals, Inc.
              Role: Co-I
Current
2018-2023     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 21-25
              Role: Program Director
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.

2019-2023     Impact of Lifting Work Hour Restrictions on First-Year Resident Safety, Health and Well-
              Being. R01OH011773 (Barger, Laura) 09/1/19-08/31/23 Centers for Disease Control
              (CDC) The study could have important public policy implications related to the health and
              safety of the more than 116,000 medical and surgical residents, who are the principal
              providers of medical care in academic medical centers throughout the United States. (PI:
              Barger LK)
              Role: CoI

2019-2023     Clinical Trial—FAA Sleep Deprivation Study for Aviation Research: Comparison across
              multiple types of sleep deprivation. Contract 6973GH-19-D-00066 from Solicitation
              6973GH-19-R-00147 ($5,654,163.32) Federal Aviation Administration Aeronautical
              Center. The goals of this contract are: (i) To assess gene expression changes associated
              with reduced and mistimed sleep.; (ii) To explore the relationship between gene expression
              and neurobehavioral changes from reduced and mistimed sleep; (iii) To enhance general
              understanding of changes during reduced and mistimed sleep; and (iv)To analyze the
              concordance of sleep and circadian rhythm-related genetic variants with this study’s
              results. (M-PIs: Klerman EB and Czeisler CA)I
              Role: M-PI

2019-2023     CTA: Sleep Training Plan to Improve Individual Sleep, Health and Safety. The major
              goals of this project are to use personalized sleep app (Dayzz) to develop sleep training
              plans, improve participants’ sleep and reduce overall healthcare costs. Dayzz Live Well
              Ltd. PI: Barger LK.
              Role: Co-I

              Role: PI (Principal Investigator)

Report of Local Teaching and Training
Teaching of Students in Courses
Albert Einstein College of Medicine, Bronx, NY
1976-1977     Biological Rhythms in Man                            Department of Neuroscience
              ~15 medical students                                 Co-organizer and lecturer ; ~55 hours
1978          Neuroscience Course
              ~150 medical students                                Guest lecturer ; ~3 hours
                                                           29
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 164 of 238
       Appendix A            Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-30 of A-103


Fordham University, Graduate School of Arts and Sciences, Bronx, NY
1978       Biology 69302: Introduction to Circadian
           Oscillations in Biologic Systems
           ~30 graduate/undergraduate students         Course Developer/instructor; ~75 hours
Stanford University, Stanford, CA
1979         Stanford Medical School: Fiscal and
             Ideological Crisis. Stanford Workshop on
             Political and Social Issues
             ~75 undergraduate & medical students                 Co-developer/instructor ~70 hours
1979         Psychiatry 235: Clinical and Experimental
             Polysomnography
             30 undergraduates                                    Guest Lecturer; ~3 hours
Harvard College, Cambridge, MA
1982-1996    Molecular & Cellular Biology 286:
             Biological Oscillations & Circadian Clocks
             1982-1990; alternate yrs Faculty                     ~40 hours/year
                 15-20 undergraduates per year
             1992-1996; alternate yrs Co-Organizer/               ~85 hr/year
                 Faculty
             ~30 students/year
1983-1984, Adams House 116: Biological Clocks in
1989         Man
             Undergraduate House Seminar Course                   ~60 hours/year
             Developer and Teacher
             15-20 undergraduates per year
1986-1987    Adams House 118: AIDS and Public Policy
             Undergraduate House Seminar Course                   ~60 hours
             Developer and Teacher
             ~18 undergraduates
1988         North House 120: AIDS: Emerging Ethical
             and Policy Dilemmas
             Undergraduate House Seminar Course                   ~50 hours
             Developer and Teacher
             ~25 undergraduates
1988         AIDS Education and Outreach Student
             Counselor Training Program
             Group advisor and training session speaker
1988         “Circadian rhythms and entrainment:                  North House Seminar
             endocrine aspects”                                   Guest lecturer
1996-2020    Molecular & Cellular Biology 186:
             Circadian Biology: From Cellular
             Oscillators to Sleep Regulation
             Co-Organizer/Faculty (1996-2010);                    ~70 hours/year
             Director (2011-)
             50-110 undergraduates per year
2003         Harvard Alumni Association, Alumni
             College
             Lecturer                                             ~5 hours

                                                          30
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 165 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-31 of A-103


               200-300 alumni
2016-2019      Freshman Seminar FRSEM 22D Time for
               Sleep
               Director/Faculty                                     ~90 hours per year
               15 undergraduates per year

2018-2020      Molecular & Cellular Biology 186
               (MCB186): Sleep and Circadian Clocks:
               From Biology to Public Health
               Director (2018-)                                     ~70 hours/year
               50-115 undergraduates per year

2019-2023      General Education 1038 (GenEd 1038):
               Sleep
               Course Director                                      ~120 hours/year
               801 undergraduates per year

Harvard Medical School, Boston, MA
1976       Weekly Research Seminar Series                           Department of Physiology
           10-15 graduate students                                  Lecturer; ~5 hours
1982       Harvard Medical Society
           150 medical students                                     Lecturer on human circadian physiology; ~5
                                                                    hours
1979-1991,     Physiology 225: Physiological Timing
1995           Systems
               15-20 medical students, graduate students            ~35 hours/year (as instructor 1979-1991)
               and undergraduates per year                          ~75 hour/year (as co-organizer 1995)
1995-1998      Neurobiology 337: Neurobiology of the
               Human Circadian Pacemaker
               Faculty doctoral thesis advisor, Program in          60-80 hours/year
               Neuroscience, 1 doctoral student
1996-2002      Continuing Education 61212: Diagnosis
               and Treatment of Sleep Disorders
               60-70 postgraduate students/year                     ~45 hours/year (as Co-director)
                                                                    ~12 hours/year as organizing committee
                                                                    member and faculty
                                                                    ~6 hours/year as faculty member
2000-2003      Scholars in Clinical Science: Tools of
               Physiologic Investigation
               ~20 graduate students                                8 hours
Harvard University Extension School, Cambridge, MA
2008        The Physiology of Sleep (BIOS E-210)
            Invited Guest Lecture, ~20 students                     ~5hours
Harvard School of Public Health, Boston, MA
1986        Occupational Health Weekly Symposium
            ~30 graduate students, postdoctoral fellows,            Guest lecturer; 2 hours
            faculty
Formal Teaching of Residents, Clinical Fellows and Research Fellows (post-docs)
                                                  31
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 166 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM        Page A-32 of A-103


Stanford Medical School, Stanford CA
1977, 1979  Research Center and Sleep Disorders Clinic
            Seminar Series
            ~10 graduate students and postdoctoral                  Lecturer; ~5 hours/year
            fellows

Laboratory and Other Research Supervisory and Training Responsibilities
Brigham and Women's Hospital, Boston, MA
1982-1988   College Work-Study training program in                       30 student-trainees/term, 3 week-long
            laboratory research techniques.                              sessions/year
            Developer/supervisor
1995-2000   Special Emphasis Research Career Award                       2 junior faculty trainees
            Program, National Institute on Aging. Faculty
            sponsor.
Harvard Medical School, Boston, MA
1983-1987        Research preceptor, Pre-doctoral Fellow.
                 Medical Scientist Training Program
2001-            Research Preceptor, HMS Student in HST                  1 medical student/year, 50-100 hours/year
                 Program. Division of Health Science and
                 Technology (HMS/MIT)
1986,1987,       Faculty mentor, Brigham-Beth Israel Medical             1 medical student/summer; 25-40
1990             Group Program. Summer Research Fellowship               hours/summer
                 Program.
1986-1991        Faculty advisor. Medical student research               1 medical student/year; 40-60 hours/year
                 traineeship
1993-1994        Oral Examination and Ph.D. Dissertation
                 Examining Committees
1994-1997        Mentor, Faculty Training Grants, for Charles
                 Weitz, M.D., Assistant Professor of
                 Neurobiology and Emery N. Brown, M.D.,
                 Ph.D., Assistant Professor of Anesthesiology,
                 Harvard Medical School
1994-1995,       Faculty advisor. Research Rotation, Program             1 doctoral student/year; 10-20 hours/year
2001             in Neuroscience
1995-1998        Committee Member and/or Advisor. Program
2000-2004        in Neuroscience
2001-2005        Research Preceptor, two HST students                    40-50 hours/year
2002-2005        Research Preceptor, HMS student                         20-30 hours/year
2002-            Mentor, Faculty Training Grant (NIH K08),
                 for an Instructor of Pediatrics, Harvard
                 Medical School
2003-2004        Mentor, GCRC Medical Student Clinical
                 Research Training Award, for two HMS
                 students
Harvard University Graduate School of Arts and Sciences, Cambridge, MA
1983-1986,   Oral Examination and Ph.D. Dissertation
1994-1997    Examining Committees, Division of Applied
                                                            32
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 167 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM    Page A-33 of A-103


                Sciences; Co-advisor and Committee Member
Harvard College, Cambridge, MA
1981-1985,   Biology 90r: Supervised Research. Faculty                  1-2 undergraduates per year; ~50 hours/year
1987-1988,   preceptor first semester, then undergraduate
1992, 1994   thesis advisor
1984         Biology 91r: Supervised Reading. Faculty                   1 undergraduate; ~15 hours/year
             preceptor, directed reading
1984         Economics 910r: Supervised Reading and                     1 undergraduate; ~15 hours/year
             Research. Faculty advisor, directed reading
1984-1987    Psychology and Social Relations 990: Senior                1 undergraduate; ~50 hours/year
             Tutorial. Faculty preceptor first semester, then
             undergraduate thesis advisor
1994         Nathaniel Kleitman Undergraduate Summer                    5 summer undergraduate students; ~10 hours
             Fellowship Program in Human
             Chronobiology. Faculty advisor
2002-2003    Biology 90r: Supervised Research.
             Undergraduate thesis advisor
Formally Supervised Trainees
Brigham and Women’s Hospital, Boston, MA
1983-1986, Gary S. Richardson, M.D.
1988-1992   Research supervisor; Clinical Fellow Research Residency Program and Faculty sponsor for
            junior faculty research trainee, Physician Scientist Award Program, National Institute on
            Aging, NIH.
1985-1987   Joel Steinberg, M.D.
            Post-doctoral fellow advisor
1986-1988   Suzanne Rogacz, M.D.
            Endocrine Training Program Research supervisor, Post-doctoral fellow advisor, Faculty
            sponsor for junior faculty clinical research trainee. Clinical Associate Physician Award
            Program, General Clinical Research Program, National Center for Research Resources,
            National Institutes of Health.
1994-1996   Emery N. Brown, M.D., Ph.D./Professor of Health Sciences and Technology and Professor
            of Computational Neuroscience, Massachusetts Institute of Technology Professor of
            Anaesthesia, Harvard Medical School Massachusetts General Hospital
            Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
DATE        Janis Anderson, Ph.D./Assistant Professor of Psychology, Department of Psychiatry,
            Harvard Medical School/Brigham and Women’s Hospital
            Post-doctoral fellow advisor
1988-1990   Marie Dumont, Ph.D.
            Post-doctoral fellow advisor
Faculty Advisor, Pre-doctoral Fellow, Training Program in Sleep, Circadian and Respiratory
Neurobiology, National Heart Lung and Blood Institute
1991 - 1995 Elizabeth B. Klerman, M.D., Ph.D./Associate Professor of Medicine, Division of Sleep
             Medicine, Harvard Medical School; Associate Physician, Division of Sleep Medicine,
             Department of Medicine Brigham and Women’s Hospital
             Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
1997 - 2000 Kenneth P. Wright Jr., Ph.D./Assistant Professor, Department of Integrative Physiology
             Director, Sleep and Chronobiology Laboratory, Centers for Neuroscience and the
             Integrative Study of Work, University of Colorado at Boulder
                                                    33
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 168 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-34 of A-103


               Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
1994 - 1999    Jamie M. Zeitzer, Ph.D./ Assistant Professor, Psychiatry and Behavioral Sciences, Stanford
               University and VA Palo Alto Health Care System, Palo Alto, CA
1997 - 2004    Angela Ritz-De Cecco, Ph.D./Pharmacist, Switzerland
2002 - 2005    Kurt A. Smith, M.D./ Resident and Clinical Instructor, Emergency Medicine, University of
               Cincinnati School of Medicine
2003 - 2006    Martin W. Schoen, M.D./ Intern, Department of Internal Medicine, Naval Medical Center,
               San Diego
Faculty Advisor, Post-doctoral Fellow, Training Program in Sleep, Circadian and Respiratory
Neurobiology, National Heart Lung and Blood Institute
1986 - 1989 Steven H. Strogatz, Ph.D./ Director of Center for Applied Mathematics; Professor of
             Theoretical and Applied Mechanics, Cornell University
1991 - 1994 Ghada El-Hajj-Fuleihan, M.D./ Professor of Medicine and Director of the Calcium
             Metabolism and Osteoporosis Program, American University of Beirut Medical Center
1992 - 1997 Diane B. Boivin, M.D., Ph.D./ Associate Professor, Psychiatry Medicine, McGill
             University, Sleep Disorders Physician, Psychiatry, Douglas Hospital; Director, Centre for
             Study and Treatment of Circadian Rhythms
1993 - 1995 David Neri, Ph.D./ Deputy Director, Cognitive, Neural, and Biomolecular Science &
             Technology Division, Office of Naval Research
1995 - 1998 James K. Wyatt, Ph.D., D ABSM/Assistant Professor, Behavioral Sciences, Rush Medical
             College; Director, Sleep Disorders Center, Rush University Medical Center; Fellow,
             American Academy of Sleep Medicine
1996 - 1998 Sat Bir Khalsa, Ph.D./ Assistant Professor of Medicine, Division of Sleep Medicine,
             Harvard Medical School; Associate Neuroscientist, Division of Sleep Medicine,
             Department of Medicine, Brigham and Women’s Hospital
1996 - 2000 Todd Horowitz, Ph.D./Instructor In Ophthalmology, Harvard Medical School; Research
             Associate, Brigham and Women’s Hospital
1998 - 2000 Jeanne Duffy, M.B.A., Ph.D./ Associate Professor of Medicine, Division of Sleep
             Medicine, Harvard Medical School; Neuroscientist, Division of Sleep Medicine,
             Department of Medicine, Brigham and Women’s Hospital
1999 - 2003 Claude Gronfier, Ph.D./ Research Assoc., Inserm, France
2000 - 2003 Steven Lockley, Ph.D./ Associate Professor of Medicine, Division of Sleep Medicine,
             Harvard Medical School; Neuroscientist, Division of Sleep Medicine, Department of
             Medicine, Brigham and Women’s Hospital
2000 - 2002 Laura K. Barger, Ph.D./ Instructor in Medicine, Division of Sleep Medicine, Harvard
             Medical School; Associate Physiologist, Division of Sleep Medicine, Department of
             Medicine, Brigham and Women’s Hospital
2006 - 2007 Christopher Carello, Ph.D./Medical Liaison, Eli Lilly and Company
2004 - 2006 Julie Marie Gottselig, Ph.D./ Law student, New England School of Law
2011-        Michael Lee, Ph.D./ Research Fellow in Medicine, Brigham and Women’s Hospital,
             Harvard Medical School
2014-        Nina Vujovic, Ph.D./ Research Fellow in Medicine, Brigham and Women’s Hospital,
             Harvard Medical School
Faculty Co-Advisor, Pre- and Post-doctoral Fellows, Training Program in Sleep, Circadian and
Respiratory Neurobiology, National Heart Lung and Blood Institute
1999 - 2001 Scott P. Grady, M.D., Ph.D./ Clinical Endocrinologist, Portland Diabetes and
             Endocrinology Center
2002 - 2004 John Cronin, M.D./ Skaggs Scholar, The Scripps Research Institute; Associate Director,
             Scripps Clinic Sleep Center
                                                   34
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 169 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM     Page A-35 of A-103


2004           Shana E. McCormick, M.D./ Pediatric Resident, Massachusetts General Hospital
2002 - 2004    Nayantara Santhi, Ph.D./Research Fellow, Surrey Sleep Research Centre, Guildford U.K.
2003 - 2004    Anne-Marie Chang, Ph.D./Assistant Professor of Medicine, Pennsylvania State University
2003 - 2005    Frank A.J.L. Scheer, Ph.D./ Associate Director, Medical Chronobiology Program,
               Brigham and Women’s Hospital; Assistant Professor of Medicine, Harvard Medical
               School; Associate Neuroscientist, Brigham and Women’s Hospital
2005 - 2007    Joshua J. Gooley, Ph.D./ Lecturer in Medicine (academic, part-time), Harvard Medical
               School; Assistant Professor, Duke-NUS Graduate Medical School Singapore
2006 - 2008    Daniel Cohen, M.D./Associate Staff Neurologist, Beth Israel Deaconess Medical Center
2002 - 2010    Joseph T. Hull, Ph.D./ Research Fellow in Medicine, Division of Sleep Medicine, Brigham
               and Women’s Hospital, Harvard Medical School
2004 - 2010    Erin E. Flynn-Evans/Research Psychologist, NASA
2004 - 2011    Melissa A. St. Hilaire, M.S., Ph.D./Research Fellow in Medicine, Division of Sleep
               Medicine, Department of Medicine, Brigham and Women's Hospital
2006 - 2011    Sean W. Cain, Ph.D./ Lecturer in Medicine (academic, part-time), Harvard Medical
               School; Senior Lecturer, Monash University, Australia.
2007 - 2011    Melodee Mograss, Ph.D./ Banting Scholar, The Research Institute of the McGill
               University Health Centre, Montreal, Quebec
2006 - 2013    Melanie Rüger, Ph.D./ Instructor in Medicine, Brigham and Women’s Hospital, Harvard
               Medical School
Formal Teaching of Peers (e.g., CME and other continuing education courses)
Academy at Harvard Medical School, Boston, MA
2002        Medical Education Symposium: How the Brain                          Lecture
            Learns: Implications for Medical Education from the
            Neurosciences and Cognitive Theory
Brigham and Women's Hospital, Boston, MA
1986        “Sleep Disorders”                                                   ~40 CME students; ~3 hours
            Endocrine Division Postgraduate Medical Series
1987        “Circadian rhythmicity and its disorders”                           ~60 CME students; ~3 hours
            Weekends in Internal Medicine
Unknown     Patient Safety Imperative CME Course
            Division of General Medicine
Harvard T.H. Chan School of Public Health, Boston, MA
1990-1991   Work Schedules & Circadian Rhythms: Strategies for                  Faculty course director
            Improving Health, Safety, and Performance in Shift
            Work Operations
2007-2009, Ergonomics and Human Factors: Strategic Solutions                    Invited faculty member
2011-2015   for Workplace Safety and Health
2007        Epidemiology of the Occupational & Environmental                    Invited faculty member
            Health Standards (EH 236)
2012        Sleep and Shift Work: Optimizing Productivity and                   Invited faculty member and
            Health Management in the 24/7 Global Economy                        keynote speaker
            Symposium
Harvard Medical School, Boston, MA
2012       Physician Work Hours, Health and Patient Safety                      Course Director and faculty
                                                                                member
2013           The New Science of Resiliency and its Clinical                   Faculty member
                                                           35
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 170 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM     Page A-36 of A-103


               Applications
2014           “Circadian Regulation of Sleep” for ‘Sleep! A CME                Faculty member
               Course for Physicians’
2015           “Consciousness” for ‘Sleep! A CME Course for                     Faculty member
               Physicians’
2016           ‘Sleep! A CME Course for Physicians’                             Faculty member
2017           Circadian Control of Sleep for ‘Sleep! A CME Course              Faculty member
               for Physicians’


Local Invited Presentations
Stanford Medical School, Stanford CA
1978        Stanford Medical and Scientific Highlights
            Faculty Senate
Harvard Medical School, Boston MA
1983       Harvard Medical School Faculty Meeting
1990       Shiftwork, circadian rhythms and sleep deprivation
           Harvard Medical School Committee on Hospital Safety
2000       Medical Ethics Forum: Medical Error: Patients in Peril?
           Division of Medical Ethics and Division of Sleep Medicine
2001       Conference on Resident Work Hours
2001       Sleep and Public Policy, New York Regional Council
2002       Combined Orthopedic Grand Rounds, Resident Work Hours, Safety and Health
2002       Keynote Speaker, 1st Annual Sleep and Health Benefit Dinner
           Division of Sleep Medicine
2010       Organizing Committee and Speaker “Finding a research path for the identification of
           biomarkers of sleepiness”
           Division of Sleep Medicine
2012       Invited Speaker
           HMS Leadership Summit
Harvard College, Cambridge, MA
1988         Invited discussant, “The Ethics of AIDS Testing”
             Adams House, Harvard College
2013         Invited Speaker “Sleep, circadian rhythms, health and safety”
             Harvard Wellness Project, Harvard College
Harvard T.H. Chan School of Public Health, Boston, MA
2012        Invited discussant, “FIGHTING THE CLOCK: How America’s Sleep Deficit is Damaging
            Longterm Health”
            The Forum webcast, Harvard School of Public Health
2016        Invited Panel Member, “ASLEEP AT THE WHEEL: Drowsy Driving and Public Health”
            Presented in Collaboration with The Huffington Post
            The Forum webcast, Harvard School of Public Health
Harvard University, Cambridge, MA
2018        Invited Faculty “Mind/Brain Puzzle on Sleep”
            Harvard University Mind Brain Behavior Interfaculty Initiative (MBB)
Beth Israel Hospital, Boston, MA

                                                           36
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 171 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-37 of A-103


1983           Neurology Grand Rounds
1986, 1988     Medical Grand Rounds
1989, 1991
1990           “Human circadian rhythmicity and its potential relevance to anesthesia research and
               clinical care”
               Anesthesia and Critical Care Grand Rounds
1997, 2000     Psychiatry Grand Rounds
Beth Israel Deaconess Medical Center, Boston MA
2002          Endocrine Grand Rounds
2002          Assessment of the Impact of Intern Work Hours on Patient Safety and Intern Health and
              Performance
              Chiefs’ Council
2006          OB/GYN Grand Rounds
Brigham and Women's Hospital, Boston, MA
1983, 1996, Endocrine Grand Rounds
2001
1986, 1988, Medical Grand Rounds
1991, 1993, Department of Medicine
2001, 2002,
2004, 2008
1989        “Sleep Loss, Circadian Rhythms and the Hospital Intern”
            Graduate Medical Education Committee Program
1994        “Circadian rhythms, sleep deprivation and emergency medicine”
            Emergency Medicine Rounds
1995        “Advances in Circadian and Sleep Medicine, Disorders and Physiology”
            Medical Staff Grand Rounds
2002        Noon House Staff Conference
            Department of Medicine
2002        Work Hours, Sleep and Safety of Medical House Staff, Faculty Meeting and Executive
            Committee
            Department of Medicine
2002        Sleep and the Healthcare Provider: Impact on Performance, Quality & Safety, Quality
            Rounds
2004        Patient Safety Imperative, Division of General Medicine
2007        Obstetrics and Gynecology Grand Rounds
2009        “Sleep, Light and the Human Circadian Pacemaker”
            Sleep Grand Rounds
2010        “Minding your brain: staying sharp”
            Men’s Health Program, Palm Beach, FL
2013        Guest Faculty Speaker
            Women’s Health Luncheon, Boston MA
2013        Guest Speaker
            Tye Health Coverage Fellowship, Boston MA
2015        “A Sleep Epidemic”
            BWH Inspires Event, Palm Beach FL
2015        “Sleep Deficiency and Public Health”
            Discover Brigham, Sleep Medicine Session, Brigham Research Institute, Boston MA
2017        “Sleep Hygiene for Physician Shift Workers”
            Invited Speaker, Emergency Medicine Resilience Day, Boston MA
                                                    37
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 172 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-38 of A-103


2018           Sleep Epidemic: Why are we sleeping less and What can we do about it?
               Invited Faculty CME, BWH, Boston MA
2018           Speaker and Chair “Sleep Matters Initiative”
               Discover Brigham, Sleep Medicine Session, Brigham Research Institute, Boston MA
Children’s Hospital, Boston, MA
1998         Neurosurgery Grand Rounds
2010         Invited Speaker “Introduction to Circadian Biology”
             Updates in Pediatric Sleep Disorders Conference
Massachusetts Eye and Ear Infirmary, Boston, MA
1992         “Synchronization of the human circadian pacemaker by light: relevance to the treatment of
             ‘blind’ patients”
             Research Symposium: “Advanced Concepts in Vision Science”
Massachusetts General Hospital, Boston, MA
1987         Chronobiology Research Group Seminar
             Department of Pediatrics
1988, 2007 Endocrine Grand Rounds
1992         Neuroscience Lecture
2007         Anesthesia and Critical Care Grand Rounds
2013         Endocrine Grand Rounds
Partners HealthCare System
2001         Partners Chiefs’ Council
2002         Assessment of the Impact of Intern Work Hours on Patient Safety and Intern Health and
             Performance
             Partners Education Committee
2002         Work Hours, Health and Safety in Resident Physicians
             BWH-MGH Joint Chiefs Council
2003         Physiologic Determinants of Alertness and Performance: Implications for Physician Work
             Hours, Safety and Learning
             Partners Faculty Development Conferences (at MGH and at BWH)
2015         Invited Speaker
             1: Thought Leaders Lunch “Technology, Light and Sleep - Implications for Health and
             Medicine”
             2: “Sleep and Consciousness: Clinical Need versus Safety”
             World Medical Innovation Forum, Boston MA
Spaulding Rehabilitation Hospital, Boston, MA
2003        Spaulding Distinguished Lecture
Veterans Administration Hospital, Jamaica Plain, MA
1986        Grand Rounds
Veterans Administration Hospital, Brockton, MA
1995        “Resetting the human circadian pacemaker with light”
            Medical Grand Rounds
Veterans Administration Hospital, West Roxbury, MA
2004        Seminar Series

Report of Regional, National and International Invited Teaching and Presentations
                                                           38
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 173 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-39 of A-103


Invited Presentations and Courses
Regional
1978           Biological Clockwatchers Club
               Boston, MA
Between        Invited Speaker.
1985-1987      Massachusetts Mental Health Center, Boston, MA
1986           Physiology course on circadian rhythmicity. Lecturer; ~25 medical students; ~3 hours
               Boston University Medical School, Boston, MA
1987           Clinical Research Training Seminar, “Human circadian rhythmicity and its disorders”
               Massachusetts Mental Health Center, Boston, MA
1988           Nursing and Human Resources Departments Seminar “Circadian rhythms, sleep
               deprivation and the scheduling of nurses”
               New England Medical Center, Boston MA
1988           Invited Speaker.
               Northeastern Sleep Society, Boston MA
1989           Lincoln Laboratory Distinguished Lecture Series. Invited Speaker.
               Massachusetts Institute of Technology, Cambridge MA
1990           Department of Biology Colloquium
               Northeastern University, Boston MA
1992-1993      Biomedical Engineering Undergraduate Program. Faculty research advisor. 1
               undergraduate; ~10 hours/year
               Boston University, Boston, MA
1992-1999      Graduate Program in Biology: Physiology and Neurobiology. Faculty research sponsor; 1
               doctoral student; ~20 hours/year
               Northeastern University, Boston, MA
1994-1995      Biomedical Engineering Graduate Degree Program. Faculty research sponsor. 1 graduate
               student; ~10 hours/year
               Boston University, Boston, MA
Between        Invited Speaker.
1994-1996      Massachusetts Institute of Technology, Cambridge MA
1995-1998      Graduate Program in Cardiopulmonary Sciences. Faculty research sponsor; 1 graduate
               student; ~20 hours/year
               Northeastern University, Boston, MA
1996-1997      Biology 99d: Senior Research and Senior Honors in Biology. Faculty research sponsor; 1
               undergraduate; ~10 hours/year
               Brandeis University, Waltham, MA
1997           Medical Grand Rounds.
               Boston University Medical Center, Boston MA
Between        Endocrine Grand Rounds
1997-2001      Risk Management Foundation, Boston, MA
Between        Invited Speaker.
1997-2001      New England College of Occupational and Environmental Medicine, Groveland MA
Between        Invited Speaker.
1997-2001      Boston Society of Neurology and Psychiatry, Boston MA
Between        Invited Speaker. Resident Physician Section
2002-2008      Massachusetts Medical Society, Waltham MA
Between        Medical Grand Rounds
2002-2008      New England Medical Center, Boston MA
Between        Advanced Neurobiology BI374. Guest Lecturer.
                                                           39
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 174 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-40 of A-103


2002-2008      Colby College, Waterville, Maine
2003-2006      “Circadian Biology: From Clock Genes and Cellular Rhythms to Sleep Regulation”. Guest
               Lecturer.
               NSF-Chautauqua Short Courses for College Teachers
2006           Psychiatry Grand Rounds.
               Dartmouth Medical School, Lebanon, NH
2006           Beckwith Family Lecture. Medical Grand Rounds.
               Brown University, Providence, RI
2007           Drowsy Driving Panel
               National Conference of State Legislatures, Boston, MA
2008           “Bringing Circadian Rhythm Science into the Sleep Clinic”. Invited Speaker - Future of
               Clinical Sleep Medicine Conference.
               Sleep HealthCenters, Boston
2009           Drowsy Driving Legislation. Invited Speaker
               North East Sleep Society Conference, Boston MA
2009           Speaker in three symposia:
               1. Addressing OSA in commercial drivers
               2. Legislative initiative to reduce drowsy driving crashes
               3. Inter-individual differences in the impact of sleep loss on neurobehavioral performance:
               Regulatory implications for the transportation industry
               Fatigue Management in Transportation Operations 2009 International Conference, Boston
               MA
2010           Organizing Committee and Speaker
               Sleep, Supervision and Safety Conference, Boston, MA
2011           Organizer and Speaker “Exploratory Seminar on Drowsy Driving”
               Radcliffe Institute for Advanced Study, Harvard University, Cambridge MA
2011           Invited Speaker “Sleep to Thrive”
               TEDx Cambridge ‘Thrive’, Cambridge MA
2012           Invited Panelist “Sleep Chat”
               NIH Twitter Event, Boston MA
2012           Invited Speaker “Near-24-hour intrinsic period of the human circadian pacemaker:
               challenge for adaptation to the Martian sol”
               Massachusetts Institute of Technology, Cambridge MA
2012           Invited Speaker, Discussion Panel “Measuring Sleepiness in Drivers: The Challenges and
               Controversies”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker, Discussion Panel “Body Mass Index is an Effective Measure for
               Occupational Screening of Employees at High Risk for Moderate to Severe Obstructive
               Sleep Apnea: Implications for DOT Commercial Driver Medical Examinations”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Chair Oral Presentation Session “Circadian Rhythms: Fiat Lux!”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2014           Invited Speaker “Sleep, performance and health in a 24/7 culture”.
               MIT Media Lab, Massachusetts Institute of Technology, Cambridge MA
2015           Panelist “School Community Meeting on School Start Time”
               Latin Academy School (BLA), Boston MA
2015           Invited Speaker “The Science of Sleep and Health”
               2015 World Congress on Angiogenesis, Angiogenesis Foundation, Boston MA
2015           Invited Speaker “Light, Sleep Disorders and the Working Environment”
               Light in Sight Lecture Series, New England College of Optometry, Boston MA
                                                        40
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 175 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-41 of A-103


2015           Invited Speaker “Sleep, circadian rhythms, health and performance”
               Invited Speaker, Mind+Hand+Heart Wellness Initiative, Computer Science and Artificial
               Intelligence Lab (CSAIL) at MIT, Cambridge MA
2016           “Circadian Disorders”
               Grand Rounds, Newton-Wellesley Hospital, Newton MA
2016           Invited Speaker – Panel “Drowsy Driving the Problem with the Accepted Practice”
               2016 Northeast Transportation Safety Conference, Worcester MA
National
1978           Association for the Psychophysiological Study of Sleep. Invited Speaker
1978           NY Intradepartmental course on sleep. Guest lecturer; ~20 students; ~3 hours
               Columbia University Psychiatric Institute, New York, NY
1980           Sleep Research Society. Satellite symposium chair on the Timing of REM Sleep
1978           Department of Biology course. Guest Lecturer.
               University of New York, Stony Brook
1981           American Association for the Advancement of Science. Symposium co-chair
1982           Gordon Research Conference on Theoretical Biology and Biomathematics. Guest Lecturer.
1985           Sleep Research Society. Satellite symposium co-chair
1985           Postgraduate CME course,
               Montefiore Hospital, Bronx NY
Between        Satellite symposium co-chair.
1985-1987      Sleep Research Society
1986           American Association for the Advancement of Science. Invited Speaker.
1986           Society for Neuroscience. Invited Speaker.
1986           Academy of Behavioral Medicine Research. Invited Speaker.
1986           Grand Rounds, Carrier Foundation. Invited Speaker.
1986           “Impact of irregular work schedules on circadian training systems: Implications for
               scheduling emergency room specialists”. Invited Lecturer.
               American College of Emergency Physicians, Washington DC.
1986           Postgraduate CME course, Sleep Research Society (faculty/course developer);
1987           Association of Professional Sleep Societies. Invited Speaker.
1987           Invited Speaker.
               Rockefeller University, New York, NY.
1987           Invited Speaker.
               NASA-Ames Research Center, Moffett Field, CA
1987           Invited Speaker.
               Sandoz Pharmaceutical, Broomfield CO
1987           “Creating work schedules based on biological needs” Edison Electric Institute and
               Electrical Council of New England. Invited Speaker.
1987           Psychiatry Grand Rounds. Invited Speaker.
               Cornell University Medical School, New York, NY
1987           Joint Endocrinology and Metabolism Rounds.
               New York Hospital and Memorial Hospital. Invited Speaker New York, NY
1987           Palo Alto Clinical Monitoring Center. Invited Speaker.
               Palo Alto, CA
1987           Sleep Disorders Medicine Postgraduate CME course. Guest Lecturer.
               Medlantic Institute, Washington DC
1988           “Late luteal phase dysphoric disorder”. Invited Speaker.
               National Institute of Mental Health Conference
1988           Elliot D. Weitzman Memorial Lecture.

                                                           41
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 176 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-42 of A-103


               Cornell University Medical School, New York NY
1988           New York Sleep Circle. Invited Speaker.
1988           Invited Speaker.
               NASA-Goddard Space Flight Center, Greenbelt MD.
1988           Society of Surgical Chairman. Invited Speaker.
1988           “Interaction between Sleep and the Circadian System”, Society for Research on Biological
               Rhythms
1988           Invited Symposium Speaker Association of Professional Sleep Societies, symposium chair
1988           Medical Grand Rounds.
               Duke University Medical Center, Durham NC
1988           Clinical Chronobiology Conference. Invited Speaker.
1988           Faculty Guest lecturer.
               University of California Medical School, Davis, CA
Between        Invited Speaker.
1988-1990      NASA Headquarters, Houston TX
Between        Invited Symposium Speaker
1988-1990      Society for Neuroscience
Between        Symposium Speaker
1988-1990      Academy of Behavioral Medicine Research
1989           Invited Speaker.
               NASA-Ames Research Center, Moffett Field, CA
1989           Basic Sleep Research Panel. Invited Speaker.
               Institute of Medicine, National Academy of Sciences, New York, NY
1989           National Consensus Conference on Therapeutic Treatment of Sleep Disorders in Older
               People. Invited Speaker.
               National Institute on Aging, Bethesda MD
1989           “Correlations of Aging and Space: Effects on Biosystems”. Invited speaker.
               Joint Research Conference NASA, National Institute on Aging, and the Lew Evans
               Foundation
1989           “Fatigue and Driver Alertness”. Invited Speaker.
               Federal Highway Administration, U.S. Department of Transportation
1989           “Sleep and Driving Safety”. Invited speaker.
               National Press Club Conference
1989           Society of Industrial and Occupational Hygienists Annual Meeting. Invited Speaker.
1989           Invited Symposium Speaker.
               American Association for the Advancement of Science
1989           Medical Grand Rounds.
               University of Texas Southwestern Medical School, Dallas TX
1989           General Electric Company. Invited Speaker.
1989           Smith College Colloquium. Invited Speaker.
1989           Academic Practice Assembly, Administrators of Internal Medicine. Invited Speaker.
1989           “Meet the Professor”
               Association of Professional Sleep Societies
1989           Postgraduate CME Course. Faculty Guest Lecturer.
               Mayo Clinic Medical School, Rochester MN
1989           Postgraduate CME Course. Faculty Guest Lecturer.
               Presbyterian Hospital, University of Texas Southwestern Medical Center, Dallas TX
1990           MacArthur Foundation Mental Health Research Network. Invited Speaker
1990           NASA/National Science Foundation Conference on Antarctic Research. Invited Speaker.
1990           Invited Speaker.
                                                       42
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 177 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-43 of A-103


               Rockefeller University, New York, NY.
1990           Department of Pharmacology University of Chicago Colloquium. Invited Speaker.
               University of Illinois/Chicago Circle
1990           Hypertension Symposium. Invited Speaker
               Marion Merrell Dow, Kansas City, MO
1990           NASA Biomedical Research Program, Circadian Rhythms Workshop
1990           Workshop on Circadian Rhythm Shifting, Medical Sciences Division. Invited Speaker.
               NASA-Johnson Space Center, Houston TX
1990           Invited Speaker.
               American Psychiatric Association.
1990           Medical Grand Rounds.
               University of Wisconsin-Madison Medical School, Madison WI
1990           Endocrine Grand Rounds
               University of Wisconsin-Madison Medical School, Madison WI
1990           Endocrine Grand Rounds
               University of Chicago, Chicago IL
1990           Society of Research Administrators. Invited Speaker
1990           Whitney Symposium on Science and Technology, General Electric Corporate Research
               and Development. Invited Speaker.
1990           American Association of Homes for the Aging. Invited Speaker.
1990           Session Chairman.
               Association of Professional Sleep Societies.
1990           “Disorders of Circadian Function: Clinical Consequences and Treatment”; NIA/NIH
               Consensus Development Conference. Invited Speaker.
1990           “Meet the Professor”
               Association of Professional Sleep Societies
1991           National Advisory Council. Invited Speaker.
               National Institute on Aging, Bethesda MD
1991           National Science Foundation Science and Technology Center Industrial Outreach
               Symposium. Invited Speaker.
1991           3 teaching hospitals. Invited Speaker.
1991           Invited Speaker.
               University of Virginia School of Medicine, Charlottesville VA
1991           Invited Speaker.
               University of Chicago Pritzker School of Medicine, Chicago IL
1991           Keynote Speaker.
               Central States Occupational Medical Association.
1991           Invited Speaker
               Association of Polysomnographic Technologists.
1991           Invited Speaker.
               University of Virginia, Charlottesville VA
1991           Postgraduate CME Course. Faculty Guest Lecturer.
               Yale-New Haven Sleep Disorders Center
Between        Joint Conference. Invited Speaker.
1991-1993      American Psychological Association, Brock University and National Institute of Mental
               Health
Between        Invited Speaker.
1991-1993      Johns Hopkins University School of Medicine, Baltimore MD
1992           National Advisory Council. Invited Speaker.
               National Institute of Neurological and Communicative Disorders and Stroke, Bethesda
                                                        43
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 178 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-44 of A-103


               MD
1992           Medical Grand Rounds.
               Sinai Hospital of Baltimore, Baltimore, MD
1992           Invited speaker.
               American Psychosomatic Society.
1992           “Human Phase-shifting and Entrainment”. Invited Speaker.
               Society for Research on Biological Rhythms
1992           Invited Speaker.
               National Institute for Brain Research.
1992           Invited Speaker.
               Gordon Research Conference on Theoretical Biology and Biomathematics.
1992           Postgraduate CME Course. Invited Speaker.
               Association of Professional Sleep Societies.
1993           Invited Speaker.
               Inter-urban Clinical Club, Association of Professors of Medicine.
1993           Invited Speaker.
               United States Army Research Institute of Environmental Medicine.
1993           Life Sciences Division. Invited Speaker.
               NASA Johnson Space Center, Houston TX
1993           Invited Speaker.
               Sleep Disorders Round Table, Smith-Kline-Beecham.
1993           “Circadian rhythms and sleep disorders: Role of melatonin” Workshop. Invited Speaker.
               Institut de Recherches Internationales Servier
1993           “Sleeping Well: Overcoming Sleep Disorders” American Medical Association Educational
               Briefing. Invited speaker.
1993           Invited Speaker.
               Association of Professional Sleep Societies.
1993           Sleep Onset Mechanisms Conference. Invited Speaker.
               American Psychological Association, Brock University and National Institute of Mental
               Health, Division of Neuroscience and Behavioral Science
1993           National Science Foundation Center for Biological Timing Summer Course on Biological
               Rhythms. Faculty Guest Lecturer.
               University of Virginia, Charlottesville VA
1993           Faculty Guest Lecturer.
               Gordon Research Conference on Chronobiology.
1993           Faculty Guest Lecturer.
               Projects in Knowledge Faculty Training Program on Insomnia.
1993           Postgraduate CME Course “Controversies in Light Therapy”. Faculty Guest Lecturer.
               Association of Professional Sleep Societies.
1994           Strategy Development Workshop on Sleep Education. Invited Speaker.
               National Heart Lung and Blood Institute, Bethesda MD
1994           Workshop on Neural Basis of Psychopathology. Invited Speaker.
               Division of Neuroscience and Behavioral Science, National Institute of Mental Health,
               Bethesda MD
1994           Invited Speaker.
               Rockefeller University, New York NY
1994           Scripps Clinic. Invited Speaker.
1994           Philips Forum. Invited Speaker.
               Lighting Research Institute, Rensselaer Polytechnic Institute, Troy NY
1994           Invited Speaker.
                                                        44
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 179 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-45 of A-103


               Interneuron Pharmaceuticals, Inc, Lexington MA
1994           Invited Speaker.
               Alza Pharmaceutical, Mountain View CA
1994           Workshop on Sleep Disorders,
               Bristol Myers Squibb, New York NY
1994           “Circadian Control of REM Sleep”. Invited Speaker.
               Society for Research on Biological Rhythms
1994           Symposium and workshop co-chair
               Association of Professional Sleep Societies.
1994           AMDD Neurology Conference. Invited Speaker.
               US Army Medical Department, Uniformed Services, University of the Health Sciences
1994           “Circadian Clocks and Their Adjustment”. Invited Speaker.
               Ciba Foundation Symposium.
1994           Postgraduate CME Course on Sleep Disorders. Faculty Guest Lecturer.
               Scripps Clinic.
1994           Postgraduate CME Course “Shift Work: Health Effects and Coping Strategies”. Faculty
               Guest Lecturer.
               American College of Occupational and Environmental Medicine, Elk Grove Village IL
Between        Invited Speaker.
1994-1996      Woods Hole Marine Biological Laboratory Lecture Series
Between        Invited Speaker. Workshop on Melatonin and Sleep
1994-1996      National Institute on Aging, Bethesda MD
Between        Invited Speaker.
1994-1996      American Thoracic Society
Between        Postgraduate CME Course
1994-1996      American Clinical Neurophysiology Society
Between        Postgraduate CME Course
1994-1996      CME, Inc.
1995           “Managing Fatigue in Transportation: Promoting Safety and Productivity” Multimodal
               Educational Symposium. Invited speaker.
               National Transportation Safety Board and NASA Ames Research Center
1995           Neurology Grand Rounds
               Emory University School of Medicine, Atlanta GA
1995           Invited Speaker.
               Air Force Office of Scientific Research Headquarters
1995           Invited Speaker.
               Merck Pharmaceutical
1995           Invited Speaker.
               American Physiological Society, Dartmouth
1995           Invited Speaker.
               Aerospace Medical Association
1995           Invited Speaker.
               National Foundation for Brain Research
1995           Invited Speaker.
               New England Science Writers Association
1995           Invited Speaker.
               Association of Professional Sleep Societies
1995           “Meet the Professor”
               Association of Professional Sleep Societies
Between        NASA Workshop on Aging and Spaceflight. Invited Speaker.
                                                       45
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 180 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-46 of A-103


1997-2001     National Institute on Aging, Bethesda MD
Between       Plenary session speaker.
1997-2001     International Conference on Managing Fatigue in Transportation
Between       Systems Physiology Workshop. Invited Speaker.
1997-2001     National Research Council, National Academy of Sciences
Between       Invited Speaker.
1997-2001     National Space Biomedical Research Institute
Between       Invited Speaker.
1997-2001     Federal Transit Administration, Department of Transportation
Between       Invited Speaker.
1997-2001     Johnson Space Center, National Aeronautics and Space Administration
Between       Invited Speaker.
1997-2001     Charleston Air Force Base, Air Force Office of Scientific Research
Between       Invited Speaker (2 symposia)
1997-2001     Society for Research on Biological Rhythms
Between       Invited Speaker.
1997-2001     Recent Progress in Hormone Research Conference, The Endocrine Society
Between       Invited Speaker.
1997-2001     Cephalon, Inc.
Between       Workshop Speaker.
1997-2001     American Physiological Society
Between       Symposium Speaker.
1997-2001     Society for Neuroscience
Between       Workshop Speaker.
1997-2001     Society for Research on Biological Rhythms
Between       Workshop Speaker.
1997-2001     American Academy of Sleep Medicine
Between       Keynote Speaker.
1997-2001     Committee of Interns and Residents
Between       Invited Speaker.
1997-2001     Biological Effects of Light Symposium
Between       Faculty Guest Lecturer. Symposium chair
1997-2001     Gordon Conference on Chronobiology
Between       Faculty Guest Lecturer.
1997-2001     Gordon Conference on Pineal Physiology
Between       Postgraduate CME Course. Faculty Guest Lecturer.
1997-2001     American Medical Association, American Academy of Sleep Medicine.
Between       Medicine Conference on Sleep, Fatigue and Medical Training. Faculty Guest Lecturer.
1997-2001     Virginia
Between       Keynote speaker
1997-2001     Association of Professional Sleep Societies
Between       Faculty Guest Lecturer. “Meet the Professor”
1997-2001     Associated Professional Sleep Societies
Between       Postgraduate CME Course. Faculty Guest Lecturer and course organizer.
1997-2001     Associated Professional Sleep Societies
Between       Keynote Speaker.
2002-2008     Society for Research on Biological Rhythms Annual Meeting
Between       Invited Speaker.
2002-2008     Association for Patient Oriented Research
Between       Neurology Grand Rounds
                                                      46
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 181 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-47 of A-103


2002-2008      Johns Hopkins University School of Medicine, Baltimore, MD
Between        Invited Speaker.
2002-2008      Vanda Pharmaceuticals, Rockville, MD
Between        Invited Speaker.
2002-2008      Association of American Medical Colleges, Washington, DC
Between        Invited Speaker.
2002-2008      Accreditation Council of Graduate Medical Education Annual Education Conference,
               Chicago IL
Between        Invited Speaker.
2002-2008      Institute of Life Sciences: Sleep, Energy and Health Symposium, Washington, DC
Between        Invited Speaker.
2002-2008      Institute for Systems Biology, Seattle WA
Between        Invited Speaker.
2002-2008      Neurocrine Biosciences
Between        Faculty guest lecturer
2002-2008      Neurocrine, San Diego CA
Between        Trainee Day Speaker.
2002-2008      Association of Professional Sleep Societies
Between        Postgraduate CME “Year in Review”
               Lecturer “Insomnia and Beyond”
               Lecturer “Shift Work Sleep Disorder”
2002-2008      Associated Professional Sleep Societies Annual Meeting
2004           Invited Speaker.
               Bioterrorism and Trauma Conference, University of Maryland, Baltimore MD
2004           Invited Speaker. National Sleep Conference
               National Center for Sleep Disorders research, National Heart, Lung and Blood Institute,
               NIH, Bethesda, MD
2005           Semi-Annual Joint Grand Rounds in Surgery and Anesthesia and Pfizer Lecturer in Sleep
               University of Michigan Health Systems, Ann Arbor MI
2005           Invited Symposium Speaker.
               Society of Critical Care Medicine, Phoenix, AZ
2005           Invited Speaker, Trainee Symposium.
               Sleep Research Society, Denver, CO
2005           Keynote Speaker.
               Annual Meeting, Committee of Interns & Residents, Washington, DC
2005           Gordon Wilson Lecture: “Work Hours, Sleep And Patient Safety In Residency Training”
               Annual Meeting, American Clinical and Climatological Association
2006           Invited Speaker.
               American Academy of Allergy, Asthma and Immunology Program Directors’ Winter
               Meeting
2006           Symposium Speaker
               Annual Meeting, Association of University Anesthesiologists, Tucson AZ
2006           Clinical Grand Rounds
               National Institutes of Health, Bethesda MD
2006           Psychiatry Grand Rounds.
               Dartmouth Medical School, Lebanon, NH
2006           Beckwith Family Lecture. Medical Grand Rounds.
               Brown University, Providence, Rhode Island
2006           Faculty Guest Lecturer.
               University of Virginia Medical School
                                                        47
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 182 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-48 of A-103


2006           Faculty Guest Lecturer.
               University of Pennsylvania, PA
2006           Grand Rounds.
               National Institutes of Health, Bethesda MD
2006           Faculty Guest Lecturer.
               Center for Patient Safety Research and Practice, Executive Council Meeting, Boston, MA
2007           “Sleep Deprivation and Fire/Emergency Services— Just How Dangerous Is It?” Invited
               Speaker
               U.S. Fire Administration (USFA) Executive Fire Officer Program Graduate Symposium,
               Emmitsburg, MD
2007           Dorcas Cummings Lecture “Work Hours, Sleep and Safety: Physician Heal Thyself”
               Invited Symposium Speaker “Human Circadian Rhythms”
               72nd Symposium: Clocks and Rhythms, Cold Spring Harbor Laboratory, NY
2007           “Effects of Extended Work Hours on Intern Safety and Health and Medical Mistakes”.
               Invited Speaker
               Office of the Director Seminar Series, National Institute for Occupational Safety and
               Health
2007           WALS Invited lecture: “Application of Sleep Science and Circadian Biology to Clinical
               Medicine”.
               National Institutes of Health, Bethesda MD
2007           “Impact of Sleep Deprivation on Clinical Care”
               Duke University Medical Center, NC
2007           Invited Panelist “The Basics. Science & Society Issues. What we think we know about
               sleep. A clinical primer” and “Influences of Sleep Behavior - from Genes to Environment.
               Functional Genomics. Drugs. Light. Sleep apnea”
               The Science Network at the Salk Institute, CA
2007           Human Research Program Investigators' Workshop
               NASA, League City TX
2007           “Circadian Rhythms, Sleep and Work Hours: Ethical Implications for Health Care
               Workers”
               Morehouse School of Medicine, Atlanta, GA
2007           “Circadian rhythm sleep disorders”
               Neurobiology of Disease Workshop, Society for Neuroscience, CA
2007           Invited Speaker, Trainee Symposium.
               Sleep Research Society, Minneapolis, MN
2008           Invited Symposium Speaker: “Human Circadian Rhythms”
               and “Meet the Professor”
               Society for Research on Biological Rhythms Annual Meeting, Destin FL
2008           Postgraduate Course: “Creating a Division of Sleep Medicine”
               Trainee day speaker: “Public Health and Sleep”
               Invited lecturer: “Sleep and circadian rhythms in humans: Tales of translation from the lab
               to practice”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2008           Keynote Speaker “Sleep and Public Policy”
               9th Annual Upper Midwest Sleep Society, University of Wisconsin, Madison WI
2008           Invited Speaker: “Genetic vulnerability to neurocognitive dysfunction from sleep loss: An
               ethical dilemma for the medical profession”
               American Clinical and Climatological Association Annual Meeting, Ponte Verde FL
2008           Invited Speaker: “Duty Hours and Sleep Deprivation: When Will the Residents Learn?”
               Association of Professors of Medicine Fall Symposium, Florida
                                                        48
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 183 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-49 of A-103


2009           Invited Speaker: “Work, Sleep Hours and Patient Safety”
               Society for Obstetric Anesthesia and Perinatology, 41st Annual Meeting, Washington DC
2009           Invited Speaker Trainee Symposium “Public Health and Sleep”
               Association of Professional Sleep Societies Annual Meeting, Seattle WA
2009           Medicine Grand Rounds
               University of Washington, Seattle, WA
2009           Guest Faculty: “Medical and Genetic Differences in the Adverse Impact of Sleep Loss on
               Performance: Ethical Considerations for the Medical Profession”
               GME Institutional Lecture Series, University of Virginia, Charlottesville, VA
2010           Invited Speaker: “The human circadian rhythm”
               Nocturnal Frontal Lobe Epilepsy [sponsored by Alliance for Epilepsy Research and the
               Office of Rare Diseases Research at the NIH] Sanibel Island, FL
2010           Keynote address: “Neurobiology of the Human Circadian Pacemaker of its Role in the
               Regulation of Sleep”
               MSTP program (MD-PhD), Duke University School of Medicine, Durham, NC
2010           Organizer & Speaker: “Circadian Rhythm Disorders”
               Circadian Rhythms and Metabolic Disease workshop, NIDDK/NIH, Bethesda, MD
2010           “Meet the Professor”
               Society for Research on Biological Rhythms Annual Meeting, Destin FL
2010           Meet the Professor: “Resetting the human circadian pacemaker with light”
               Association of Professional Sleep Societies Annual Meeting, San Antonio, TX
2010           Invited Speaker: “Regulation of sleep in humans”
               Sackler Colloquium - Quantification of Behavior, National Academy of Sciences,
               Washington, DC
2010           Conference Co-chair “Shift work and sleep: Optimizing health, safety and performance”
               American College of Occupational and Environmental Medicine (ACOEM) and NIH,
               Arlington, VA [Sponsored by Cephalon, Inc.]
2011           Invited Speaker “Light, Sleep, and Circadian Regulation of the Pineal Hormone
               Melatonin”
               Endocrine Research Seminar, University of Chicago, Chicago, IL
2011           Invited Speaker “Resident Physician Work Hours, Patient Safety, and Occupational
               Health: Striking a Balance”
               Medicine Grand Rounds, University of Chicago, Chicago, IL
2011           Conference Co-chair “Sleep Health and Safety” and Speaker
               National Sleep Foundation (NSF), Washington DC
2011           Keynote Speaker “The Impact of Sleep Deprivation & Shift Work on Medical Errors”
               North East Sleep Society, Newport RI
2011           Session Chair “Circadian Adaptation to Martian Sol Panel” and Invited Speaker “Near-24-
               hour Intrinsic Period of the Human Circadian Pacemaker: Challenge for Adaptation to the
               Martian Sol”
               18th IAA Humans in Space Symposium, Houston TX
2011           Invited Neonatology Lecture “Circadian Rhythms, Development and Neonatal Intensive
               Care”
               University of Colorado, Denver CO
2011           Pediatric Grand Rounds “Optimizing Physician Work Hours and Sleep to Improve Patient
               Safety and Occupational Health”
               University of Colorado, Denver CO
2011           Session Chair “Sleep and Memory in Normal Aging” and Invited Speaker “Age-related
               changes in sleep organization”
               Sleep in Aging and Dementias Meeting, NIA, Bethesda MD
                                                       49
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 184 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-50 of A-103


2011           Invited Program Speaker “Changing the game: Using circadian bio-markers in clinical
               medicine”
               Minneapolis, MN [Sponsored by Philips/Respironics]
2011           Invited Speaker, Discussion Panel “Sleep Science and the Law: The Legal State of Mind
               of Drowsy and Sleeping Parties in Legal Proceedings”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2011           Chair, Discussion Panel “The National Institutes of Health Sleep Research Plan (2011)”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2011           Invited Speaker, Advisory Committee” Addressing Obstructive Sleep Apnea In CMV
               Drivers”
               Federal Motor Carrier Safety Administration, Alexandria VA
2012           Invited Speaker, Sleeplessness Panel
               WME Entertainment, San Diego CA
2012           Invited Speaker, Ethics Debate: Sleep Deprived Surgeons Should Not be Allowed to
               Operate Without Patients’ Consent
               Society of Thoracic Surgeons, Fort Lauderdale FL
2012           Invited Speaker; Sleep Health & Safety Conference
               National Sleep Foundation, Washington DC
2012           Invited Speaker
               NSBRI Board of Directors, Houston TX
2012           Panelist “The City Dark”
               AAAS, New York City, NY
2012           Meet the Professor
               Society for Research on Biological Rhythms, Destin FL
2012           Speaker, Discussion Panel “Measuring Sleepiness in Drivers: The Challenges and
               Controversies”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker “Body Mass Index is an Effective Measure for Occupational Screening of
               Employees at High Risk for Moderate to Severe Obstructive Sleep Apnea: Implications for
               DOT Commercial Driver Medical Examinations”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker “Sleepless in Seattle (and Elsewhere): Women and the Need for Quality
               Sleep”
               AWHONN (Association of Women's Health, Obstetric and Neonatal Nurses), Annual
               Meeting, National Harbor MD
2013           Invited Speaker “Light as a countermeasure for circadian rhythms, sleep, alertness,
               performance, mood, endocrine and other physiologic factors” and “Effects of sleep and
               sleep deprivation on brain and behavior”
               NSBRI inter-team meeting “Effects of Long Duration Spaceflight on Brain and Behavior”,
               Houston TX
2013           Invited Speaker “Prevalence and Consequences of Sleep Disorders among American Law
               Enforcement Officers”
               National Sleep Foundation Sleep Health & Safety Conference, Washington DC
2013           Invited Speaker “The Sleep Gap: Why is it growing?”
               Science in Medicine Annual Lecturer, University of Washington, Seattle WA
2013           Faculty Speaker – Postgraduate Course “Basic and Translational Circadian Science for the
               Clinician and Trainee”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2013           Speaker – Discussion Group “Advancing Sleep and Circadian Rhythms Research”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
                                                        50
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 185 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-51 of A-103


2013           Chair and Speaker “State of the Art Symposium on Drowsy Driving: Impact of Sleep
               Deficiency on Real Motor Vehicle Driving Performance and Perception of Drowsiness”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2013           Invited Speaker “Genetics of Neurobehavioral Functions during the 12-Month ISS Mission
               (ISS12): Capitalizing on Discoveries in Circadian, Sleep and Stress Neurobiology”
               NASA, Houston TX
2013           Invited Special Lecture “Interacting Influence of Sleep and Circadian Clocks on Human
               Physiology and Cognitive Performance”
               Society for Neuroscience Annual Conference, San Diego CA
2014           Faculty Speaker - Emerging Clinical and Business Trends in Sleep Medicine Course.
               “Sleep and Anesthesia: Are They One in the Same?” and “The Role of Circadian Rhythms
               in Pilots Who Navigate Across Time Zones”
               American Academy of Sleep Medicine, Phoenix AZ
2014           Invited Speaker “Shift Work and Its Effects on Healthcare Workers”
               Symposium entitled ‘The Impact of Circadian Disruption on Shift Workers: Healthcare
               and Disease’, Montefiore Medical Center, Bronx NY
2014           Invited Speaker – Workshop “Funding outside the NIH”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Speaker – Discussion Group “Stone soup: Leveraging research resources and
               opportunities”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Meet the Professor
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Speaker – Workshop “Clocks in the Clinic: Should we have Chronobiology Clinics?”
               Society for Research on Biological Rhythms Biennial Meeting, Big Sky MT
2014           Meet the Professor
               Society for Research on Biological Rhythms Biennial Meeting, Big Sky MT
2014           Invited Presenter “Sleep and Circadian Rhythms in Spaceflight - a review”
               Special Workshop on ‘Sleep on Earth and in Space: Risk Factors, Health & Performance
               Outcomes, and Countermeasures’, NASA/NSBRI, Houston TX
2014           Invited Speaker “Sleep, Health and Safety of First Responders”
               National Sleep Foundation Sleep Health & Safety Conference, Washington DC
2015           Advocate, Sleep Leadership Summit
               National Sleep Foundation, Washington DC
2015           Invited Speaker “Teasing apart the impact of prior exposure to recurrent circadian
               disruption and chronic sleep restriction on pancreatic β-cell responsiveness”
               National Institute of Diabetes and Digestive and Kidney Diseases (NIDDK), Workshop on
               “Impact of Sleep and Circadian Disruption on Energy Balance and Diabetes”, Bethesda
               MD
2015           Invited Faculty “Sleep, Circadian Rhythms, and Performance”
               Stanford University School of Medicine/National Sleep Foundation, CME course
               “Managing Sleep Health in the Primary Care Setting”, Stanford CA
2015           Speaker “Irregular Sleep In College Students: Consequences For Sleep Consolidation
               Circadian Rhythms And Performance”
               Association of Professional Sleep Societies Annual Meeting, Seattle WA
2015           Invited Speaker “The A to ZZZs of Sleep”
               Robb Report Health and Wellness Summit, Park City UT
2015           Invited Panelist “Sleep for Performance, Safety and Health”
               Office of Naval Research workshop ‘Restorative Sleep’, Arlington VA
2015           Invited Speaker “Interactive Effects of Sleep and Circadian Rhythms on the Performance,
                                                        51
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 186 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-52 of A-103


               Safety and Health: Implications for the Military”
               The WRAIR Distinguished Speakers Seminar Program, Walter Reed army Institute of
               Research, Silver Spring MD
2015           Invited Speaker “Circadian Rhythm Disorders”
               Vermont and New Hampshire Society for Respiratory Care, Annual Meeting, Meredith
               NH
2015           Invited Panelist “Digital Media and Psychological/Emotional/Physical Development in
               Adolescents”
               Arthur M. Sackler Colloquium Digital Media and Developing Minds, Irvine CA
2015           Invited Speaker “Balancing the Needs for Research and Action”
               National Highway Traffic Safety Administration (NHTSA) Drowsy Driving Forum,
               Washington DC
2015           Invited Speaker “Drowsy Driving Overview: Data, Measurement & Contributing Factors”
               Sleep Health and Safety Conference, National Sleep Foundation (NSF), Washington DC
2015           Invited Speaker “Impact of Circadian Rhythms on Sleep and Sleep Disorders”
               Sleep Summit: Advanced Topics in Narcolepsy and OSA, Sponsored by Jazz
               Pharmaceuticals, Palo Alto CA
2016           Keynote Speaker “Sleep Deficiency and Motor Vehicle Crashes”
               Maryland Sleep Society Seventh Annual Scientific Meeting, Baltimore MD
2016           Speaker – Symposium “Effects of light on human circadian rhythms”
               Society for Research on Biological Rhythms Biennial Meeting, Tampa FL
2016           Speaker “Brigham and Women's Hospital Presents: Living Better Longer - The Science
               Behind Healthy Aging”
               BWH Spotlight Health at Aspen Ideas Festival, Aspen CO
2016           Invited Speaker “The Secrets of Sleep”
               Robb Report Health and Wellness Summit, Park City UT
2016           Invited Panelist “How Sleep Can Improve Your Bottom Line”
               National Sleep Foundation Sleep Works Summit, Washington DC
2017           Invited Panelist “Mini Symposium in Circadian Rhythms”
               Hawaii Sleep Health and Wellness Foundation's Conference
2017           Invited Speaker “Circadian Clocks, Sleep and Health”
               UC San Diego Circadian Biology Symposium, San Diego CA
2017           Invited Speaker “Sleep Regulation in Humans”
               Invited Speaker University of Washington Graduate Program in Neuroscience, Seattle WA
2017           Invited Speaker “Deficient Sleep in Teens: The Consequences. Impact on Health”
               Adolescent Sleep, Health, and School Start Times, Washington DC
2017           Invited Speaker “OSA and Trains, Planes and Automobiles”
               American Academy of Dental Sleep Medicine Annual Meeting, Boston MA
2017           Speaker “The Global Council on Brain Health Consensus Statement and
               Recommendations for Maintaining Healthy Sleep for Brain Health”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2017           Invited Speaker “Chronobiology, Circadian Rhythms, and Sleep: Clinical and Advanced
               Translational FindingsDoD State of the Science Summit Pathophysiology of PTSD:
               Rethinking Drug Targets
2017           Speaker “Brigham and Women's Hospital Presents: Vulnerabilities and Resiliency across
               the Life Span: The Brain”
               BWH Spotlight Health at Aspen Ideas Festival, Aspen CO
2017           Invited Speaker “Sleep and Fatigue Effect on Performance”
               Special Operations Forces (SOF) Performance Nutrition Summit, Fort Bragg NC
2017           Invited Speaker for 4 talks:
                                                       52
                Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 187 of 238
        Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-53 of A-103


                     1: Sleep Medications and Athletic Performance
                     2: Circadian Effect on Sports Performance
                     3: Sleep and Fatigue Management in the Workplace: Jet lag & Travel Fatigue for
                     Business Management
                     4: Panel Discussion: Going Without Sleep is Nothing to Brag About
                 Alaska Sleep Conference, Anchorage AK sponsored by Ganesco
2017             Invited Speaker “Fatigue in our heroes: Addressing fatigue risk in first responders story”
                 National Safety Council Annual Meeting, Indianapolis IN
2018             Invited Speaker “Circadian clock regulation of sleep and wakefulness in humans”
                 Salk/Foundation Ipsen/Science Symposium on Biological Complexity: Biology of Time
                 (Circadian, Lunar and Seasonal Rhythms), La Jolla CA
2018             Invited speaker for colloquium on “Sleep, Chronic Fatigue and Autoimmune Disease”
                 AARDA (American Autoimmune Related Disease Association), Washington DC
2018             Invited Speaker for IES 2018 Research Symposium Light + Human Health
                 IES (Illuminating Engineering Society), Atlanta GA
2018             Invited Speaker “Sleep and Circadian Rhythms: Impact on Performance, Health and Safety
                 of U.S. Navy and Marine Corps Personnel”
                 Office of Naval Research (ONR) Distinguished Lecture Series, Arlington VA
2018             Invited Speaker “Guidelines of OSA Management in Commercial Motor Vehicle
                 Operators”
                 American Academy of Dental Sleep Medicine Annual Meeting, Baltimore MD
2018             Speaker “Is sleeping long bad for you”
                 Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2018             Invited Speaker “Sleep Timing Variability Consensus Panel”
                 National Sleep Foundation Sleep Health Forum, Association of Professional Sleep
                 Societies Annual Meeting, Baltimore MD
2018             Invited Speaker “The Sleep Deprived Brain’s Influence on Aging”
                 6th Annual AspenBrainLab, Aspen Brain Institute, Aspen CO
2018             Expert Panelist for Drowsy Driving Attitudes, Knowledge, and Behavior Project.
                 NHTSA, Washington DC
2018             Invited Panel Speaker, SRS Regulatory Meeting

International
1976             Invited Speaker.
                 Max-Planck-Institüt für Verhaltensphysiologie, Erling-Andechs, Germany
Between          Invited Speaker.
1976-1980        3rd International Congress of Sleep Research, Tokyo
Between          Invited Speaker.
1981-1984        International Union of Physiological Sciences, Budapest
Between          Invited Speaker.
1981-1984        International Workshop on Sleep/wake disorders: natural history, epidemiology and long-
                 term evolution, Ravena, Italy
1984             Invited Speaker. Symposium on Biological Rhythms.
                 International Congress on Neuroreceptor Mechanisms in Human Disease, Fondazione
                 Internationale Menarini, Florence, Italy
1986             “Effects of automation on operator performance”. Invited Speaker
                 Commission of the European Communities, Université René Descartes, Paris, France
1987             Invited Speaker.
                 5th International Congress of Sleep Research, Copenhagen, Denmark

                                                             53
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 188 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-54 of A-103


1987           Invited Speaker.
               German Institute for Aerospace Medicine, Köln, Germany
1987           Invited Speaker.
               International Conference on Chronobiology, Leiden, Netherlands
1987           Invited Speaker.
               NATO Defense Research Group Seminar on Sleep and its Implications for the Military,
               Lyon, France
1988           Invited Speaker.
               European Congress of Sleep Research, Jerusalem
1988           Invited Speaker.
               Workshop on Polyphasic and Ultrashort Sleep-Wake Patterns, Tuscany, Italy
1988           Invited Speaker.
               Institute of Pharmacology, University of Zurich, Zurich, Switzerland
1988           Invited Speaker.
               Tenth International Symposium, Center of Research on Neurological Sciences, University
               of Montreal, Quebec, Canada
1989            “Mechanisms in the timing of sleep: Consequences for depression research”. Invited
               Speaker.
               University of Groningen 375th Anniversary Symposium, Netherlands
1989           “Cardiovascular and Nervous System Effects of Ovarian Secretions”. Invited Speaker.
               Serono Symposium, Dubrovnik, Croatia
1989           Invited Speaker.
               2nd Milano International Symposium on Sleep, Milan, Italy
1989-1990      Faculty research sponsor; Research Elective 1 medical student; ~15 hours/year
               Philipps University, Marburg, Germany
1992-1994      Faculty research sponsor; Research Elective 1 medical student; ~15 hours/year
               Medical School of the Technical University of Munich, Munich, Germany
1998-2003      Co-Mentor, Doctoral Student in Pharmacology
               Swiss Federal Institute of Technology, Zurich, Switzerland
1990           Invited Speaker
               17th Congress, Collegium Internationale Neuro-Psychopharmacologicum, Kyoto, Japan
1990           Invited Speaker
               American Society for Photobiology, Vancouver, British Columbia, Canada
1990           Invited Speaker
               Workshop on Psychophysiological Measures in Transport Operations, Commission of the
               European Communities, Paris, France
1990           Invited Speaker
               Japan Institute for the Science of Labor, Tokyo, Japan
1990           Invited Speaker
               National Institute of Health Services and the Central Health Institution, Tokyo, Japan
1991           Invited Symposium Speaker/Co-Chairperson: “Endocrine and Metabolic Correlates of
               Sleep and Wakefulness in Humans”
               Invited Workshop Speaker: “Constant Routines”
               World Federation of Sleep Research Societies, Cannes, France
1991           Invited Speaker
               Study Group on Circadian Rhythms, Fondation pour L'Etude du Systeme Nerveux et
               Peripherique, Geneva, Switzerland
1991           Invited Speaker
               Gordon Research Conference on Chronobiology, Irsee, Germany
1991           Invited Speaker
                                                        54
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 189 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-55 of A-103


               Workshop on Concepts and Models of Sleep Regulation, Zurich, Switzerland
1992           Keynote Speaker
               International Brain Research Organization-Suisse, Zurich, Switzerland
1994           Invited Speaker
               International Conference on Work Hours, Sleepiness and Accidents Karolinska Institute,
               Stockholm, Sweden.
Between        Invited Speaker
1994-1996      Ciba Foundation Symposium, London, United Kingdom

1995           Invited Speaker
               World Federation of Sleep Research Societies, Bahamas
1996           Invited Speaker
               Japanese Society for Sleep Research, Sapporo, Japan
1996           Invited Speaker
               International Workshop on Circadian Light Reception and Regulation, Lyon, France
Between        Invited Speaker
1997-2001      International Conference on Managing Fatigue in Transportation, Karolinska Institute,
               Stockholm, Sweden
Between        Workshop chair and Trainee Day speaker
1997-2001      Third International Congress, World Federation of Sleep Research Societies, Dresden,
               FRG
2002           Symposium co-chair and Invited Speaker
               American Society for Photobiology, Quebec City, Canada
Between        Invited Speaker
2002-2008      1st International Conference on Circadian Rhythms, Sleep and Cognition, Toronto, Canada
2003           Plenary Speaker
               World Congress on Chronobiology, Sapporo, Japan
2003           Invited Speaker. Autumn School “Circadian Rhythms”
               Institute of Biology, Humboldt-University, Charité Hospital, Berlin, Germany
2003           Invited Speaker
               British Medical Association, London, United Kingdom
2003           Invited Speaker
               Gordon Research Conference on Chronobiology, Barga, Italy
2003           Invited Speaker
               Launch Event, Surrey Sleep Research Centre, Guildford, England
2004           Invited Speaker
               Spark Workshop, Unilever, United Kingdom
2004           Invited Speaker
               2nd Annual Sleep Disorders Forum, Sanofi Synthelabo, Paris, France
2005           Plenary Address
               X International Congress, Brazilian Sleep Research Society, Curitiba, Brazil
2005           Plenary Speaker
               New Zealand Resident Doctors Association Professional Conference on Safer Working
               Hours in Medicine, Auckland, New Zealand
2006           Distinguished Leader in Medicine Lecture “Work Hours, Health and Safety in the Medical
               Profession”
               Dalhousie University, Halifax, Canada
2007           Invited Speaker “The neurobiology of the human circadian pacemaker, and medical
               education in the United States”
               Osaka University, Japan
                                                       55
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 190 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-56 of A-103


2007           Invited Speaker “"Neurobiology of the human circadian pacemaker and Sleep Regulation"
               & "Establishing Divisions of Sleep Medicine at the Harvard Medical School: Fostering
               education, patient care and research"
               University of Tsukuba, Japan
2007           Invited Speaker. “Recent advances of sleep medicine for work safety”
               Tokyo Electric Power Company, Japan
2007           Invited Speaker “Clinical trial of the efficacy of Modafinil in the treatment of shift work
               sleep disorder”
               Japanese Sleep Research Society, Japan
2007           Invited Speaker “Sleep loss and sleep disorders: Public health impact”
               Monash University, Melbourne, Australia
2007           Invited Speaker “Safe working hours and Fatigue”
               and Panelist “Different perspectives on the health industry workforce”
               University of Sydney, Australia
2007           Invited Speaker “Influence of Internal Circadian Phase on Excessive Sleepiness and
               Behavioral Alertness in Patients with Shift-Work Sleep Disorder (SWSD)”
               18th International Symposium on Shiftwork and Working Time, Yeppoon, Australia
2007           Plenary Speaker “Sleep Medicine in the 21st Century”
               5th Congress of the World Federation of Sleep Research and Sleep Medicine Societies,
               Cairns, Australia
2007           Invited Speaker “Sleep Medicine and Education”
               University of Zurich, Switzerland
2007           Invited Speaker “24 Hour Society and Work; an Update on Better Shift Work”
               Harvard Medical School Dubai Center Institute for Postgraduate Education & Research,
               Dubai, UAE
2008           Invited Speaker “Sleep, work, productivity and safety”
               6th International Sleep Disorders Forum, Toronto, Canada
2010           Symposium Co-chair “Sleep in unusual and extreme environments”
               20th Meeting of the European Sleep Research Society, Lisbon, Portugal
2010           Invited Speaker “Sleep deficiency, drowsiness and circadian dysregulation: assessment,
               consequences and treatment approaches”
               Decade of the Mind Conference, Singapore
2010           Invited Speaker
               Astronaut Center of China, Beijing, China
2011           Invited Speaker “Regulation of sleepiness: the importance of light, circadian rhythms, and
               homeostasis”
               Stress Research Institute, University of Stockholm: Working Time Society; Satellite
               Symposium ‘The Sleepy Brain’, Stockholm, Sweden
2011           Invited Speaker “Fatigue risk management in transport”
               Working Time Society; 20th International Symposium on Shiftwork and Working Time
2011           Keynote Speaker “Sleep and Work Schedules in Modern Society”
               World Association of Sleep Medicine, Quebec City, Canada
2011           Invited Educational Lecture “Circadian Rhythms, Human, Sleep & Wake”
               6th World Congress of the World Sleep Federation, Kyoto, Japan
2011           Invited Speaker “Sleep in Space”
               JAXA Symposium, Kyoto, Japan
2011           Invited Speaker
               Satellite Meeting ‘Translational Sleep Research - From animal research to human study’,
               Kyoto, Japan
2011           Invited Public Lecture
                                                         56
               Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 191 of 238
        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-57 of A-103


                Kyoto, Japan
2011            Invited Speaker
                International Symposium on Photonic Bioimaging and Satellite Symposium of WorldSleep
                2011 on Human Circadian Clock: the 50th anniversary of temporal isolation study,
                Sapporo, Japan
2011            Invited Speaker
                Board of Directors Meeting, Canadian Association of Internes & Residents, Ottawa ON
                (remote presentation)
2012            Invited Speaker “Human circadian rhythms: Impact on sleep and cognition”
                Seminar in Neuroscience, Biocentre in Basel, Basel, Switzerland
2012            Invited Speaker “Shift work, circadian rhythms, health and performance” & “Work hours,
                sleep and patient safety in medicine”
                International Postgraduate Course “The Risk of Fatigue”, University Hospital, Basel,
                Switzerland
2013            Invited Speaker
                “Non-visual Forum, University of Manchester, Manchester, United Kingdom
2013            Invited Speaker “Pathophysiology of Drowsy Driving: Impact of Circadian Rhythms,
                Sleep Deficiency and Shift Work”
                Excessive Daytime Sleepiness, Work and Road Safety Conference, University of Bologna,
                Bologna, Italy
2013            Invited Speaker – Special Lecture “Role of Sleep Medicine and Chronobiology for
                Optimizing Productivity, Safety and Health in the Workplace”
                86th Annual Meeting of the Japan Society for Occupational Health, Matsuyama City,
                Japan (remote presentation)
2014            Discussion Leader in three sessions (1) ‘Rethinking Health’, (2) ‘Do-it-yourself Health’
                and (3) ‘From Hyper to Healthy’
                World Economic Forum, Annual Meeting 2014, Davos-Klosters, Switzerland
2014            Invited Lecture
                University of Bordeaux, Bordeaux, France.
2016            Invited Speaker
                Zurich Global Risk Management Summit, Cannes, France
2016            Invited Lecture “Non-24-Hour Disorder: History, Pathophysiology and Clinical
                Assessment”
                Annual Congress of the German Sleep Society (DGSM), Dresden Germany
2017            Plenary Speaker, “Impact of Artificial Light on Entrainment of the Human Circadian”
                Annual Congress, European Biological Rhythms Society (EBRS), Amsterdam Netherlands
2018            Keynote Lecture “Sleep and Health: A Clinical Research Priority”
                Zurich Sleep Medicine Symposium 2018 / International Symposium of the CRPP Sleep &
                Health, University of Zürich, Zürich, Germany
2018            Invited Faculty
                “The Role of Circadian Biology in Preventing and Treating Pathology”
                Ludwig-Maximilians-University of Munich, Germany


Report of Clinical Activities and Innovations
Current Licensure and Certification
1982-            Diplomate, American Board of Sleep Medicine


                                                            57
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 192 of 238
      Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-58 of A-103


Report of Technological and Other Scientific Innovations
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 612182. Issue Date: 10/25/91; Country: Australia.
Subject’s
Endogenous
Circadian Cycle.
Test for Evaluation    Czeisler CA, Martens H, Shanahan TL. Assignee: Brigham and Women’s Hospital.
of Visual              Patent Number 5,146,927. Issue Date: 9/15/92; Country: U.S.
Functioning in
Visually Impaired
Subjects.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 5,163,426. Issue Date: 11/17/92; Country: U.S.
Subject’s
Endogenous
Circadian Cycle.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of        Patent Number 5,167,228. Issue Date: 12/1/92; Country: U.S.
Endogenous
Circadian Phase and
Amplitude.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of        Patent Number 5,176,133. Issue Date: 1/5/93; Country: U.S.
Circadian Phase and
Amplitude.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 1327630. Issue Date: 3/8/94; Country: Canada.
Subject’s
Endogenous
Circadian Cycle.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 5,304,212. Issue Date: 4/19/94; Country: U.S.
Human Subject’s
Circadian Cycle.
Apparatus for          Czeisler CA, Kronauer RE, Kyricos CJ. Assignee: Brigham and Women’s Hospital and
Producing and          Light Sciences, Inc. Patent Number 5,503,637. Issue Date: 4/2/96; Country: U.S.
Delivering High-
Intensity Light to a
Subject.
Intermittent Use of    Czeisler CA, Kronauer RE. Assignee: Brigham and Women’s Hospital. Patent
Bright Light to        Number 5,545,192. Issue Date: 8/13/96; Country: U.S.
Modify the Circadian
Phase.
Method of              Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Facilitating the       Patent Number 363440. Issue Date: 5/14/97; Country: Europe (Recorded in Austria,
Physiological          Belgium, France, Germany, Italy, Luxembourg, Netherlands, Sweden, Switzerland,
Adaption to an         Liechtenstein & Great Britain).
Activity/Rest
Schedule and
                                                           58
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 193 of 238
       Appendix A                Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-59 of A-103


Apparatus for
Prescribing a
Substantially
Optimum Stimulus
Regimen of Pulses of
Bright Light to
Allow a Subject’s
Circadian Cycle to be
Modified to a
Desired State.
Method and Device         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
for Modifying the         Patent Number 477282. Issue Date: 5/14/97; Country: Europe (Recorded in Austria,
Circadian Cycle in        Belgium, Switzerland, Liechtenstein, Germany, Denmark, Spain, France, Great Britain,
Humans.                   Italy, Luxembourg, Netherlands & Sweden).
Assessment and            Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a         Patent Number 2739725. Issue Date: 1/24/98; Country: Japan.
Subject’s
Endogenous
Circadian Cycle.
Modification of           Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women's Hospital.
Endogenous                Patent Number 2928636. Issue Date: 5/14/99; Country: Japan.
Circadian
Pacemaker.
Test for evaluation of    Czeisler CA, Martens H, Shanahan TL. Assignee: Brigham and Women's Hospital.
visual functioning in     Filing Date: 6/15/92; Country: WO.
visually impaired
subjects
Method for                Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
modifying or              Filing Date: 7/14/04; Country: WO. CA. JP. U.S (util)
resetting the             Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
circadian cycle using     Filing Date: 4/25/05; Country: U.S. (pct)
short wavelength
light
High sensitivity of       Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
the human circadian       Filing Date: 7/14/04; Country: EP
pacemaker to
resetting by short
wavelength light.

Report of Education of Patients and Service to the Community
Activities
2008                Panelist, Discovery Panel, NASA Future Forums. Museum of Science, Boston, MA
                    http://www.nasa.gov/50th/future_forums/bostonWithGallery.html

2011                Invited Speaker “Sleep to Thrive” TEDx Cambridge ‘Thrive’, Cambridge, MA
                    http://www.tedxcambridge.com/thrive/charles-a-czeisler/

2012                Invited Speaker webcast FORUM presentation, Harvard School of Public Health, Boston, MA

                                                              59
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 194 of 238
       Appendix A               Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-60 of A-103


                    “FIGHTING THE CLOCK: How America’s Sleep Deficit is Damaging Long-term Health”
                    http://theforum.sph.harvard.edu/events/sleep-deprivation-fighting-the-clock

2012            Invited Speaker, “The City Dark” AAAS Washington, DC
                http://www.aaas.org/news/releases/2012/0531night_sky.shtml




                                                             60
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 195 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-61 of A-103


Report of Scholarship
Peer reviewed publications in print or other media
Research Investigations

1.    Czeisler CA, Moore-Ede MC, Regestein QR, Kisch ES, Fang VS, Ehrlich EN. Episodic 24-hour cortisol
      secretory patterns in patients awaiting elective cardiac surgery. J Clin Endocrinol Metab 1976; 42:273-
      283. PMID: 1262431

2.    Kokkoris CP, Weitzman ED, Pollak CP, Spielman AJ, Czeisler CA, Bradlow H. Long term ambulatory
      temperature monitoring in a subject with a hypernychthemeral sleep-wake cycle disturbance. Sleep
      1978; 1:177-190. PMID: 756061

3.    Czeisler CA, Weitzman ED, Moor e-Ede MC, Zimmerman JC, Knauer RS. Human sleep: its duration
      and organization depend on its circadian phase. Science 1980; 210:1264-1267. PMID: 7434029

4.    Lydic R, Schoene WC, Czeisler CA, Moore-Ede MC. Suprachiasmatic region of the human
      hypothalamus: homolog to the primate circadian pacemaker? Sleep 1980; 2:355-362. PMID: 6773133

5.    Czeisler CA, Zimmerman JC, Ronda J, Moore-Ede MC, Weitzman ED. Timing of REM sleep is
      coupled to the circadian rhythm of body temperature in man. Sleep 1980; 2:329-346. PMID: 7403736

6.    Weitzman ED, Czeisler CA, Zimmerman JC, Ronda JM. Timing of REM and stages 3 + 4 sleep during
      temporal isolation in man. Sleep 1980; 2:391-408. PMID: 7403740

7.    Zimmerman JC, Czeisler CA, Laxminarayan S, Knauer RS, Weitzman ED. REM density is dissociated
      from REM sleep timing during free-running sleep episodes. Sleep 1980; 2:409-416. PMID: 7403741

8.    Czeisler CA, Richardson GS, Coleman RM, Zimmerman JC, Moore-Ede MC, Dement WC, Weitzman
      Ed. Chronotherapy: resetting the circadian clocks of patients with delayed sleep phase insomnia. Sleep
      1981; 4:1-21. PMID: 7232967

9.    Weitzman ED, Czeisler CA, Coleman RM, Spielman AJ, Zimmerman JC, Dement WC, Richardson GS,
      Pollak CP. Delayed sleep phase syndrome: a chronobiological disorder with sleep-onset insomnia.
      Archiv Gen Psychiatry 1981; 38:737-746. PMID: 7247637

10.   Czeisler CA, Richardson GS, Zimmerman JC, Moore-Ede MC, Weitzman ED. Entrainment of human
      circadian rhythms by light-dark cycles: a reassessment. Photochem Photobiol 1981; 34:239-247. PMID:
      7267730

11.   Bernstein IL, Zimmerman JC, Czeisler CA, Weitzman ED. Meal patterns in free-running humans.
      Physiol Behav 1981; 27:621-623. PMID: 7323164

12.   Kronauer RE, Czeisler CA, Pilato SF, Moore-Ede MC, Weitzman ED. Mathematical model of the
      human circadian system with two interacting oscillators. Am J Physiol 1982; 242:R3-R17. PMID:
      7058927

13.   Weitzman ED, Moline ML, Czeisler CA, Zimmerman JC. Chronobiology of aging: temperature, sleep-

                                                          61
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 196 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-62 of A-103


      wake rhythms and entrainment. Neurobiol Aging 1982; 3: 299-309. PMID: 7170047

14.   Czeisler CA, Moore-Ede MC, Coleman RM. Rotating shift work schedules that disrupt sleep are
      improved by applying circadian principles. Science 1982; 217:460-463. PMID: 7089576

15.   Weitzman ED, Zimmerman JC, Czeisler CA, Ronda J. Cortisol secretion is inhibited during sleep in
      normal man. J Clin Endocrinol Metab 1983; 56:352-358. PMID: 6822642

16.   Gander PH, Kronauer RE, Czeisler CA, Moore-Ede MC. Simulating the action of zeitgebers on a
      coupled two-oscillator model of the human circadian system. Am J Physiol 1984;247:R418-R426. PMID:
      6476142

17.   Gander PH, Kronauer RE, Czeisler CA, Moore-Ede MC. Modeling the action of zeitgebers on the
      human circadian system: comparisons of simulations and data. Am J Physiol 1984; 247:R427-R444.
      PMID: 6476143

18.   Richardson GS, Moore-Ede MC, Czeisler CA, Dement WC. Circadian rhythms of sleep and wakefulness
      in mice: analysis using long-term automated recording of sleep. Am J Physiol 1985; 248:R320-R330.
      PMID: 3838419

19.   Muller JE, Stone PH, Turi ZG, Rutherford JD, Czeisler CA, Parker C, Poole WK, Hartwell TD, Scheiner
      E, Gold HK, Jaffe AS, Raabe DS, Rude RE, Passamani E, Roberts R, Robertson T, Sobel BE, Willerson
      JT, Braunwald E, and the MILIS study group. Circadian variation in the frequency of onset of acute
      myocardial infarction. N Engl J Med 1985; 313:1315-1322. PMID: 2865677

20.   Strogatz SH, Kronauer RE, Czeisler CA. Circadian regulation dominates homeostatic control of sleep
      length and prior wake length in humans. Sleep 1986; 9:353-364. PMID: 3505735

21.   Moline ML, Monk TH, Wagner DR, Pollak CP, Kream J, Fookson JE, Weitzman ED, Czeisler CA.
      Human growth hormone release is decreased during sleep in temporal isolation (free-running).
      Chronobiologia 1986; 13:13-19. PMID: 3720426

22.   Gordon NP, Cleary PD, Parker CE, Czeisler CA. The prevalence and health impact of shift work. Am J
      Pub Health 1986; 76:1225-1228. PMID: 3752325; PMCID: PMC1646676.

23.   Czeisler CA, Allan JS, Strogatz SH, Ronda JM, Sánchez R, Ríos CD, Freitag WO, Richardson GS,
      Kronauer RE. Bright light resets the human circadian pacemaker independent of the timing of the sleep-
      wake cycle. Science 1986; 233:667-671. PMID: 3726555

24.   Strogatz SH, Kronauer RE, Czeisler CA. Circadian pacemaker interferes with sleep onset at specific
      times each day: role in insomnia. Am J Physiol 1987; 253:R172-R178. PMID: 3605382

25.   Tofler GH, Brezinski D, Schafer AI, Czeisler CA, Rutherford JD, Willich SN, Gleason RE, Williams
      GH, Muller JE. Concurrent morning increase in platelet aggregability and the risk of myocardial
      infarction and sudden cardiac death. N Engl J Med 1987; 316:1514-1518. PMID: 3587281

26.   Brezinski DA, Tofler GH, Muller JE, Pohjola-Sintonen S, Willich SN, Schafer AI, Czeisler CA,
      Williams GH. Morning increase in platelet aggregability: association with assumption of the upright


                                                          62
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 197 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-63 of A-103


      posture. Circulation 1988; 78: 35-40. PMID: 3289790

27.   Czeisler CA, Kronauer RE, Allan JS, Duffy JF, Jewett ME, Brown EN, Ronda JM. Bright light
      induction of strong (type 0) resetting of the human circadian pacemaker. Science 1989; 244:1328-1333.
      PMID: 2734611

28.   Czeisler CA, Johnson MP, Duffy JF, Brown EN, Ronda JM, Kronauer RE. Exposure to bright light and
      darkness to treat physiologic maladaptation to night work. N Engl J Med 1990; 322:1253-1259. PMID:
      2325721

29.   Jewett ME, Kronauer RE, Czeisler CA. Light-induced suppression of endogenous circadian amplitude
      in humans. Nature 1991; 350:59-62. PMID: 2002845

30.   Shanahan TL, Czeisler CA. Light exposure induces equivalent phase shifts of the endogenous circadian
      rhythms of circulating plasma melatonin and core body temperature in men. J Clin Endocrinol Metab
      1991; 73:227-235. PMID: 1856258

31.   Johnson MP, Duffy JF, Dijk DJ, Ronda JM, Dyal CM, Czeisler CA. Short-term memory, alertness and
      performance: a reappraisal of their relationship to body temperature. J Sleep Res 1992; 1:24-29. PMID:
      10607021

32.   Brown EN, Czeisler CA. The statistical analysis of circadian phase and amplitude in constant-routine
      core-temperature data. J Biol Rhythms 1992; 7:177-202. PMID: 1421473

33.   Gold DR, Rogacz S, Bock N, Tosteson TD, Baum TM, Speizer FE, Czeisler CA. Rotating shift work,
      sleep, and accidents related to sleepiness in hospital nurses. Am J of Public Health 1992; 82:1011-1014.
      PMID: 1609900; PMCID: PMC1694075.

34.   Czeisler CA, Dumont M, Duffy JF, Steinberg JD, Richardson GS, Brown EN, Sánchez R, Ríos CD,
      Ronda JM. Association of sleep-wake habits in older people with changes in output of circadian
      pacemaker. The Lancet 1992; 340:933-936. PMID: 1357348

35.   Klein T, Martens H, Dijk DJ, Kronauer RE, Seely EW, Czeisler CA. Chronic non-24-hour circadian
      rhythm sleep disorder in a blind man with a regular 24-h sleep-wake schedule. Sleep 1993; 16:333-343.
      PMID: 8341894

36.   Dijk DJ and Czeisler CA. Body temperature is elevated during the rebound of slow wave sleep
      following 40 hours of sleep deprivation on a constant routine. J Sleep Res 1993; 2:117-120. PMID:
      10607081

37.   Dijk DJ, Hayes B, Czeisler CA. Dynamics of electroencephalographic sleep spindles and slow wave
      activity in men: effect of sleep deprivation. Brain Res 1993; 626:190-199. PMID: 8281430

38.   Allan JS and Czeisler CA. Persistence of the circadian thyrotropin rhythm under constant conditions
      and after light-induced shifts of circadian phase. J Clin Endocrinol Metab 1994; 79:508-512. PMID:
      8045970

39.   Budnick LD, Lerman SE, Baker TL, Jones H and Czeisler CA. Sleep and alertness in a 12-hour rotating


                                                          63
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 198 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-64 of A-103


      shift work environment. J Occup Med 1994; 36:1295-1300. PMID: 7884570

40.   Dijk DJ, Czeisler CA. Paradoxical timing of the circadian rhythm of sleep propensity serves to
      consolidate sleep and wakefulness in humans. Neurosci Lett 1994; 166:63-68. PMID: 8190360

41.   Boivin DB, Duffy JF, Kronauer RE, Czeisler CA. Sensitivity of the human circadian pacemaker to
      moderately bright light. J Biol Rhythms 1994; 9:315-331. PMID: 7772798

42.   Jewett ME, Kronauer RE, Czeisler CA. Phase-amplitude resetting of the human circadian pacemaker
      via bright light: a further analysis. J Biol Rhythms 1994; 9:295-314. PMID: 7772797

43.   Dijk DJ, Czeisler CA. Contribution of the circadian pacemaker and the sleep homeostat to sleep
      propensity, sleep structure, electroencephalographic slow waves, and sleep spindle activity in humans. J
      Neuroscience 1995; 15:3526-3538. PMID: 7751928

44.   Czeisler CA, Shanahan TL, Klerman EB, Martens H, Brotman DJ, Emens JS, Klein T, Rizzo III JF.
      Suppression of melatonin secretion in some blind patients by exposure to bright light. N Engl J Med
      1995; 332:6-11. PMID: 7990870

45.   Klerman EB, Dijk DJ, Kronauer RE, Czeisler CA. Simulations of effect of light on human circadian
      pacemaker: implications for assessment of intrinsic period. Am J Physiology 1996; 270:R271-R282.
      PMID: 8769811

46.   Boivin DB, Duffy JF, Kronauer RE, Czeisler CA. Dose-response relationships for resetting of human
      circadian clock by light. Nature 1996; 379:540-542. PMID: 8596632

47.   Waldstreicher J, Duffy JF, Brown EN, Rogacz S, Allan JS, Czeisler CA. Gender differences in the
      temporal organization of prolactin (PRL) secretion: Evidence for a sleep-independent circadian rhythm
      of circulating prolactin levels. J Clin Endocrinol Metab, 1996; 81:1483-1487. PMID: 8636355

48.   Duffy JF, Kronauer RE, Czeisler CA. Phase-shifting human circadian rhythms: Influence of sleep
      timing, social contact and light exposure. J Physiol (London), 1996; 495.1: 289-297. PMID: 8866371;
      PMCID: PMC1160744.

49.   Richardson GS, Wyatt JK, Sullivan JP, Orav EJ, Ward AE, Wolf MA, Czeisler CA. Objective
      assessment of sleep and alertness in medical house staff and the impact of protected time for sleep.
      Sleep, 1996; 19:718-726. PMID: 9122559

50.   El-Hajj Fuleihan G, Klerman EB, Brown EN, Choe Y, Brown EM, Czeisler CA. The parathyroid
      hormone circadian rhythm is truly endogenous. J Clin Endocrinol Metab 1997; 82: 281-286. PMID:
      8989274

51.   Boivin DB, Czeisler CA, Dijk D-J, Duffy JF, Folkard S, Minors DS, Totterdell P, Waterhouse JM.
      Complex interaction of the sleep-wake cycle and circadian phase modulates mood in healthy subjects.
      Arch Gen Psychiatry 1997; 54: 145-152. PMID: 9040282

52.   Brown EN, Choe Y, Shanahan TL, Czeisler CA. A mathematical model of diurnal variations in human
      plasma melatonin levels. Am J Physiology 1997; 272: E506-E516. PMID: 9124558


                                                          64
             Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 199 of 238
      Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-65 of A-103


53.   Jewett ME, Rimmer DW, Duffy JF, Klerman EB, Kronauer RE, Czeisler CA. The human circadian
      pacemaker is sensitive to light throughout subjective day without evidence of transients. Am J
      Physiology 1997; 273: R1800-1809. PMID: 9374826

54.   Zeitzer JM, Kronauer RE, Czeisler CA. Photopic transduction implicated in human circadian
      entrainment. Neurosci Lett 1997; 232: 135-138. PMID: 9310298

55.   Dijk DJ, Shanahan TL, Duffy JF, Ronda JM, Czeisler CA. Variation of electroencephalographic activity
      during non-rapid eye movement sleep with phase of circadian melatonin rhythm in humans. J Physiol
      (London) 1997; 505.3: 851-858. PMID: 9457658; PMCID: PMC1160058.

56.   Boivin DB, Czeisler CA. Resetting of circadian melatonin and cortisol rhythms in humans by ordinary
      room light. Neuroreport 1998; 9: 779-782. PMID: 9579664

57.   Klerman EB, Rimmer DW, Dijk DJ, Kronauer RE, Rizzo III JF, Czeisler CA. Nonphotic entrainment of
      the human circadian pacemaker. Am J Physiol 1998; 274: R991-R996. PMID: 9575961

58.   Duffy JF, Dijk DJ, Klerman EB, Czeisler CA. Later endogenous circadian temperature nadir relative to
      an earlier waketime in older people. Am J Physiol 1998; 275: R1478-R1487. PMID: 9791064

59.   Jewett ME, Wyatt JK, Ritz-De Cecco A, Khalsa SB, Dijk DJ, Czeisler CA. Time course of sleep inertia
      dissipation in human performance and alertness. J Sleep Res 1999; 8: 1-8. PMID: 10188130

60.   Wei HG, Riel E, Czeisler CA, Dijk DJ. Attenuated amplitude of circadian and sleep-dependent
      modulation of electroencephalographic sleep spindle characteristics in elderly human subjects. Neurosci
      Lett; 1999; 260:29-32. . PMID: 10027692

61.   Duffy JF, Dijk D-J, Hall EF, Czeisler CA. Relationship of endogenous circadian melatonin and
      temperature rhythms to self-reported preference for morning or evening activity in young and older
      people. J Investig Med 1999; 47:141-150. PMID: 10198570

62.   Dijk D-J, Duffy JF, Riel E, Shanahan TL, Czeisler CA. Ageing and the circadian and homeostatic
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              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 207 of 238
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NASA CONNECT™—The Right Ratio of Rest: Proportional Reasoning. Appeared in and served as scientific
advisor for this educational film produced for middle school children grades 5-8 by NASA Langley Research

                                                           97
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 232 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-98 of A-103


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                Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 233 of 238
         Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-99 of A-103


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                                                              99
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 234 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-100 of A-103



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                                                          100
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 235 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-101 of A-103



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              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 236 of 238
       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-102 of A-103



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2015

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                                                          102
              Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 237 of 238
       Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-103 of A-103


Narrative Report
 Charles A. Czeisler, Ph.D., M.D. is the Baldino Professor of Sleep Medicine, Director of the Division of Sleep
Medicine at Harvard Medical School and Chief of the Division of Sleep Medicine in the Department of
Medicine at Brigham and Women’s Hospital in Boston, Massachusetts. Dr. Czeisler has more than 30 years’
experience in the field of basic and applied research on the physiology of the human circadian timing system
and its relationship to the sleep-wake cycle including the application of sleep science and sleep medicine to
public health, occupational medicine, health policy and medical practice. He is interested in the physiology of
the hypothalamic circadian pacemaker in humans, photic and non-photic synchronizers of the human circadian
pacemaker, temporal dynamics in neuroendocrine systems, homeostatic and circadian factors in the regulation
of sleep and alertness, and the application of circadian physiology to public health, occupational medicine health
policy, particularly as it relates to the extended duration work shifts and long work weeks.




                                                           103
                Case 3:19-cv-02724-SK Document 269-1 Filed 11/07/22 Page 238 of 238

Appendix B: Charles A. Czeisler, PhD, MD, DABSM, FAASM 4-year Testimony List as of September 2, 2022

Devyn Paulsen Dally, Individually, on Behalf of the Estate of     Vanda Pharmaceuticals Inc., Plaintiff, v. Teva
Clinton Dally and as Next Friend for Josiah Dally and Mack        Pharmaceuticals USA, Inc./Apotex Inc and Apotex Corp.,
Dally, Minors, Anca Humphrey as Next Friend for Stone P.          MSN Pharmaceuticals Inc and MSN Laboratories Private
Dally, a Minor, Gloria Dally and Robert Dally, Plaintiffs, vs.    Limited
C&J Spec-Rent Services, Inc., d/b/a C&J Energy Services,          March 28, 2022
C&J Well Services, Inc., d/b/a C&J Energy Services and            Contact: Daniel Klein, Attorney
Joshua Van Nguyen, Defendants, Cause No. 201843843 in the         Paul, Weiss, Rifkind, Wharton & Garrison LLP
District Court of the 129th Judicial District in Harris           1285 Avenue of the Americas | New York, NY 10019-6064
County, Texas.                                                    212 373 3327 (Direct Phone) | 212 492 0327 (Direct Fax)
Deposition: February 12, 2020                                     daklein@paulweiss.com| www.paulweiss.com
Contract: Todd Clement, Attorney
17855 Dallas Parkway, Suite 155                                   Ruben Torres and Evelyn Martinez, Individually and as Next
Dallas, Texas 75287                                               Friends to E.T. and R.T., Jr., Minor Children and as
(T) 972-250-9250                                                  Representatives of the Estate of E.T., Deceased and Azul
todd@clementspeer.com                                             Martinez, Plantiffs, v. Martin Kipchirchir Serem, Top Run
                                                                  Energy Services, LLC, and Butch’s Rat Hole & Anchor
Domingo Amaya, Individually; Brenda Sifuentes, Individually;      Services, Inc., Defendants
& Domingo Amaya and Brenda Sifuentes,                             Deposition: June 20, 2022
as heirs to the Estate of Alvaro Xavier Amaya, Deceased,          Location: Video from Sherborn, MA
Plaintiffs, vs. C&J Spec-Rent                                     Contact: Ron Armstrong III, Attorney
Services, Inc. D/B/A C&J Energy Services, Inc.; and Sergio        The Armstrong Firm, PPLC
Adalberto Cantu, Jr.,                                             310 S. Saint Mary’s St., Suite 2700
Defendants, Cause No. DC-19-37 District Court, 381st              San Antonio, Texas 78205
Judicial District, Starr County, TX                               rwaii@tafpllc.com
Deposition: May 19, 2020                                          Office 210-277-0542
Contact: Daniel D. Horowitz III, Attorney
2100 Travis Street, Suite 280
Houston, TX 77002
O: 832-460-5181
daniel@ddhlawyers.com

Nicole Marie Keas, Individually and Independently as
Personal Representative of the Estate of Isaac Keas III, and as
Next Friend of C.K. and I.K, minors; and the Parents of Isaac
Keas III; Isaac Keas, Jr. and Vicky Keas, v. The Estate of
Michael Eric Rendon, and the Estate of Brennon Hilton,
Covenant Testing Technologies, LLC., and Catapult Energy
Services Group, LLC Intervenor Brittany Skonecki, as Next
Friend of R.H., a minor
Videotaped Deposition July 30, 2021
Contact: Zach McFarlane, Attorney
Galleria Tower I
2700 Post Oak Blvd., Suite 1000
Houston, Texas 77056
Office: 713.491.6064 | Fax: 713.583.8545

Vanda Pharmaceuticals, Inc.v Teva Pharmaceuticals, Inc.
For Plantiff
Paul Weiss Patent Deposition
Deposition: December 15, 2021 by videoconference
Contact: Daniel Klein, Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
(212) 373-3330 (Direct Phone) | 212 492 0330 (Direct Fax) |
845 781 0557 (Cell)
daklein@paulweiss.com | www.paulweiss.com
